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                              Exhibit 2
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                                          UNITED STATES
                              SECURITIES AND EXCHANGE COMMISSION
                                                              Washington, D.C. 20549
                                                                    Form 20-F
‘      REGISTRATION STATEMENT PURSUANT TO SECTION 12(b) OR 12(g) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                           or
Í      ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                      For the fiscal year ended March 31, 2023
                                                           or
‘      TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                           For the transition period from/to
                                                           or
‘      SHELL COMPANY REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                  Date of event requiring this shell company report:
                                           Commission file number 1-6439
                                                  Sony Group Kabushiki Kaisha
                                                    (Exact Name of Registrant as specified in its charter)
                                                    SONY GROUP CORPORATION
                                                       (Translation of Registrant’s name into English)
                                                                            Japan
                                                       (Jurisdiction of incorporation or organization)
                                                      7-1, KONAN 1-CHOME, MINATO-KU,
                                                            TOKYO 108-0075 JAPAN
                                                            (Address of principal executive offices)
                                           J. Justin Hill, Senior Vice President, Finance & Investor Relations
                                                               Sony Corporation of America
                                                               25 Madison Avenue, 26th Floor
                                                              New York, New York 10010-8601
                                                                  Telephone: 212-833-6722
                                                                    E-mail: ir@sony.com
                                            (Name, Telephone, E-mail and Address of Company Contact Person)
                                       Securities registered or to be registered pursuant to Section 12(b) of the Act:
                 Title of Each Class                                  Trading Symbol(s)                      Name of Each Exchange on Which Registered
        American Depositary Shares*                                     SONY                                     New York Stock Exchange
               Common Stock**
*   American Depositary Shares evidenced by American Depositary Receipts. Each American Depositary Share represents one share of Common
    Stock.
** No par value per share. Not for trading, but only in connection with the listing of American Depositary Shares pursuant to the requirements of
    the New York Stock Exchange.
                                   Securities registered or to be registered pursuant to Section 12(g) of the Act:
                                                                         None
                             Securities for which there is a reporting obligation pursuant to Section 15(d) of the Act:
                                                                         None
    Indicate the number of outstanding shares of each of the issuer’s classes of capital or common stock as of the close of the period covered by the
Annual Report:
                                                                                                                                 Outstanding as of
                                                                                                                         March 31, 2023    March 31, 2023
Title of Class                                                                                                           (Tokyo Time)     (New York Time)
Common Stock                                                                                                             1,234,497,560
American Depositary Shares                                                                                                                  117,871,924
      Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes Í No ‘
      If this report is an annual or transition report, indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or
15(d) of the Securities Exchange Act of 1934. Yes ‘ No Í
      Indicate by check mark whether the registrant: (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act
of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to
such filing requirements for the past 90 days. Yes Í No ‘
      Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule
405 of Regulation S-T during the preceding 12 months (or for such shorter period that the registrant was required to submit such
files). Yes Í No ‘
      Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, or a non-accelerated filer, or an emerging growth
company. See definition of “large accelerated filer,” “accelerated filer” and “emerging growth company” in Rule 12b-2 of the Exchange Act.
Í Large accelerated filer                         ‘ Accelerated filer                        ‘ Non-accelerated filer        ‘ Emerging growth company
      If an emerging growth company that prepares its financial statements in accordance with U.S. GAAP, indicate by check mark if the registrant
has elected not to use the extended transition period for complying with any new or revised financial accounting standards† provided pursuant to
Section 13(a) of the Exchange Act. ‘
      † The term “new or revised financial accounting standard” refers to any update issued by the Financial Accounting Standards Board to its
Accounting Standards Codification after April 5, 2012.
      Indicate by check mark whether the registrant has filed a report on and attestation to its management’s assessment of the effectiveness of its
internal control over financial reporting under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting firm
that prepared or issued its audit report. Í
      If securities are registered pursuant to Section 12(b) of the Act, indicate by check mark whether the financial statements of the registrant
included in the filing reflect the correction of an error to previously issued financial statements. ‘
      Indicate by check mark whether any of those error corrections are restatements that required a recovery analysis of incentive-based
compensation received by any of the registrant’s executive officers during the relevant recovery period pursuant to §240.10D-1(b). ‘
      Indicate by check mark which basis of accounting the registrant has used to prepare the financial statements included in this filing:
US GAAP ‘ International Financial Reporting Standards as issued by the International Accounting Standards Board Í                                Other ‘
      If “Other” has been checked in response to the previous question, indicate by check mark which financial statement item the registrant has
elected to follow.
                                                                  Item 17 ‘         Item 18 ‘
      If this is an annual report, indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act).
                                                                      Yes ‘         No Í
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  Cautionary Statement
       Statements made in this document with respect to Sony’s current plans, estimates, strategies and beliefs and
  other statements that are not historical facts are forward-looking statements about the future performance of
  Sony. Forward-looking statements include, but are not limited to, those statements using words such as
  “believe,” “expect,” “plans,” “strategy,” “prospects,” “forecast,” “estimate,” “project,” “anticipate,” “aim,”
  “intend,” “seek,” “may,” “might,” “could” or “should,” and words of similar meaning in connection with a
  discussion of future operations, financial performance, events or conditions. From time to time, oral or written
  forward-looking statements may also be included in other materials released to the public. These statements are
  based on management’s assumptions, judgments and beliefs in light of the information currently available to it.
  Sony cautions investors that a number of important risks and uncertainties could cause actual results to differ
  materially from those discussed in the forward-looking statements, and therefore investors should not place
  undue reliance on them. Investors also should not rely on any obligation of Sony to update or revise any forward-
  looking statements, whether as a result of new information, future events or otherwise. Sony disclaims any such
  obligation. Risks and uncertainties that might affect Sony include, but are not limited to:
     (i)     Sony’s ability to maintain product quality and customer satisfaction with its products and services;
     (ii)    Sony’s ability to continue to design and develop and win acceptance of, as well as achieve sufficient
             cost reductions for, its products and services, including image sensors, game and network platforms,
             smartphones and televisions, which are offered in highly competitive markets characterized by severe
             price competition and continual new product and service introductions, rapid development in
             technology and subjective and changing customer preferences;
     (iii)   Sony’s ability to implement successful hardware, software, and content integration strategies, and to
             develop and implement successful sales and distribution strategies in light of new technologies and
             distribution platforms;
     (iv)    the effectiveness of Sony’s strategies and their execution, including but not limited to the success of
             Sony’s acquisitions, joint ventures, investments, capital expenditures, restructurings and other strategic
             initiatives;
     (v)     changes in laws, regulations and government policies in the markets in which Sony and its third-party
             suppliers, service providers and business partners operate, including those related to taxation, as well
             as growing consumer focus on corporate social responsibility;
     (vi)    Sony’s continued ability to identify the products, services and market trends with significant growth
             potential, to devote sufficient resources to research and development, to prioritize investments and
             capital expenditures correctly and to recoup its investments and capital expenditures, including those
             required for technology development and product capacity;
     (vii)   Sony’s reliance on external business partners, including for the procurement of parts, components,
             software and network services for its products or services, the manufacturing, marketing and
             distribution of its products, and its other business operations;
     (viii) the global economic and political environment in which Sony operates and the economic and political
            conditions in Sony’s markets, particularly levels of consumer spending;
     (ix)    Sony’s ability to meet operational and liquidity needs as a result of significant volatility and disruption
             in the global financial markets or a ratings downgrade;
     (x)     Sony’s ability to forecast demands, manage timely procurement and control inventories;
     (xi)    foreign exchange rates, particularly between the yen and the U.S. dollar, the euro and other currencies
             in which Sony makes significant sales and incurs production costs, or in which Sony’s assets,
             liabilities and operating results are denominated;
     (xii)   Sony’s ability to recruit, retain and maintain productive relations with highly skilled personnel;
     (xiii) Sony’s ability to prevent unauthorized use or theft of intellectual property rights, to obtain or renew
            licenses relating to intellectual property rights and to defend itself against claims that its products or
            services infringe the intellectual property rights owned by others;
     (xiv) the impact of changes in interest rates and unfavorable conditions or developments (including market
           fluctuations or volatility) in the Japanese equity markets on the revenue and operating income of the
           Financial Services segment;

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     (xv)   shifts in customer demand for financial services such as life insurance and Sony’s ability to conduct
            successful asset liability management in the Financial Services segment;

     (xvi) risks related to catastrophic disasters, geopolitical conflicts, pandemic disease or similar events;

     (xvii) the ability of Sony, its third-party service providers or business partners to anticipate and manage
            cybersecurity risk, including the risk of unauthorized access to Sony’s business information and the
            personally identifiable information of its employees and customers, potential business disruptions or
            financial losses; and

     (xviii) the outcome of pending and/or future legal and/or regulatory proceedings.

       Risks and uncertainties also include the impact of any future events with material adverse impact. The
  continued impact of developments relating to the situation in Ukraine and Russia could heighten many of the
  risks and uncertainties noted above.

       Important information regarding risks and uncertainties is also set forth elsewhere in this annual report,
  including in “Risk Factors” under “Item 3. Key Information,” “Item 4. Information on the Company,” “Item 5.
  Operating and Financial Review and Prospects,” “Legal Proceedings” included in “Item 8. Financial
  Information,” Sony’s consolidated financial statements referenced in “Item 8. Financial Information” and
  “Item 11. Quantitative and Qualitative Disclosures about Market Risk.”

       In this document, Sony Group Corporation and its consolidated subsidiaries are together referred to as
  “Sony” or “Sony Group.” In addition, “Sales and financial services revenue” are referred to as “sales” in the
  narrative description except in the consolidated financial statements.




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  Item 1.    Identity of Directors, Senior Management and Advisers
       Not Applicable

  Item 2.    Offer Statistics and Expected Timetable
       Not Applicable

  Item 3.    Key Information
  A.   [Reserved]

  B.   Capitalization and Indebtedness
       Not Applicable

  C.   Reasons for the Offer and Use of Proceeds
       Not Applicable

  D.   Risk Factors
      This section contains forward-looking statements that are subject to the Cautionary Statement appearing on
  page 2 of this annual report. Risks to Sony are also discussed elsewhere in this annual report.

  Sony must overcome increasingly intense competition, which could lead to lower revenue or operating
  margins.
       Sony has several business segments in different industries with many product and service categories, which
  cause it to compete with many existing and new competitors ranging from large multinational companies to
  highly specialized entities that focus on only one or a few businesses and also, potentially, with outsourced
  manufacturing service partners that currently supply products to Sony. These competitors may have greater
  financial, technical, labor and marketing resources available to them than those available to Sony. Sony’s
  financial condition and operating results depend on its ability to efficiently anticipate and respond to these
  established and new competitors.
        The competitive factors Sony faces vary depending on the nature of the business. For example, in the
  electronics area, Sony competes on the basis of various factors including price and function, while in the Music
  and Pictures segments, Sony competes for talent, such as artists, songwriters, actors, directors and producers, and
  for entertainment content that is created, acquired, licensed and/or distributed. Competition on price can lead to
  lower margins when costs do not fall at a proportional rate, and competition for talent and appealing product can
  also lead to lower profitability if the higher costs required for such talent and content cannot be recouped through
  greater sales. Moreover, even for those products where Sony believes it has a strong competitive advantage, such
  as image sensors, it is possible that its competitors’ technological capabilities will accelerate such that Sony
  would be unable to maintain its advantageous market position. In terms of consumer electronics products, to
  produce products that appeal to changing and increasingly diverse consumer preferences, including constantly
  changing consumer interest in minimizing energy consumption and using environmentally friendly materials for
  both products and packaging, or to overcome the fact that a relatively high percentage of consumers already
  possess similar products, Sony must develop superior technology, anticipate consumer tastes, and rapidly
  develop attractive and differentiated products with competitive prices and features. Sony faces increasingly
  intense pricing pressure from competitors, retailer consolidation, new sales/distribution channels, and shorter
  product cycles in a variety of consumer product categories. In the Music and Pictures segments, operating results
  can be impacted by worldwide consumer acceptance of their products, which is difficult to predict, and by
  alternative forms of entertainment and leisure activities available to consumers, as well as by competing products
  released at or near the same time. For example, in the Pictures segment, as box office revenues recover as
  restrictions due to the spread of COVID-19 have been lifted around the world and movie theaters continue to
  reopen, the theatrical release calendar of films by major studios is becoming more crowded, increasing
  competition for available screen space. This situation could adversely affect the operating results of the Pictures
  segment.
       If Sony is unable to maintain its advantageous market position in the fields in which it has a technological or
  other competitive advantage, Sony is unable to effectively anticipate and counter the ongoing price erosion that

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  frequently affects its consumer products or the cost pressures affecting its businesses, there is a change in
  existing business models or consumer preferences, or the average prices of Sony’s products decrease faster than
  Sony is able to reduce manufacturing costs, Sony’s operating results and financial condition may be adversely
  impacted.

  To remain competitive and stimulate customer demand, Sony must invest in research and development to
  achieve product and service innovations and successfully manage frequent introductions of such new products
  and services.
        To strengthen the competitiveness of its products and services, Sony continues to invest in research and
  development (“R&D”), particularly in growth areas such as the Game & Network Services (“G&NS”) and
  Imaging & Sensing Solutions (“I&SS”) segments. However, Sony may not be successful in investing in R&D if
  it fails to identify products, services and market trends with significant growth potential. In addition, Sony’s
  investments may not yield the innovation or the expected results quickly enough, or competitors may lead Sony
  in technological innovation. This may hinder Sony’s ability to commercialize new and competitive products and
  services.
        Sony must continually introduce, enhance and stimulate customer demand for consumer electronic products
  and network services. Sales of these products and services are particularly sensitive to the significant weighting
  of consumer demand to the year-end holiday season. In the G&NS segment, the successful introduction and
  penetration of gaming platforms, including streaming, is a significant factor driving sales and profitability, and
  this success is affected by the ability to provide customers with attractive software line-ups and online services.
  However, there is no assurance that third-party software developers and publishers, major contributors to this
  effort, will continue to develop and release software. In addition, Sony believes that integrating its hardware,
  software, entertainment content and network services and minimizing their energy consumption, as well as
  investing in R&D to effect such integration, is essential in generating revenue growth and profitability. However,
  this strategy depends on its ability to further develop network services technologies, coordinate and prioritize
  strategic and operational issues among Sony’s various business units and sales channels, continually introduce
  enhanced, energy efficient and competitively priced hardware that is seamlessly connected to energy efficient
  network platforms with user interfaces that are innovative and attractive to consumers and also standardize
  technological and interface specifications industry-wide and across Sony’s networked products and business
  units. In addition, the G&NS, Music and Pictures segments must invest substantial amounts, which may include
  significant upfront investments, in internally developed software titles, artist advances, music catalogs, motion
  picture productions, television productions and broadcast programming before knowing whether their products
  will receive customer acceptance. Furthermore, underperformance of Pictures’ products in the initial distribution
  market is correlated with weak performance in subsequent distribution markets, which would have an adverse
  effect on Sony’s results in the year of initial release as well as future years.
        The successful introductions of, and transitions to, new products and services depend on a number of
  factors, such as the timely and successful completion of development efforts, market acceptance, planning and
  executing an effective marketing strategy, managing new product introductions, managing production ramp-up
  issues, the availability of application software for new products, quality control and the concentration of
  consumer demand in the year-end holiday season. If Sony cannot achieve the expected results from its
  investment in R&D, adequately manage frequent introductions of new products and services and obtain
  consumer acceptance of its new products and services, or if Sony is not successful in implementing its integration
  strategy, Sony’s reputation, operating results and financial condition may be adversely impacted.

  Sony’s strategic initiatives, including acquisitions, joint ventures, investments, capital expenditures and
  restructurings, may not be successful in achieving their strategic objectives.
        Sony actively engages in acquisitions, joint ventures, capital expenditures and other strategic investments to
  acquire new technologies, efficiently develop new businesses and enhance its business competitiveness. For
  example, in the fiscal year ended March 31, 2022, Sony made an additional strategic investment in Epic Games,
  Inc. (“Epic Games”), in which Sony already held a minority interest; acquired 100% of the shares and related
  assets of certain subsidiaries of Kobalt Music Group Limited (“Kobalt”) including AWAL, Kobalt’s music
  distribution business mainly for independent recording artists, and Kobalt Neighbouring Rights, Kobalt’s music
  neighboring rights management business; acquired 100% of the equity interest in Ellation Holdings, Inc.
  (“Ellation”), a subsidiary of AT&T Inc. which operated the anime business Crunchyroll; made a minority
  investment in Japan Advanced Semiconductor Manufacturing Inc., a subsidiary of Taiwan Semiconductor
  Manufacturing Company Limited (TSMC); and acquired 100% of the shares and related assets of Som Livre, an
  independent music label in Brazil. In the fiscal year ended March 31, 2023, Sony acquired 100% of the shares of

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  Bungie, Inc. (“Bungie”) an independent videogame developer in the United States; made an additional strategic
  investment in Epic Games; and established a joint venture with Honda Motor Co., Ltd. in the mobility field.
        In some cases, the completion of mergers and acquisitions is subject to certain closing conditions, including
  regulatory approvals. As a result of anti-trust laws and regulations and anti-trust regulatory authorities becoming
  stricter, regulatory reviews following the signing of a definitive agreement may take longer than expected, or
  Sony may fail to obtain regulatory approvals, resulting in the loss of business opportunities and Sony’s inability
  to realize some or all of the initially expected results of mergers and acquisitions. As of the date of this report,
  mergers and acquisitions that Sony has already signed definitive agreements for and whose completion is subject
  to regulatory approvals include the merger of Sony Pictures Networks India (“SPNI”) with Zee Entertainment
  Enterprises Ltd. (“Zee”), a publicly listed Indian media and content company.
        While Sony performs a comprehensive analysis and evaluation of merged or acquired organizations prior to
  their acquisition from various perspectives such as technology, accounting, tax, finance, human resources (“HR”)
  and legal, Sony’s financial results may be adversely affected by factors including the significant cost of the
  acquisition and/or integration expenses, IT and information security risks introduced from newly acquired
  organizations, failure to achieve initially expected synergies, failure to generate expected revenue and cost
  improvements, loss of key personnel and assumption of liabilities.
       When establishing joint ventures and strategic partnerships, Sony’s financial and operating results may be
  adversely affected by strategic or cultural differences with partners, conflicts of interest, failure to achieve
  synergies, additional funding or debt guarantees required to maintain the joint venture or partnership,
  requirements to buy out a joint venture partner, sell its shares or dissolve a partnership, insufficient management
  control including control over cash flow, loss of proprietary technology and know-how, impairment losses and
  reputational harm from the actions or activities of a joint venture that uses the Sony brand.
       Sony invests heavily in production facilities and equipment, including fabrication facilities used to make
  image sensors for smartphones and other products. Sony may not be able to execute these capital expenditures as
  planned or recover these capital expenditures in part or full or in the planned timeframe due to the competitive
  environment, lower-than-expected consumer demand, changes in the financial condition or business decisions of
  Sony’s major customers, or delays in the procurement of production facilities and equipment. Sony invested
  237.1 billion yen and 355.9 billion yen of capital in the fiscal years ended March 31, 2022 and 2023,
  respectively, mainly for the purpose of increasing image sensor production capacity.
       Further, Sony is implementing initiatives for restructuring and transformation to enhance profitability,
  business autonomy and shareholder value or to clearly position each business within the overall business
  portfolio. However, the expected benefits of these initiatives, including the expected level of profitability, may
  not be realized due to internal and external impediments or market conditions worsening beyond expectations. If
  Sony is not successful in achieving its restructuring and transformation initiatives, Sony’s operating results,
  financial condition, reputation, competitiveness or profitability may be adversely affected.

  Sony’s sales and profitability may be affected by the operating performance of wholesalers, retailers, other
  resellers and third-party distributors.
        Sony is dependent for the distribution of its products on wholesalers, retailers, other resellers and third-party
  distributors, many of whom also distribute competitors’ products. For example, in some cases, Sony’s
  smartphones sold through cellular network carriers are subsidized by the carriers. There is no assurance that such
  subsidies will be continued at all or in the same amounts upon renewal of Sony’s agreements with these carriers
  or in agreements Sony enters into with new carriers. In addition, the Pictures segment depends on third parties to
  theatrically exhibit its motion pictures, and to operate cable, satellite, internet and other distribution systems to
  distribute its motion pictures and television programming. A decline in the licensing fees received from these
  third parties may adversely affect the Pictures segment’s sales. The Pictures segment’s worldwide television
  networks are also distributed on third-party cable, satellite and other distribution systems and the failure to
  renew, or the renewal on less favorable terms of, television carriage contracts (broadcasting agreements) with
  these third-party distributors may adversely affect the Pictures segment’s ability to generate advertising and
  subscription sales through these networks.
       Sony invests in programs to incentivize wholesalers, retailers, and other resellers and third-party distributors
  to position and promote Sony’s products, but there is no assurance that these programs will provide a significant
  return or incremental revenue by persuading consumers to buy Sony products instead of competitors’ products.
        The operating results and financial condition of many wholesalers, retailers, other resellers and third-party
  distributors have been adversely impacted by competition, especially from online retailers, and weak economic

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   conditions. If their financial condition continues to weaken, they stop distributing Sony’s products, or uncertainty
   regarding demand for Sony’s products or other factors cause them to reduce their ordering, marketing,
   subsidizing, or distributing Sony’s products, Sony’s operating results and financial condition may be adversely
   impacted.

   As a global company, Sony is subject to a wide range of laws and regulations and a growing consumer focus
   on corporate social responsibility in many countries. Those laws and regulations, as well as consumer and
   regulator focus, might change in significant ways, leading to an increase in the costs of Sony’s operations, a
   curtailment of Sony’s activities, and/or an adverse effect on Sony’s reputation.
        As a global company, Sony is subject to the laws and regulations of many countries throughout the world
   that affect its business operations in a number of areas, including advertising, promotions, consumer protection,
   import and export requirements, anti-corruption, anti-trust, environmental protection (including decarbonizing
   regulations in connection with actions against climate change), data privacy and data protection, content and
   broadcast regulation, intellectual property, labor, product liability, taxation (including taxes from certain revenue
   on digital services), foreign investment, government procurement, foreign exchange controls, and economic
   sanctions.
         Compliance with these laws and regulations may be onerous and expensive. These laws and regulations
   continue to develop and may be inconsistent from jurisdiction to jurisdiction, further increasing the cost of
   compliance and doing business. Any such developments could occur frequently and without warning and could
   make Sony’s products or services less attractive to its customers, delay or prohibit introduction of new products
   or services in one or more regions or cause Sony to change or limit its business practices. For example,
   imposition of restrictive trade measures in the United States and elsewhere, as well as retaliatory actions against
   such measures, could result in increased customs duties applicable to Sony’s products or increased costs for
   procuring parts and components, and could limit or prohibit the sales of Sony’s products and services to certain
   of its current or potential customers, which may adversely affect Sony’s operating results and financial condition.
   In the I&SS segment, Sony suspended product shipments of image sensors to a certain Chinese customer from
   September 15, 2020, pursuant to export restrictions announced by the U.S. government on August 17, 2020. As a
   result, image sensor sales decreased compared to before the export restrictions came into effect, although Sony
   resumed a portion of shipments to the customer after receiving a U.S. export license. Sony also recorded
   inventory write-downs of certain image sensors for the same customer in the fiscal year ended March 31, 2021.
   In addition, changes in laws or regulations or the judicial interpretation thereof that Sony relies on or Sony is
   subject to in conducting its operations, including online operations, as well as Sony’s failure to anticipate such
   changes, may subject Sony to greater risk of liability, increase the costs of compliance, or limit Sony’s ability to
   engage in or expand certain operations or lead to discontinuance of certain operations.
        Violation of applicable laws or regulations by Sony, its officers or employees, third-party suppliers,
   business partners or agents may subject Sony to monetary fines, penalties, legal judgments, restrictions on
   business operations and/or reputational damage. Additionally, there is a growing global regulatory and consumer
   focus on sustainability efforts, including corporate social responsibility and sourcing practices, as well as
   increasing regulatory obligations of public disclosure regarding these matters. In particular, there is increased
   attention on labor practices, including work environments at electronic component manufacturers, original
   equipment manufacturers/original design manufacturers (OEM/ODM), and product manufacturers operating in
   Asia. Increased regulation or public pressure in this area could cause Sony’s compliance costs to increase,
   particularly since Sony uses many parts, components and materials to manufacture its products and relies on
   suppliers to provide these parts, components and materials but does not directly control the suppliers’
   procurement or employment practices. A finding of non-compliance, or the perception that Sony has not
   responded appropriately to growing consumer concern for such issues, whether or not Sony is legally required to
   do so, may adversely affect Sony’s reputation, operating results and financial condition.

   Sony must manage its large volume of and widespread procurement from third-party suppliers and business
   partners to control inventory levels, availability, costs and quality of parts, components, materials, software
   and network services within volatile markets.
        Sony’s products and services rely on a large volume of third-party suppliers and business partners for parts,
   components, materials, software and network services, including semiconductors, chipsets for PlayStation® game
   consoles and mobile products, LCD (liquid crystal display) panels and the Android OS that is used in mobile
   products, televisions and services. As a result, external suppliers’ and partners’ supply shortages, fluctuations in
   pricing, quality issues, discontinued support, changes in business terms or prioritization of customers outside the
   electronics area or of Sony’s competitors can adversely affect Sony’s operating results, brand and reputation. For

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   example, the Entertainment Technology & Services (“ET&S”)* segment was affected by the global shortage of
   semiconductors and other components, which became pronounced from the latter half of the fiscal year ended
   March 31, 2021 through the first half of the fiscal year ended March 31, 2023 and caused Sony to continue to be
   unable to fully meet market demand. Although global demand for semiconductors and other components was on
   a declining trend as of the end of the fiscal year ended March 31, 2023, Sony’s operating results and financial
   condition could be affected if demand becomes strong again. Reliance on third-party software and technologies
   may make it increasingly difficult for Sony to differentiate its products from competitors’ products. Also,
   shortages or delayed shipments of critical parts or components may result in a reduction or suspension of
   production at Sony’s or its business partners’ manufacturing sites, particularly where Sony is substantially reliant
   on one supplier, where there is limited production capacity for custom parts or components, or where there are
   initial manufacturing capacity constraints for products, parts or components that use new technologies.
        Sony places orders for parts and components in line with production and inventory plans determined in
   advance based on its forecast of consumer demand, which is highly volatile and difficult to predict. Inaccurate
   forecasts of consumer demand or inadequate business planning can lead to a shortage or excess inventory, which
   can disrupt production plans and result in lost sales opportunities or inventory adjustments, respectively. Sony
   writes down the value of its inventory when the underlying parts, components or products have become obsolete,
   when inventory levels exceed the amount expected to be used, or when the value of the inventory is otherwise
   recorded at a value higher than net realizable value. Such lost sales opportunities, inventory adjustments, or
   shortages of parts and components have had and may have an adverse impact on Sony’s operating results and
   financial condition.
   * The former Electronics Products & Solutions (EP&S) segment was renamed the Entertainment, Technology &
   Services (ET&S) segment effective from April 2022.

   Sony’s sales, profitability and operations are sensitive to global and regional economic and political trends
   and conditions.
         Sony’s sales and profitability are sensitive to economic trends in its major markets, such as inflation. In the
   fiscal year ended March 31, 2023, 23.3%, 29.5% and 19.0% of Sony’s sales and financial services revenue were
   attributable to Japan, the U.S. and Europe, respectively. These markets may be subject to significant economic
   downturns, resulting in an adverse impact on Sony’s operating results and financial condition. An actual or
   expected deterioration of economic conditions in any of Sony’s major markets may result in a decline in
   consumers’ consumption and adverse impacts on the businesses of commercial customers, resulting in reduced
   demand for Sony’s products and services.
         In addition, Sony’s operations are conducted in many countries and regions around the world, and these
   international operations, particularly in certain emerging markets, can create challenges. For example, in the
   ET&S, I&SS and G&NS segments, production and procurement of products, parts and components in China and
   other Asian countries and regions increase the time necessary to supply products to other markets worldwide,
   which can make it more difficult to meet changing customer demand in a timely manner. Further, in certain
   countries and regions, Sony may encounter difficulty in planning and managing operations due to unfavorable
   political or economic factors, such as armed conflicts, deterioration in foreign relations, changes in trade policies,
   non-compliance with expected business conduct and a lack of adequate infrastructure. If international or
   domestic political and military instability disrupts Sony’s business operations or those of its business partners
   Sony’s operating results and financial condition may be adversely affected. For example, as a response to the
   worsening of the situation in Ukraine and Russia that began in the fiscal year ended March 31, 2022, as of the
   date of this report, Sony has suspended its business in Russia. If this situation worsens further in the future, it
   could create global uncertainty, possibly leading to the worsening of Sony’s businesses in other regions or a
   deterioration in global economic conditions resulting in an adverse impact on Sony’s operating results and
   financial condition.

   Foreign exchange rate fluctuations can affect Sony’s operating results and financial condition.
        Sony’s operating results and financial condition are sensitive to foreign exchange rate fluctuations because
   many of Sony’s products are sold in countries other than the ones in which they were developed and/or
   manufactured. For example, within Sony’s electronics area, R&D and headquarters’ overhead costs are incurred
   mainly in yen, and manufacturing costs, including material costs, costs of procurement of parts and components,
   and costs of outsourced manufacturing services, are incurred mainly in U.S. dollars and yen. Sales are recorded
   in yen, U.S. dollars, euros, Chinese renminbi, and local currencies of other areas, including emerging markets.
   Consequently, foreign exchange rate fluctuations have had and may have an adverse impact on Sony’s operating
   results, especially when the yen or the euro weaken significantly against the U.S. dollar, when the yen

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   strengthens significantly against the euro, or when the U.S. dollar strengthens against emerging market
   currencies. Sony’s operating results may also be adversely impacted by foreign exchange rate fluctuations since
   Sony’s consolidated statements of income are prepared by translating the local currency denominated operating
   results of its subsidiaries around the world into yen. Furthermore, as Sony’s businesses have expanded in China
   and other areas, including emerging markets, the impact of fluctuations of foreign currency exchange rates in
   these areas against the U.S. dollar and yen has increased. Mid- to long-term changes in exchange rate levels may
   interfere with Sony’s global allocation of resources and hinder Sony’s ability to engage in R&D, procurement,
   production, logistics, and sales activities while maintaining profitability.
        Although Sony seeks to reduce its exposure to foreign exchange risk by hedging a portion of its net short-
   term foreign currency exposure shortly before the transactions occur, such hedging activity may not offset, or
   may offset only a portion of, the adverse financial effects of unfavorable movements in foreign exchange rates
   over the limited time the hedges are in place.
        Moreover, since Sony’s consolidated statements of financial position are prepared by translating the local
   currency denominated assets and liabilities of its subsidiaries around the world into yen, Sony’s equity capital
   may be adversely impacted when the yen strengthens significantly against the U.S. dollar, the euro and/or other
   foreign currencies.

   Ratings downgrades or significant volatility and disruption in the global financial markets may adversely
   affect the availability and cost of Sony’s funding.
        Sony’s credit ratings may be adversely impacted by unfavorable operating results and a decline in its
   financial condition. Any credit rating downgrades may, in turn, result in an increase in Sony’s cost of funding
   and may have an adverse impact on Sony’s ability to access commercial paper (“CP”) or mid- to long-term debt
   markets on acceptable terms.
         Additionally, global financial markets may experience significant levels of volatility and disruption, generally
   putting downward pressure on financial and other asset prices and impacting credit availability. Historically, Sony’s
   primary sources of funds have been cash flows from operations, the issuance of CP and other debt securities, such
   as term debt, as well as borrowings from banks and other institutional lenders. There can be no assurance that such
   sources will continue to be available on acceptable terms or be sufficient to meet Sony’s needs.
        As a result, Sony may seek other sources of financing to fund operations, such as the draw-down of funds
   from contractually committed lines of credit from financial institutions or the sale of assets, in order to repay CP
   and mid- to long-term debt as they become due, and to meet other operational and liquidity needs. However, such
   funding sources may also not be available at acceptable terms or be sufficient to meet Sony’s requirements. As a
   result, Sony’s operating results, financial condition and liquidity may be adversely affected.

   Sony’s success depends on the ability to recruit, retain and maintain productive relations with diverse people
   who embrace a challenging spirit and possess the ambition to grow.
        In order to continue to create content, develop services, design, manufacture, market, and sell products, in
   increasingly competitive markets, Sony must attract, retain and maintain productive relations with key personnel,
   both internally and externally, who possess high levels of expertise and broad experience, including its executive
   team, other management professionals, creative talent, and hardware and software engineers. However, such key
   personnel are in high demand. In addition, business divestitures, restructuring or other transformation initiatives
   may lead to an unintended loss of experienced employees or know-how. Actual or threatened work slowdowns or
   stoppages related to unionized workers, particularly in the entertainment field, could lead to delayed releases or
   cost increases. For example, in the Pictures segment, the Writers Guild of America (“WGA”) went on strike
   effective May 2, 2023. If this strike is prolonged, it may adversely affect the operating results of the Pictures
   segment. Furthermore, in Japan, with a declining workforce due to the falling birthrate and aging population,
   intensifying competition among companies for specialized talent, and rising labor costs, it may become difficult
   to secure the necessary talent if Sony’s HR system is inadequate in its design and operations. If these incidents
   occur or if Sony is unable to attract, retain and maintain productive relations with employees with high levels of
   expertise and broad experience as well as key management professionals, Sony’s operating results and financial
   condition may be adversely affected.

   Sony’s intellectual property might be subject to unauthorized use or theft and it might encounter restrictions
   in its use of intellectual property owned by third parties.
        Sony’s intellectual property might be subject to unauthorized use or theft. For example, digital technology,
   the availability of digital media, and global internet penetration impact Sony’s ability to protect its copyrighted

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   content from unauthorized duplication, digital theft and counterfeiting, putting pressure on legitimate product
   sales. Sony has incurred and will continue to incur expenses to help protect its intellectual property rights;
   however, Sony’s various initiatives to prevent such unauthorized use or theft of intellectual property might not
   achieve their intended result, which could adversely affect Sony’s competitive position and the value of its
   investment in R&D. Additionally, Sony’s intellectual property rights may be challenged or invalidated, or such
   intellectual property rights may not be sufficient to provide Sony with competitive advantages.

        Many of Sony’s products and services are designed under the license of patents and other intellectual
   property rights owned by third parties. Based upon past experience and industry practice, Sony believes it will be
   able to obtain or renew licenses relating to various intellectual property rights that its business needs in the
   future; however, such licenses may not be available at all or on acceptable terms, and as a consequence Sony may
   need to redesign or discontinue its marketing, selling or distribution of such products or services.

        Claims have been and may be asserted against Sony that its products or services, including third-party parts,
   components, software and network services used in Sony’s products or services, infringe the intellectual property
   rights of other parties. Such claims may be asserted by competitors or by other rights holders, particularly as
   products and services evolve to include new technologies and enhanced functionality. Such claims might require
   Sony to enter into settlement or license agreements, pay significant damage awards, face an injunction or refrain
   from marketing, selling or distributing certain of its products and services.

         The failure to prevent unauthorized use or theft of Sony’s intellectual property rights, the failure to enter
   into licenses for necessary third-party intellectual property rights, the invalidation of Sony’s intellectual property
   rights or the settlement of an infringement claim against Sony by others may adversely impact Sony’s reputation,
   operating results and financial condition.

   Changes in consumer behavior resulting from new technologies and distribution platforms, as well as
   increasing concentration of digital music distributors and creation of content by distributors themselves, may
   adversely affect operating results in the Music and Pictures segments.

        Technology, particularly digital technology, used in the Music and Pictures segments continues to evolve,
   rapidly leading to alternative methods and platforms for the discovery and consumption of digital content. These
   technological advancements have changed consumer behavior and empowered consumers to seek more control
   over when, where and how they consume digital content.

        The prevalence of digital streaming networks and other new media may negatively impact traditional
   television and in-theater motion picture viewership, which could adversely affect operating results of the Pictures
   segment.

         Furthermore, as more music and video content is consumed over digital streaming networks, digital music
   distributors are becoming increasingly concentrated, which may decrease the competitiveness of Sony’s music
   content and adversely affect its pricing. In addition, digital music and video distributors may increase the amount
   of content they create for their own services, which may reduce the demand for content created or produced by
   Sony. If Sony is unable to adequately respond to these changes or fails to effectively adapt to new market
   changes, Sony’s operating results and financial condition may be adversely impacted.

   Changes in the regulation and performance of financial markets may adversely affect the operating results
   and financial condition of the Financial Services segment.

        The Financial Services segment operates in industries subject to comprehensive regulation and supervision,
   including the Japanese insurance and banking industries. Future developments or changes in laws, regulations or
   policies may lead to increased compliance costs or limitations on operations in the Financial Services segment. In
   addition, lending and borrowing between Sony’s subsidiaries in the Financial Services segment and other
   companies within Sony Group is strictly limited by guidelines issued by regulatory agencies in Japan.

        Changes in interest rates, foreign exchange rates and the value of Japanese government and corporate bonds,
   U.S. treasury bonds, equities, real estate and other asset classes may have an adverse effect on the operating
   results and financial condition of the Financial Services segment. For example, the life insurance business has
   invested most of its general account assets in ultra-long-term Japanese government and corporate bonds, as well
   as ultra-long-term U.S. treasury bonds, to match the liability characteristics of the long-term maturity insurance
   policies it has underwritten. The life insurance business has guaranteed yields on outstanding policies while its
   investment portfolio could be reduced by the market changes discussed above. The banking business has invested
   most of its total loan balance, or over half of its total assets, in its mortgage loans account. An increase in

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   non-performing loans or a decline in prices of the real estate collateral from the market changes discussed above
   or deterioration of credit quality may have an adverse effect on the operating results and financial condition
   through an increase in the allowance for credit losses.
        The market changes discussed above, Sony’s management of these changes or the occurrence of
   earthquakes, pandemic disease or other catastrophic events in Japan could expose the life and non-life insurance
   businesses to increasing costs or adverse impact on their ability to satisfy insurance contract liabilities.
        Insurance contract liabilities are calculated based on many actuarial assumptions that are uncertain.
   Significant changes to these actuarial assumptions and the market changes discussed above may have an adverse
   effect on the operating results and financial condition of the Financial Services segment. The review of
   assumptions for insurance contract liabilities is required at the end of each reporting period.

   Sony’s facilities and operations are subject to damage and disruption as a result of catastrophic disasters,
   outages, pandemic diseases including COVID-19, or similar events that could lead to supply chain,
   manufacturing and other business disruptions and have an adverse impact on Sony’s operating results.
        Sony’s headquarters and many of Sony’s most advanced manufacturing facilities, including those for image
   sensors, are located in Japan, where the risk of earthquakes is relatively high. A major earthquake in Japan,
   especially in Tokyo, the Tokai area or the Kyushu and Tohoku areas, where Sony headquarters, certain consumer
   electronics product manufacturing sites and image sensor manufacturing sites, respectively, are located, could
   cause substantial damage to Sony’s business operations, including damage to buildings, machinery, equipment
   and inventories, and the interruption of production at manufacturing facilities. For example, the earthquake of
   April 14, 2016 and subsequent earthquakes in the Kumamoto region in Japan caused damage to an image sensor
   manufacturing site in Kyushu, which interrupted production at the site.
        In addition, offices and facilities used by Sony, its suppliers, service providers and business partners, including
   those used for network, telecommunications and information systems infrastructure, R&D, material procurement,
   manufacturing, motion picture and television production, logistics, sales, and online and other services are located
   throughout the world and are subject to possible destruction, temporary stoppage or disruption as a result of
   unexpected catastrophic events such as natural disasters, pandemic diseases including COVID-19, terrorist attacks,
   armed conflicts, large-scale power outages and large-scale fires. If any of these facilities or offices were to
   experience a significant loss as a result of any of the above events, it may disrupt Sony’s operations, delay design,
   development or production, interrupt shipments and postpone the recording of sales, and/or result in large expenses
   to repair or replace these facilities or offices. For example, regarding the spread of COVID-19 beginning in the 2020
   calendar year, although restrictions including lockdowns have been lifted and the impact on economic activities has
   lessened around the world, if economic activity stagnates again due to a future resurgence of infections, it could
   adversely affect the procurement of components and raw materials, production, development, sale and distribution
   of Sony’s products and services, resulting in a negative impact on Sony’s operating results and financial position. In
   the G&NS segment, the production of hardware could be adversely affected again due to issues in the component
   supply chain. In the Music segment, in-person concerts and other events could be restricted again, causing related
   revenues to decrease. In the Pictures segment, if movie theaters are once again forced to close or limit their capacity,
   Sony’s theatrical revenues may decrease. Additionally, depending on the status of lockdowns or other anti-infection
   measures, as well as future increases in infections, Sony may be impacted by delays in the production schedules of
   new motion pictures and television programming, as well as decreased advertising revenue. The ET&S segment
   could continue to be adversely impacted by factory shutdowns or declines in factory utilization, supply chain issues
   and the closure of retail stores globally.
        Sony may also be exposed to price increases for raw materials, parts and components, and lower demand
   from commercial customers. These situations may have an adverse impact on Sony’s operating results and
   financial condition. In addition, extreme weather conditions may become more severe and frequent as the
   temperature rises due to the effects of climate change, and such extreme weather conditions could heighten the
   risks and uncertainties noted above.

   Sony’s brand image, reputation and business may be harmed and Sony may be subject to legal claims if there
   is a breach or other compromise of Sony’s information security or that of its third-party service providers or
   business partners.
        Sony, its third-party service providers, suppliers and other business partners make extensive use of
   information technology to support business operations, and to provide network and online services to customers.
   These operations and services, as well as Sony’s business information, may be intentionally or inadvertently
   compromised by malicious third parties, including state-sponsored organizations, criminal organizations, Sony’s

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   officers or employees, third-party service providers or other business partners. Such organizations or individuals
   may use a variety and combination of techniques, such as installing malicious software, exploiting vulnerabilities
   in information technology, using social engineering to mislead officers, employees and business partners into
   disclosing passwords and sensitive information, and coordinating distributed denial-of-service attacks to render
   services unavailable. As cyber-attacks become increasingly sophisticated and automated, and as tools and
   resources become more readily available, there can be no guarantee that Sony’s actions, security measures and
   controls designed to prevent, detect or respond to outside intrusion, limit access to data, prevent loss, destruction,
   alteration, or exfiltration of business information, or limit the negative impact from such attacks can provide
   absolute security. In addition, Sony’s officers or employees have been working both in the office and at home
   following the spread of COVID-19 and this practice is expected to continue. Although Sony takes measures to
   ensure that appropriate information security protections are in place for the remote workforce, there can be no
   guarantee that Sony’s actions, security measures and controls designed to prevent, detect or respond to outside
   intrusion, limit access to data, prevent loss, destruction, alteration, or exfiltration of business information, or limit
   the negative impact from such attacks, can provide absolute security. As a result, Sony’s business information,
   including personally identifiable information, may be lost, destroyed, disclosed, misappropriated, altered, or
   accessed without consent, and Sony’s information technology systems or operations, or those of its service
   providers or other business partners, may be disrupted. Malicious adversaries may also use unauthorized access
   to Sony’s networks as a platform to compromise Sony’s third-party business partners without Sony’s knowledge.
   Sony has previously been the subject of sophisticated and targeted attacks. For example, network services in the
   G&NS segment, the internal network and IT infrastructure in the Pictures segment, and Sony’s websites have
   been subject to cyber-attacks, resulting in unauthorized access, denial of service, and the theft and/or disclosure
   of Sony’s business information, including officer and employee information, customer information, and other
   information, as well as the destruction of data.
        Any of the above incidents can result in significant remediation costs. In addition, a disruption to Sony’s
   network and online services, information technology, or other compromise of its information security may have
   serious consequences to its business and operations, including lost revenues, damage to relationships with
   business partners and other third parties, disclosure, alteration, destruction or use of proprietary information and
   the failure to retain or attract customers. Moreover, such disruptions and breaches may result in a diversion of
   management’s attention and resources. Further, it may result in adverse media coverage, which may harm Sony’s
   brand image and reputation. Sony may also be subject to legal claims or legal proceedings, including regulatory
   investigations and actions. Sony’s cyber insurance may not cover all expenses and losses and, accordingly, such
   breaches or other compromises of Sony’s information security or that of its third-party service providers or
   business partners may have an adverse impact on Sony’s operating results and financial condition.

   Sony’s reputation, operating results and financial condition may be adversely affected as a result of adverse
   outcomes of litigation and regulatory actions.
        Sony faces the risk of litigation and regulatory actions in different countries in connection with its
   operations. Legal proceedings, including regulatory actions, may seek to recover very large indeterminate
   amounts or to limit Sony’s operations, and the possibility that they may arise and their magnitude may remain
   unknown for substantial periods of time. For example, legal proceedings, including regulatory actions, may result
   from antitrust scrutiny of market practices for anti-competitive conduct. A substantial legal liability or adverse
   regulatory outcome and the substantial cost to defend the litigation or regulatory actions may have an adverse
   effect on Sony’s reputation, operating results and financial condition.

   Sony is subject to financial and reputational risks due to product quality, product security, and liability issues.
        Sony’s products and services, such as consumer electronics products, non-consumer products, parts and
   components, semiconductors, software and network services are becoming increasingly sophisticated and
   complicated as rapid advancements in technologies occur and as demand increases for mobile products and
   online services. Also, many Sony products are connected to the internet, and regularly communicate with
   services provided by Sony or third parties.
        Sony’s efforts to adapt to rapid advancements in technologies and increased demand for mobile products
   and online services, while also maintaining product quality and product security, may not be successful and may
   increase exposure to product liability. As a result, Sony may incur both reputational damages and expenses in
   connection with, for example, product recalls and after-sales services. In addition, Sony may not be successful in
   introducing after-sales upgrades, enhancements or new features to existing products and services, or in enabling
   existing products and services to continue to conveniently and effectively integrate with other technologies and
   online services. Moreover, cyber-attacks targeting internet-connected products have increased significantly. For

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   example, customer information and Sony or third-party technical information may be misappropriated, the
   functionality of Sony’s products and services may be impaired, or Sony products may be used in
   denial-of-service attacks. There can be no guarantee that Sony’s security measures will prevent products from
   being compromised.
         As a result, the quality of Sony’s existing products and services may not remain satisfactory to consumers
   and become less marketable, less competitive or obsolete, and Sony’s reputation, operating results and financial
   condition may be adversely affected. Moreover, allegations of security vulnerability, health and safety issues
   related to Sony products, or lawsuits related to product quality, health issues arising from products or product
   safety, regardless of merit, may adversely impact Sony’s operating results and financial condition, either directly
   or as a result of the impact on Sony’s brand image and reputation as a producer of high-quality products and
   services. These issues are relevant to Sony products sold directly to customers, whether manufactured by Sony or
   a third party, and also to products of other companies that are equipped with Sony’s components, such as
   semiconductors.

   Sony’s financial results and condition may be adversely affected by its employee benefit obligations.
         Sony recognizes a net defined benefit liability or asset for its defined benefit pension plans based on (i) the
   present value of defined benefit obligations (“DBO”) under each pension plan less (ii) the fair value of plan
   assets, in accordance with the accounting guidance for defined benefit plans. If the fair value of plan assets is in
   excess of the present value of DBO, the amount of any asset to be recognized is limited to the present value of
   any economic benefits available in the form of refunds from the plan or reductions in the future contributions to
   the plan. Any decrease in the fair value of plan assets or increases in the present value of DBO due to a lower
   discount rate and changes in certain other actuarial assumptions may increase or decrease the net defined benefit
   liability or asset and may have an adverse effect on Sony’s financial results and condition.
        Also, Sony’s financial results and condition could be adversely affected by future pension funding
   requirements pursuant to the Japanese Defined Benefit Corporate Pension Plan Act (the “Pension Plan Act”).
   Under the Pension Plan Act, Sony is required to conduct a periodic actuarial revaluation and to ascertain whether
   certain financial criteria have been met after the annual accounting closing. In the event that the fair value of plan
   assets falls below the actuarial reserve required by law and the shortfall may not be recovered within a certain
   moratorium period permitted by laws and/or special legislative decree, Sony may be required to make an
   additional contribution to its plans, which may reduce cash flows. Similarly, if Sony is required to make an
   additional contribution to a foreign plan to meet any funding requirements in accordance with local laws and
   regulations in each country, Sony’s cash flows might be adversely affected. If Sony is required to increase cash
   contributions to its pension plans when actuarial assumptions, such as an expected long-term rate of return of the
   plan assets, are updated for purposes of determining statutory contributions, it may have an adverse impact on
   Sony’s cash flows.

   Further losses in tax jurisdictions where Sony has assessed deferred tax assets as unrecognized, the inability
   of Sony to fully utilize its deferred tax assets, limitations on the use of its deferred tax assets under local law,
   exposure to additional tax liabilities or changes in Sony’s tax rates could adversely affect Sony’s operating
   results and financial condition.
        Sony is subject to income taxes in Japan and numerous other jurisdictions, and in the ordinary course of its
   business there are many situations where the ultimate tax determination can be uncertain, because of the transfer
   pricing for its intercompany transactions, and because Sony is subject to continuous review by tax authorities of
   numerous jurisdictions. The calculation of Sony’s tax provision and the carrying value of tax assets, including net
   operating loss carryforwards and tax credit carryforwards, require significant judgment and the use of estimates,
   including estimates of future taxable income. At the end of each reporting period, Sony reassesses unrecognized
   deferred tax assets and determines whether these assets should be recognized. As of March 31, 2023, the
   unrecognized deferred tax assets amounted to 237.3 billion yen. An increase in unrecognized deferred tax assets
   may have an adverse impact on Sony’s operating results and financial condition.
         Deferred tax assets are evaluated on a jurisdiction by jurisdiction basis. As of March 31, 2023, Sony and/or
   its subsidiaries had unrecognized deferred tax assets, principally in Japan for local taxes. Additionally, deferred
   tax assets could expire unused or otherwise not be realizable for a variety of reasons including the lack of
   sufficient taxable income in the appropriate jurisdiction. Sony’s operating results and financial condition could
   be adversely affected when the deferred tax assets expire unused.
        In some jurisdictions, the use of net operating loss carryforwards or tax credits to reduce taxable income in a
   subsequent period is limited to a fixed percentage of taxable income or may only be used to offset taxes on

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   income from certain sources. Thus, it is possible that even with significant net operating loss carryforwards or tax
   credits, Sony could record and pay taxes in a jurisdiction where it has taxable income.
        Sony’s future effective tax rates may also be unfavorably affected by changes in both the statutory rates and
   the mix of earnings in countries with differing statutory rates or by other factors such as changes in tax laws and
   regulations or their interpretation, including minimum tax requirements and limitations or restrictions on various
   tax deductions and credits, including deductions for royalties and interest.
        In addition to the above, Sony’s businesses may be subject to new forms of gross basis taxation and
   transactional taxes, including digital service taxes. Although such taxes may not directly impact Sony’s effective
   tax rate, they may nevertheless have an adverse impact on its operating results and financial condition.

   Sony could incur asset impairment losses for goodwill, content assets and other intangible assets or other
   non-current assets.
        Sony has a significant amount of goodwill, content assets, other intangible assets and other non-current
   assets, including production facilities and equipment. A decline in financial performance, market capitalization,
   reduced estimates of future cash flows, changes in global economic conditions or changes in estimates and
   assumptions used in the impairment analysis, which in many cases requires significant judgment, could result in
   impairment losses against these assets. Events or changes in circumstances which would indicate impairment
   include unfavorable variances from or adjustments to established business plans, significant changes in
   forecasted results or volatility inherent to external markets and industries. The increased levels of global
   competition and the faster pace of technological change to which Sony is exposed can result in greater volatility
   of these estimates, assumptions and judgments, and increase the likelihood of impairment losses. Any such loss
   may adversely affect Sony’s operating results and financial condition.

   Holders of American Depositary Shares have fewer rights than shareholders and may not be able to enforce
   judgments based on U.S. securities laws.
        The rights of shareholders under Japanese law to take actions, including voting their shares, receiving
   dividends and distributions, bringing derivative actions, examining Sony’s accounting books and records, and
   exercising appraisal rights, are available only to shareholders of record. Because the depositary, through its
   custodian agents, is the record holder of the shares underlying the American Depositary Shares (“ADSs”), only
   the depositary can exercise those rights in connection with the deposited shares. The depositary will make efforts
   to vote the shares underlying ADSs in accordance with the instructions of ADS holders and will pay the
   dividends and distributions collected from Sony. However, ADS holders will not be able to bring a derivative
   action, examine Sony’s accounting books and records, or exercise appraisal rights through the depositary.
         Sony Group Corporation is incorporated in Japan with limited liability. A majority of Sony’s directors and
   corporate executive officers are non-U.S. residents, and a substantial portion of the assets of Sony Group
   Corporation and the assets of Sony’s directors and corporate executive officers are located outside the U.S. As a
   result, it may be more difficult for investors to enforce against Sony Group Corporation or such persons,
   judgments obtained in U.S. courts predicated upon civil liability provisions of the federal and state securities
   laws of the U.S. or similar judgments obtained in other courts outside Japan. There is doubt as to the
   enforceability in Japanese courts, in original actions or in actions for enforcement of judgments of U.S. courts, of
   civil liabilities predicated solely upon the federal and state securities laws of the U.S.

   Prior notification under the Foreign Exchange and Foreign Trade Act of Japan may be required in the case
   of an acquisition by a foreign investor of a certain portion of our shares.
         Because Sony is engaged in certain businesses designated by the Foreign Exchange and Foreign Trade Act of
   Japan (the “FEFTA”) and its related cabinet orders and ministerial ordinances (collectively, the “Foreign Exchange
   Regulations”), if a foreign investor intends to consummate an acquisition of shares of common stock of Sony Group
   Corporation and that acquisition constitutes an “inward direct investment” under the Foreign Exchange Regulations,
   the foreign investor, subject to certain exemptions, must file a prior notification of such inward direct investment
   with the Minister of Finance and any other competent Ministers. Under the Foreign Exchange Regulations, an
   “inward direct investment” includes an acquisition by a foreign investor of shares of common stock of Sony Group
   Corporation, the consummation of which results in such foreign investor, in combination with any existing
   shareholding, directly or indirectly holding 1% or more of the total number of issued shares of common stock or the
   total number of voting rights of Sony Group Corporation, unless certain exemptions apply.
        If such prior notification is filed, the proposed acquisition may not be consummated until the prescribed
   screening period expires. In some cases, the Ministers may extend the screening period, and may recommend or

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   order any modification or the abandonment of such acquisition. In addition, if certain conditions – including
   those prescribed in light of the national security of Japan – under the Foreign Exchange Regulations are met, the
   Ministers may order the foreign investor to divest the shares acquired or take other measures. Consequently, any
   proposed acquisition by a foreign investor of shares of common stock of Sony Group Corporation that constitutes
   an “inward direct investment” may not be consummated in an expected time frame in accordance with an
   intended plan, or at all.
         Additionally, if a foreign investor directly or indirectly holds 1% or more of the total voting rights of Sony
   Group Corporation and, at a general meeting of shareholders, consents to certain proposals having a material
   influence on the management of Sony Group Corporation such as the (i) election of such foreign investor or any
   of its related persons (as defined in the Foreign Exchange Regulations) as a director of Sony Group Corporation
   or (ii) transfer or discontinuation of its business, such consent, subject to certain exemptions, also constitutes an
   “inward direct investment” requiring prior notification. If such prior notification is filed, such consent cannot be
   given until the prescribed screening period expires. As a result, such foreign investors may have difficulties
   giving such consent in accordance with an intended plan, or at all.
        The discussion above is not exhaustive of all possible foreign exchange controls considerations that may
   apply to a particular investor, and potential investors are advised to satisfy themselves as to the overall foreign
   exchange controls consequences of the acquisition, ownership and disposition of shares of common stock or
   voting rights of Sony Group Corporation by consulting their own advisors. For a more detailed discussion on the
   requirements and procedures regarding the prior notifications under the Foreign Exchange Regulations, refer to
   “D. Exchange Controls” in “Item 10. Additional Information.”

   Item 4.    Information on the Company
   A.   History and Development of the Company
        Sony Group Corporation was established in Japan in May 1946 as Tokyo Tsushin Kogyo Kabushiki Kaisha,
   a joint stock company (Kabushiki Kaisha) under Japanese law. It changed its name to Sony Kabushiki Kaisha
   (“Sony Corporation” in English) in January 1958, and changed its name again to Sony Group Kabushiki Kaisha
   (“Sony Group Corporation” in English) in April 2021 in order to focus on its role as the headquarters of the Sony
   Group.
       In December 1958, Sony Group Corporation was listed on the Tokyo Stock Exchange (the “TSE”). In June
   1961, Sony Group Corporation issued American Depositary Receipts in the U.S.
        In March 1968, Sony Group Corporation established CBS/Sony Records Inc. in Japan, as a 50-50 joint
   venture company between Sony Group Corporation and CBS Inc. in the U.S. In January 1988, the joint venture
   became a wholly-owned subsidiary of Sony Group Corporation, and in April 1991, changed its name to Sony
   Music Entertainment (Japan) Inc. (“SMEJ”). In November 1991, SMEJ was listed on the Second Section of the
   TSE.
        In September 1970, Sony Group Corporation was listed on the New York Stock Exchange (the “NYSE”).
       In August 1979, Sony Group Corporation established Sony Prudential Life Insurance Co., Ltd. in Japan, as a
   50-50 joint venture company between Sony Group Corporation and The Prudential Insurance Company of
   America. In April 1991, the joint venture changed its name to Sony Life Insurance Co., Ltd. (“Sony Life”). In
   March 1996, Sony Life became a wholly-owned subsidiary of Sony Group Corporation.
        In July 1984, Sony Magnescale Inc., a subsidiary of Sony Group Corporation, was listed on the Second
   Section of the TSE. The subsidiary changed its name to Sony Precision Technology Inc. in October 1996 and
   then to Sony Manufacturing Systems Corporation in April 2004. In April 2012, Sony Manufacturing Systems
   was merged into Sony EMCS Corporation. Sony EMCS Corporation changed its name to Sony Global
   Manufacturing & Operations Corporation in April 2016.
       In July 1987, Sony Chemicals Corporation, a subsidiary of Sony Group Corporation, was listed on the
   Second Section of the TSE. The subsidiary changed its name to Sony Chemical & Information Device
   Corporation in July 2006, and changed its name again to Dexerials Corporation in October 2012.
         In January 1988, Sony Group Corporation acquired CBS Records Inc., the music business division of CBS
   Inc. in the U.S. The acquired company changed its name to Sony Music Entertainment Inc. in January 1991 and
   then to Sony Music Holdings Inc. in December 2008.
       In November 1989, Sony Group Corporation acquired Columbia Pictures Entertainment, Inc. in the U.S. In
   August 1991, Columbia Pictures Entertainment, Inc. changed its name to Sony Pictures Entertainment Inc. (“SPE”).

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      In November 1993, Sony Group Corporation established Sony Computer Entertainment Inc. in Japan. Sony
   Computer Entertainment Inc. changed its name to Sony Interactive Entertainment Inc. in April 2016.

       In October 1995, Sony/ATV Music Publishing LLC (“Sony/ATV”) was formed as a 50-50 joint venture
   company between Sony Group Corporation and Michael Jackson. In September 2016, the joint venture became a
   wholly-owned subsidiary of Sony Group Corporation. In January 2021, Sony/ATV changed its name to Sony
   Music Publishing (US) LLC.

        In January 2000, acquisition transactions by way of a share exchange were completed such that three
   subsidiaries which had been listed on the TSE — SMEJ, Sony Chemicals Corporation (currently Dexerials
   Corporation), and Sony Precision Technology Inc. (currently Sony Global Manufacturing & Operations
   Corporation) — became wholly-owned subsidiaries of Sony Group Corporation. In September 2012, Sony Group
   Corporation completed the sale of certain of its chemical products businesses, including Sony Chemical &
   Information Device Corporation (currently Dexerials Corporation) to Development Bank of Japan Inc.

        In October 2001, Sony Ericsson Mobile Communications AB (“Sony Ericsson”), a 50-50 joint venture
   company between Sony Group Corporation and Telefonaktiebolaget LM Ericsson (“Ericsson”) of Sweden, was
   established. In February 2012, Sony acquired Ericsson’s 50% equity interest in Sony Ericsson. As a result of the
   acquisition, Sony Ericsson became a wholly-owned subsidiary of Sony and changed its name to Sony Mobile
   Communications AB.

        In October 2002, Aiwa Co., Ltd. (“Aiwa”), then a TSE-listed subsidiary, became a wholly-owned subsidiary
   of Sony Group Corporation. In December 2002, Aiwa was merged into Sony Group Corporation.

        In June 2003, Sony Group Corporation adopted the “Company with Three Committees” corporate
   governance system in line with the revised Japanese Commercial Code then effective. (Refer to “Board
   Practices” in “Item 6. Directors, Senior Management and Employees.”)

        In April 2004, Sony Group Corporation established Sony Financial Holdings, Inc. (“SFH”), a financial
   holding company, in Japan. Sony Life, Sony Assurance Inc. (“Sony Assurance”), and Sony Bank Inc. (“Sony
   Bank”) became subsidiaries of SFH. In October 2007, SFH was listed on the First Section of the TSE in
   conjunction with the global initial public offering of shares of SFH by Sony Group Corporation and SFH. In
   September 2020, SFH became a wholly-owned subsidiary of Sony Group Corporation through Sony’s tender
   offer for the common shares and the related stock acquisition rights of SFH and the subsequent procedures for
   the purchase of all of SFH’s remaining common shares. In October 2021, SFH changed its company name to
   Sony Financial Group Inc. (“SFGI”).

        In April 2004, S-LCD Corporation (“S-LCD”), a joint venture between Sony Group Corporation and
   Samsung Electronics Co., Ltd. of Korea for the manufacture of amorphous thin film transistor LCD (liquid
   crystal display) panels, was established in Korea. Sony’s stake in S-LCD was 50% minus 1 share. In January
   2012, Sony sold all of its shares of S-LCD to Samsung Electronics Co., Ltd.

        In August 2004, Sony combined its worldwide recorded music business, excluding its recorded music
   business in Japan, with the worldwide recorded music business of Bertelsmann AG (“Bertelsmann”), forming a
   50-50 joint venture, SONY BMG MUSIC ENTERTAINMENT (“SONY BMG”). In October 2008, Sony
   acquired Bertelsmann’s 50% equity interest in SONY BMG. As a result of the acquisition, SONY BMG became
   a wholly-owned subsidiary of Sony. In January 2009, SONY BMG changed its name to Sony Music
   Entertainment (“SME”).

       In December 2005, Sony Communication Network Corporation, a subsidiary of Sony Group Corporation,
   was listed on the Mother’s market of the TSE, and was later listed on the First Section of the TSE in January
   2008. It changed its name to So-net Entertainment Corporation in October 2006, and changed its name again to
   So-net Corporation (“So-net”) in July 2013. In January 2013, Sony Group Corporation acquired all of the
   common shares of So-net through a tender offer and subsequent share exchange and, as a result of the
   acquisition, So-net became a wholly-owned subsidiary of Sony Group Corporation. So-net was renamed Sony
   Network Communications Inc. (“SNC”) in July 2016.

        In June 2012, an investor group including Sony Corporation of America (“SCA”) established DH Publishing,
   L.P. (“EMI”) to own and manage EMI Music Publishing, which it then acquired. This acquisition resulted in Nile
   Acquisition LLC (“Nile”), of which SCA owned 74.9% and the Estate of Michael Jackson (the “Estate”) owned
   25.1%, acquiring approximately 40% of the equity interest in EMI. In July 2018, Sony completed the acquisition of
   the Estate’s equity interest in Nile, resulting in Sony owning approximately 40% of the equity interest in EMI. In
   November 2018, Sony completed the acquisition of the remaining approximately 60% equity interest in EMI,

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   resulting in EMI becoming a wholly-owned subsidiary of Sony. In January 2021, Nile changed its name to Sony
   Music Publishing LLC (“SMP”). SMP encompasses both the former Sony/ATV and EMI.
       In April 2013, Sony Olympus Medical Solutions Inc. (“SOMED”), a medical business venture between
   Sony Group Corporation and Olympus Corporation, was established in Japan. Sony’s stake in SOMED is 51%.
       In July 2014, Sony Group Corporation sold its personal computer (“PC”) business operated under the VAIO
   brand to Japan Industrial Partners, Inc.
        In July 2014, pursuant to a separation of Sony’s businesses into distinct subsidiaries, the television business
   was split out and began operations as Sony Visual Products Inc.
       In October 2015, the video and sound business was split out and began operations as Sony Video & Sound
   Products Inc. (“SVS”).
       In April 2016, the imaging and sensing solutions business was split out and began operations as Sony
   Semiconductor Solutions Corporation (“SSS”).
        In April 2017, the imaging products and solutions business was split out and began operations as Sony
   Imaging Products & Solutions Inc. (“SIPS”), which completed the sequential separation of Sony’s business units
   into distinct subsidiaries.
        In September 2017, Sony transferred its battery businesses to the Murata Manufacturing Co., Ltd. Group.
       In April 2019, Sony Visual Products Inc. and SVS merged to become Sony Home Entertainment & Sound
   Products Inc. (“SHES”).
       In April 2020, Sony established Sony Electronics Corporation, an intermediate holding company
   encompassing the electronics products and solutions businesses.
        In April 2021, in connection with the above-mentioned launch of Sony Group Corporation, Sony
   Electronics Corporation, SHES, SIPS and Sony Mobile Communications Inc. (“SOMC”) were merged into one
   company, which was renamed Sony Corporation. Additionally, certain support functions for the electronics
   products and solutions businesses and the imaging products and solutions business that had been carried out by
   Sony Group Corporation were transferred to Sony Corporation and SSS.
         In April 2022, due to a restructuring of the segments of the TSE, Sony Group Corporation moved from the
   First Section to the Prime Market of the TSE.
        In July 2022, Sony Interactive Entertainment LLC acquired Bungie, an independent videogame developer in
   the United States.
        In September 2022, Sony Honda Mobility Inc. (“Sony Honda Mobility”), a joint venture in the mobility
   field between Sony Group Corporation and Honda Motor Co., Ltd., was established in Japan. Sony’s stake in
   Sony Honda Mobility is 50%.
       Sony Group Corporation’s registered office is located at 7-1, Konan 1-chome, Minato-ku, Tokyo 108-0075,
   Japan, telephone +81-3-6748-2111. Its website is https://www.sony.com/en/.
       The agent in the U.S. for purposes of this Item 4 is Sony Corporation of America, 25 Madison Avenue, 26th
   Floor, New York, NY 10010-8601 (Attn: Office of the General Counsel).
        Sony files reports and other information with the U.S. Securities and Exchange Commission (the “SEC”)
   pursuant to the SEC’s rules and regulations that apply to foreign private issuers. The SEC maintains a website
   that contains reports, proxy and information statements, and other information regarding issuers that file
   electronically with the SEC. Sony’s electronic filings are available for viewing on this website, at
   https://www.sec.gov.

   Principal Capital Investments
        In the fiscal years ended March 31, 2022 and 2023, Sony’s capital expenditures were 697.2 billion yen and
   809.6 billion yen, respectively. For a breakdown of principal capital expenditures and divestitures (including
   interests in other companies), refer to “Item 5. Operating and Financial Review and Prospects.” The funding
   requirements of such various capital expenditures are expected to be financed by cash provided principally by
   operating and financing activities or the existing balance of cash and cash equivalents.
       In the fiscal year ended March 31, 2023, Sony invested approximately 381.1 billion yen in the I&SS
   segment. This investment included approximately 355.9 billion yen to increase image sensor production capacity.

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   B.   Business Overview
        The former Electronics Products & Solutions segment was renamed the Entertainment, Technology &
   Services (ET&S) segment effective from April 2022. This change did not result in any reclassification of
   businesses across segments.
         Sony is engaged in the development, design, production, manufacture and sale of various kinds of electronic
   equipment, instruments and components for consumer, professional and industrial markets such as network
   services, game hardware and software, televisions, audio and video recorders and players, still and video
   cameras, mobile phones, and image sensors. Sony is engaged in the development, production, manufacture, and
   distribution of recorded music and the management and licensing of the words and music of songs as well as the
   production and distribution of animation titles, including game applications based on animation titles. Sony is
   also engaged in the production, acquisition and distribution of motion pictures and television programming and
   the operation of television and digital networks. Further, Sony is also engaged in various financial services
   businesses, including life and non-life insurance operations through its Japanese insurance subsidiaries and
   banking operations through a Japanese internet-based banking subsidiary.

   Products and Services
   Game & Network Services (G&NS)
       Sony Interactive Entertainment LLC undertakes product research, development, design, marketing, sales,
   production, distribution and customer service for PlayStation® hardware, software, content and network services.
         The G&NS segment includes the Digital Software and Add-on Content, Network Services and Hardware
   and Others categories. Digital Software and Add-on Content includes distribution of software titles and add-on
   content through the network by Sony Interactive Entertainment; Network Services includes network services
   relating to game, video and music content; and Hardware and Others includes home gaming consoles, packaged
   software, game software sold bundled with home gaming consoles, peripheral devices and first-party software for
   third-party platforms.

   Music
   Recorded Music:
         “Recorded Music” includes the distribution of physical and digital recorded music and revenue derived from
   artists’ live performances. SME, a global entertainment company, excluding Japan, is engaged primarily in the
   development, production, marketing and distribution of recorded music in all commercial formats and genres.
   SMEJ is an entertainment company focused on the Japanese market, which includes a Japanese domestic
   recorded music business that produces recorded music and music videos through contracts with many artists in
   all music genres.

   Music Publishing:
        “Music Publishing” includes the management and licensing of the words and music of songs. SMP is a
   U.S.-based music publishing business that owns and acquires rights to musical compositions, exploiting and
   marketing these compositions and receiving royalties or fees for their use.

   Visual Media and Platform:
        “Visual Media and Platform” includes the production and distribution of animation titles and game
   applications, and various service offerings for music and visual products. These businesses are operated primarily
   by SMEJ.

   Pictures
   Motion Pictures:
        “Motion Pictures” includes the worldwide production, acquisition and distribution of live-action and
   animated motion pictures. SPE’s motion picture production organizations include Columbia Pictures, Screen
   Gems, TriStar Pictures, 3000 Pictures, Sony Pictures Animation, Stage 6 Films, AFFIRM Films and Sony
   Pictures Classics. SPE also operates Sony Pictures Imageworks, a visual effects and animation unit, and manages
   a studio facility, Sony Pictures Studios, which includes post-production facilities.

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   Television Productions:
        “Television Productions” includes the worldwide production, acquisition and distribution of programming,
   including scripted series, unscripted “reality” or “light entertainment,” daytime serials, game shows, animated
   series, made for television movies and miniseries and other programming.

   Media Networks:
         “Media Networks” includes the operation of television networks and direct-to-consumer (“DTC”) streaming
   services worldwide. SPE’s television networks around the world include SPNI, which operates television
   networks in India, and Game Show Network, LLC, which operates a U.S.-based network delivered on cable,
   satellite and other distribution platforms. Digital networks include Crunchyroll, a streaming service based in
   North America primarily focused on anime content, and SonyLIV, a general entertainment streaming service in
   India.

   Entertainment, Technology & Services (ET&S)
   TV and Audio & Video:
         Sony Corporation undertakes product research, development, design, marketing, sales, production,
   distribution and customer services for televisions and video and sound products.

   Still and Video Cameras:
        Sony Corporation undertakes product research, development, design, manufacturing, sales, distribution and
   customer service for interchangeable lens cameras, compact digital cameras, consumer and professional video
   cameras as well as display products such as projectors and medical equipment. Additionally, it is responsible for
   the broadcast/professional solutions business and the FeliCa contactless IC (integrated circuit) card technology
   business. SOMED undertakes development support to provide comprehensive medical and imaging device
   solutions for operating rooms and other medical areas.

   Mobile Communications:
         Sony Corporation undertakes product research, development, design, marketing, sales, production,
   distribution and customer services for mobile phones, accessories and applications. SNC provides internet
   broadband network services to subscribers as well as creates and distributes content through its portal services to
   various electronics product platforms such as PCs and mobile phones.

   Imaging & Sensing Solutions (I&SS)
        SSS and its subsidiary Sony Semiconductor Manufacturing Corporation undertake product research,
   development, design, manufacturing, marketing, sales, production, distribution and customer services primarily
   for complementary metal oxide semiconductor (“CMOS”) image sensors, in addition to charge-coupled devices
   (CCDs), large-scale integration systems (LSIs) and other semiconductors. These CMOS image sensors are used
   in a wide variety of applications, primarily smartphones, as well as other products such as digital cameras and
   security cameras, factory automation systems and automobiles.

   Financial Services
        SFGI conducts insurance, banking and other operations primarily through Sony Life, a Japanese life
   insurance company, Sony Assurance, a Japanese non-life insurance company, and Sony Bank, a Japanese
   internet-based bank, which are all wholly-owned by SFGI.

   All Other
       All Other consists of various operating activities, including the disc manufacturing business outside of
   Japan, and the recording media and storage media businesses.

   Sales and Distribution
   G&NS, ET&S and I&SS
        In the G&NS segment, PlayStation® hardware and peripheral devices, software and content and network
   services are marketed and distributed by Sony Interactive Entertainment LLC, Sony Interactive Entertainment

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   Inc. and Sony Interactive Entertainment Europe Ltd. Digital software, including add-on content, is primarily sold
   via the PlayStation Store, while software for third-party platforms is sold via third-party distributors. Hardware
   and physical software are sold both indirectly via third-party distributors as well as directly via PlayStation’s
   proprietary website. Additionally, Bungie carries out marketing and distribution of its software, content and
   merchandise under its own brand as an independent studio and publisher, with support from PlayStation.
       Sony’s products and services in the ET&S and I&SS segments are primarily marketed throughout the world
   under the trademark “Sony.”
         In most cases, Sony’s products in the ET&S and I&SS segments are sold to sales subsidiaries of Sony
   Group Corporation located in or responsible for sales in various countries and territories. These subsidiaries then
   sell those products to unaffiliated local distributors and dealers or through direct sales, such as through the
   internet. Sony Corporation brings its mobile products to market through direct and indirect channels, such as
   third-party cellular network carriers and retailers, as well as through its own website. In some regions, certain
   products and services are sold directly to local distributors by Sony Group Corporation.
       Sales of such products and services are particularly seasonal and vary significantly with the timing of new
   product introductions and the economic conditions of each country. Sales for the third quarter ending
   December 31 of each fiscal year are generally higher than other quarters of the same fiscal year mainly in the
   G&NS and ET&S segments due to demand during the year-end holiday season.

   Japan:
        Sony Marketing Inc. markets consumer electronics products mainly through retailers. It also markets
   professional electronics products and services. For electronic components, Sony sells products directly to
   wholesalers and manufacturers.

   United States:
        Sony markets its electronics products and services in these segments through Sony Electronics Inc. and
   other wholly-owned subsidiaries in the U.S.

   Europe:
       In Europe, Sony’s products and services in these segments are marketed through sales subsidiaries including
   Sony Europe B.V., which is headquartered in the United Kingdom and has branches in European countries.

   China:
       Sony markets products and services in these segments through Sony (China) Limited, Sony Corporation of
   Hong Kong Limited and other wholly-owned subsidiaries in China.

   Asia-Pacific:
        In Asia-Pacific, Sony’s products and services in these segments are marketed through sales subsidiaries
   including Sony India Private Limited, Sony Electronics of Korea Corporation, Sony Taiwan Limited and Sony
   Electronics Vietnam.

   Other Areas:
        In overseas areas other than the U.S., Europe, China and Asia-Pacific, Sony’s products and services in these
   segments are marketed through sales subsidiaries including Sony Brasil Ltda., Sony Middle East & Africa FZE
   in the United Arab Emirates and Sony de Mexico S.A.de C.V.

   Music
       SME and SMEJ develop, produce, market, and distribute recorded music in various commercial formats.
   SME and its affiliates conduct business globally under “Columbia Records,” “Epic Records,” “RCA Records”
   and other labels. SMEJ conducts business in Japan under “Sony Music Records,” “Epic Records Japan,” “SME
   Records,” “Ki/oon Music,” “Sony Music Associated Records” and other labels.
        Sony owns and acquires rights to musical compositions, exploits and markets these compositions, receives
   royalties or fees for their use and conducts its music publishing business in countries other than Japan under the
   Sony Music Publishing name.

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        SMEJ creates artwork and produces packaged home entertainment products including music and games. It
   also organizes various events in Japan through Sony Music Communications Inc. and its affiliates. In addition,
   SMEJ produces, markets and distributes animation products and game applications based on animation titles
   under the Aniplex name.

   Pictures
        SPE generally retains all rights relating to the worldwide distribution of its internally produced motion
   pictures and television programming, including rights for theatrical exhibition, home entertainment distribution,
   pay and free television and digital exhibition and other markets. SPE also acquires distribution rights to motion
   pictures and television programming produced by other companies, and jointly produces and distributes motion
   pictures and television programming with other studios, television networks and production companies. These
   rights may be limited to particular geographic regions, specific forms of media or periods of time.
        Within the U.S., SPE uses its own distribution service businesses, Sony Pictures Releasing and Sony
   Pictures Classics, for the U.S. theatrical release of its motion pictures and for the theatrical release of motion
   pictures acquired from and produced by others.
         Outside the U.S., SPE generally distributes and markets motion pictures through one of its Sony Pictures
   Releasing International subsidiaries or affiliates. In certain countries, however, SPE has joint distribution or
   sub-distribution arrangements with other studios, or arrangements with independent local distributors or other
   entities.
        The worldwide home entertainment distribution of SPE’s motion pictures and television programming (and
   product acquired or licensed from others) is handled through Sony Pictures Home Entertainment, except in
   certain countries where SPE has joint distribution or sub-distribution arrangements with other studios, or
   arrangements with independent local distributors. Product is distributed in various home media formats including
   DVD, Blu-ray Disc™ and Digital Distribution. Digital Distribution includes electronic sell-through and
   video-on-demand distributed on digital platforms, cable networks and direct broadcast satellite (“DBS”)
   providers.
        The worldwide television distribution of SPE’s motion pictures and television programming (and product
   acquired or licensed from others) is handled through Sony Pictures Television. SPE’s library of motion pictures
   and television programming is licensed to distributors such as broadcast television networks, digital platforms,
   cable networks and DBS providers. Digital platforms include subscription and advertising supported platforms
   (including Sony’s PlayStation™Network, Netflix and Amazon Prime Video).
        SPE’s television networks and streaming services (including Crunchyroll primarily in North America and
   SonyLIV in India) are distributed through digital platforms, cable, DBS providers and telecommunications
   companies to viewers around the world. These networks and services generate advertising, subscription and other
   ancillary revenues.

   Financial Services
         Sony Life conducts its life insurance business primarily in Japan. Sony Life’s core business is providing
   death protection and other insurance products to individuals, primarily through a consulting-based sales approach
   utilizing its experienced team of Lifeplanner® sales specialists as well as partner independent sales agents. Sony
   Life provides tailor-made life insurance products that are optimized for each customer. As of March 31, 2023,
   Sony Life employed 5,402 Lifeplanner® sales specialists. Sony Life maintains an extensive service network
   which mainly consists of the Lifeplanner® channel and the independent agent channel in Japan. The Lifeplanner®
   channel is characterized by recruitment of high-caliber sales professionals from industries outside the life
   insurance industry, quality improvement through education and training, performance-linked compensation and
   high productivity. Lifeplanner® sales specialists offer custom-made packages. Most of the agents in the
   independent agent channel are corporate and non-exclusive agents, primarily shop-style agents. Shop-style agents
   are a sub-channel of the independent agent channel, who offer insurance in local stores and provide customers
   with opportunities to compare various insurers’ products. To enhance Sony Life’s relationship with independent
   agents, Sony Life’s agent support staff provides independent agents with various support services, including
   recruiting, training and sales promotion activities. As part of its plan to expand its sales of individual annuity
   products, Sony Life established AEGON Sony Life Insurance Co., Ltd. (“AEGON Sony Life”) in August 2007
   and SA Reinsurance (“SA Re”) in October 2009, both 50-50 joint venture companies with AEGON N.V.
   AEGON Sony Life and SA Re began operations in Japan in December 2009 and in Bermuda in January 2010,
   respectively. In January 2020, Sony Life acquired from AEGON International B.V. the remaining 50% stakes of

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   AEGON Sony Life and SA Re, resulting in both AEGON Sony Life and SA Re becoming wholly-owned
   subsidiaries of Sony Life. AEGON Sony Life changed its trade name to Sony Life With Insurance Co., Ltd.
   (“Sony Life With”) on April 1, 2020. On April 1, 2021, Sony Life undertook an absorption-type merger with
   Sony Life With, with Sony Life as the surviving company. Furthermore, Sony Life completed the liquidation of
   SA Re in March 2023.

        Sony Assurance has conducted a non-life insurance business in Japan since October 1999. Sony Assurance’s
   core business is providing automobile insurance and fire insurance products, as well as medical insurance and
   overseas travel insurance products, to individual customers, primarily through direct marketing via the internet
   and via telephone. The direct marketing business model employed by Sony Assurance enables it to improve
   operating efficiency and lower the costs of marketing and maintaining its insurance policies, creating savings
   which it passes on to policyholders in the form of competitively priced premiums.

        Sony Bank has conducted banking operations in Japan since June 2001. As an internet bank focusing on the
   asset management and borrowing needs of individual customers, Sony Bank offers an array of products and
   services including yen and foreign currency deposits, investment trusts and mortgages. By using Sony Bank’s
   transaction channel, the “MONEYKit” service website, account holders can invest and manage assets over the
   internet according to their life plans. On July 1, 2011, Sony Bank acquired Sony’s 57% equity interest in Sony
   Payment Services Inc. (“Sony Payment Services”), resulting in Sony Payment Services becoming a consolidated
   subsidiary of Sony Bank. Sony Payment Services provides credit card settlement services to members of its
   internet network.

   All Other

        Sony DADC group offers Ultra HD Blu-ray™, Blu-ray Disc™, DVD and CD media replication services as
   well as digital and physical supply chain solutions to business customers. Sony Storage Media Solutions
   Corporation sells its storage media products through its own sales forces, as well as through Sony’s sales
   companies mentioned in the above description of Sales and Distribution for the G&NS, ET&S and I&SS
   segments.

   Sales to External Customers by Geographic Area

        The following table shows Sony’s consolidated sales to external customers in each of its major markets for
   the periods indicated.

                                                                                           Fiscal year ended March 31
                                                                                               2022            2023
                                                                                                 (Yen in millions)
   Japan                                                                                    2,764,321     2,691,972
   United States                                                                            2,766,021     3,401,402
   Europe                                                                                   1,870,091     2,190,311
   China                                                                                      771,006       855,437
   Asia-Pacific                                                                             1,149,261     1,563,414
   Other Areas                                                                                600,813       837,301
     Total                                                                                  9,921,513 11,539,837


   Sources of Supply

        Sony procures parts, components and raw materials used in the production of its products on a global basis
   on the most favorable terms that it can achieve. These items are purchased from various suppliers around the
   world. Sony has a general policy of maintaining multiple suppliers for important parts and components.

        When parts, components and raw materials become scarce, it not only causes production costs to rise but
   also may affect production. For example, semiconductors, LCD panels and other discrete components, which are
   used in multiple applications, can influence Sony’s performance when the availability of such parts and
   components is significantly limited. Additionally, rising energy costs and market prices may cause prices of
   parts, components and raw materials to increase, which may adversely affect Sony’s financial results. Regarding
   raw materials, the market price of resin, sheet steel and copper, which are widely used in mechanical parts,
   electronic parts and components, may also fluctuate because of market factors such as the balance of supply and
   demand, and such fluctuations may impact the cost of those parts and components.

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   After-Sales Service

        Sony provides repair and servicing functions in the areas where its G&NS, ET&S and I&SS products are
   sold. Sony provides these services through its own online support network, call centers, service centers, factories,
   authorized independent service centers, authorized servicing dealers and subsidiaries.

        In line with industry practices of these businesses, almost all of Sony’s consumer-use products that are sold
   in Japan carry a warranty, generally for a period of one year from the date of purchase, covering repairs, free of
   charge, in the case of a malfunction in the course of ordinary use of the product. Warranties outside of Japan
   generally provide coverage for various periods of time depending on the product and the area in which it is
   marketed. In the case of broadcast- and professional-use products, Sony maintains support contracts with
   customers in addition to warranties.

       To further help ensure customer satisfaction, Sony maintains customer information centers in its principal
   markets and web support information for all markets.

   Patents and Licenses

         Sony has a number of Japanese and foreign patents relating to its products and services. Sony is licensed to
   use a number of patents owned by others, covering a wide range of products and services. Certain of these
   licenses are important to Sony’s business. Sony products that employ Blu-ray Disc™ player functionality,
   including PlayStation®4 and PlayStation®5 (“PS5™”) hardware, are substantially dependent upon patents that
   relate to technologies specified in the Blu-ray Disc™ specifications and are licensed by MPEG LA LLC and
   One-Blue, LLC. Sony considers its overall license position beneficial to its operations.

   Competition

        In each of its principal product lines and services, Sony encounters intense competition throughout the
   world. Sony believes, however, that in the aggregate it competes successfully and has a major position in all of
   the principal product lines and services in which it is engaged, although the strength of its position varies with
   products and markets. Refer to “Risk Factors” in “Item 3. Key Information.”

   G&NS, ET&S, I&SS and All Other

        Sony believes that its product planning and product design expertise, the high quality of its products, its
   record of innovative product introductions and product improvements, the user experience it provides and the
   ecosystem that supports such an experience, its price competitiveness derived from reductions in manufacturing
   and indirect costs, and its extensive marketing and servicing efforts are important factors in maintaining its
   competitive position. Continuing to provide high-value added products, services and experiences is a key factor
   by which Sony aims to differentiate itself in these highly competitive markets. Sony believes that the success of
   the G&NS businesses is determined by the availability of attractive software titles and related content,
   downloadable content, network services and peripherals. In the I&SS segment, Sony puts significant effort into
   keeping Sony’s strong competitive position by investing in R&D and production capacity, while also trying to
   avoid overinvesting and increasing fixed costs by carefully monitoring customer demand, market trends and
   demand for end-user products.

   Music

        Success in the music industry is dependent to a large extent upon the artistic and creative abilities of artists,
   producers and employees and is subject to the vagaries of public taste. The Music segment’s future competitive
   position depends on its continuing ability to attract and develop artists and products that can achieve a high
   degree of public acceptance as well as offer efficient services. In addition, Sony believes that the success of the
   Music segment’s animation products and game applications business, Aniplex, is largely dependent on the
   creative talent of game producers and developers, and is also subject to the vagaries of public taste.

   Pictures

        SPE faces intense competition from all forms of entertainment and other leisure activities to attract the
   attention of audiences worldwide. SPE competes with other motion picture studios and production companies to
   obtain story rights and talent, including writers, actors, directors and producers, which are essential to the success
   of SPE’s products. SPE competes with other companies, in particular technology companies, who are expanding

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   into the production or distribution of film and television programing. In motion picture production and
   distribution, SPE faces competition to obtain exhibition and distribution outlets and optimal release dates for its
   products. In addition, SPE faces competition to acquire motion pictures and television programming from third
   parties. In television production and distribution, competition arises from the increasing fragmentation of
   audiences among broadcast and cable networks, digital platforms, DBS providers and other outlets both within
   and outside of the U.S. Furthermore, broadcast networks in the U.S., or their affiliated production companies,
   continue to produce their own shows internally, and major streaming services in and outside the United States are
   producing more content themselves or acquiring content from affiliated production companies. This competitive
   environment may result in fewer opportunities to produce shows for such networks and services, and may
   contribute to shorter lifespans for ordered shows that do not immediately achieve favorable ratings. SPE’s
   worldwide television networks compete for viewers with broadcast and cable networks, DBS providers, digital
   platforms and other forms of entertainment. The number of networks around the world continues to drive
   competition for advertising and subscription revenues, acquisition of programming, and distribution of SPE’s
   television networks by cable, DBS providers, digital platforms and other distribution systems.

   Financial Services
        In the Financial Services segment, Sony faces strong competition in the financial services markets in Japan.
        Sony Life competes not only with traditional insurance companies in Japan but also with other companies
   including online insurance companies, foreign-owned life insurance companies and a number of Japanese
   cooperative associations.
        Sony Assurance competes against insurers that sell their policies through sales agents as well as insurers
   that, like Sony Assurance, primarily sell their policies through direct marketing via the internet and via
   telephone.
        Some of the competitors in the life insurance and non-life insurance businesses have advantages over Sony
   including:
        •   greater financial resources and financial strength ratings;
        •   greater brand awareness;
        •   more extensive marketing and sales networks, including through tie-ups with other types of financial
            institutions;
        •   more competitive pricing;
        •   larger customer bases; and
        •   a wider range of products and services.
        Sony Bank has focused on providing retail asset management and mortgage services for individuals, and
   faces significant competition in Japan’s retail financial services market. Sony Bank competes with traditional
   banking institutions, regional banks, trust banks, non-bank companies, and newer financial groups providing
   online full-services of bank and brokerage in Japan.
        In the Financial Services segment, it is important to maintain a strong and sound financial foundation for the
   business as well as to meet diversifying customer needs. Sony Life and Sony Assurance have maintained a high
   solvency margin ratio, relative to the Japanese domestic minimum solvency margin ratio requirements. Sony
   Bank has maintained a sufficient capital adequacy ratio relative to the Japanese domestic criteria.

   Government Regulations
         Sony’s business activities are subject to various governmental regulations in different countries in which it
   operates, including regulations relating to: various business/investment approvals; trade affairs, including
   customs, import and export control; competition and antitrust; anti-bribery; advertising and promotion;
   intellectual property; broadcasting, consumer and business taxation; foreign exchange controls; economic
   sanctions; personal information protection; product safety; labor; human rights; conflict; occupational health and
   safety; environmental; and recycling requirements.
        In Japan, Sony’s insurance businesses are subject to the Insurance Business Act and approvals and oversight
   from the Financial Services Agency (“FSA”). The primary purpose of the Insurance Business Act and related
   regulations is to protect policyholders, not shareholders. The Insurance Business Act specifies the types of

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   businesses insurance companies may engage in, imposes limits on the types and amounts of investments that can
   be made and requires insurance companies to maintain specified reserves and a minimum solvency margin ratio.
   In particular, life insurance companies must maintain a premium reserve (for the portion of their portfolio other
   than unearned premiums), an unearned premium reserve, a reserve for refunds with respect to certain insurance
   contracts of life insurance companies specified in the Insurance Business Act’s regulations, and a contingency
   reserve in amounts not lower than the amount of the “standard policy reserve” as set forth by the regulatory
   guidelines. The FSA maintains a solvency standard which is used by Japanese regulators to monitor the financial
   strength of insurance companies. Non-life insurance companies are also required to provide a policy reserve.
   Sony Bank is also subject to regulation by the FSA under the Banking Act of Japan, including the requirement
   that it maintain a minimum capital adequacy ratio in accordance with capital adequacy guidelines adopted by the
   FSA based on the Basel III agreement. The FSA has broad regulatory powers over insurance and banking
   businesses in Japan, including the authority to grant or revoke operating licenses and to request information and
   conduct onsite inspections of books and records. Sony’s subsidiaries in the Financial Services segment are
   subject to the Insurance Business Act and the Banking Act that require insurance and banking business
   companies to maintain their financial credibility and to secure protection for policyholders and depositors in view
   of the public importance of insurance and banking services. As such, lending and borrowing between subsidiaries
   in the Financial Services segment and the other companies within Sony Group is strictly limited.

        In addition, Sony’s telecommunication businesses in Japan are subject to approvals and oversight from the
   Ministry of Internal Affairs and Communications, under the Telecommunications Business Act and other
   regulations related to the internet businesses and communication methods in Japan.

   Social Responsibility Regulations Such as Environmental and Human Rights Regulations

        Sony monitors, evaluates, and complies with laws and regulations that may affect its global operations and
   purchasing activities with respect to social responsibility, such as environmental, human rights, labor, and
   occupational health and safety issues. For example, Sony has taken steps to address new regulations or
   governmental policies related to climate change including carbon disclosure, greenhouse gas (“GHG”) emission
   reduction, carbon taxes and energy efficiency for products in the G&NS, ET&S and I&SS segments.

        Also refer to “Risk Factors” in “Item 3. Key Information.”

   Disclosure pursuant to Section 219 of the Iran Threat Reduction and Syria Human Rights Act of 2012

         Section 219 of the Iran Threat Reduction and Syria Human Rights Act of 2012 added Section 13(r) to the
   Securities Exchange Act of 1934 (the “Exchange Act”), as amended. Section 13(r) requires an issuer to disclose
   in its annual or quarterly reports, as applicable, whether it or any of its affiliates knowingly engaged in certain
   activities, transactions or dealings relating to Iran or with designated natural persons or entities sanctioned under
   programs relating to terrorism or the proliferation of weapons of mass destruction. Disclosure is required even
   where the activities, transactions or dealings are conducted outside the U.S. by non-U.S. affiliates in compliance
   with applicable law, and whether or not the activities are sanctionable under U.S. law.

       Sony is aware that certain transactions during the fiscal year ended March 31, 2023, as described below,
   may be disclosable pursuant to Section 13(r) of the Exchange Act.

        Sony generally does not allocate profits at the level of these activities, and therefore calculates the estimated
   net profit solely for the purpose of this disclosure, which in any event would not be significant. The information
   below is to the best of Sony’s knowledge, and in particular Sony may not be aware of all potentially reportable
   sales by third-party-owned dealers and distributors.

        •   Sony’s representative office in Tehran, Iran, which was established in 1992, has been closed and has
            been under liquidation processes since before the beginning of the fiscal year ended March 31, 2014. In
            the course of liquidation, Sony engages in certain incidental transactions (for example, permits, taxes,
            and similar matters incidental to the wind-down of the office in Iran) with Iranian government-owned
            entities. No material revenues or profits are associated with these transactions with the Iranian
            government-owned entities.

        •   A non-U.S. subsidiary of Sony entered into an agreement in March 2023 for the sale of medical
            instruments, namely, a medical printer and accompanying print media, to a third-party-owned distributor
            in Japan, which will be delivered to a hospital in Tehran that is under the control of the Iranian Ministry
            of Health and Medical Education, pursuant to Japan International Cooperation Agency’s (JICA)
            provision of grant aid to supply certain medical equipment to hospitals in Tehran as part of the

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            Government of Japan’s Official Development Assistance (“ODA”). The sale was completed in May
            2023. Sony’s expected gross revenue from the sale is approximately 267 thousand yen, and Sony
            estimates that its net profit from such sales is 50 thousand yen.
         Sony is not aware of any other activity, transaction or dealing by Sony Group Corporation or any of its
   affiliates during the fiscal year ended March 31, 2023 that is disclosable in this report under Section 13(r) of the
   Exchange Act. As of the date of this report, Sony does not anticipate that any activity, transaction or dealing that
   may be disclosable will be conducted during the fiscal year ending March 31, 2024, except as described above in
   connection with the wind-down of its representative office in Iran and the sale of medical instruments pursuant to
   the ODA. Nevertheless, Sony continues to monitor developments in this area as sanctions against Iran continue
   to evolve, and assess whether and to what extent such sanctions may affect Sony’s business activities, which
   Sony intends to conduct in accordance with applicable laws and regulations.
        Sony believes, and maintains policies and procedures designed to ensure that, its transactions with Iran and
   elsewhere have been conducted in accordance with applicable economic sanctions laws and regulations and do
   not involve transactions likely to result in the imposition of sanctions or other penalties on Sony. However, there
   can be no assurance that Sony’s policies and procedures will be effective, and if the relevant authorities were to
   impose penalties or sanctions against Sony, the impact of such sanctions could be material.

   Sustainability Disclosure
   Sony’s Approach to Sustainability
       Sony Group Corporation has established the following basic policy on sustainability with the approval of the
   Board of Directors:
        Sony manages diverse businesses with people at the core, and aims for sustainable value creation based on
   such diversity and mid-to long-term growth in the Sony Group’s corporate value under its Purpose to “fill the
   world with emotion, through the power of creativity and technology,” and its Corporate Direction of “getting
   closer to people.” In order to have people connected to each other through emotion, it is necessary to create a
   society in which everyone can live with peace of mind in a healthy global environment. Sony acts with due
   consideration of the impact of its business activities on stakeholders, including shareholders, customers,
   employees, suppliers, business partners, local communities and other organizations as well as the global
   environment, and focuses on building trust with stakeholders through dialogue. Through innovation and sound
   business practice, Sony endeavors to enhance its corporate value and contribute to the development of a
   sustainable society.

   (1) Organizational Structure for Sustainability Initiatives and Efforts
   <Organizational structure>
         Sony Group Corporation has established the Sustainability Department under the supervision of the Senior
   Executive in charge of Sustainability. The Sustainability Department promotes various sustainability-related
   initiatives throughout the Sony Group in cooperation with each business unit and operating company (“Business
   Unit(s)”) and other corporate divisions, including Compliance, Human Resources, Corporate Planning &
   Control, Finance and Legal (“Relevant Divisions”).
        The Senior Executive in charge of Sustainability regularly reviews and assesses risks and engages in
   detection, communication, evaluation and response for the risk of loss related to sustainability. The Sustainability
   Department reports to the Board of Directors at least once a quarter on sustainability initiatives and their
   progress. In addition, as part of reporting on each Business Unit’s mid-range plan, the Board of Directors
   receives reports from each Business Unit on the sustainability challenges and opportunities relevant to their
   respective business operations and their efforts in those areas.

   <Our sustainability efforts>
        The Sustainability Department, operating under the above structure and the aforementioned “Sony’s
   Approach to Sustainability,” strives to spread this policy across Sony’s business operations. Through dialogue
   with stakeholders and materiality analysis, the Sustainability Department identifies sustainability issues that need
   to be addressed by the Sony Group as a whole. Additionally, the Sustainability Department promotes the group-
   wide sustainability initiatives by formulating relevant Group policies on identified sustainability issues, including
   a global environmental plan, “Road to Zero,” and communicating across the Sony Group by collaborating with
   the Senior Executives in charge of Sony’s headquarters functions and the Relevant Divisions.

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        The Business Units consider sustainability issues and opportunities for their respective businesses, and, with
   unique perspectives, implement sustainability-related initiatives that align with their respective business
   characteristics. In addition, the Business Units, consulting with the Sustainability Department, have introduced
   key performance indicators (“Sustainability KPIs”), which measure the Business Units’ sustainability efforts.
   The Sustainability KPIs are incorporated into the Business Units’ performance evaluations, and the Sustainability
   Department evaluates the status of achievement of such Sustainability KPIs. Additionally, sustainability is
   incorporated into one of the Senior Executives’ performance-linked renumeration evaluation factors for
   individual performance from the perspective of social value creation and ESG (Environment, Social,
   Governance).
        In the fiscal year ended March 31, 2023, a global sustainability conference was held, where the Senior
   Executive in charge of Sustainability, the Senior Executive in charge of Human Resources, and sustainability
   personnel from the Business Units came together to confirm and share the sustainability initiatives for the
   Business Units and their progress on the Sustainability KPIs.
        For the fiscal year ended March 31, 2023, the Sustainability KPIs included reducing the use of virgin
   oil-based plastic in Sony products, introducing renewable energy at Sony’s manufacturing facilities, reducing
   GHG emissions in Sony’s manufacturing processes, implementing awareness-raising activities related to the
   environment and diversity, equity, and inclusion (“DE&I”) using Sony’s content IP, as well as conducting DE&I
   programs and training.

   <Materiality analysis as a prerequisite for the above efforts>
         In order to ensure that Sony’s sustainability initiatives can address changes in the social environment and
   the expectations of stakeholders from a mid- to long-term perspective, the Sustainability Department, under the
   supervision of the Senior Executive in charge of Sustainability, analyzes and identifies material topics for the
   Sony Group and periodically reviews their importance. Sony defines materiality as “material topics that are
   related to sustainability, impact Sony’s value creation, and are determined with longer-term social change and
   diverse stakeholder needs in mind.” The Sustainability Department most recently refreshed the materiality
   analysis in the fiscal year ended March 31, 2023 and evaluated sustainability issues which are highly relevant to
   Sony, including items that have a negative impact on Sony’s value creation from the perspectives of their
   importance to both Sony and its stakeholders.

        The importance of topics from Sony’s perspective is evaluated from the perspective of positive or negative
   impact on Sony’s ability to create value over the mid- to long-term, while the importance of topics from the
   stakeholders’ perspective is evaluated based on information published by non-governmental organizations
   (NGOs), investors, rating agencies, mass media and other sources.

         Based on such analysis, the most important topics that should be prioritized for Sony have been identified
   after review by the Senior Executives in charge of Sony’s headquarters functions and the Board of Directors.

   (2) Sustainability Strategies
        As a result of the above materiality analysis conducted in the fiscal year ended March 31, 2023, Sony has
   identified “Climate Change,” “DE&I,” “Respect for Human Rights,” and “Technology for Sustainability” as the
   most important topics that should be prioritized across the Sony Group (collectively, the “Most Important
   Topics”).

   <Background for selecting the Most Important Topics>
    •   Climate Change: Sony acknowledges that climate change impacts are becoming more apparent and that the
        transition towards a decarbonized society is a critical issue for all companies and that our stakeholders have
        elevated expectations of Sony’s environmental initiatives along two axes: the first being its “responsibility,”
        for instance, to reduce Sony’s environmental impact, and the second being the “contribution” it can make by
        leveraging its diverse businesses and technologies. Sony’s corporate activities are only possible if the earth,
        which sustains all life, is healthy. Sony believes that it is important to respond to the environment, including
        by taking measures against climate change.
    •   DE&I: Sony recognizes that diverse organizations are more innovative in corporate activities than
        non-diverse organizations. Sony believes that it is important to respect our employees’ diverse values,
        remember the importance of equity, and foster an inclusive organizational culture. Expectations are also
        rising for corporate initiatives to address social issues such as social justice and inequality, and Sony
        believes that it is important for the Sony Group to further promote initiatives aimed at resolving issues both
        inside and outside the Group.

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    •   Respect for Human Rights: Sony is aware of the potential human rights impacts of its global business
        activities. Sony recognizes that respecting human rights throughout Sony’s value chain and addressing any
        potential human rights risks, whether the relationship with Sony’s business operation is direct or indirect,
        are responsibilities that a diverse range of stakeholders expect of Sony. Considering recent changes in the
        external environment related to respect for human rights, Sony believes that it is important to further
        strengthen its efforts in this area.
    •   Technology for Sustainability: Sony recognizes that our stakeholders have expectations regarding our ability
        to both grow our business and solve social and environmental issues through technology. Sony believes that
        it is an important mission of Sony to lead and contribute to the resolution of sustainability issues not only by
        increasing business revenue through the technologies and products Sony develops, but also by having a
        positive impact on society and the environment.

   <Strategy and targets for the Most Important Topics, and major initiatives>
    •   Climate Change
   Under the “Road to Zero,” a long-term environmental plan established in 2010 that aims to achieve a zero
   environmental footprint for the entire Sony Group by the year 2050, Sony is promoting environmental impact
   reduction activities in each of the following four perspectives: climate change, resources, chemical substances,
   and biodiversity. In May 2022, Sony announced that it had determined to accelerate its environmental impact
   reduction activities in the climate change area and to push its goal of achieving a net-zero footprint throughout
   the entire value chain, moving the target year from 2050 to 2040. Sony’s net-zero (*1) target for 2040 was
   approved as the net-zero target for the Science Based Targets initiative (“SBTi”) (*2) in August 2022.
   *1 Sony’s net-zero target follows the SBTi Corporate Net-zero Standard below:
        (a) reducing Scope 1, 2 and 3 emissions to zero or a residual level consistent with reaching net-zero
            emissions at the global or sector level in eligible 1.5°C scenarios or sector pathways; and
        (b) neutralizing any residual emissions at the net-zero target date – and any GHG emissions released into
            the atmosphere thereafter.
   *2 Science Based Targets initiative (SBTi) is a global initiative that encourages companies to set science-based
   targets to reduce their GHG emissions toward the goal of limiting the increase in global average temperature due
   to climate change to 1.5°C above pre-industrial levels.
   Specific targets for achieving the above net-zero target by 2040 are as follows.
        1. By 2030, Sony aims to make direct and indirect GHG emissions (Scopes 1 and 2) of its own business
           operations net-zero. For other emissions originating from stages such as products, supply chains, and
           logistics (Scope 3), Sony aims to reduce GHG emissions during product use by 45% compared to the
           fiscal year ended March 31, 2019 by 2035. By 2040, Sony aims to achieve net-zero emissions in all
           Scopes.
        2. By 2030, Sony aims to achieve 100% renewable electricity used at its own business sites. The
           percentage of electricity use derived from renewable energy targeted to be achieved as of 2025 has been
           set at 35%.
   To achieve the targets in 1 and 2 above, Sony intends to implement the following measures.
        •   Continuous reduction of environmental impact at Sony Group’s own business sites: Acceleration of
            energy saving, installation of solar power generation equipment, and introduction of renewable energy
            throughout the Sony Group. Virtual PPA (Power Purchase Agreement) using the FIP
            (Feed-in-Premium) system in Japan.
        •   Promotion of energy-efficient products: Acceleration of initiatives to reduce annual power consumption
            of Sony products.
        •   Strengthening efforts with partners: Encouragement of business partners engaged in parts, materials and
            finished product manufacturing to manage their GHG emissions, save energy, and convert to renewable
            energy.
        •   Contribution to carbon removal/fixation (*3): Exploration of investments in start-ups engaged in carbon
            removal, and development of an index integrating biodiversity and carbon fixation associated with
            augmented ecosystem businesses, such as Synecoculture™ (*4) being rolled out by SynecO, Inc.
        *3 Process by which carbon from the atmosphere is converted into organic compounds.
        *4 Synecoculture is a trademark of Sony Group Corporation.

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    •   DE&I
   Refer to “(3) Human Capital Strategies, Metrics and Targets” for DE&I strategies.
    •   Respect for Human Rights
   Sony’s policy requiring respect for human rights is set forth in the Sony Group Code of Conduct. Sony expects
   all Sony Group companies to practice responsible business conduct by respecting all human rights in compliance
   with the code as well as all relevant laws and regulations.
   Under this policy, Sony established and implemented Group policies specific to the human rights area, such as
   the “Sony Supply Chain Code of Conduct” which sets forth the code of conduct for Sony’s own manufacturing
   sites and suppliers, and aims to work towards a responsible supply chain, and the “Sony Group AI Ethics
   Guidelines,” which guide all Sony officers and employees to utilize artificial intelligence (“AI”) and/or conduct
   AI-related R&D in a manner that conforms with our values and emerging social norms. Sony engages in
   initiatives to prevent or mitigate any potential negative impact on human rights in line with the frameworks set
   out in the United Nations Guiding Principles on Business and Human Rights (UNGP) issued by the United
   Nations Human Rights Council and the OECD Guidelines for Multinational Enterprises. As one of our major
   efforts, Sony conducts human rights risk impact assessments, which serve as the starting point for our human
   rights due diligence. After identifying potential human rights risks that are highly relevant to Sony’s business
   activities, the assessments further identified three areas as priority areas for enhancing initiatives throughout the
   Sony Group: responsible supply chains, respect for DE&I and responsible development and use of technologies.
   As a result of the assessments, Sony promotes individual initiatives for each of these areas.
    •   Technology for Sustainability
   Sony supports technological development that helps businesses grow and innovation that betters society and
   industry for the future.
   For example, Sony’s R&D regarding sensing technology that measures the water content in soil, ultra-wide area
   sensing network technology, and sophisticated predictive data analytics technology, is underway. Sony promoted
   the practical application of Triporous™, a plant-based porous carbon material made from rice husks, which has
   now been introduced in the apparel sector, including through deodorant and antibacterial fibers, and in the
   healthcare sector, including though cleaning agents. Sony is also working to reduce the environmental impact of
   its products through the development of environmentally conscious materials and technologies to reduce power
   consumption.

   <Sony’s sustainability efforts on other sustainability issues>
         Sony Group is driving initiatives to improve accessibility so that people with diverse needs can enjoy our
   products and services. For example, Sony employs inclusive design, including the participation of employees
   with disabilities in the planning of products and services, interviews with people with disabilities, and usability
   tests. In March 2023, the Sony Group exhibited at the CSUN Assistive Technology Conference 2023 through
   which Sony provided opportunities for more users to experience Sony’s accessible products and services and
   received various feedback from users for further possible improvements in the accessibility of Sony’s products
   and services.
         In 2018, Sony established and implemented the “Sony Group Ethics Guidelines,” as described above, as
   Sony has expanded its AI development and usage. In December 2019 Sony established the Sony Group AI Ethics
   Committee, and in 2021 the AI Ethics Office was established within Sony Group Corporation to provide subject
   matter expertise on AI ethics to all Business Units. Sony has been strengthening its framework for AI ethics with
   initiatives such as establishing an internal document stipulating requirements to be complied with in the
   commercialization process of electronic products and services, and starting AI ethics assessments in the product
   development life cycle.

   (3) Human Capital Strategies, Metrics and Targets
   <Human Resources strategy — “Diversity” and “Attract talented individuals,” “Develop talented individuals,”
   “Engage talented individuals.” —>
        Starting from the electronics business, Sony has continued to evolve, expanding the breadth of its businesses
   to include semiconductors, music, financial services, motion pictures and games. Furthermore, Sony has
   developed all its businesses globally, and has tailored its organizational structure with the aim of supporting their
   optimal global operation. Sony has headquartered half of its six main business segments in the U.S., and Sony’s

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   diverse businesses operating across different regions are sustained by our diverse employees, one of Sony’s most
   important management resources, who form the foundation for creative innovation. Sony considers the diversity
   of our employees and businesses as drivers for value creation, along with creativity and technology. Sony has
   approximately 110,000 employees worldwide who are diverse, not only in terms of nationality and race, but also
   due to the expansion of Sony’s businesses, in terms of job types. Employee diversity constitutes the driving force
   behind the growth of each business. With their diverse backgrounds and varied specialties, Sony’s employees
   connect and intersect across businesses and regions, fusing technology and creativity to create new value in
   alignment with Sony’s Purpose, which is to “fill the world with emotion, through the power of creativity and
   technology.”
        Since its founding, Sony has respected the independence and challenger’s spirit of individuals, and
   cherished a corporate culture based on the partnership between Sony and each individual employee, where each
   party is accountable to the needs of the other. Sony’s People Philosophy, “Special You, Diverse Sony,”
   represents Sony’s approach to employees, which has taken root and been carried on as part of our corporate
   culture, and conveys the desire that each unique individual and Sony embrace diversity and continue to grow
   together, centered on a shared Purpose.
        The group-wide HR strategy based on Sony’s People Philosophy is defined as: “Attract talented
   individuals,” “Develop talented individuals,” and “Engage talented individuals.” Sony aims to maximize the
   performance of the Sony Group as a whole by focusing on measures that support spontaneous employee
   challenges and their willingness to grow, and in turn maximize the power of each individual employee. With
   regard to specific initiatives, Business Units’ HR executives formulate and implement the most appropriate HR
   measures in accordance with the characteristics of their respective businesses and regions.

   (i) “Attract talented individuals”
        Sony considers it important to attract diverse talent who identify with Sony’s Purpose, possess a high level
   of skill and expertise, embrace the spirit of challenge, and possess the ambition to grow. In recruitment activities,
   Sony strategically works with all Sony Group companies worldwide to attract world-class talent, and also focuses
   on industry-academia collaboration as a mid- to long-term measure to develop diverse talent pipelines. Sony is
   also globally providing opportunities that lead to the success of employees with various business, regional, and
   social backgrounds. For example, in the U.S., Sony provides early training and educational support to those who
   do not have sufficient opportunities and links these activities to the recruitment of diverse individuals.

   (ii) “Develop talented individuals”
        Sony believes that the most effective way for our employees to grow is to provide them with job
   opportunities where they have autonomy and are able to demonstrate their desire to grow by taking on new
   challenges. For this reason, Sony systematizes the skills required according to the roles of employees and aims to
   strengthen each skill throughout the Group. Sony strongly believes that management-level employees play an
   important role in the growth of the Sony Group and its employees. Sony’s management team and HR
   departments discuss the direction for the mid-term development training and strengthening of the Group’s
   management and provide management-level employees with various programs such as leadership development
   and coaching, which aim to expand horizons and increase experience in a broad range of fields. Additionally,
   Sony has established the “Sony University” program, which was designed to nurture future leaders who will play
   a key role in each business segment and function. Furthermore, through the “Sony Cross-Mentoring Program,”
   Sony aims to create strategic connections between the current management team and future key employees in
   each business segment, to facilitate passing on the current leadership team’s wealth of experience to the next
   generation and to develop new group synergies and talented individuals.

   (iii) “Engage talented individuals”
         To fully leverage the diversity of our employees, Sony believes that it is essential for each employee with
   different personalities, lifestyles, and work styles to continue to take on challenges in pursuit of growth. Sony’s
   initiatives include its diverse career development programs (including an internal job posting program, the “Free
   Agent Program” and the “Career Plus” program, among others, which all provide opportunities for professional
   experience within the Sony Group) and the arrangement of “PORT,” a space for learning and employee
   interaction within the Sony Group, in which employee-led community activities and various training programs
   are held.
       Sony believes that whether our diverse employees are able to maximize their uniqueness depends on their
   engagement and degree of empathy with our Purpose. At Sony, employee engagement is considered a

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   particularly important indicator and is incorporated as part of the evaluation factors of remuneration linked to
   business results for Senior Executives of the Corporation. Going forward, Sony aims to continue to promote
   initiatives that lead to greater employee empathy with the Purpose and higher employee engagement, thereby
   aiming to realize the sustainable growth of Sony.
        <Policy to foster the diversity of our employees and to build an inclusive organization>
        Similar to a strong stone wall built by skillfully combining stones of different shapes, Sony aims to realize
   an organization in which diverse personalities, opinions, views, and values coexist in a corporate setting. Sony
   has implemented priority measures that are suitable for each business, region, and social environment in order to
   promote the appointment of employees with diverse backgrounds, place importance on the perspective of equity,
   and achieve true inclusion, which we believe will lead to the sustainable growth of the Sony Group which is
   comprised of diverse businesses.
        As a group-wide initiative, Sony has established a “Diversity Statement” that emphasizes the importance of
   promoting diversity. In the U.S., Sony creates a wide range of internal and external opportunities. For example,
   SME has its own framework, “MILES,” for fostering DE&I that contributes to industry development, and SPE
   has the “Sony Pictures Action” program, which focuses on four pillars — people, content, partners, and
   community — to provide support for those who are socially disadvantaged. In addition, since 2015, Sony has
   held a “Diversity Week” every year and Sony Group companies around the world hold events to promote
   understanding of diversity in terms of gender, race, nationality, sexual orientation, gender identity, and
   disabilities.

   (i) Diversity of experience
         Sony believes that adding new knowledge and perspectives gained through experience at other companies
   will lead to the growth of our businesses and employees. Throughout the years, Sony has aimed to actively
   promote hiring individuals with such diversity of experience, especially in areas of business need. The ratio of
   employees with prior experience at other companies to all new hires at Sony Group companies in Japan was
   52.5% for the fiscal year ended March 31, 2023, 49.6% for the fiscal year ended March 31, 2022, and 48.7% for
   the fiscal year ended March 31, 2021. Additionally, the majority of our employees at overseas Group companies
   have prior experience at other companies. During performance evaluation, Sony does not distinguish between
   employees with experience at other companies and those who started their careers at Sony.

   (ii) Diversity of nationality
        As of March 31, 2023, half of the Senior Executive Vice Presidents at Sony Group Corporation, who are
   responsible for major businesses, were non-Japanese. This demonstrates the diversity of backgrounds at the
   leadership level at Sony. In addition, some of the Sony Group’s major businesses, such as the Pictures and Music
   Publishing businesses, have foreign nationals playing a major role in their operations. Approximately half of all
   Sony Group employees are engaged in business activities outside Japan, and more than 90% of these employees
   are locally hired. In addition, Sony continues to actively recruit talented students and experienced individuals
   from around the world, regardless of nationality, to become employees capable of enhancing global research and
   development and cutting-edge technology development, such as AI developed at Sony Research Inc. (formerly
   Sony AI Inc.).

   (iii) Diversity of gender
        Sony aims to globally promote greater opportunities for women as part of our efforts to ensure an inclusive
   work environment in which diverse employees can play an active role. As of March 31, 2023, the ratio of women
   to men in the workforce was 34.0% and the ratio of women to men in management positions was 30.0% at the
   whole Sony Group. On the other hand, Sony considers increasing gender diversity as an area of focus for Japan,
   where the ratio of women to men in management positions is low and the number of women majoring in the
   fields of science or engineering is limited.
         Sony believes that it is essential to promote greater opportunities for women through measures to improve
   the working environment, as well as development programs and recruitment activities. Specifically, Sony has
   programs focused on continuously developing female employees, such as development and career training
   programs for female leaders as well as roundtable discussions and networking events for female employees, and
   is strengthening recruitment activities geared towards female employees, such as through science programs for
   female students aimed at supporting the next generation of talent. In addition, Sony Group Corporation and its
   major subsidiaries in Japan have set targets for increasing both the ratio of women to men in management
   positions and the ratio of male employees taking childcare leave.

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   (iv) Promoting greater opportunities for LGBTQ+

        Sony is working to ensure internal infrastructure inclusive of diverse employees and aiming to provide
   LGBTQ+ employees globally with working environments in which they can feel comfortable being themselves,
   while acknowledging various national and regional considerations and circumstances.

        As a group-wide initiative, Sony introduced a pride logo, a Sony logotype displayed in rainbow colors, to
   visually express Sony’s respect inside and outside Sony and support for LGBTQ+ employees and communities.
   In addition to supporting LGBTQ+ employees, Sony has implemented an e-learning course for employees that
   covers LGBTQ+ topics, offers LGBTQ+ workshops, organizes events designed to raise employees’ awareness,
   and participates in pride parades globally. In the U.S., in partnership with GLAAD, an organization that aims to
   prevent LGBTQ+ discrimination in the media, SME provided training on LGBTQ+ inclusion and sponsored the
   33rd Annual GLAAD Media Awards, which recognizes media outlets for their fair, accurate, and inclusive
   representation of LGBTQ+. In Japan, Sony has expanded various personnel programs to cover same-sex partners,
   provides gender-neutral restrooms, makes it optional for job applicants to indicate their gender on applications,
   and provides private restrooms and shower facilities in each room at corporate dormitories, all measures aimed at
   ensuring a working environment inclusive of diverse employees.

   (v) Promoting greater opportunities for individuals with disabilities

         Sony aims to create an employment environment where disabilities do not create barriers and no employee
   feels held back by their disability. Enabling every employee to thrive follows the philosophy of Masaru Ibuka,
   one of Sony’s founders, who said “we had a spirit of autonomy and a belief in creating workplaces that do not
   offer charity, but rather create an environment that makes it possible for individuals with disabilities to
   manufacture products that exceed those manufactured by individuals without disabilities.” To this end, Sony is
   focused on complying with the laws and norms of each country and region and aims to create an inclusive work
   environment that enables career building regardless of disabilities, and the entire Group is working to achieve
   this goal.

        Sony has signed the Valuable 500, a World Economic Forum initiative focused on the inclusion of people
   with disabilities, and Sony’s goal to create inclusive work environments aligns with this initiative. Sony was
   named one of the Valuable 500 Iconic Leader companies, which are driving forces in their respective countries,
   regions, and industries. In the U.S., Sony is actively working with Disability:IN, an organization focused on the
   inclusion of people with disabilities in business, and has created an e-learning program to deepen the
   understanding of accessibility and disabilities among Sony Group companies and delivered it to employees. In
   Japan, Sony manages three special-purpose subsidiaries as an independent business establishment, and the know-
   how regarding reasonable workplace accommodation and accessibility related to the employment of persons with
   disabilities gained through the operation of these subsidiaries is being deployed throughout the Group. For
   example, employees of overseas Group companies visit the manufacturing sites of the special-purpose
   subsidiaries in Japan to learn about designing production lines that are accessible for people with disabilities to
   work on.

        Through the foregoing policy, Sony plans to continuously implement various programs to foster the
   diversity of our employees and build an inclusive organization for Sony’s sustainable growth and value creation
   for society.




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   C.   Organizational Structure

       The following table sets forth the significant subsidiaries owned, directly or indirectly, by Sony Group
   Corporation.

                                                                            Country of          (As of March 31, 2023)
   Name of company                                                    incorporation/residence     Percentage owned

   Sony Interactive Entertainment Inc.                                       Japan                     100.0
   Sony Music Entertainment (Japan) Inc.                                     Japan                     100.0
   Sony Corporation                                                          Japan                     100.0
   Sony Global Manufacturing & Operations Corporation                        Japan                     100.0
   Sony Semiconductor Solutions Corporation                                  Japan                     100.0
   Sony Semiconductor Manufacturing Corporation                              Japan                     100.0
   Sony Semiconductor Energy Management Corporation                          Japan                     100.0
   Sony Network Communications Inc.                                          Japan                     100.0
   Sony Marketing Inc.                                                       Japan                     100.0
   Sony Storage Media Solutions Corporation                                  Japan                     100.0
   Sony Global Solutions Inc.                                                Japan                     100.0
   Sony Financial Group Inc.                                                 Japan                     100.0
   Sony Life Insurance Co., Ltd.                                             Japan                     100.0
   Sony Bank Inc.                                                            Japan                     100.0
   Sony Assurance Inc.                                                       Japan                     100.0
   Sony Corporation of America                                              U.S.A.                     100.0
   Sony Interactive Entertainment LLC                                       U.S.A.                     100.0
   Sony Music Entertainment                                                 U.S.A.                     100.0
   Sony Music Publishing LLC                                                U.S.A.                     100.0
   Sony Pictures Entertainment Inc.                                         U.S.A.                     100.0
   Columbia Pictures Industries, Inc.                                       U.S.A.                     100.0
   CPT Holdings, Inc.                                                       U.S.A.                     100.0
   Sony Electronics Inc.                                                    U.S.A.                     100.0
   Sony Europe B.V.                                                          U.K.                      100.0
   Sony Interactive Entertainment Europe Ltd.                                U.K.                      100.0
   Sony Global Treasury Services Plc                                         U.K.                      100.0
   Sony Overseas Holding B.V.                                             Netherlands                  100.0
   Sony (China) Limited                                                      China                     100.0
   Sony EMCS (Malaysia) Sdn. Bhd.                                          Malaysia                    100.0
   Sony Electronics (Singapore) Pte. Ltd.                                  Singapore                   100.0

   D.   Property, Plant and Equipment

        Sony has a number of offices, plants and warehouses throughout the world. Most of the buildings and land
   in/on which such offices, plants and warehouses are located are owned by Sony.




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         The status of major property, plants and equipment as of March 31, 2023 is as follows:
                                                                                            Carrying Amount (Yen in millions)
                                                                                          Land
                                                                                         (Area            Machinery,
   Facility or                                                                         (thousand          equipment
   Subsidiary Name                                                                       square            and other Right-of-use Number of
   (Primary Location)              Segment                    Details                   meters)) Buildings assets*1      assets   employees*2
   In Japan (Sony Group Corporation*3):
   Headquarters                Corporate Headquarters facilities                         1,275    21,862     14,681         —        1,435
   (Minato-ku, Tokyo)                                                                      (19)
   Others*4                    Corporate Headquarters facilities                         6,582    34,544      3,718         —        1,010
                                                                                          (305)
   In Japan (Subsidiaries):
   Sony Interactive Entertainment G&NS        Home gaming consoles /                        —      1,407   168,168      11,381       1,900
   Inc.                                       cloud-related software                       (—)
   (Minato-ku, Tokyo)
   Sony Corporation               ET&S        Research facilities for TVs, audio /          —      2,372     47,810     35,495       7,300
   (Minato-ku, Tokyo)                         video devices, cameras, broadcasting         (—)
                                              equipment and medical equipment
   Sony Network                  ET&S         Data communication facilities                 —        527     69,385      5,177       1,900
   Communications Inc.*5                                                                   (—)
   (Shinagawa-ku, Tokyo)
   Sony Global Manufacturing & ET&S,          Production facilities for electronic       5,543    10,870     16,430      5,517       4,000
   Operations Corporation        I&SS, All    devices, etc.                               (468)
   (Kohda Site, etc.)            Other
   (Minato-ku, Tokyo)
   Sony Semiconductor Solutions I&SS          Research facilities for image sensors,        —      1,326     36,070     19,525       7,300
   Corporation                                etc.                                         (—)
   (Atsugi-shi, Kanagawa)
   Sony Semiconductor            I&SS         Production facilities for image           11,244 144,569     545,869      10,075       8,100
   Manufacturing Corporation                  sensors, etc.                               (622)
   (Nagasaki TEC, etc.)
   (Kikuchi-gun, Kumamoto)
   Sony Semiconductor Energy I&SS             Energy supply facilities for the              —     25,638     87,833     35,638         100
   Management Corporation                     manufacturing of image sensors, etc.         (—)
   (Nagasaki TEC, etc.)
   (Kikuchi-gun, Kumamoto)
   Sony Music Entertainment      Music        Music facilities and in-house             22,548    11,009     55,105     10,595       4,200
   (Japan) Inc.*5                             software                                    (320)
   (Chiyoda-ku, Tokyo)
   Sony Financial Group Inc.*5   Financial    In-house software                          6,324     6,290     70,064     84,023      13,500
   (Chiyoda-ku, Tokyo)           Services                                                  (25)
   Sony Global Solutions Inc.    Corporate    In-house software                             —        490     21,889        995         600
   (Minato-ku, Tokyo)                                                                      (—)
   Outside Japan (Subsidiaries):
   Sony Corporation of           ET&S,        Production facilities for electronic         317    18,875      3,841      3,395       1,300
   America*5                     I&SS         products, etc.                              (112)
   (New York, United States)
                                 Music        Music catalogs, etc.                          80     9,401   797,219      41,901       6,900
                                                                                            (4)

                                  Pictures    Production facilities for motion          11,070    45,917   814,019      39,486       9,100
                                              pictures, television programming,           (268)
                                              video software, etc.

                                  All Other, Office buildings and machinery, etc.          871    10,473     15,516     17,994       1,600
                                  Corporate                                               (142)
   Sony Interactive Entertainment G&NS       Cloud-related facilities, etc.                 —      6,909   150,792     104,119       6,100
   LLC*5                                                                                   (—)
   (California, United States)
   Sony Europe B.V.*5             ET&S,      Office buildings and sales facilities,      2,344     3,822     11,956      9,078       3,900
   (Surrey, United Kingdom)       I&SS, All etc.                                           (45)
                                  Other
   Sony EMCS (Malaysia) Sdn. ET&S            Production facilities for electronic           —      4,589      8,482        185       4,900
   Bhd.                                      devices, etc.                                 (—)
   (Selangor, Malaysia)
   Sony Electronics (Singapore) ET&S,        In-house software                              —         88     11,802      1,633         400
   Pte. Ltd.                      I&SS, All                                                (—)
   (Singapore)                    Other,
                                  Corporate

   *1 “Machinery, equipment and other assets” represents machinery, equipment and other tangible fixed assets, as
   well as content assets and other intangible assets.

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   *2 Numbers of employees of subsidiaries are rounded to the nearest hundred.

   *3 Includes facilities leased from subsidiaries in Japan. In addition to the listed facilities, Sony Group
   Corporation leases its land, buildings and structures mainly to subsidiaries and affiliates in Japan. Furthermore,
   Sony Group Corporation subleases its Right-of-use assets mainly to subsidiaries and affiliates in Japan.

   *4 “Others” primarily includes Sony City Osaki and Atsugi TEC.

   *5 Figures for Sony Network Communications Inc., Sony Music Entertainment (Japan) Inc., Sony Financial
   Group Inc., Sony Corporation of America, Sony Interactive Entertainment LLC and Sony Europe B.V. are
   consolidated financial figures, which include their subsidiaries’ figures.

   Item 4A. Unresolved Staff Comments

        None

   Item 5.     Operating and Financial Review and Prospects

   The following discussion covers the fiscal years ended March 31, 2022 and 2023.

   A.   Operating Results

   Operating Performance

       The following discussion covers the fiscal years ended March 31, 2022 and 2023. For the discussion
   covering the fiscal year ended March 2021, refer to “Item 5.A.” of Sony’s Form 20-F for the fiscal year ended
   March 31, 2022 filed with the SEC on June 28, 2022.

                                                                                                Fiscal year ended March 31
                                                                                                   2022              2023
                                                                                                      (Yen in billions)
   Sales and financial services revenue                                                            9,921.5      11,539.8
   Operating income                                                                                1,202.3       1,208.2
   Income before income taxes                                                                      1,117.5       1,180.3
   Net income attributable to Sony Group Corporation’s stockholders                                  882.2         937.1

   Sales

        For the fiscal year ended March 31, 2023, sales increased 1 trillion 618.3 billion yen compared to the fiscal
   year ended March 31, 2022 (“year-on-year”) to 11 trillion 539.8 billion yen. This significant increase was mainly
   due to significant increases in sales in the G&NS, I&SS, Music and Pictures segments as well as an increase in
   sales in the ET&S segment. A further breakdown of sales figures is presented under “Operating Performance by
   Business Segment” below.

   Cost of Sales, Selling, General and Administrative Expenses and Other Operating (Income) Expense, net

        “Sales” in the analysis of the ratio of “cost of sales” to sales, the ratio of “R&D costs” to sales, and the ratio
   of “selling, general and administrative expenses” (“SGA expenses”) to sales refers only to the net sales portions
   of consolidated sales (which excludes financial services revenue). This is because financial services expenses are
   recorded separately from cost of sales and SGA expenses in the consolidated financial statements. The
   calculations of all ratios below that pertain to reportable segments include intersegment transactions.

         For the fiscal year ended March 31, 2023, cost of sales increased 1 trillion 328.9 billion yen year-on-year to
   7 trillion 174.7 billion yen. The ratio of cost of sales to sales deteriorated year-on-year from 69.6% to 71.1%.

        R&D costs (all R&D costs are included within cost of sales) increased 117.3 billion yen year-on-year to
   735.7 billion yen. The ratio of R&D costs to sales was 7.3%, compared to 7.4% in the fiscal year ended
   March 31, 2022. For further details, refer to “Research and Development” in Item 5.C.

       SGA expenses increased 380.7 billion yen year-on-year to 1 trillion 969.2 billion yen. The ratio of SGA
   expenses to sales deteriorated year-on-year from 18.9% to 19.5%.

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        Other operating (income) expense, net, decreased 53.5 billion yen year-on-year to income of 12.0 billion
   yen. This significant deterioration was mainly due to the absence of a gain of 70.0 billion yen from the transfer of
   certain operations of Game Show Network, LLC in the Pictures segment in the fiscal year ended March 31, 2022.
   Refer to Note 31 of the consolidated financial statements.

   Share of profit of investments accounted for using the equity method

        For the fiscal year ended March 31, 2023, the share of profit (loss) of investments accounted for using the
   equity method was income of 24.4 billion yen, essentially flat year-on-year. This result was mainly due to
   increases in the share of profit of investments in the Music and Pictures segments, substantially offset by a
   decrease in the share of profit of the investment in M3 Inc. (“M3”). This decrease in the share of profit of the
   investment in M3 was mainly due to the absence of the recording of 5.1 billion yen in the share of profit of the
   investment in M3 related to a gain on a change in M3’s equity interest in an affiliated company in the fiscal year
   ended March 31, 2022, resulting from the issuance of new shares in connection with the affiliated company’s
   public listing.

   Operating Income

        For the fiscal year ended March 31, 2023, operating income was 1 trillion 208.2 billion yen, essentially flat
   year-on-year. This result was due to significant increases in operating income in the Financial Services, I&SS
   and Music segments as well as a significant decrease in the operating loss in Corporate and elimination,
   substantially offset by significant decreases in operating income in the Pictures and G&NS segments and a
   decrease in operating income in the ET&S segment. Operating income for the previous fiscal year included the
   above-mentioned factor being recorded as other operating (income) expense, net. Operating income for the
   previous fiscal year also included a loss of 16.8 billion yen recorded due to an unauthorized withdrawal of funds
   at a subsidiary of Sony Life and a settlement gain of 5.5 billion yen in connection with the termination of the
   defined benefit pension plan at certain U.S. subsidiaries, mainly within Corporate and elimination. Operating
   income for the current fiscal year included the impact of litigation settlements, net of expenses, of 5.7 billion yen
   received in relation to lawsuits for Recorded Music and Music Publishing and the recovery of 22.1 billion yen of
   an unauthorized withdrawal of funds at a subsidiary of Sony Life which occurred in the previous fiscal year.

   Financial Income and Expenses

        For the fiscal year ended March 31, 2023, financial income increased by 11.8 billion yen year-on-year, to
   31.1 billion yen, while financial expenses decreased by 45.2 billion yen year-on-year, to 59.0 billion yen. The net
   effect of financial income and expenses was an expense of 27.9 billion yen, an improvement of 56.9 billion yen
   year-on-year. This significant improvement was primarily due to a decrease in unrealized losses, mainly on
   Sony’s shares of Spotify Technology S.A.

   Income before Income Taxes

        For the fiscal year ended March 31, 2023, income before income taxes increased 62.8 billion yen
   year-on-year to 1 trillion 180.3 billion yen.

   Income Taxes

        During the fiscal year ended March 31, 2023, Sony recorded 236.7 billion yen of income tax expenses. The
   effective tax rate of 20.1% in the current fiscal year was lower than the effective tax rate of 20.5% in the previous
   fiscal year. The effective tax rate in the current fiscal year reflects the impact of an increase in tax credits in
   Japan, and the benefit from a decrease in the deferred tax liabilities related to Japan controlled foreign company
   taxation. The effective tax rate in the previous fiscal year reflected the impact of the reversal of a previous write-
   down of certain deferred tax assets at certain companies in Japan. Refer to Note 25 of the consolidated financial
   statements.

   Net Income Attributable to Noncontrolling Interests

        For the fiscal year ended March 31, 2023, net income attributable to noncontrolling interests of 6.5 billion
   yen was recorded, an increase of 0.3 billion yen year-on-year. Refer to Note 20 of the consolidated financial
   statements.

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   Net Income Attributable to Sony Group Corporation’s Stockholders
        For the fiscal year ended March 31, 2023, net income attributable to Sony Group Corporation’s
   stockholders, which excludes net income attributable to noncontrolling interests, increased 54.9 billion yen
   year-on-year to 937.1 billion yen.

        Basic net income per share and diluted net income per share, attributable to Sony Group Corporation’s
   stockholders for the fiscal year ended March 31, 2023 were 758.38 yen and 754.95 yen, respectively, compared
   with 711.84 yen and 705.16 yen, respectively, for the fiscal year ended March 31, 2022. Refer to Note 26 of the
   consolidated financial statements.

   Operating Performance by Business Segment
        The following discussion is based on segment information. Sales in each business segment represents sales
   recorded before intersegment transactions are eliminated. Operating income (loss) in each business segment
   represents operating income (loss) reported before intersegment transactions are eliminated and excludes
   unallocated corporate expenses. Refer to Note 4 of the consolidated financial statements.

   Game & Network Services (G&NS)
   Key Financial Figures
                                                                                               Fiscal year ended March 31
                                                                                                  2022             2023
                                                                                                     (Yen in millions)
     Sales to external customers by product category
       Digital Software and Add-on Content                                                     1,424,459       1,523,045
       Network Services                                                                          409,355         464,676
       Hardware & Others                                                                         840,542       1,550,812
     Sales to external customers                                                               2,674,356       3,538,533
     Intersegment sales                                                                           65,407         106,065
   G&NS segment total sales                                                                    2,739,763       3,644,598
   G&NS segment operating income                                                                 346,089          250,006

                                                                                                    (Units in millions)
   Major product unit sales
   PS5™ hardware                                                                                     11.5             19.1

        For the fiscal year ended March 31, 2023, sales increased 904.8 billion yen year-on-year to 3 trillion
   644.6 billion yen. This significant increase in sales was mainly due to the impact of foreign exchange rates, an
   increase in sales of hardware and an increase in sales of first-party titles, partially offset primarily by a decrease
   in sales of non-first-party titles including add-on content.
        Operating income decreased 96.1 billion yen year-on-year to 250.0 billion yen. This significant decrease
   was primarily due to an increase in costs, mainly for game software development and expenses associated with
   acquisitions completed in the current fiscal year, including Bungie*, in addition to the impact of the above-
   mentioned decrease in sales of non-first-party titles. This decrease in operating income was partially offset by the
   impact of the above-mentioned increase in sales of first-party titles as well as a decrease in losses from hardware.
   During the current fiscal year, there was a 32.4 billion yen negative impact from foreign exchange rate
   fluctuations.
   * 52.7 billion yen was recorded as expenses associated with acquisitions completed in the current fiscal year. For
   details regarding the acquisition of Bungie, refer to Note 30 of the consolidated financial statements.

   Business Environment and Strategy
        The operating performance of the G&NS segment for the fiscal year ended March 31, 2023 reflected strong
   sales of hardware and peripheral devices resulting from a significant improvement in PS5™ supply in the second
   half of the fiscal year and a continuous stable revenue contribution from network services resulting from the
   positive impact of the launch of the new three-tiered PlayStation®Plus service. On the other hand, software sales
   were impacted by a reduction in users’ game spend as opportunities to go outside increased due to a reduction in

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   COVID-19 infections compared to the previous fiscal year, despite strong sales of certain new game titles such as
   God of War Ragnarök. In this environment, Sony aims to achieve future growth by increasing the number of
   active users in the PlayStation ecosystem through pursuit of the three strategies of console growth, portfolio
   expansion and Sony Group collaboration. Regarding console growth, Sony intends to further accelerate the
   penetration of PS5™ and further expand the PS5™ user base, which is driving user engagement. Regarding
   portfolio expansion, Sony intends to strengthen the development of new IP and live service games by continuing
   to invest proactively in PlayStation Studios, as well as investing in or acquiring third-party studios. For example,
   Sony has been collaborating closely with Bungie following the completion of its acquisition in July 2022, and
   intends to apply its expertise and experience as it promotes portfolio expansion in the area of live service games.
   Sony is also working to extend the reach of its existing IP by deploying its first-party titles to multiple platforms
   such as PC and mobile, a strategy which contributed to significant year-on-year growth in revenue from PC titles
   including Marvel’s Spider-Man and The Last of Us Part 1 in the fiscal year ended March 31, 2023. Regarding
   Sony Group collaboration, Sony is striving to consistently create films and television series based on PlayStation
   game IP, such as the TV series The Last of Us, and continues to work towards increased levels of collaboration
   within the Sony Group.

   Music
   Key Financial Figures
                                                                                               Fiscal year ended March 31
                                                                                                  2022             2023
                                                                                                     (Yen in millions)
     Sales to external customers by product category
       Recorded Music — Streaming                                                                462,368        598,868
       Recorded Music — Others                                                                   206,412        286,270
       Music Publishing                                                                          200,334        276,665
       Visual Media & Platform                                                                   231,418        203,012
     Sales to external customers                                                              1,100,532       1,364,815
     Intersegment sales                                                                          16,417          15,817
   Music segment total sales                                                                  1,116,949       1,380,632
   Music segment operating income                                                                210,933        263,107

      The Music segment results include the yen-based results of SMEJ and the yen-translated results of SME and
   SMP, which aggregate the results of their worldwide subsidiaries on a U.S. dollar basis.
        For the fiscal year ended March 31, 2023, sales increased 263.7 billion yen to 1 trillion 380.6 billion yen.
   This significant increase in sales was primarily due to the impact of foreign exchange rates as well as increases in
   sales for Recorded Music and Music Publishing, partially offset by lower sales for Visual Media and Platform
   due to a decrease in sales in the anime business. The increases in sales for Recorded Music and Music Publishing
   were primarily due to higher revenues from paid subscription streaming services, which also benefited from the
   success of a number of new releases in Recorded Music.
        Operating income significantly increased 52.2 billion yen year-on-year to 263.1 billion yen, primarily due to
   the positive impact of foreign exchange rates and the impact of the above-mentioned increase in sales for
   Recorded Music and Music Publishing, as well as the impact of litigation settlements, net of expenses, of
   5.7 billion yen received in relation to lawsuits for Recorded Music and Music Publishing, partially offset by the
   impact of the above-mentioned decrease in sales for Visual Media and Platform.

   Business Environment and Strategy
         As digital streaming continued to expand globally, the operating performance of the Music segment for the
   fiscal year ended March 31, 2023 reflected an increase in revenues from streaming services resulting from the
   enhanced discovery and development of artists, including Sony’s past proactive acquisitions such as Alamo
   Records, Som Livre and AWAL. In this environment, Sony aims to achieve continuous growth that outpaces the
   market by proactively making investments toward strengthening its content IP and its relationships with artists,
   strengthening services for distributed labels centered around The Orchard, ensuring early contact with emerging
   artists through channels such as AWAL and strengthening its approach in emerging markets by proactively
   investing in local talent and collaborating with local companies. Additionally, new business opportunities in
   areas such as social media and gaming continue to grow, and Sony intends to further collaborate with various
   service partners in these new business areas to both expand its earnings base by creating new opportunities for

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   the use of music content, and to strengthen its relationships with artists by creating opportunities for artists to
   increase their own earnings. Additionally, by leveraging the diversity of the Sony Group, Sony aims to provide a
   wide variety of marketing opportunities to its artists going forward. In Visual Media and Platform, Sony aims to
   grow its anime business by expanding its merchandising and revenues from outside of Japan as well as
   strengthening its anime production capabilities, and grow its game business by improving fan engagement and
   accelerating the development of high-quality games.

   Pictures
   Key Financial Figures
                                                                                               Fiscal year ended March 31
                                                                                                  2022             2023
                                                                                                     (Yen in millions)
     Sales to external customers by product category
       Motion Pictures                                                                           518,840        464,043
       Television Productions                                                                    419,494        536,250
       Media Networks                                                                            298,065        364,594
     Sales to external customers                                                              1,236,399       1,364,887
     Intersegment sales                                                                           2,512           4,535
   Pictures segment total sales                                                               1,238,911       1,369,422
   Pictures segment operating income                                                             217,393        119,255

        The Pictures segment results are the yen-translated results of SPE, which aggregates the results of its
   worldwide subsidiaries on a U.S. dollar basis. Management analyzes the results of SPE in U.S. dollars, so
   discussion of certain portions of its results is specified as being on “a U.S. dollar basis.”
        For the fiscal year ended March 31, 2023, sales increased 130.5 billion yen, an 11% increase year-on-year
   (an 8% decrease on a U.S. dollar basis), to 1 trillion 369.4 billion yen. This decrease on a U.S. dollar basis was
   primarily due to lower theatrical revenues in Motion Pictures compared to the prior fiscal year which benefited
   from the strong performance of several franchise films including Spider-Man: No Way Home and Venom: Let
   There Be Carnage, lower licensing revenues in Television Productions as the prior fiscal year benefitted from the
   licensing of Seinfeld, and lower licensing revenues in Motion Pictures as the prior fiscal year benefitted from a
   greater number of new films licensed to digital streaming services. These decreases in sales were partially offset
   primarily by an increase in series deliveries and the impact of acquisitions of Industrial Media and Bad Wolf in
   Television Productions, as well as higher revenues from anime streaming services including the impact of the
   acquisition of Crunchyroll.
        Operating income decreased 98.1 billion yen year-on-year to 119.3 billion yen (a 54% decrease on a U.S.
   dollar basis). This significant decrease in operating income on a U.S. dollar basis was primarily due to the
   absence of the 70.0 billion yen gain recognized from the transfer of GSN Games, a division of Game Show
   Network, LLC, in the prior fiscal year and the impact of the above-mentioned decrease in sales.

   Business Environment and Strategy
        Although the operating performance of the Pictures segment for the fiscal year ended March 31, 2023 was
   impacted by the absence of the strong performance of franchise films as well as the impact of the recording of a
   gain on the transfer of GSN Games and revenue from the licensing of Seinfeld in the previous fiscal year, it also
   reflected Sony’s strengths as a strategic supplier (an independent content supplier with the ability to provide
   content to any distribution platform), which was influenced by continued demand for content from video
   streaming services and the continued recovery in U.S. box office revenues. In this environment, Sony aims to
   continue to maximize the long-term value of its content by leveraging its strengths as a strategic supplier and
   emphasizing the theatrical release of films. In Motion Pictures, Sony plans to continue to pursue both the
   development of new IP and the revitalization of its existing IP. For example, in the fiscal year ending March 31,
   2024, Sony aims to continue to expand the Sony Pictures Universe of Marvel Characters through the theatrical
   release of films such as Spider-Man: Across the Spider-Verse and Kraven the Hunter. In Television Productions,
   Sony will continue to strive to strengthen its production capabilities in a wide variety of nonfiction genres such as
   documentaries and reality shows in order to meet needs for diverse content. Additionally, in Motion Pictures and
   Television Productions, efforts towards collaboration within the Sony Group have continued, and, following the
   success of the Uncharted film in 2022 and the TV series The Last of Us in 2023, Sony plans to further expand its
   films and television shows based on PlayStation game IP. In Media Networks, Sony aims to further strengthen its

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   DTC services, including Crunchyroll and SonyLIV. For example, in the fiscal year ended March 31, 2023,
   Crunchyroll strengthened its eCommerce offerings to fans through the acquisition of the anime goods retailer
   Right Stuf, Inc. The signing of definitive agreements for the merger of SPNI and Zee was announced in
   December 2021, and Sony believes that the merger represents an opportunity to further accelerate the expansion
   and digitization of its business by using the strengths of both companies to strengthen its digital distribution
   service in the rapidly-growing Indian media and entertainment market. Additionally, Sony aims to proactively
   seek out opportunities for revenue from its existing IP in the area of location-based entertainment.

   Entertainment, Technology & Services (ET&S)

   Key Financial Figures

                                                                                               Fiscal year ended March 31
                                                                                                  2022             2023
                                                                                                     (Yen in millions)
     Sales to external customers by product category
       TVs                                                                                       858,837         733,251
       Audio & Video                                                                             326,704         391,608
       Still and Video Cameras                                                                   414,898         565,018
       Mobile Communications                                                                     365,864         356,771
       Other                                                                                     331,583         390,091
     Sales to external customers                                                              2,297,886       2,436,739
     Intersegment sales                                                                          41,300          39,286
   ET&S segment total sales                                                                   2,339,186       2,476,025
   ET&S segment operating income                                                                 212,942         179,461

                                                                                                   (Units in millions)
   Major product unit sales
   TVs                                                                                                8.5                6.6

        For the fiscal year ended March 31, 2023, sales increased 136.8 billion yen year-on-year to 2 trillion
   476.0 billion yen. This increase in sales was primarily due to the impact of foreign exchange rates as well as an
   increase in sales of digital cameras resulting from higher unit sales, partially offset by a decrease in sales of
   televisions resulting from lower unit sales.

        Operating income decreased 33.5 billion yen year-on-year to 179.5 billion yen. This decrease in operating
   income was mainly due to the impact of the above-mentioned decrease in sales of televisions, partially offset by
   the impact of the above-mentioned increase in sales of digital cameras. During the current fiscal year, there was a
   9.4 billion yen positive impact from foreign exchange rate fluctuations.

   Business Environment and Strategy

        In the fiscal year ended March 31, 2023, in a challenging business environment impacted by disruption in
   production and logistics due to the intermittent resurgence of COVID-19 in China and a slowdown in the market
   mainly in Europe and the U.S., the operating performance of the ET&S segment reflected the results of various
   measures implemented to respond promptly to these conditions, such as thorough supply chain management and
   reduction of fixed costs, as well as the promotion of a shift to high-value-added products centered on TVs and
   digital cameras. In this environment, Sony plans to conduct its business based on the direction of establishing a
   business structure with two axes: the “profit axis business area,” which aims to maintain and increase
   profitability, and the “growth axis business area,” which aims to realize growth through the creation and
   expansion of new businesses. In the profit axis business area, Sony intends to strengthen operations by promoting
   the advancement of consistent digital transformation and automation from production to sale. Additionally, by
   adding creative solutions utilizing technologies such as in communications and cloud to its strengths in capturing
   devices that make use of its original technologies in sound and imaging, Sony aims to create new experience
   value with creators and shift to a business portfolio with a recurring business model, striving to reduce volatility.
   In the growth axis business area, in order to create future entertainment together with creators, Sony plans to
   evolve its business models through collaboration both within and outside of the Sony Group, aiming to build a
   new business model to achieve sustainable growth. Sony also plans to promote the virtual production business
   and software solutions business, which aim to free creators from the constraints of time, space and hardware
   functionality to enable new video and creative expression, as well as the sports business, which aims to realize

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   new sports entertainment connecting “real” and “virtual.” Additionally, in the life science business and the
   network service business, Sony aims to contribute to the realization of a safe and a sustainable society by
   utilizing the technologies it has cultivated until now.

   Imaging & Sensing Solutions (I&SS)

   Key Financial Figures

                                                                                            Fiscal year ended March 31
                                                                                               2022             2023
                                                                                                  (Yen in millions)
     Sales to external customers                                                              992,200      1,301,481
     Intersegment sales                                                                        84,224        100,706
   I&SS segment total sales                                                                 1,076,424      1,402,187
   I&SS segment operating income                                                              155,597        212,214

        For the fiscal year ended March 31, 2023, sales increased 325.8 billion yen year-on-year to 1 trillion
   402.2 billion yen. This significant increase in sales was mainly due to the impact of foreign exchange rates and
   an increase in sales of image sensors for mobile products resulting from an improvement in the product mix,
   partially offset by a decrease in unit sales.

        Operating income increased 56.6 billion yen year-on-year to 212.2 billion yen. This significant increase was
   mainly due to the positive impact of foreign exchange rates and the impact of the above-mentioned increase in
   sales, partially offset by an increase in R&D expenses as well as depreciation and amortization expenses, and an
   increase in manufacturing costs. During the current fiscal year, there was a 120.9 billion yen positive impact
   from foreign exchange rate fluctuations.

   Business Environment and Strategy

         The operating performance of the I&SS segment in the fiscal year ended March 31, 2023 reflected the
   continued trend toward larger size, higher image quality and higher performance image sensors for mobile
   products, primarily in high-end smartphones, despite continued weakness in the Chinese smartphone market. In
   this environment, Sony plans to continue its efforts to enhance its technical capabilities and production capacity
   in order to respond to the larger size, higher image quality and higher performance of image sensors, in addition
   to promoting efforts to improve sales growth and profitability over the medium term, aiming to further strengthen
   its number one position in image sensors worldwide. Sony also plans to continue actively promoting initiatives in
   business areas such as automotive and industrial equipment in the sensing area, and in its solutions business via
   the edge AI sensing platform AITRIOS™. The automotive area has been growing steadily, and Sony will
   continue to work to build and strengthen relationships with OEMs and platformers with the aim of increasing
   revenue from automotive sensors. In the area of industrial sensors, Sony plans to take advantage of its diverse
   product lineup to provide solutions that can contribute to solving various on-site issues, including labor-saving
   and automation, which Sony expects to lead to mid- to long-term business growth. Sony intends to continue to
   invest capital to increase production capacity to meet the growing demand for image sensors over the mid- to
   long-term, while also keeping in mind the uncertainty of the future and carefully examining future investment
   plans.

   Financial Services

        The Financial Services segment results include SFGI and SFGI’s consolidated subsidiaries such as Sony
   Life, Sony Assurance, and Sony Bank. The results discussed in the Financial Services segment differ from the
   results that SFGI and SFGI’s consolidated subsidiaries disclose separately on a Japanese statutory basis.

   Key Financial Figures

                                                                                            Fiscal year ended March 31
                                                                                               2022             2023
                                                                                                  (Yen in millions)
   Financial services revenue                                                               1,533,829      1,454,546
   Financial Services segment operating income                                                150,111        223,935



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         For the fiscal year ended March 31, 2023, financial services revenue decreased 79.3 billion yen year-on-year
   to 1 trillion 454.5 billion yen, mainly due to a decrease in revenue at Sony Life. Revenue at Sony Life decreased
   108.4 billion yen year-on-year to 1 trillion 242.1 billion yen, due to a decrease in net gains on investments in the
   separate accounts.

        Operating income increased 73.8 billion yen year-on-year to 223.9 billion yen. This significant increase in
   operating income was mainly due to the recovery of 22.1 billion yen of an unauthorized withdrawal of funds at a
   subsidiary of Sony Life in the fiscal year ended March 31, 2023 which was recorded as a 16.8 billion yen loss in
   the fiscal year ended March 31, 2022, as well as a significant increase in operating income at Sony Life.
   Operating income at Sony Life increased 29.7 billion yen year-on-year to 177.0 billion yen. This increase in
   operating income was mainly due to a gain recorded on the sale of real estate as well as an increase in profits due
   to accumulation of policy amount in force, partially offset by an increase primarily in insurance payments related
   to COVID-19.

   Business Environment and Strategy

         The operating performance of the Financial Services segment for the fiscal year ended March 31, 2023
   reflected conditions in the Japanese economy and bond market. As in the previous fiscal year, the Japanese
   economy faced headwinds due to the COVID-19 pandemic. In addition, rising imports prices, which accelerated
   after Russia’s military invasion of Ukraine, put pressure on household budgets through rising food and gasoline
   prices. However, as the normalization of economic activities progressed gradually, the economy continued on a
   gradual recovery trend. In the first quarter ended June 30, 2022, as the spread of the Omicron variant that began
   at the beginning of the year came to a halt, demand for outings for travel and shopping picked up, mainly during
   the long holidays in May. After that, there was a period when the infection with the Omicron variant spread
   again, but the Japanese government postponed the request for movement restrictions and self-restraint. As a
   result, the economy was underpinned by the normalization of economic activities, including an increase in the
   number of people going out and the full-scale easing of restrictions on immigration. On the other hand,
   production in the manufacturing industry slowed down in the second half of the fiscal year due to factors such as
   the slowdown in overseas economies and the decline in IT-related demand for semiconductors. The bond market
   in Japan was affected by US and Japanese monetary policies. In this environment, Sony aims to achieve
   sustainable growth in the entire financial group, including growth in profitability, by maximizing the value it
   provides to its customers. Sony is carrying out initiatives focused on five strategic pillars to realize this goal:
   strengthening core/unique competitive advantages, altering its profit structure to withstand low interest rates,
   further evolving customer-centric management, strengthening its competitive edge through technology and
   maximizing group synergies. These efforts have been proceeding as planned, and Sony has been steadily
   expanding the scale of its business by taking advantage of its strengths. For example, the productivity per
   Lifeplanner® sales specialist at Sony Life is improving due to the increase in the new policy amount in the
   corporate business, which is an area of focus, and the number of Lifeplanner® sales specialists is steadily
   increasing. Going forward, Sony will continue to work to expand profit growth by making a qualitative shift
   toward higher productivity of Lifeplanner® sales specialists and improvement of profitability. Additionally, Sony
   plans to promote efforts aimed at increasing the value it provides to customers by accelerating enhancement of its
   technological competitiveness through collaboration within the Sony Group, strengthening its acquisition of
   knowledge and technology from outside partners, and utilizing data that transcends the boundaries between the
   businesses within the Financial Services segment. The Financial Services segment also intends to focus on
   advancing sustainability and thoroughly enhancing governance in the financial group to fulfill its social
   responsibility as part of the Sony Group. Furthermore, over the mid- to long-term, Sony plans to expand its
   customer base and touchpoints with customers through wider applications of technology and strategic alliances,
   as well as through its increasing efforts to deepen relationships with core customers, aiming to maximize the
   lifetime customer value.

   Information on Operations Separating Out the Financial Services segment

        The following schedules show unaudited condensed statements of income for the Financial Services
   segment and all other segments excluding the Financial Services segment. These presentations are not in
   accordance with International Financial Reporting Standards (“IFRS”), which is used by Sony to prepare its
   consolidated financial statements. However, because the Financial Services segment is different in nature from
   Sony’s other segments, Sony believes that a comparative presentation may be useful in understanding and
   analyzing Sony’s consolidated financial statements. Transactions between the Financial Services segment and
   Sony without the Financial Services segment are included in those respective presentations, then eliminated in
   the consolidated figures shown below.

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                                                                                 Fiscal year ended March 31

        Financial Services segment                                                 2022            2023
                                                                                     (Yen in millions)
   Financial services revenue                                                    1,533,829      1,454,546
   Financial services expenses                                                   1,383,054      1,234,758
   Other operating (income) expense, net                                               664         (4,147)
                                                                                 1,383,718      1,230,611
   Share of profit (loss) of investments accounted for using the equity method          —                  —
   Operating income                                                               150,111         223,935
   Financial income (expenses), net                                                    —               —
   Income before income taxes                                                     150,111         223,935
   Income taxes                                                                    45,402          63,865
   Net income                                                                     104,709         160,070
   Net income of Financial Services                                               104,216         159,698
   Net income attributable to noncontrolling interests                                 493             372

                                                                                 Fiscal year ended March 31

        Sony without Financial Services segment                                    2022            2023
                                                                                     (Yen in millions)
   Sales                                                                         8,402,217 10,101,979
   Costs of sales                                                                5,856,925  7,186,767
   Selling, general and administrative                                           1,582,850  1,961,906
   Other operating (income) expense, net                                           (66,158)    (5,566)
                                                                                 7,373,617      9,143,107
   Share of profit (loss) of investments accounted for using the equity method      23,646         24,449
   Operating income                                                              1,052,246        983,321
   Financial income (expenses), net                                                (45,698)        13,437
   Income before income taxes                                                    1,006,548        996,758
   Income taxes                                                                    183,689        172,528
   Net income                                                                     822,859         824,230
   Net income of Sony without Financial Services                                  817,123         818,106
   Net income attributable to noncontrolling interests                               5,736           6,124


                                                                                 Fiscal year ended March 31

        Consolidated                                                                2022            2023
                                                                                      (Yen in millions)
   Sales                                                                         8,396,702 10,095,841
   Financial services revenue                                                    1,524,811 1,443,996
   Total sales and financial services revenue                                    9,921,513 11,539,837
   Costs of sales                                                                5,845,804  7,174,723
   Selling, general and administrative                                           1,588,473 1,969,170
   Financial services expenses                                                   1,374,037 1,224,208
   Other operating (income) expenses, net                                          (65,494)   (12,021)
                                                                                 8,742,820 10,356,080
   Share of profit (loss) of investments accounted for using the equity method      23,646     24,449
   Operating income                                                              1,202,339      1,208,206
   Financial income (expenses), net                                                (84,836)       (27,893)
   Income before income taxes                                                    1,117,503      1,180,313
   Income taxes                                                                    229,097        236,691
   Net income                                                                      888,406        943,622
   Net income attributable to Sony Group Corporation’s Stockholders                882,178        937,126
   Net income attributable to noncontrolling interests                                6,228          6,496

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   All Other
       Sales for the fiscal year ended March 31, 2023 decreased 11.2 billion yen year-on-year to 87.6 billion yen.
   Operating income decreased 1.1 billion yen year-on-year to 16.8 billion yen.

   Foreign Exchange Fluctuations and Risk Hedging
        During the fiscal year ended March 31, 2023, the average rates of the yen were 135.4 yen against the
   U.S. dollar and 140.9 yen against the euro, which were 23.1 yen and 10.4 yen weaker, respectively, than the
   fiscal year ended March 31, 2022.
        For the fiscal year ended March 31, 2023, consolidated sales increased 1 trillion 618.3 billion yen (16%)
   year-on-year to 11 trillion 539.8 billion yen. On a constant currency basis, sales increased approximately 4%
   year-on-year. For further details about the impact of foreign exchange rate fluctuations on sales and operating
   income, refer to “Note: Sales on a Constant Currency Basis and the Impact of Foreign Exchange Rate
   Fluctuations” below.
        The table below indicates the foreign exchange impact on sales and operating results in each of the G&NS,
   ET&S and I&SS segments. For further details, refer to “Operating Performance by Business Segment” which
   discusses the impact of foreign exchange rates within segments and categories where foreign exchange rate
   fluctuations had a significant impact.
                                                                                                     Impact of changes in
                                                                      Fiscal year ended March 31    foreign exchange rates
                                                                         2022            2023            2022 to 2023

                                                                                       (Yen in billions)
   G&NS                 Sales                                           2,739.8       3,644.6              +419.8
                        Operating income                                  346.1         250.0               -32.4
   ET&S                 Sales                                           2,339.2       2,476.0              +237.5
                        Operating income                                  212.9         179.5                +9.4
   I&SS                 Sales                                           1,076.4       1,402.2              +202.7
                        Operating income                                  155.6         212.2              +120.9
         During the fiscal year ended March 31, 2023, sales for the Music segment increased 24% year-on-year to
   1 trillion 380.6 billion yen, while sales increased approximately 8% year-on-year on a constant currency basis. In
   the Pictures segment, sales increased 11% year-on-year to 1 trillion 369.4 billion yen, while sales decreased
   approximately 8% on a U.S. dollar basis. For a detailed analysis of segment performance, refer to the Music and
   Pictures segments under “Operating Performance by Business Segment.” Sony’s Financial Services segment
   consolidates the yen-based results of SFGI. As most of the operations in this segment are based in Japan, Sony
   management analyzes the performance of the Financial Services segment on a yen basis only.
        During the fiscal year ended March 31, 2023, Sony estimated that a one yen appreciation against the
   U.S. dollar would have decreased sales in the G&NS, ET&S and I&SS segments by approximately 29.9 billion
   yen, with a corresponding decrease in operating income of approximately 0.4 billion yen. A one yen appreciation
   against the euro was estimated to decrease sales in these segments by approximately 11.1 billion yen, with a
   corresponding decrease in operating income of approximately 6.6 billion yen. For more details, refer to “Risk
   Factors” in “Item 3. Key Information.”
        Sony’s consolidated operating results are subject to foreign currency rate fluctuations primarily due to
   different currency composition of revenue and costs. In the G&NS segment, a significant proportion of costs is
   incurred in U.S. dollars but sales are recorded in Japanese yen, U.S. dollars or euros. As a result, the yen
   appreciation against the U.S. dollar has a positive impact on operating income while the yen appreciation against
   the euro has a negative impact. In the ET&S segment, yen appreciation against the U.S. dollar has a positive
   impact on operating income, mainly due to a high proportion of manufacturing and other costs for certain key
   products being incurred in U.S. dollars. Meanwhile, a large portion of sales for certain key products is in
   emerging markets, resulting in yen appreciation against the currencies of emerging markets having a negative
   impact on operating profit in the ET&S segment. In the I&SS segment, a significant proportion of sales contracts
   are denominated in U.S. dollars, but manufacturing operations are located in Japan, and, therefore, yen
   appreciation against the U.S. dollar has a significantly negative impact on operating income.
        In order to reduce the risk caused by foreign exchange rate fluctuations, Sony employs derivatives,
   including foreign exchange forward contracts and foreign currency option contracts, in accordance with a
   consistent risk management strategy. Such derivatives are used primarily to mitigate the effect of foreign

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   currency exchange rate fluctuations on cash flows generated or anticipated by Sony’s transactions and accounts
   receivable and payable denominated in foreign currencies.
         Sony Global Treasury Services Plc (“SGTS”) in the U.K. provides integrated treasury services for Sony
   Group Corporation, its subsidiaries, and affiliated companies. Sony’s policy is that Sony Group Corporation and
   all subsidiaries with foreign exchange exposures should enter into commitments with SGTS to hedge their
   exposures. Sony Group Corporation and most of its subsidiaries utilize SGTS for this purpose. Sony’s policy of
   concentrating its foreign exchange exposures means that SGTS and Sony Group Corporation hedge most of the
   net foreign exchange exposure within the Sony group. Sony has a policy on the use of derivatives that, in
   principle, SGTS should centrally deal with and manage derivatives with financial institutions for risk
   management purposes. SGTS enters into foreign exchange transactions with creditworthy third-party financial
   institutions. Most of these transactions are entered into against projected exposures before the actual export and
   import transactions take place. In general, SGTS hedges the projected exposures for a period of one month before
   the actual transactions take place. Sony enters into foreign exchange transactions with financial institutions
   primarily for hedging purposes. Sony does not use these derivative financial instruments for trading or
   speculative purposes except for certain derivatives in the Financial Services segment. In the Financial Services
   segment, Sony uses derivatives primarily for asset liability management.
         Changes in the fair value of derivatives designated as cash flow hedges are initially recorded in accumulated
   other comprehensive income and reclassified into earnings when the hedged transaction affects earnings. Foreign
   exchange forward contracts, foreign currency option contracts and other derivatives that do not qualify as hedges
   are marked-to-market with changes in value recognized in financial income and expenses. The net fair value of
   all the foreign exchange derivative contracts as of March 31, 2022 and 2023 was a liability of 6.4 billion yen and
   an asset of 1.4 billion yen, respectively. Refer to Note 15 of the consolidated financial statements.

   Note:
   Sales on a Constant Currency Basis and the Impact of Foreign Exchange Rate Fluctuations
        The descriptions of sales on a constant currency basis reflect sales calculated by applying the yen’s monthly
   average exchange rates from the previous fiscal year to local currency-denominated monthly sales in the current
   fiscal year. For SME and SMP in the Music segment, and in the Pictures segment, the constant currency amounts
   are calculated by applying the monthly average U.S. dollar / yen exchange rates after aggregation on a
   U.S. dollar basis.
        Results for the Pictures segment are described on a U.S. dollar basis as the Pictures segment reflects the
   operations of SPE, a U.S.-based operation that aggregates the results of its worldwide subsidiaries in U.S. dollars.
        The impact of foreign exchange rate fluctuations on sales is calculated by applying the change in the yen’s
   periodic weighted average exchange rate for the previous fiscal year from the current fiscal year to the major
   transactional currencies in which the sales are denominated. The impact of foreign exchange rate fluctuations on
   operating income (loss) is calculated by subtracting from the impact on sales the impact on cost of sales and SGA
   expenses calculated by applying the same major transactional currencies calculation process to cost of sales and
   SGA expenses as for the impact on sales. The I&SS segment enters into its own foreign exchange hedging
   transactions, and the impact of those transactions is included in the impact of foreign exchange rate fluctuations
   on sales and operating income (loss) for that segment.
        This information is not a substitute for Sony’s consolidated financial statements measured in accordance
   with IFRS. However, Sony believes that these disclosures provide additional useful analytical information to
   investors regarding the operating performance of Sony.

   Assets, Liabilities and Stockholders’ Equity
         The following schedule shows unaudited condensed statements of financial position for the Financial
   Services segment and all other segments excluding the Financial Services segment. These presentations are not in
   accordance with IFRS, which is used by Sony to prepare its consolidated financial statements. However, because
   the Financial Services segment is different in nature from Sony’s other segments, Sony believes that a
   comparative presentation may be useful in understanding and analyzing Sony’s consolidated financial
   statements. Both financial statements include transactions between the Financial Services segment and Sony
   without the Financial Services segment. The figures shown in the respective presentations for the Financial
   Services segment and Sony without the Financial Services segment are prior to the elimination and/or offset of
   such transactions and deferred tax assets and deferred tax liabilities of each. The “consolidated” column is
   presented net of the elimination and/or offset of such intercompany balances and deferred tax assets and
   liabilities.

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   Condensed Statements of Financial Position

                                                                                                         Yen in millions
                                                                                                          Sony without
                                                                             Financial Services         Financial Services          Consolidated
                                                                        March 31,       March 31,     March 31,    March 31,    March 31,    March 31,
                                                                         2022            2023          2022         2023         2022         2023
                                     ASSETS
   Current assets:
     Cash and cash equivalents *1                                      ¥     889,140 ¥     756,493 ¥ 1,160,496 ¥ 724,407 ¥ 2,049,636 ¥ 1,480,900
     Investments and advances in the Financial Services segment *2           360,673       328,357          —          —     360,673     328,357
     Trade and other receivables, and contract assets                        169,929       134,404   1,478,620  1,668,257  1,628,521   1,777,939
     Inventories *3                                                               —             —      874,007  1,468,042    874,007   1,468,042
     Other financial assets                                                   81,174        47,044      68,124     63,906    149,301     110,950
     Other current assets                                                     72,441        63,025     450,953    562,442    473,070     610,330
       Total current assets                                                 1,573,357     1,329,323    4,032,200    4,487,054    5,535,208    5,776,518
   Non-current assets:
     Investments accounted for using the equity method                          —               —        268,513      325,220      268,513      325,220
     Investments and advances in the Financial Services segment *2      18,445,088      18,445,728            —            —    18,445,088   18,445,728
     Investments in Financial Services, at cost                                 —               —        550,483      550,483           —            —
     Property, plant and equipment                                          18,010          15,316     1,095,241    1,329,219    1,113,213    1,344,864
     Right-of-use assets                                                    73,774          84,023       339,658      395,210      413,430      478,063
     Goodwill and intangible assets, including content assets *4            72,578          78,197     2,672,466    3,322,639    2,745,044    3,400,836
     Deferred insurance acquisition costs                                  676,526         730,864            —            —       676,526      730,864
     Deferred tax assets                                                        —               —        332,330      431,533      298,589      384,839
     Other financial assets                                                 37,037          46,941       663,233      789,470      696,306      832,344
     Other non-current assets                                               77,657          75,143       284,834      319,306      289,050      321,946
        Total non-current assets                                           19,400,670    19,476,212    6,206,758    7,463,080   24,945,759   26,264,704
   Total assets                                                        ¥20,974,027 ¥20,805,535 ¥10,238,958 ¥11,950,134 ¥30,480,967 ¥32,041,222

                            LIABILITIES AND EQUITY
   Current liabilities:
     Short-term borrowings                                             ¥ 1,964,776 ¥ 1,891,856 ¥ 183,187 ¥ 211,020 ¥ 2,147,962 ¥ 2,102,876
     Trade and other payables                                              118,921      77,595  1,744,011 1,812,670  1,843,242   1,865,993
     Deposits from customers in the banking business                     2,886,361   3,163,237         —         —   2,886,361   3,163,237
     Income taxes payables                                                   4,444      13,370    101,648   139,330    106,092     152,700
     Participation and residual liabilities in the Pictures segment             —           —     190,162   230,223    190,162     230,223
     Other financial liabilities                                            68,793      43,128     29,050    30,444     97,843      73,572
     Other current liabilities                                             242,937     222,039  1,296,205 1,513,882  1,488,488   1,720,335
       Total current liabilities                                            5,286,232     5,411,225    3,544,263    3,937,569    8,760,150    9,308,936
   Non-current liabilities:
     Long-term debt                                                           470,498       663,353     733,148     1,104,344    1,203,646    1,767,696
     Defined benefit liabilities                                               37,167        37,183     217,381       198,938      254,548      236,121
     Deferred tax liabilities                                                 634,576       304,838     110,715       112,938      696,492      356,324
     Future insurance policy benefits and other                             7,039,034     7,264,421          —             —     7,039,034    7,264,421
     Policyholders’ account in the life insurance business                  4,791,295     5,148,579          —             —     4,791,295    5,148,579
     Participation and residual liabilities in the Pictures segment                —             —      220,113       192,952      220,113      192,952
     Other financial liabilities                                              128,208       153,724      86,391       199,327      211,959      350,278
     Other non-current liabilities                                              5,864         7,225     121,558       142,096      106,481      127,593
        Total non-current liabilities                                      13,106,642    13,579,323    1,489,306    1,950,595   14,523,568   15,443,964
     Total liabilities                                                     18,392,874    18,990,548    5,033,569    5,888,164   23,283,718   24,752,900
   Equity:
   Stockholders’ equity of Financial Services                               2,577,705     1,811,167           —            —            —            —
   Stockholders’ equity of Sony without Financial Services                         —             —     5,156,059    6,007,177           —            —
   Sony Group Corporation’s stockholders’ equity                                   —             —            —            —     7,144,471    7,229,709
   Noncontrolling interests                                                     3,448         3,820       49,330       54,793       52,778       58,613
     Total equity                                                           2,581,153     1,814,987    5,205,389    6,061,970    7,197,249    7,288,322
   Total liabilities and equity                                        ¥20,974,027 ¥20,805,535 ¥10,238,958 ¥11,950,134 ¥30,480,967 ¥32,041,222



   *1 Refer to “Cash Flows” below for details regarding the year-on-year decrease in Cash and cash equivalents as
   of March 31, 2023 in all segments excluding the Financial Services segment.

   *2 Refer to Note 5 of the consolidated financial statements for the fluctuations of Investments and advances in
   the Financial Services segment as of March 31, 2022 and March 31, 2023, respectively.

   *3 Inventories as of March 31, 2023 in all segments excluding the Financial Services segment increased
   year-on-year due to an increase in inventories mainly in the G&NS segment.

   *4 Goodwill and intangible assets, including content assets as of March 31, 2023 in all segments excluding the
   Financial Services segment increased year-on-year mainly due to the acquisition of the shares of Bungie and an
   increase in film costs.




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   Cash Flows

        Operating Activities: During the current fiscal year ended March 31, 2023, there was a net cash inflow of
   314.7 billion yen from operating activities, a decrease of 919.0 billion yen year-on-year.

        For all segments excluding the Financial Services segment, there was a net cash inflow of 415.5 billion yen,
   a decrease of 397.8 billion yen year-on-year. This decrease was primarily due to a larger year-on-year increase in
   inventories and content assets as well as a decrease in trade payables compared to an increase in the previous
   fiscal year, partially offset by a year-on-year increase in income before income taxes after taking into account
   non-cash adjustments (including depreciation and amortization, including amortization of contract costs, other
   operating (income) expense, net and (gain) loss on securities, net).

        The Financial Services segment had a net cash outflow of 56.3 billion yen, compared to a net cash inflow of
   459.7 billion yen in the previous fiscal year. This change was mainly due to a smaller year-on-year increase in
   borrowings in the life insurance business and the banking business.

        Investing Activities: During the current fiscal year ended March 31, 2023, Sony used 1 trillion 52.7 billion
   yen of net cash in investing activities, an increase of 323.9 billion yen year-on-year.

         For all segments excluding the Financial Services segment, there was a net cash outflow of 1 trillion
   32.0 billion yen, an increase of 320.9 billion yen year-on-year. This increase was mainly due to a year-on-year
   increase in payments for fixed asset purchases, the acquisition of shares of Bungie, an additional investment in
   Epic Games and a payment related to the acquisition of Industrial Media. Additionally, the previous fiscal year
   included the purchase of the equity interest in Ellation, which operates the anime business Crunchyroll, the
   purchase of all shares and related assets of certain subsidiaries of Kobalt including AWAL, Kobalt’s music
   distribution business mainly for independent recording artists, and an additional investment in Epic Games.

        The Financial Services segment used 23.8 billion yen of net cash in investing activities, essentially flat
   year-on-year.
         Financing Activities: Net cash inflow from financing activities during the current fiscal year ended
   March 31, 2023 was 84.3 billion yen, compared to a net cash outflow of 336.6 billion yen in the previous fiscal
   year.

        For all segments excluding the Financial Services segment, there was a 95.5 billion yen net cash inflow,
   compared to a net cash outflow of 325.8 billion yen in the previous fiscal year. The cash inflow in the current
   fiscal year was primarily due to the procurement of long-term bank loans and the issuance of straight bonds.

        In the Financial Services segment, there was a 52.6 billion yen net cash outflow, essentially flat year-on-year.

        Accounting for the above factors and the effect of fluctuations in foreign exchange rates, the total
   outstanding balance of cash and cash equivalents as of March 31, 2023 was 1 trillion 480.9 billion yen. Cash and
   cash equivalents of all segments excluding the Financial Services segment was 724.4 billion yen as of March 31,
   2023, a decrease of 436.1 billion yen compared with the balance as of March 31, 2022. Within the Financial
   Services segment, the outstanding balance of cash and cash equivalents was 756.5 billion yen as of March 31,
   2023, a decrease of 132.6 billion yen compared with the balance as of March 31, 2022.

   Information on Cash Flows Separating Out the Financial Services Segment

        The following schedule shows unaudited condensed statements of cash flows for the Financial Services
   segment and all other segments excluding the Financial Services segment. These presentations are not in
   accordance with IFRS, which is used by Sony to prepare its consolidated financial statements. However, because
   the Financial Services segment is different in nature from Sony’s other segments, Sony believes that a
   comparative presentation may be useful in understanding and analyzing Sony’s consolidated financial
   statements. Transactions between the Financial Services segment and Sony without the Financial Services
   segment are included in those respective presentations, then eliminated in the consolidated figures shown below.




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   Condensed Statements of Cash Flows

                                                                                                Yen in millions
                                                                                         Fiscal year ended March 31
                                                                                                 Sony without
                                                                      Financial Services      Financial Services      Consolidated
                                                                      2022         2023       2022         2023     2022        2023
   Cash flows from operating activities:
     Income (loss) before income taxes                                150,111     223,935     1,006,548    996,758     1,117,503    1,180,313
     Adjustments to reconcile income (loss) before income taxes
       to net cash provided by (used in) operating activities:
       Depreciation and amortization, including amortization of
          contract costs                                               24,932      26,333      810,301     978,257      835,233 1,004,590
       Amortization of deferred insurance acquisition costs            69,237      84,523           —           —        69,237    84,523
       Other operating (income) expense, net                              664      (4,147)     (66,158)     (5,566)     (65,494)  (12,021)
       (Gain) loss on securities, net (other than Financial
          Services segment)                                                —           —        60,402        4,469      60,402        4,469
       Change in future insurance policy benefits and other           458,880     234,102           —            —      458,880      234,102
       Change in policyholders’ account in the life insurance
          business, less cash impact                                  238,309      15,523           —           —       238,309       15,523
       Net cash impact of policyholders’ account in the life
          insurance business                                          227,262     346,455           —           —       227,262      346,455
       Changes in assets and liabilities:
          (Increase) decrease in trade receivables and contract
             assets                                                   (53,819)     35,524     (121,684)    (110,668)   (171,094)     (70,448)
          (Increase) decrease in inventories                               —           —      (194,624)    (560,382)   (194,624)    (560,382)
          (Increase) decrease in investments and advances in the
             Financial Services segment                             (1,724,164) (1,250,078)         —            — (1,724,164) (1,250,078)
          (Increase) decrease in content assets                             —           —     (502,253)    (603,314) (502,253) (603,314)
          (Increase) decrease in deferred insurance acquisition
             costs                                                   (117,337)   (118,096)          —            —     (117,337)    (118,096)
          Increase (decrease) in trade payables                        37,885     (40,071)      93,660      (64,765)    126,989     (109,336)
          Increase (decrease) in deposits from customers in the
             banking business                                         230,236     300,201           —           —       230,236      300,201
          Increase (decrease) in borrowings in the life insurance
             business and the banking business                        905,139     111,314           —           —       905,139      111,314
          Increase (decrease) in taxes payable other than income
             taxes, net                                                    (5)         112      17,845        4,071      17,840        4,183
       Other                                                           12,380      (21,912)   (290,769)    (223,387)   (278,421)    (247,307)
          Net cash provided by (used in) operating activities         459,710      (56,282)    813,268     415,473     1,233,643     314,691
   Cash flows from investing activities:
     Payments for property, plant and equipment and other
       intangible assets                                              (20,562)     (24,195)   (420,542)    (590,320)   (441,096)    (613,635)
     Payments for investments and advances (other than
       Financial Services segment)                                         —           —        (91,082)   (191,129)     (91,082)   (191,129)
     Proceeds from sales or return of investments and collections
       of advances (other than Financial Services segment)                 —           —        16,081       13,548      16,081       13,548
     Other                                                              2,914         393     (215,597)    (264,125)   (212,683)    (261,448)
          Net cash provided by (used in) investing activities         (17,648)     (23,802)   (711,140) (1,032,026)    (728,780) (1,052,664)
   Cash flows from financing activities:
     Increase (decrease) in borrowings, net                           (10,975)     (11,226)   (151,721)    273,195     (162,696)     261,969
     Dividends paid                                                   (39,159)     (41,335)    (74,342)    (86,568)     (74,342)     (86,568)
     Other                                                                 (6)          (2)    (99,702)    (91,100)     (99,540)     (91,101)
          Net cash provided by (used in) financing activities         (50,140)     (52,563)   (325,765)     95,527     (336,578)      84,300
   Effect of exchange rate changes on cash and cash equivalents            —           —        94,369      84,937       94,369       84,937
   Net increase (decrease) in cash and cash equivalents               391,922    (132,647) (129,268) (436,089)  262,654              (568,736)
   Cash and cash equivalents at beginning of the fiscal year          497,218     889,140 1,289,764 1,160,496 1,786,982             2,049,636
   Cash and cash equivalents at end of the fiscal year                889,140     756,493     1,160,496    724,407     2,049,636    1,480,900



   B.    Liquidity and Capital Resources

         The description below covers basic financial policy and figures for Sony’s consolidated operations except
   for the Financial Services segment and certain subsidiaries, which secure liquidity on their own. Furthermore, the
   Financial Services segment is described separately in this section.




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   Liquidity Management and Market Access
        An important financial objective of Sony is to maintain the strength of its financial condition, while securing
   adequate liquidity for business activities. Sony defines its liquidity sources as the amount of cash and cash
   equivalents (“cash balance”) (excluding restrictions on capital transfers mainly due to national regulations) and
   the unused amount of committed lines of credit.
        Funding requirements that arise from maintaining liquidity are principally covered by cash flow from
   operating and investing activities (including asset sales) and by the available cash balance; however, Sony also
   raises funds as needed from financial and capital markets through means such as corporate bonds, CP and bank
   loans.
        Sony Group Corporation, SGTS and Sony Capital Corporation (“SCC”), a finance subsidiary in the U.S.,
   maintain CP programs with access to the Japanese, U.S. and European CP markets. The borrowing limits under
   these CP programs, translated into yen, were 1,166.3 billion yen in total for Sony Group Corporation, SGTS and
   SCC as of March 31, 2023. There were no amounts outstanding under the CP programs as of March 31, 2023.
         If disruption and volatility occur in financial and capital markets and Sony becomes unable to raise
   sufficient funds from these sources, Sony may also draw down funds from contractually committed lines of
   credit from various financial institutions. Sony has a total, translated into yen, of 641.5 billion yen in unused
   committed lines of credit, as of March 31, 2023. Details of those committed lines of credit are: a 275.0 billion
   yen committed line of credit contracted with a syndicate of Japanese banks, a 1.7 billion U.S. dollar multi-
   currency committed line of credit also contracted with a syndicate of Japanese banks and a 1,050 million U.S.
   dollar multi-currency committed line of credit contracted with a syndicate of foreign banks. Sony currently
   believes that it can sustain sufficient liquidity through access to committed lines of credit with financial
   institutions, together with its available cash balance, even in the event that financial and capital markets become
   illiquid.
        Sony considers one of management’s top priorities to be the maintenance of stable and appropriate credit
   ratings in order to ensure financial flexibility for liquidity and capital management and continued adequate access
   to sufficient funding resources in the financial and capital markets. However, in the event of a downgrade in
   Sony’s credit ratings, there are no financial covenants in any of Sony’s material financial agreements with
   financial institutions that would cause an acceleration of the obligation. Even though the cost of borrowing for
   some committed lines of credit could change according to Sony’s credit ratings, there are no financial covenants
   that would cause any impairment on the ability to draw down on unused facilities.

   Cash Management
        Sony manages its global cash management activities primarily through Sony Group Corporation in Japan,
   SCC in the U.S. and SGTS in other regions. The excess or shortage of cash at most of Sony’s subsidiaries is
   invested or funded by Sony Group Corporation, SGTS and SCC on a net basis, although Sony recognizes that
   fund transfers are limited in certain countries and geographic areas due to restrictions on capital transactions. In
   order to pursue more efficient cash management, cash surpluses among Sony’s subsidiaries are deposited with
   Sony Group Corporation, SGTS and SCC, and cash shortfalls among subsidiaries are covered by loans through
   Sony Group Corporation, SGTS and SCC, so that Sony can make use of excess cash balances and reduce third-
   party borrowings. Where local restrictions prevent an efficient intercompany transfer of funds, Sony’s intent is
   that cash balances remain outside of Sony Group Corporation, SGTS and SCC and that Sony meets its liquidity
   needs through ongoing cash flows, external borrowings, or both. Sony does not expect restrictions of capital
   transactions on amounts held outside of Japan to have a material effect on Sony’s overall liquidity, financial
   condition or results of operations.

   Financial Services segment
        The management of SFGI, Sony Life, Sony Assurance and Sony Bank recognizes the importance of
   securing sufficient liquidity to cover the payment of obligations that these companies incur in the ordinary course
   of business. Sony Life, Sony Assurance and Sony Bank maintain a sufficient cash balance and secure sufficient
   means to meet their obligations while abiding by laws and regulations such as the Insurance Business Act or the
   Banking Act of Japan, and restrictions imposed by the FSA and other regulatory authorities as well as
   establishing and operating under company guidelines that comply with these regulations. Sony Life and Sony
   Assurance establish a sufficient level of liquidity for the smooth payment of insurance claims by investing,
   primarily in securities, their cash inflows, which come mainly from policyholders’ insurance premiums. Sony
   Bank maintains a necessary level of liquidity for the smooth settlement of transactions by using its cash inflows,

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   which come mainly from customers’ deposits in local currency, to offer mortgage loans to individuals and to
   invest mainly in marketable securities. Cash inflows from customers’ deposits in foreign currencies are invested
   mainly in investment instruments of the same currency.
        In addition, Sony’s subsidiaries in the Financial Services segment are subject to the Insurance Business Act
   and the Banking Act, which require insurance and banking business companies to maintain their financial
   credibility and to secure protection for policyholders and depositors in view of the public nature of insurance and
   banking services. As such, lending and borrowing between subsidiaries in the Financial Services segment and the
   other companies within Sony Group is strictly limited. Sony’s subsidiaries in the Financial Services segment are
   managed separately from Sony’s cash management activities through Sony Group Corporation, SGTS and SCC
   as mentioned above.
        For further information about Sony’s views regarding utilization of cash flow from operating activities
   generated within the Sony Group for strategic investments, shareholder returns and as cash on hand, refer to
   “Issues Facing Sony and Management’s Response to those Issues: Fourth Mid-Range Plan — Financial Targets
   and their Progress.”

   Off-balance Sheet Transactions
        Sony has certain off-balance sheet transactions that provide liquidity, capital resources and/or credit risk
   support. These transactions in which Sony has relinquished control of trade receivables are accounted for as
   sales. Certain trade receivable sales programs also involve structured entities. Refer to Note 28 of the
   consolidated financial statements.

   Contractual Obligations, Commitments, and Contingent Liabilities
        Sony’s contractual obligations, commitments and contingent liabilities are summarized as follows:
        Short-term borrowings and long-term debt
             Refer to Note 6 and Note 14 of the consolidated financial statements.
        Loan commitments, purchase commitments and litigation
             Refer to Note 33 of the consolidated financial statements.
        Insurance contract liabilities
             Refer to Note 13 of the consolidated financial statements.

   C.   Research and Development
       Sony’s Purpose is to “fill the world with emotion (Kando) through the power of creativity and technology,”
   in which the key word is “Kando.”
        For the world to continue to be filled with emotion (Kando), Sony must continue to create technologies that
   unleash people’s creativity and make our civilization sustainable. To clarify this commitment, Sony has set “Push
   our civilization forward and make this planet sustainable” as its R&D mission.
        A wide range of technological domains are essential to realize Sony’s Purpose. The three domains of
   sensing, AI and the digital virtual world, as well as integration among these, will be the core drivers toward this.
   The integration of sensors and AI in the real world is expected to lead to more advanced image and voice
   recognition. Sensed data and AI enhanced by learning from such data can then be used to generate high-precision
   simulations and fascinating content in the virtual world. In addition, the insights gained in the virtual world can
   be fed back to the AI to bolster its ability. In this way, sensing, AI, and the virtual world can be integrated to
   transform Sony into an AI/Data-driven company.
        The Sony Group’s research and development organization (“Corporate R&D”) carries out various R&D
   activities in collaboration with multiple R&D organizations located in Japan, Europe, the United States, India and
   China, utilizing the different characteristics and strengths of each area. In addition to aiming to acquire excellent
   local R&D personnel, Sony will strive to promote further collaboration among the businesses within the Sony
   Group, while also aiming to strengthen collaboration with external creators and academia. Sony is already
   promoting various activities such as joint development with universities around the world, and plans to further
   expand such activities in the future.

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        R&D costs for the fiscal year ended March 31, 2023 increased by 117.3 billion yen (19%) to 735.7 billion
   yen. The ratio of R&D costs to total revenue excluding the Financial Services segment was 7.3%, compared to
   7.4% in the previous fiscal year.
        The following table shows a breakdown of R&D costs for each business segment and Corporate R&D in the
   fiscal years ended March 31, 2022 and 2023.
                                                                                               Fiscal year ended March 31
                                                                                                  2022              2023
                                                                                                     (Yen in billions)
   R&D costs
    G&NS                                                                                         175.7          271.1
    ET&S                                                                                         141.8          155.7
    I&SS                                                                                         198.0          223.7
    Corporate R&D                                                                                 48.7           46.4

   D.   Trend Information
        This section contains forward-looking statements about the possible future performance of Sony and should
   be read in light of the cautionary statement on that subject, which appears on the inside front cover page and
   applies to this entire document.

   Issues Facing Sony and Management’s Response to those Issues
        In the fiscal year ended March 31, 2023, the global economy continued to be greatly affected by inflation.
   While economic activities have started to normalize following the stagnation caused by the COVID-19 pandemic
   that began in 2020, the prolongation of Russia’s military invasion of Ukraine that began in February 2022
   accelerated increases in global commodity prices and inflation reached historic levels. Under these
   circumstances, in March 2022, the Federal Reserve Board of the United States lifted its zero interest rate policy
   and began raising interest rates, resulting in the interest rate differential between Japan and the United States
   widening and the yen’s exchange rate against the U.S. dollar in October 2022 hitting its weakest level in 32
   years. In addition, the recent interest rate hikes in various countries have led to instability in financial systems,
   particularly in Europe and the United States, and uncertainty regarding the future of the global economy has
   further heightened.
        Sony has a wide range of businesses globally. These changes in the global economy, in addition to increased
   geopolitical risk due to tensions between the U.S. and China, the rise of new technologies such as AI, and
   responses to global environmental challenges and social division, are causing major changes in the environment
   surrounding each of Sony’s business segments.
        Sony has responded swiftly to changes in the business environment and worked to strengthen the profit
   structure of each business, while continuing to prioritize management with a long-term view, with the goal of
   enhancing the corporate value of the entire Sony Group.
        On May 18, 2023, Sony held its Corporate Strategy Meeting for the fiscal year ending March 31, 2024.
   Chairman and CEO Kenichiro Yoshida spoke on Sony’s management direction, while President, COO and CFO
   Hiroki Totoki focused on the growth strategies of each business. Kenichiro Yoshida first looked back at the
   expansion of Sony’s businesses from a long-term perspective, from its founding through to recent initiatives to
   reorganize Sony Group’s architecture, strengthen creativity, and expand the Kando space, based on Sony’s
   Purpose (or reason for being) to “fill the world with emotion (or Kando) through the power of creativity and
   technology.” He also emphasized Sony’s commitment to creativity, and stated that Sony will continue to create
   Kando with creators and contribute to expanding it to the world. As an example of this, N.P. Singh, CEO, SPNI
   underlined the expansion of the Sony Group’s business in India and highlighted growth opportunities.
        Hiroki Totoki then provided an overarching view of growth strategies for each of Sony’s businesses from the
   perspective of group management. He further explained that Sony aims to achieve further growth and enhance its
   long-term value by continuing to evolve the diversity of its people and businesses and connect them organically.
        The details are as follows.

   1. Management from a Long-Term Perspective
        Sony has continued to expand its business from a long-term perspective, from its origins of sound, to
   businesses such as electronics, entertainment and semiconductors. The life insurance business within the

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   Financial Services segment was started by one of Sony’s founders in 1979 with a long-term vision of 20 years.
   Following the fiscal year ended March 31, 2022, sales and operating income of the three entertainment
   businesses, Music, Pictures and G&NS, which were developed in the 20th century, continued to exceed 50% of
   the consolidated Group in the fiscal year ended March 31, 2023. In order to help make the world sustainable,
   Sony is also taking a long-term approach to sustainability, including its “Road to Zero” long-term global
   environmental plan that aims to achieve a zero environmental footprint.

   2. Defining Sony’s Purpose and Reorganizing Group Architecture
         In 2019, Sony defined its Purpose with Kando as a keyword. Then, in 2020, Sony announced a restructuring
   of its Group architecture that aimed to connect each business at an equal distance. This included spinning off the
   electronics business from the Group headquarters and making the Financial Services business a wholly-owned
   subsidiary. This reorganization has boosted synergies not only between electronics and entertainment, but also
   between the content IP used by Sony’s entertainment businesses.

   3. Enhancement of Creativity
        Sony intends to strengthen its creation across business areas including content and technologies with the aim
   of being the brand most chosen by creators around the world who generate Kando.

   (1) Enhancing Content IP
   •   Investing in the ability to create Kando
        In order to strengthen its creativity in areas such as music, pictures, games and anime, Sony has focused on
   getting closer to creators and creating Kando, and at the same time has invested in the ability to create Kando. In
   terms of content IP, Sony has invested approximately 1 trillion yen over the past five years.
   •   Partner collaboration and group collaboration on content IP
       Together with its partners, Sony is working to deliver the Kando content developed by creators to even more
   people, to “fill the world with emotion.”
        •   The Last of Us, a first-party PlayStation® title that was made into a TV drama, became the most-
            watched show in both Europe and Latin America in the history of Sony’s distribution partner’s service,
            Max (formerly known as HBO Max).
   •   “Communities of Interest” leading to creation
         Under the long-term vision of expanding the number of people directly connected to the Sony Group to
   1 billion people, Sony aims to continue delivering Kando in specific areas where communities are born, such as
   anime, games, and in India, learning from its users, and making use of them in its creations.
        •   Crunchyroll, a DTC service specializing in anime, feeds back user viewing data to creators.
        •   In India, Sony is engaged in initiatives to create new value, such as local Kando creation and delivery
            through SonyLIV, SPNI’s DTC service, and a joint venture between the Music and Pictures businesses
            to provide opportunities for local artists and creators. Furthermore, through the expected merger of
            SPNI and Zee, Sony aims to further expand creation rooted in local culture.

   (2) Enhancing creation through products and services
        •   Sony’s “VENICE” digital cinema camera series is being widely used across Hollywood studios.
        •   Sony is also focusing on virtual production that supports creators’ new visual expressions with
            technology.
        •   Hawk-Eye Innovations, renowned for its sports officiating, provides excitement through entertainment
            technology services.

   (3) Creation semiconductors that create Kando
        •   CMOS image sensors are contributing to capturing the moment and helping users around the world
            become creators, through Alpha™ full-frame mirrorless cameras and smartphone cameras.

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        •   Over the past five years, Sony has invested more than 1 trillion yen in this area. Sony intends to
            continue to focus on the business of image sensors as key devices that support creation.

   4. Expansion of Kando space
       Leveraging technologies such as VR and AI, Sony is also working on the challenge of expanding the field of
   Kando from real space into the virtual and mobility spaces from a long-term perspective.

   (1) Virtual space
        •   Sony is providing a place of creation where people connect with each other through live service games,
            live performances by music artists and initiatives that increase sports fan engagement.
        •   Sony is also working to seamlessly connect the virtual and the physical worlds using technologies such
            as its mobile motion capture system “mocopi,” and skeletal tracking system.
        •   Sony is extending the creativity of creators with AI represented by “Gran Turismo Sophy,” a racing AI
            agent that enhances the value of the experience within the game space. Sony intends to continue to
            promote R&D in this area, alongside social implementation.

   (2) Mobility space
        •   Sony is contributing to the evolution of mobility in areas such as imaging and sensing technologies and
            entertainment, as well as communications and networks including 5G, and also plans to provide these
            technologies to the production model being developed under Sony Honda Mobility’s new brand,
            “AFEELA.”
        •   Through its collaboration with Epic Games, Sony is pursuing new entertainment possibilities using the
            Unreal Engine 3D creation tool.

   (3) Outer space
        •   Sony will conduct exploration activities to bring emotional experiences through the STAR SPHERE
            project’s nano satellite “EYE.”

   5. Progress on the fourth mid-range plan
        Three-year cumulative adjusted EBITDA, which is the KPI of the fourth mid-range plan (“fourth mid-range
   plan”) that charts the path forward for Sony over the three fiscal years started on April 1, 2021 and ending on
   March 31, 2024, has progressed significantly beyond the initial plan. In the fiscal year ending March 31, 2024,
   which is the final year of its fourth mid-range plan, Sony intends to promote business operations with a focus on
   risk management amidst an unstable business environment, and ensure the achievement of its KPIs. For more
   detailed discussion on the fourth mid-range plan, refer to “Fourth Mid-Range Plan — Financial Targets and their
   Progress” below.

   6. Growth strategies for each business segment
   •   G&NS segment: Increasing the number of active users
        •   Growth and expansion of PS5™. Shipped 6.3 million units of PS5 during the fourth quarter of the fiscal
            year ended March 31, 2023. Continue to manufacture at full capacity.
        •   Knowledge sharing from Bungie to enhance Sony’s ability to develop and operate live service games.
            Aim to increase the number of active users on PCs.
   •   Music segment: Outpace the market growth of streaming services and emerging media
        •   1) Promote new songs from Sony Music’s wholly owned labels and signed artists to increase market
            share. 2) Expand services for distributed labels centered around The Orchard. 3) Ensure early contact
            with emerging artists through channels such as AWAL. 4) Further explore emerging markets, including
            unearthing local artists.
        •   Strengthen initiatives to monetize emerging media such as social media and live concerts within games
            and increase returns for artists.

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   •   Pictures segment: Maximize IP value over the long-term

        •       Leverage Sony’s strengths as a strategic supplier, limiting the burden of investment Sony would incur
                by having Sony’s own distribution platform, and instead allocating these investment resources to the
                creative side, enhancing production quality, and supplying content to the distribution platforms that best
                understand the appeal of each product.

        •       Improve long-term profit by maintaining focus on theatrical releases, which are also supported by the
                industry.

   •   Across entertainment businesses: Maximizing value by deepening the deployment of IP

        •       Synergies generated between entertainment businesses

                •   Expansion of game IP: Continue work on the production of film and TV adaptations of first-party
                    PlayStation® titles including The Last of Us, Gran Turismo and Twisted Metal.

                •   Accelerating the growth of anime: Collaboration between Demon Slayer: Kimetsu no Yaiba
                    producer Aniplex and Crunchyroll.

            •    Location Based Entertainment

                •   Water theme park “Columbia Pictures Aquaverse” in Thailand

                •   A ride attraction in Spain with projections showing the world of Uncharted

                •   “Sword Art Online — Anomaly Quest” at indoor interactive attraction “THE TOKYO MATRIX”
                    in Japan

   •   ET&S segment: Expand the array of solutions and services offered to a wide range of creators

        •       For photographers and broadcasters, expand Sony’s business in the area of services such as efficient
                virtual production on the cloud, and also optimize these technologies and services for individual
                creators.

        •       For filmmakers, evolve creation technologies such as the “VENICE” camera series and virtual
                production to unleash creators from the constraints of time and space.

   •   I&SS segment: Further strengthen No. 1 position in image sensors.
        •       Shift to larger sizes and higher performance CMOS image sensors for smartphones.

        •       Expand business opportunities for sensors in the automotive field, where Sony can contribute to safe
                mobility, and in the industrial and social infrastructure field, to contribute to the shift to smart societies.

   •   Financial Services segment: Brand reinforcement, leveraging Group infrastructure and investment for growth

        •       Reinforcement of branding, leveraging the Sony Group’s infrastructure, and investing in growth are the
                keys to growth in the Financial Services business.

        •       To realize further growth within the Financial Services business, Sony will begin the assessment of a
                partial spin-off based on the premise of the listing of the shares of SFGI that operates this business.

        •       Sony will proceed with its assessment based on the premise that Sony will continue to own a portion
                (slightly less than 20%) of the shares of SFGI, so that the Financial Services business can continue to
                utilize the Sony brand, including in their company name, and continue to generate synergies with Sony
                Group companies after the execution of the spin-off.

        •       The timing of the execution of the spin-off has not been determined; however, Sony will proceed with
                its assessment leading up to the end of the fiscal year ending March 31, 2024, giving consideration to
                executing the spin-off within the next two to three years.

   7. Continuous evolution of businesses and people diversity

        Through diverse individuals sharing their knowledge and activities beyond boundaries, evolving Sony’s
   business diversity, and connecting organically, Sony aims to achieve further growth and enhance long-term value
   across the overall Sony Group.

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   Fourth Mid-Range Plan — Financial Targets and their Progress

   <Financial Targets>

          On April 28, 2021, Sony announced the financial targets for the fourth mid-range plan. In order to continue
   managing Sony with a long-term view, Sony’s management established a three-year cumulative key performance
   indicator. That indicator, which is the most important metric of group performance for the fourth mid-range plan
   (“Group KPI”), is Adjusted EBITDA*. Sony announced that it would target total Adjusted EBITDA of 4.3
   trillion yen on a consolidated basis for the three fiscal years started on April 1, 2021 and ending on March 31,
   2024. Management believes that Adjusted EBITDA is a performance metric suitable for the long-term
   management that Sony prioritizes. This is because (i) it represents the sustainable earnings power of a business as
   it does not include the effects of one-time gains and losses, (ii) it enables management to confirm that all the
   businesses of the Sony Group, including the Financial Services business, are expanding over the mid- to long-
   term through cycles of investment and return, and (iii) it is often used to calculate corporate value.

         Regarding the capital allocation plan in the fourth mid-range plan, Sony established a capital expenditure
   target of 1.5 trillion yen and a strategic investment target of 2 trillion yen or more including share repurchases as
   it aims to grow its business over the longer-term, beyond the duration of the plan. As in the past, Sony plans to
   increase dividends in a stable manner over the long term. Sony expects to fund its allocation of capital through
   expected cash generation of 3.8 trillion yen or more over the three fiscal years started on April 1, 2021 and
   ending on March 31, 2024. The expected cash generation includes 3.1 trillion yen or more of consolidated
   operating cash flow excluding the Financial Services segment, 300 billion or more of cash flow generated from
   the sale of businesses and assets executed as needed as well as borrowing with a strict eye on financial discipline,
   and 400 billion of cash left-over from the period of the third mid-range plan started on April 1, 2018 and ended
   on March 31, 2021 and before.

   <Progress>

       Adjusted EBITDA for the fiscal year ended March 31, 2023 was 1 trillion 703.4 billion yen**. Three-year
   cumulative adjusted EBITDA, which is the Group KPI, has progressed significantly beyond the initial plan,
   mainly in the Music and Pictures segments.

        Regarding capital allocation, capital expenditures are expected to increase from the initial plan to 1.9 trillion
   yen, with an additional 0.4 trillion yen mainly allocated to image sensor capital expenditures in the I&SS
   segment and server investments in Corporate R&D and G&NS. In terms of strategic investment, since Sony
   decided to increase working capital and capital expenditures, and in consideration of the current M&A market
   environment, Sony reduced the amount from the initial plan of 2 trillion yen to 1.8 trillion yen.

         * Adjusted EBITDA (Earnings Before Interest, Taxes, Depreciation and Amortization) = Net income
   attributable to Sony Group Corporation’s stockholders + Net income attributable to noncontrolling interests +
   Income taxes + Interest expenses, net, recorded in Financial income and Financial expense — Gain on
   revaluation of equity instruments, net, recorded in Financial income and Financial expense + Depreciation and
   amortization expense excluding amortization for film costs, broadcasting rights and internally developed game
   content and master recordings included in Content assets as well as for deferred insurance acquisition costs —
   the profit and loss amount that Sony deems non-recurring****.

         Adjusted EBITDA is not a measure in accordance with IFRS. However, Sony believes that this disclosure
   may be useful information to investors. Adjusted EBITDA should be considered in addition to, not as a substitute
   for, Sony’s results in accordance with IFRS.




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        ** The following table shows a reconciliation of net income attributable to Sony Group Corporation’s
   stockholders reported in accordance with IFRS to Adjusted EBITDA for the fiscal year ended March 31, 2023.

                                                                                                Fiscal year ended March 31
                                                                                                            2023
                                                                                                      (Yen in billions)

   Net income attributable to Sony Group Corporation’s stockholders                                        937.1
   Net income attributable to noncontrolling interests                                                       6.5
   Income taxes                                                                                            236.7
   Interest expenses, net, recorded in Financial income and Financial expense                                4.0
   Gain on revaluation of equity instruments, net, recorded in Financial income and
      Financial expense                                                                                     4.6
   Depreciation and amortization expense***                                                               542.2
   Profit and loss amount that Sony deems non-recurring****                                               (27.8)
   Adjusted EBITDA                                                                                      1,703.4

        *** Depreciation and amortization expense excludes amortization of film costs, broadcasting rights and
   internally developed game content and master recordings included in Content assets, as well as for deferred
   insurance acquisition costs.

        **** The table below shows the details of the profit and loss amount that Sony deems non-recurring for the
   fiscal year ended March 31, 2023.

                                                                                                Fiscal year ended March 31
                                                                                                          2023
                                                                                                     (Yen in billions)

   Impact of litigation settlements, net of expenses, received in relation to lawsuits for
     Recorded Music and Music Publishing (Music segment)                                                    5.7
   Recovery of an unauthorized withdrawal of funds at a subsidiary of Sony Life which
     occurred in the previous fiscal year (Financial Services segment)                                    22.1
   Total                                                                                                  27.8

        For details on the performance of each business segment in the fiscal year ended March 31, 2023, as well as
   the business environment and strategy of each business segment, also refer to “Operating Results” in “Item 5.
   Operating and Financial Review and Prospects.”

   E.   Critical Accounting Estimates

          The preparation of the consolidated financial statements in conformity with IFRS requires management to
   make estimates and assumptions that affect the reported amounts of assets and liabilities, disclosure of contingent
   assets and liabilities at the date of the financial statements, and the reported amounts of revenues and expenses
   during the reporting period. On an ongoing basis, Sony evaluates its estimates, which are based on historical
   experience, future projections and various other assumptions that are believed to be reasonable under the
   circumstances. The results of these evaluations form the basis for making judgments about the carrying values of
   assets and liabilities and the reported amounts of expenses that are not readily apparent from other sources.
   Actual results may significantly differ from these estimates. Sony considers an accounting estimate to be critical
   if it is important to its financial condition and results, and requires significant judgment and estimates on the part
   of management in its application. Sony believes that the following represents its critical accounting estimates.
   The critical accounting estimates should be read in conjunction with Note 3 of the consolidated financial
   statements regarding Sony’s significant accounting policies.

   Financial instruments

         Sony recognizes a financial instrument as a financial asset or a financial liability when Sony becomes party
   to the contractual provisions of the instrument. Financial assets and financial liabilities are initially measured at
   fair value.

        Financial instruments held by Sony are classified according to the measurement method, and for financial
   instruments measured at fair value, future fluctuations in fair value may have a significant impact on the
   consolidated financial statements.

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        The assessment of credit losses for debt securities is often subjective in nature and involves certain
   assumptions and estimates concerning the credit risk ratings, expected operating results, business plans and
   future cash flows of the issuer of the security. Accordingly, it is possible that Sony will record an allowance for
   credit losses for debt securities in the future, where such an allowance for credit losses is not currently recorded
   based on the assessment of subsequently available information such as a deterioration in the credit risk rating,
   continued poor operating results, future broad declines in the value of worldwide equity markets and the effect of
   worldwide interest rate fluctuations. As a result, downward adjustments in income may be recorded in the future
   due to the recording of such allowance for credit losses.

   Impairment of non-financial assets
        Sony reviews the recoverability of its non-financial assets, except for inventories, contract costs and
   deferred tax assets, whenever there is any indication that an asset or a cash-generating unit (“CGU”) may be
   impaired. In addition, an annual impairment test for goodwill, intangible assets with indefinite useful lives or
   intangible assets not yet available for use is performed during the fourth quarter of the fiscal year for each CGU
   or group of CGUs to which the carrying amount of these assets is allocated.
        For all CGUs or groups of CGUs with goodwill, the recoverable amount exceeded the carrying amount, and
   therefore no impairment existed in the fiscal year ended March 31, 2023. Also, the recoverable amount of each
   CGU or group of CGUs with significant goodwill exceeded their respective carrying values by at least 10.0%.
   For intangible assets with indefinite useful lives or intangible assets not yet available for use, the recoverable
   amount exceeded the carrying amount, and therefore no impairment existed.
        A discussion of the significant assumptions, other than the mid-range plan, including a sensitivity analysis
   with respect to their impact, of the recoverable amount of each CGU or group of CGUs for the impairment
   analysis for goodwill performed for the fiscal year ended March 31, 2023 is included below:
        •   The post-tax discount rates ranged from 2.6% to 15.0%. A hypothetical one percentage point increase in
            the discount rate, holding all other assumptions constant, would not have resulted in an impairment.
        •   The growth rates applied to the terminal values for the CGUs within the G&NS, ET&S, I&SS and
            Financial Services segments ranged from approximately 1.0% to 1.5%. The growth rates beyond the
            mid-range plan period for the CGUs in the Music segment ranged from 1.0% to 3.0%, and in the
            Pictures segment ranged from (5.0%) to 21.0%. A hypothetical one percentage point decrease in the
            growth rate, holding all other assumptions constant, would not have resulted in an impairment.
        •   The earnings multiple used to calculate the terminal value in the Pictures CGU was 1.5x to 12.0x and
            the revenue multiple was 1.3x to 1.5x. A hypothetical reduction in earnings multiple by 1.0x and
            revenue multiple by 0.25x, respectively, holding all other assumptions constant, would not have resulted
            in a significant impairment.
        Management believes that the assumptions used in the impairment tests are reasonable. However, in the
   future, changes in estimates resulting in lower recoverable amounts due to unforeseen changes in assumptions
   could negatively affect the valuations, which may result in Sony recognizing impairment losses for non-financial
   assets.

   Business combinations
        Sony recognizes identifiable assets acquired and the liabilities assumed of an acquiree at their fair values at
   the acquisition date with limited exceptions. Sony recognizes goodwill when the aggregate of the consideration
   transferred in a business combination, the amount of any non-controlling interests in the acquiree and the fair
   value of Sony’s previously held equity interest in the acquiree exceeds the net amount of the identifiable assets
   and liabilities of the acquiree at the acquisition date. If the aggregate above is less than the net amount of
   identifiable assets and liabilities, the difference is recognized as a gain.
        Due to the inherent uncertainties involved in making the estimates and assumptions, the consideration
   transferred could be valued and allocated to the identifiable assets acquired and liabilities assumed differently.
   Actual results may differ, or unanticipated events and circumstances may affect such estimates, which could
   require Sony to record an impairment of an identifiable asset acquired and goodwill, or an increase in the
   amounts recorded for identifiable liabilities assumed.

   Estimation of ultimate revenue in the Pictures segment
        An aspect of film accounting that requires the exercise of management’s judgment relates to the process of
   estimating the total revenues to be received throughout a film’s life cycle. Such estimate of a film’s ultimate

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   revenue is important for the measurement of film costs and participation and residual liabilities in the Pictures
   segment.

        While a film is being produced and the related costs are being capitalized, it is necessary for management to
   estimate the ultimate revenue, less additional costs to be incurred, including exploitation costs which are
   expensed as incurred, in order to determine whether the value of a film has been impaired and thus requires an
   immediate write-off of unrecoverable film costs. In addition, the amount of film costs recognized as cost of sales
   for a given film as it is exhibited in various markets throughout its life cycle is based on the ratio of current
   period actual revenues to the estimated remaining total revenues.

        Management bases its estimates of ultimate revenue for each film on several factors including the historical
   performance of similar genre films, the star power of the lead actors, the expected number of theaters at which
   the film will be released, anticipated performance in the home entertainment, television and other ancillary
   markets, and agreements for future sales. Management updates such estimates on a regular basis based on the
   actual results to date and estimated future results for each film. For example, a film with lower than expected
   theatrical revenues in its initial weeks of release would generally have its theatrical, home entertainment and
   television distribution ultimate revenues adjusted downward; a failure to do so would result in the understatement
   of amortized film costs for the period. Also, participation and residual liabilities are accrued based on the ratio of
   current period actual revenues to the estimated remaining total revenues.

   Valuation of deferred tax assets

        Deferred tax assets are recognized to the extent that it is probable that taxable profit will be available against
   which the assets can be utilized. Accordingly, the valuation of deferred tax assets is assessed periodically with
   available evidence related to the realizability of the deferred tax assets.

        The valuation of deferred tax assets, which is based on currently enacted tax laws and rates as of the end of
   the reporting period, reflects management’s judgment and best estimate of the likely future tax consequences of
   events that have been recognized in Sony’s financial statements and tax returns, the ability to implement various
   tax planning strategies and, in certain cases, future forecasts, business plans and other expectations about
   business outcomes. Changes in existing tax laws or rates in tax jurisdictions in which Sony operates could affect
   actual tax results, and market or economic deterioration or failure of management to achieve its restructuring
   objectives could affect future business results, either of which could affect the valuation of deferred tax assets
   over time. If future results are less than projected, if the results of tax examinations or the negotiations of
   advance pricing agreements covering transfer pricing of intercompany transactions result in a different allocation
   of profits and losses than currently anticipated, if tax planning alternatives are no longer viable, or if there is no
   excess appreciated asset value over the tax basis of the assets contemplated for sale, outstanding deferred tax
   assets may be required to be written down in the future. On the other hand, a forecasted improvement and
   consistency in future earnings or other factors, such as business reorganizations, could lead in the future, as a
   result of a review of all relevant factors, to the reversal of the previous write down of the deferred tax assets
   which would be recorded as a reduction to tax expense. These possible factors and other changes, that are not
   anticipated in current estimates, could have a material impact on Sony’s earnings or financial condition in the
   period or periods in which the impact is recorded or reversed.

   Deferred insurance acquisition costs

        Costs that vary with and are directly related to the acquisition or renewal of insurance policies are deferred
   as long as they are recoverable. The deferred insurance acquisition costs include such items as commissions,
   medical examination costs and inspection report fees, and are subject to recoverability testing at least annually to
   ensure that the capitalized amounts do not exceed the present value of anticipated gross profits or premiums less
   benefits and maintenance expenses, as applicable. The deferred insurance acquisition costs for traditional life
   insurance contracts are amortized over the premium-paying period of the related insurance policies using
   assumptions consistent with those used in computing future insurance policy benefits. The deferred insurance
   acquisition costs for non-traditional life insurance contracts are amortized over the expected life at a constant rate
   based on the present value of the estimated gross profit. Investment yields, mortality rates, lapse rates and
   discount rates are used as important assumptions for the present value of the estimated gross profit.

   Future insurance policy benefits

        Liabilities for future insurance policy benefits are primarily comprised of the present value of estimated
   future payments to policyholders. These liabilities are computed by the net level premium method based upon the

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   assumptions as to future investment yield, morbidity rates, mortality rates, lapse rates and other factors. These
   assumptions are reviewed on a periodic basis. Liabilities for future policy benefits include the liabilities for the
   minimum guarantee benefits of individual variable annuities and variable life insurance contracts.

   Policyholders’ account in the life insurance business

        Liabilities for policyholders’ account in the life insurance business represent the contract value that has
   accrued to the benefit of the policyholders as of the end of the reporting period. This liability is generally equal to
   the accumulated account deposits, plus interest credited, less policyholder withdrawals and other charges
   assessed against the account balances. Liabilities for policyholders’ account in the life insurance business include
   the liabilities related to the individual variable annuities and variable life insurance contracts with minimum
   guarantee benefits.

   Item 6.    Directors, Senior Management and Employees

   A.   Directors and Senior Management

        Set forth below are the current members of the Board of Directors and Corporate Executive Officers of Sony
   Group Corporation (the “Corporation”), their responsibility as a director or officer, date of birth, the number of
   years they have served as a director or officer, and other principal business activities outside the Corporation as
   of June 20, 2023.

   Board of Directors

   Kenichiro Yoshida
     Responsibility as a Director: —
     Date of Birth: October 20, 1959
     Number of Years Served as a Director: 9 years
     Principal Business Activities Outside the Corporation: Outside Director, M3, Inc.
     Brief Personal History:
       April 1983           Joined the Corporation
       July 2000            Joined Sony Communication Network Corporation (currently Sony Network
                            Communications Inc.)
       September 2000       Outside Director, So-net M3, Inc. (currently M3, Inc.) (present)
       May 2001             SVP, Sony Communication Network Corporation
       April 2005           President and Representative Director, Sony Communication Network Corporation
       December 2013        EVP, CSO and Deputy CFO, Corporate Executive Officer, the Corporation
       April 2014           EVP and CFO, Representative Corporate Executive Officer, the Corporation
       June 2014            Director, the Corporation (present)
       April 2015           Executive Deputy President and CFO, Representative Corporate Executive Officer, the
                            Corporation
       April 2018           President and CEO, Representative Corporate Executive Officer, the Corporation
       June 2020            Chairman, President and CEO, Representative Corporate Executive Officer, the
                            Corporation
       April 2023           Chairman and CEO, Representative Corporate Executive Officer, the Corporation
                            (present)




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   Hiroki Totoki
     Responsibility as a Director: —
     Date of Birth: July 17, 1964
     Number of Years Served as a Director: 4 years
     Principal Business Activities Outside the Corporation: Outside Director, Recruit Co., Ltd.
     Brief Personal History:
       April 1987            Joined the Corporation
       February 2002         Representative Director, Sony Bank Incorporated
       June 2005             Director, Corporate Executive Officer and Senior Managing Director, Sony
                             Communication Network Corporation (currently Sony Network Communications Inc.)
       April 2012            Representative Director, Corporate Executive Officer and Senior Managing Director,
                             So-net Entertainment Corporation (currently Sony Network Communications Inc.)
       April 2013            Representative Director, Corporate Executive Officer, Deputy President and CFO,
                             So-net Entertainment Corporation
       December 2013         SVP, Corporate Executive, the Corporation
       November 2014         President and CEO, SOMC (currently Sony Corporation)
       June 2015             Director, Chairman, So-net Corporation (currently Sony Network Communications
                             Inc.)
       April 2016            EVP, Corporate Executive Officer, the Corporation
                             Officer in charge of New Business Platform Strategy, the Corporation
                             President and Representative Director, So-net Corporation
       June 2017             CSO, the Corporation
                             Officer in Charge of Mid-to-Long Term Business Strategy, New Business
       April 2018            Representative Corporate Executive Officer, CFO, the Corporation
       June 2018             Senior EVP, the Corporation
                             Outside Director, Recruit Holdings Co., Ltd. (present)
       June 2019             Director, the Corporation (present)
       June 2020             Executive Deputy President and CFO, Representative Corporate Executive Officer, the
                             Corporation
       April 2023            President, COO and CFO, Representative Corporate Executive Officer, the Corporation
                             (present)

   Yoshihiko Hatanaka
     Responsibility as a Director: Chairman of the Board
                                   Chair of the Nominating Committee
     Date of Birth: April 20, 1957
     Number of Years Served as a Director: 4 years
     Brief Personal History and Principal Business Activities Outside the Corporation:
       April 1980           Joined Fujisawa Pharmaceutical Co., Ltd. (currently Astellas Pharma Inc.)
       June 2005            Corporate Executive, Vice President, Corporate Planning, Corporate Strategy, Astellas
                            Pharma Inc.
       April 2006           Corporate Executive of Astellas Pharma Inc. and President & CEO, Astellas US LLC
                            and President & CEO, Astellas Pharma US, Inc.
       June 2008            Senior Corporate Executive of Astellas Pharma Inc. and President & CEO, Astellas US
                            LLC and President & CEO, Astellas Pharma US, Inc.
       April 2009           Senior Corporate Executive, Chief Strategy Officer and Chief Financial Officer,
                            Astellas Pharma Inc.
       June 2011            Representative Director, President & CEO, Astellas Pharma Inc.
       April 2018           Representative Director, Chairman of the Board, Astellas Pharma Inc.
       June 2019            Director, the Corporation (present)
       March 2023           Outside Director, Shiseido Company, Limited (present)




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   Toshiko Oka
     Responsibility as a Director: Chair of the Audit Committee
                                   Member of the Nominating Committee
     Date of Birth: March 7, 1964
     Number of Years Served as a Director: 5 years
     Brief Personal History and Principal Business Activities Outside the Corporation:
       April 1986           Joined Tohmatsu Touche Ross Consulting Limited
       July 2000            Joined Asahi Arthur Anderson Limited
       September 2002       Principal, Deloitte Tohmatsu Consulting Co., Ltd. (currently ABeam Consulting Ltd.)
       April 2005           President and Representative Director, ABeam M&A Consulting Ltd. (currently PwC
                            Advisory LLC)
       April 2016           Partner, PwC Advisory LLC
       June 2016            CEO, Oka & Company Ltd. (present)
       June 2018            Director, the Corporation (present)
       June 2019            Outside Director, Happinet Corporation (present)
       June 2020            Outside Director, ENEOS Holdings, Inc. (present)
       April 2021           Professor, Professional Graduate School, Graduate School of Global Business, Meiji
                            University (present)
       June 2021            Outside Director, Hitachi Construction Machinery Japan Co., Ltd. (present)

   Sakie Akiyama
     Responsibility as a Director: Member of the Compensation Committee
     Date of Birth: December 1, 1962
     Number of Years Served as a Director: 4 years
     Brief Personal History and Principal Business Activities Outside the Corporation:
       April 1987           Joined Arthur Andersen & Co.
       April 1994           Founder and CEO, Saki Corporation
       October 2018         Founder, Saki Corporation (present)
       June 2019            Director, the Corporation (present)
                            Outside Director, Japan Post Holdings Co., Ltd. (present)
                            Outside Director, Orix Corporation (present)
       June 2020            Outside Director, Mitsubishi Corporation (present)

   Wendy Becker
    Responsibility as a Director: Chair of the Compensation Committee
                                  Member of the Nominating Committee
    Date of Birth: November 2, 1965
    Number of Years Served as a Director: 4 years
    Brief Personal History and Principal Business Activities Outside the Corporation:
      September 1987       Brand Manager, Procter & Gamble Company
      September 1993       Consultant, McKinsey & Company, Inc.
      December 1998        Partner, McKinsey & Company, Inc.
      February 2008        Managing Director, Residential, TalkTalk, The Carphone Warehouse Ltd.
                           Board member, Member of Remuneration Committee, Whitbread plc
      September 2009       Chief Marketing Officer, Vodafone Group plc
      September 2012       Chief Operating Officer, Jack Wills Ltd.
      October 2013         CEO, Jack Wills Ltd.
      February 2017        Board member, Chair of Remuneration Committee, Great Portland Estates plc
      September 2017       Board member, Logitech International S.A. (present)
      June 2019            Director, the Corporation (present)
      September 2019       Chair of the Board, Chair of Nominating Committee, Logitech International S.A.
                           (present)
      June 2021            Board member, Chair of Remuneration Committee, Oxford Nanopore Technologies plc
                           (present)




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   Keiko Kishigami
     Responsibility as a Director: Member of the Audit Committee
     Date of Birth: January 28, 1957
     Number of Years Served as a Director: 3 years
     Brief Personal History and Principal Business Activities Outside the Corporation:
       October 1985         Joined Peat Marwick Minato (currently Ernst & Young ShinNihon LLC)
       August 1989          Registered as Certified Public Accountant (present)
       December 1997        Partner, Century Audit Corporation (currently Ernst & Young ShinNihon LLC)
       May 2004             Representative Partner (Senior Partner), Ernst & Young ShinNihon (currently Ernst &
                            Young ShinNihon LLC)
       September 2018       Board Member, WWF Japan (present)
       June 2019            Outside Auditor, Okamura Corporation (present)
       June 2020            Director, the Corporation (present)
       June 2021            Outside Director, Sumitomo Seika Chemicals Company, Limited (present)
       March 2023           Outside Auditor, DIC Corporation (present)

   Joseph A. Kraft Jr.
     Responsibility as a Director: Member of the Audit Committee
                                   Director in charge of Information Security
     Date of Birth: May 12, 1964
     Number of Years Served as a Director: 3 years
     Brief Personal History and Principal Business Activities Outside the Corporation:
       July 1986            Joined Morgan Stanley Inc.
       January 2000         Managing Director, Morgan Stanley Inc.
       April 2007           Managing Director, Head of Capital Markets Division, Dresdner Kleinwort Japan
       March 2010           Deputy Branch Manager & Managing Director, Bank of America Merrill Lynch Japan
       July 2015            CEO, Rorschach Advisory Inc. (present)
       June 2020            Director, the Corporation (present)

   Neil Hunt
     Responsibility as a Director: Director in charge of Information Security
     Date of Birth: January 12, 1962
     Number of Years Served as a Director: —
     Brief Personal History and Principal Business Activities Outside the Corporation:
        June 1989           Founder, CTO, Iconicon
        October 1991        Director of Engineering, Pure Atria, Inc.
        December 1999       Chief Product Officer, Netflix, Inc.
        September 2010      Board member, Member of Compensation Committee, Logitech, Inc.
        June 2017           Board member, Member of Compensation Committee, Roku, Inc. (present)
        January 2020        Founder and Chief Product Officer, Vibrant Planet, PBC (present)
        June 2023           Director, the Corporation (present)

   William Morrow
    Responsibility as a Director: Member of the Compensation Committee
    Date of Birth: July 2, 1959
    Number of Years Served as a Director: —
    Brief Personal History and Principal Business Activities Outside the Corporation:
        September 1980      Director, Pacific Bell Inc.
        November 2001       President, Japan Telecom Holdings Co. Ltd
        February 2004       CEO, Vodafone UK Limited
        April 2005          President, VODAFONE K.K. Limited
        May 2006            CEO Europe, Vodafone Limited
        August 2006         President & CEO, Pacific Gas and Electric Company
        June 2008           Outside Director, Broadcom Inc.
        March 2009          CEO, Clearwire Incorporated
        March 2012          CEO, Vodafone Hutchison Australia
        April 2014          CEO, NBN Co, Limited
        December 2018       Outside Director, IkeGPS Group Limited
        February 2021       CEO, DirecTV LLC (present)
        June 2023           Director, the Corporation (present)

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   Corporate Executive Officers
       In addition to Kenichiro Yoshida and Hiroki Totoki, the four individuals set forth below are the current
   Corporate Executive Officers of Sony Group Corporation as of June 20, 2023. Refer to “Board Practices” below.

   Toshimoto Mitomo
     Responsibility as an Officer: Executive Deputy President and CSO, Officer in charge of Intellectual Property,
                                   Business Strategy, Business Development and Business Incubation Platform
     Date of Birth: January 6, 1963
     Number of Years Served as a Corporate Executive Officer: 1 year
     Principal Business Activities Outside Sony: None
     Brief Personal History:
       April 1985           Joined the Corporation
       June 2013            SVP, Corporate Executive, the Corporation
       June 2019            EVP, the Corporation
       April 2022           Senior EVP, Corporate Executive Officer, the Corporation
       April 2023           Executive Deputy President and CSO, Corporate Executive Officer, the Corporation
                            (present)

   Shiro Kambe
     Responsibility as an Officer: Senior EVP, Officer in charge of Legal, Compliance, Privacy, Corporate
                                   Communications, Brand, Sustainability, External Relations, Quality
                                   Management, and the Board Secretariat
     Date of Birth: December 18, 1961
     Number of Years Served as a Corporate Executive Officer: 9 years
     Principal Business Activities Outside Sony: None
     Brief Personal History:
       April 1984           Joined the Corporation
       June 2010            SVP, Corporate Executive, the Corporation
       June 2014            EVP, Corporate Executive Officer, the Corporation
       June 2020            Senior EVP, Corporate Executive Officer, the Corporation (present)

   Kazushi Ambe
    Responsibility as an Officer: Senior EVP, Officer in charge of Human Resources, General Affairs, Lead of
                                  Group Diversity, Equity & Incubation and the Corporate Executive Office and
                                  Sony Group China Representative
    Date of Birth: April 23, 1961
    Number of Years Served as a Corporate Executive Officer: 7 years
    Principal Business Activities Outside Sony: None
    Brief Personal History:
       April 1984          Joined the Corporation
       October 2001        Vice President, Sony Ericsson Mobile Communications
       April 2006          Senior Vice President, Sony Corporation of America
       November 2014       SVP, Corporate Executive, the Corporation
       June 2016           EVP, Corporate Executive Officer, the Corporation
       June 2020           Senior EVP, Corporate Executive Officer, the Corporation (present)

   Hiroaki Kitano
     Responsibility as an Officer: Senior EVP and CTO, Officer in charge of R&D and AI Collaboration
     Date of Birth: March 16, 1961
     Number of Years Served as a Corporate Executive Officer: 1 year
     Principal Business Activities Outside Sony: None
     Brief Personal History:
       April 1984           Joined NEC Corporation
       August 1993          Joined Sony Computer Science Laboratories, Inc.
       June 2002            Director, Deputy Head of Research, Sony Computer Science Laboratories, Inc.
       July 2008            Director, Head of Research, Sony Computer Science Laboratories, Inc.
       July 2011            President and CEO, Sony Computer Science Laboratories, Inc. (present)
       June 2016            Corporate Executive, the Corporation
       June 2018            SVP, the Corporation
       April 2020           CEO, Sony AI Inc. (currently Sony Research Inc.) (present)
       June 2020            EVP, the Corporation
       April 2022           Senior EVP and CTO, Corporate Executive Officer, the Corporation (present)

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   Kenichiro Yoshida, Hiroki Totoki, Toshimoto Mitomo, Shiro Kambe, Kazushi Ambe and Hiroaki Kitano are
   engaged on a full-time basis by Sony Group Corporation. There is no family relationship between any of the
   persons named above. There is no arrangement or understanding with major shareholders, customers, suppliers,
   or others pursuant to which any person named above was selected as a Director or a Corporate Executive Officer.

   B.   Compensation

         Under the Financial Instruments and Exchange Act of Japan and related regulations, Sony Group
   Corporation is required to disclose the total remuneration paid by Sony Group Corporation to Directors and
   Corporate Executive Officers, as well as remuneration of any Director or Corporate Executive Officer who
   receives total aggregate annual remuneration exceeding 100 million yen from Sony in a fiscal year, on an
   individual basis. The following table and accompanying footnotes show the information on such matters that
   Sony Group Corporation has disclosed in its annual Securities Report for the fiscal year ended March 31, 2023
   filed on June 20, 2023 with the Director General of the Kanto Local Finance Bureau of the Ministry of Finance in
   Japan.

   (1) Total amounts of remuneration for Directors and Corporate Executive Officers and the number thereof

                            Fixed remuneration Remuneration linked to Stock acquisition rights  Restricted stock    Phantom Restricted Stock
                                                  business results             (*6)                 (*8/*9)              Plan (*9/*10)
                                     Amount                  Amount                 Amount                Amount                   Amount
                           Number of (Yen in Number of (Yen in         Number        (Yen in Number of (Yen in       Number of     (Yen in
                            persons  millions)  persons     millions) of persons millions)     persons    millions)   persons      millions)
    Directors                  8         186        —           —          —           —           8         46          1           95

                                                               (*3)                   (*7)                                          (*11)
    (Outside Directors)
    (*1)                      (7)       (159)      (—)         (—)        (—)         (—)         (7)       (41)        (—)         (—)
    Corporate Executive
    Officers                  8          574        7          751          6         681          6       1,131         1           221
                             (*2)                  (*4)        (*5)                                                                 (*12)
    Total                     16         760         7         751          6         681         14       1,178         2           316

   *1 The number of persons does not include two Directors who concurrently serve as Corporate Executive
   Officers, because Sony Group Corporation does not pay any additional remuneration for services as a Director to
   Directors who concurrently serve as Corporate Executive Officers.

   *2 The number of persons includes two Corporate Executive Officers who resigned on the day of the Ordinary
   General Meeting of Shareholders held on June 28, 2022.

   *3 Sony Group Corporation does not pay remuneration linked to business results to Directors who do not
   concurrently serve as Corporate Executive Officers.

   *4 The number of persons includes one Corporate Executive Officer who resigned on the day of the Ordinary
   General Meeting of Shareholders held on June 28, 2022.

   *5 This is the amount of remuneration linked to business results for the fiscal year ended March 31, 2023 that
   was paid in June 2023.

   *6 This is the amount of expenses Sony Group Corporation recorded during the fiscal year ended March 31, 2023
   applicable to the stock acquisition rights that were granted.

   *7 Sony Group Corporation does not grant stock acquisition rights to Directors who do not concurrently serve as
   Corporate Executive Officers.

   *8 This is the amount of expenses Sony Group Corporation recorded during the fiscal year ended March 31, 2023
   applicable to restricted stock.

   *9 Due to rounding, individual sums may not total 100%.

   *10 The phantom restricted stock plan referenced above includes the amount which is to be paid to one Director
   who resigned on the day of the Ordinary General Meeting of Shareholders held on June 20, 2023 and one former
   Corporate Executive Officer who resigned on March 31, 2023. Sony Group Corporation recorded 69 million yen
   in expenses during the fiscal year ended March 31, 2023 applicable to the phantom restricted stock plan for
   Directors and Corporate Executive Officers.


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   *11 The amount above is equivalent to points accumulated during the terms of the Director up to the fiscal year
   ended March 31, 2017, when Sony had granted points under the phantom restricted stock plan to certain
   Directors.

   *12 The amount above is equivalent to points accumulated during the terms of the Corporate Executive Officers
   from April 2015 to June 2018 and from June 2020 to June 2022.

   (2) Amounts of remuneration for Directors and Corporate Executive Officers on an individual basis
                                                                     Remuneration
                                                    Fixed              linked to     Phantom restricted                     Granted number of       Granted number of
          Name              Position (*1)       Remuneration        business results    stock plan                           stock acquisition        restricted stock
                                                     (*2)              (*2) (*3)           (*2)           Total (*2)             rights (*4)                (*5)
                                               (Yen in millions)   (Yen in millions) (Yen in millions) (Yen in millions)   (Ten thousand shares)   (Ten thousand shares)
                       Former Director                                                     95
   Tim Schaaff                                        27                —                                    122                   —                       0.1
                       (Until June 20, 2023)                                              (*6)
                       Director, Chairman,
                       CEO, and
   Kenichiro Yoshida   Representative                240                411                —                 651                    16                     8.0
                       Corporate Executive
                       Officer (*7) (*8)
                       Director, President,
                       COO, CFO, and
   Hiroki Totoki       Representative                 80                143                —                 223                    5                      2.5
                       Corporate Executive
                       Officer (*7) (*8)
                       Former Vice
                       Chairman,
                       Former Representative                                              221
   Shigeki Ishizuka                                   17                 13                                  251                   —                       —
                       Corporate Executive                                                (*9)
                       Officer (Until
                       March 31, 2023)
                       Executive Deputy
                       President, CSO, and
   Toshimoto Mitomo                                   52                 49                —                 101                    2                      0.6
                       Corporate Executive
                       Officer (*8)
                       Senior Executive
                       Vice President, and
   Shiro Kambe                                        52                 51                —                 103                    2                      0.6
                       Corporate Executive
                       Officer (*8)
                       Senior Executive
                       Vice President, and
   Kazushi Ambe                                       52                 50                —                 102                    2                      0.6
                       Corporate Executive
                       Officer (*8)
                       Senior Executive
                       Vice President, CTO            52                 49                                  101
   Hiroaki Kitano                                                                          —                                        2                      1.0
                       and Corporate                (*10)              (*10)                                (*10)
                       Executive Officer


   *1 This chart shows remuneration for Directors and Corporate Executive Officers who received, or who became
   likely to receive, total remuneration exceeding 100 million yen from Sony Group Corporation and its subsidiaries
   during the fiscal year ended March 31, 2023. Titles are as of the date of submission of this document.

   *2 Due to rounding, individual sums may not total 100%.

   *3 For the metrics and actual financial results used to determine the amount of remuneration linked to business
   results, refer to “Corporate Executive Officer remuneration linked to business results for the fiscal year ended
   March 31, 2023” below.




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   *4 The weighted-average fair value per share at the date of grant of stock acquisition rights granted during the
   fiscal year ended March 31, 2023 was 3,123 yen and was estimated using the Black-Scholes option-pricing
   model with several assumptions. Refer to Note 21 of the consolidated financial statements for details. The
   weighted-average fair value per share does not indicate the actual value that would be realized by a Corporate
   Executive Officer upon the exercise of the above-mentioned stock acquisition rights. The actual value, if any,
   that is realized by a Corporate Executive Officer upon the exercise of any stock acquisition rights will depend on
   the extent to which the market value of Sony Group Corporation’s common stock (“Common Stock”) exceeds
   the exercise price of the stock acquisition rights on the date of exercise, and several other restrictions imposed on
   the exercise of the stock acquisition rights, including the period when a Corporate Executive Officer could
   exercise the stock acquisition rights. Accordingly, there is no assurance that the value realized or to be realized
   by a Corporate Executive Officer upon the exercise of the stock acquisition rights is or will be at or near the
   weighted-average fair value per share presented above. In addition, the above weighted-average fair value per
   share was calculated to recognize compensation expense for the fiscal year ended March 31, 2023 for accounting
   purposes and should not be regarded as any indication or prediction of Sony with respect to its future stock
   performance.

   *5 This indicates the total number of shares of restricted stock granted in the fiscal year ended March 31, 2023
   for Directors and Corporate Executive Officers. The issue price per share of restricted stock was 11,586 yen.

   *6 As noted above, the amount is equivalent to points accumulated during the terms of the Director up to the
   fiscal year ended March 31, 2017, when Sony had granted points under the phantom restricted stock plan to
   certain Directors.

   *7 As noted above, Sony Group Corporation does not pay any remuneration for services as a Director to
   Directors who concurrently serve as Corporate Executive Officers.

   *8 Apart from the remuneration contained in the table, Sony Group Corporation also provided certain personal
   benefits and perquisites, including fringe benefits and in some instances amounts to pay income taxes related to
   perquisites, totaling 7 million yen to Kenichiro Yoshida, 1 million yen to Hiroki Totoki, 18 million yen to
   Toshimoto Mitomo, 1 million yen to Shiro Kambe, and 1 million yen to Kazushi Ambe during the fiscal year
   ended March 31, 2023.

   *9 As noted above, the amount is equivalent to points accumulated during the terms of the Corporate Executive
   Officers from April 2015 to June 2018 and from June 2020 to June 2022.

   *10 Remuneration paid to Hiroaki Kitano includes 10 million yen in fixed compensation and 10 million yen in
   performance-based compensation from Sony Computer Science Laboratories, Inc. and 5 million yen in fixed
   compensation and 5 million yen in performance-based compensation from Sony Research Inc. (formerly Sony AI
   Inc.).

   (3) Basic policy regarding Director and Senior Executive remuneration

      The basic policy regarding remuneration for respective Directors and Senior Executives determined by the
   Compensation Committee is as follows:

   (a) Basic policy regarding Director remuneration

   The primary duty of Directors is to supervise the performance of business operations of Sony as a whole. In order
   to improve this supervisory function over the business operations of Sony, which is a global company, the
   following two elements have been established as the basic policy for the determination of remuneration of
   Directors. No Director remuneration is paid to those Directors who concurrently serve as Corporate Executive
   Officers.

        •   Attracting and retaining an adequate talent pool of Directors possessing the requisite abilities to excel in
            the global marketplace; and

        •   Ensuring the effectiveness of the supervisory function of Directors.

   Based on the above, Director remuneration shall consist of the following components. The amount of each
   component and its percentage of total remuneration shall be at an appropriate level determined in accordance
   with the basic policy above and based on research conducted by a third party regarding remuneration of directors
   of both Japanese and non-Japanese companies.




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              Type of remuneration                                         Description

    Fixed remuneration                       •   The amount of fixed remuneration shall be at an appropriate level
                                                 determined in accordance with the basic policy above and based
                                                 on research conducted by a third party regarding remuneration of
                                                 directors of both Japanese and non-Japanese companies.
    Stock-based compensation                 •   Restricted stock or restricted stock units (“RSUs”) are granted to
    (restricted stock or restricted stock        further promote shared values between Directors and shareholders
    units)                                       and incentivize Directors to develop and maintain a sound and
                                                 transparent management system.
                                             •   Any Director to whom restricted stock is granted may not sell or
                                                 transfer the granted shares during his/her tenure, and in principle,
                                                 such restriction is to be released when such Director resigns.
                                             •   In principle, RSUs held by Directors will be vested when he/she
                                                 resigns, and the Common Stock of the company will then be
                                                 delivered to the Directors.
    Phantom restricted stock plan            •   Points determined every year by the Compensation Committee
                                                 and granted to certain Directors every year during their term in
                                                 office, with the remuneration amount calculated at the time of
                                                 resignation by multiplying the Common Stock price (closing
                                                 price) by the individual’s accumulated points.
                                            * Because Sony replaced the phantom restricted stock plan for
                                            Directors with restricted stock as from the fiscal year ended March 31,
                                            2018, Sony did not grant new points to Directors during the fiscal year
                                            ended March 31, 2023.

   (b) Basic policy regarding Senior Executive remuneration
   Senior Executives are key members of management responsible for executing the operations of Sony as a whole,
   or their respective businesses of Sony. In order to further improve the business results of Sony, the following two
   elements have been established as the basic policy for the determination of remuneration of Senior Executives.
        •   Attracting and retaining an adequate talent pool possessing the requisite abilities to excel in the global
            marketplace; and
        •   Providing effective incentives to improve business results on a short-, medium- and long-term basis.
   Based on the above, Senior Executive remuneration shall basically consist of the following components. The
   amount of each component and its percentage of total remuneration shall be at an appropriate level determined in
   accordance with the above basic policy and the individual’s level of responsibility and based on research
   conducted by a third party regarding remuneration of management of both Japanese and non-Japanese
   companies, with emphasis on linking Senior Executive remuneration to business results and shareholder value.
              Type of remuneration                                         Description

    Fixed remuneration                       •   The amount of fixed remuneration shall be at an appropriate level
                                                 determined based on research conducted by a third party
                                                 regarding remuneration of management of both Japanese and
                                                 non-Japanese companies, according to his/her responsibility, and
                                                 in order to maintain competitiveness in recruiting talent.
    Remuneration linked to business          •   Structured appropriately and based on appropriate indicators to
    results                                      ensure that such remuneration effectively incentivizes Senior
                                                 Executives to achieve the medium- to long-term as well as the
                                                 corresponding fiscal year’s, corporate targets.
                                             •   Specifically, the amount to be paid to Senior Executives shall be
                                                 determined based on the level of achievements of the targets of
                                                 indicators of (1) and (2) below, and can fluctuate, in principle,
                                                 within the range from 0% to 200% of the standard payment
                                                 amount (“Business Results Linked Standard Payment Amount”)
                                                 based on the achievement of the below-mentioned targets.

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              Type of remuneration                                       Description
                                               (1) Certain key performance indicators linked to consolidated or
                                                   individual business results of Sony during the corresponding
                                                   fiscal year, such as Adjusted EBITDA and Adjusted EPS
                                                   (net income attributable to Sony Group Corporation’s
                                                   stockholders per share), and which indicators are selected
                                                   based on the areas for which each Senior Executive is
                                                   responsible.
                                               (2) The individual performance of the area(s) for which each
                                                   Senior Executive is responsible.
                                           •   Efforts to accelerate value creation through collaborations among
                                               businesses of Sony, sustainability initiatives related to social
                                               value creation and ESG and engagement indicators based on
                                               employee surveys shall be included in the evaluation factors for
                                               individual performance.
                                           •   The Business Results Linked Standard Payment Amount shall be
                                               determined so that such amount is within a certain percentage of
                                               the cash compensation (total of the fixed remuneration and the
                                               remuneration linked to business results), which percentage shall
                                               be determined in accordance with each individual’s level of
                                               responsibility.
    Stock-based compensation               •   Stock acquisition rights, and restricted stock or RSUs are granted
    (Stock acquisition rights, and             to incentivize Senior Executives to increase mid- to long-term
    restricted stock or restricted stock       shareholder value.
    units)
                                           •   The exercise of the stock acquisition rights is, in principle,
                                               restricted during a one-year period from the allotment date, and
                                               one-third of the total number of exercisable stock acquisition
                                               rights will be vested and exercisable each year thereafter. (All of
                                               the allocated stock acquisition rights will be exercisable on and
                                               after three years from the allotment date.)
                                           •   The Senior Executives to whom restricted stock is granted, in
                                               principle, may not sell or transfer the granted stock before the
                                               third anniversary date of the Ordinary General Meeting of
                                               Shareholders of the fiscal year when the subject restricted stock
                                               was granted.
                                           •   In principle, all RSUs held by the Senior Executives will be
                                               vested after three years have passed since the date of grant of the
                                               RSUs, and the Common Stock of the company will be delivered
                                               to the Senior Executives.
                                           •   As a general policy, remuneration for a Senior Executive who has
                                               greater management responsibility and influence over Sony as a
                                               whole has a higher proportion of stock-based compensation,
                                               which is directly linked to the corporate value. (Please see below
                                               Reference: Executive Compensation Package Design to Focus on
                                               Long-Term Management.)
                                           •   The amount of stock-based compensation shall be determined so
                                               that the amount is within a certain percentage of the total cash
                                               compensation (total of the fixed remuneration and the
                                               remuneration linked to business results) and stock-based
                                               compensation.
    Phantom restricted stock plan          •   Points determined every year by the Compensation Committee
                                               shall be granted to Senior Executives every year during his/her
                                               tenure, and at the time of resignation, the remuneration amount
                                               shall be calculated by multiplying the Common Stock price
                                               (closing price) by the individual’s accumulated points.

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   (Reference: Executive Compensation Package Designed to Focus on Long-Term Management)
   The bar chart below shows the components of remuneration for Corporate Executive Officers for the fiscal year
   ended March 31, 2023. For this chart, the remuneration linked to business results is based on the Business
   Results Linked Standard Payment Amount for each Corporate Executive Officer. As to the stock-based
   compensation, the underlying amount is calculated based on the fair value of a stock acquisition right as of the
   date such stock acquisition right was granted in the fiscal year ended March 31, 2023 and the issue price of the
   restricted stock when granted. Accordingly, the components of remuneration based on the amounts actually paid
   will be different from the chart below.

                                             0%    10%    20%     30%    40%   50%   60% 70%    80%   90% 100%

                                     CEO          13%     13%                         75%
                                     CFO          13%     13%                         74%
                                     CTO           20%          12%                    68%
        Other Corporate executive officers          24%            14%                   61%

                      Base       Performance-linked compensation           Stock-based Compensation


   *Due to rounding, individual sums may not total 100%.
   (Reference: Stock-based Compensation)
       Sony Group Corporation introduced stock acquisition rights, restricted stock and RSUs as forms of stock-
   based compensation, granted to the Directors and the Senior Executives including Corporate Executive Officers.
        The purpose of the stock-based compensation for the non-executive Directors including outside Directors is
   to incentivize these Directors to develop and maintain a sound and transparent management system by further
   promoting shared values between the shareholders and these Directors. Furthermore, the purpose of the stock-
   based compensations for the Senior Executives including Corporate Executive Officers is to further reinforce
   management’s alignment with shareholder value, and to incentivize management to improve mid- to long- term
   performance and increase shareholder value.
        The details of such stock-based compensation, including vesting conditions, recipients and number of
   grants, are determined or supervised by the Compensation Committee based on research conducted by a third
   party regarding stock-based compensation of both Japanese and non-Japanese companies. In addition, in
   determining the number of shares or units to be granted, the impact on dilution of the value of the shares of Sony
   Group Corporation is monitored.
   (4) Procedures to determine remuneration of Directors and Senior Executives
        Based on the policy outlined above, the amount and content of the compensation for each Director and
   Senior Executive including Corporate Executive Officers are determined by the Compensation Committee or
   otherwise under the supervision of the Compensation Committee.
        Specifically, in principle, as for Directors, each year at the meeting of the Compensation Committee held
   after the Ordinary General Meeting of the Shareholders, the amount of basic remuneration and the content of
   compensation for the corresponding fiscal year are determined. Thereafter, at the meeting of the Compensation
   Committee held after the corresponding fiscal year end, the final amount of compensation of each Director is
   determined. As for the Senior Executives, each year at the meeting of the Compensation Committee held at the
   end of the previous fiscal year, in principle, the amount of basic remuneration and the content of compensation
   for the corresponding fiscal year are determined or supervised. Thereafter, at the meeting of the Compensation
   Committee held after the corresponding fiscal year end, the final amount of compensation for each Senior
   Executive is determined or supervised.
         For determining the amount of the remuneration linked to business results for each Senior Executive, the
   Business Results Linked Standard Payment Amount, the targets for the Financial Performance KPIs and the targets
   for the individual performance of the areas(s) for which each Senior Executive is responsible are determined and
   thereafter, the amount of such remuneration is determined based on the level of achievement of such targets for the
   Financial Performance KPIs and the individual performance at the meeting of the Compensation Committee held
   after the corresponding fiscal year end for Corporate Executive Officers or otherwise under supervision by
   Compensation Committee for Senior Executives other than Corporate Executive Officers.

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        The amount of compensation of each Director and Senior Executive including Corporate Executive Officers
   for the fiscal year ended March 31, 2023 was also determined by the Compensation Committee or otherwise
   under supervision by the Compensation Committee according to the procedure above. The Compensation
   Committee concluded that the amount and content of the compensation was in accordance with the policy set
   forth in section (3) above.

   (5) Corporate Executive Officer remuneration linked to business results for the fiscal year ended March 31, 2023
        The Business Results Linked Standard Payment Amount for each Corporate Executive Officer for the fiscal
   year ended March 31, 2023 was determined to be in the range between 60% and 100% of the amount of the fixed
   remuneration of such Corporate Executive Officer according to his/her responsibility.
       The formula to calculate the amount of the remuneration linked to business results to be paid to Corporate
   Executive Officers is as follows.
                   The amount of the
                   remuneration linked to                                                             The payment rate of the
                                                               Business Results Linked
                   business results to be paid to                                                     remuneration linked to
                                                               Standard Payment Amount*
                   Corporate Executive Officers                                                       business results **



   * Business Results Linked Standard Payment Amount: Determined to be in the range between 60% and 100% of
   the amount of the fixed remuneration of each Corporate Executive Officer.
   ** Payment rate of the remuneration linked to business results: Determined in principle, within the range from
   0 percent to 200 percent based on the achievement of (i) Financial Performance KPIs based on the areas for
   which each Corporate Executive Officer is responsible and (ii) the individual performance of the area(s) for
   which each Corporate Executive Officer is responsible.
       The financial performance KPIs and the weighting of such financial performance KPIs used for Corporate
   Executive Officers in the fiscal year ended March 31, 2023 were as follows:

                                                    Target to be achieved for the fiscal year ended               Result for the fiscal year ended
         KPI           Weight                              March 31, 2023 (Consolidated)                          March 31, 2023 (Consolidated)
                                       Amount determined in order to achieve the Adjusted
    Adjusted                           EBITDA (defined below) target of 4.3 trillion yen for                               1,703.4 billion
                        50%
    EBITDA (*1)                        the three-year period from the fiscal year ended                                         yen
                                       March 31, 2022

    Adjusted                                                                                                                    737.06 yen
                        50%                                          659.3 yen
    EPS (*2)                                                                                                                       (*3)

        Adjusted EBITDA, which is determined as the most important performance KPI under the fourth mid-range
   plan, was selected as a Financial Performance KPI to enhance the growth potential of the entire Sony Group
   under the fourth mid-range plan. Adjusted EPS was selected in order to incentivize awareness of shareholder
   value and capital efficiency.
         For the target to be achieved for Adjusted EBITDA for the fiscal year ended March 31, 2023, an amount
   that the Compensation Committee determined as appropriate was set in order to achieve the Adjusted EBITDA
   target under Sony’s fourth mid-range plan of 4.3 trillion yen for the three-year period from the fiscal year ended
   March 31, 2022. The target for Adjusted EPS for the fiscal year ended March 31, 2023 was 659.3 yen, which was
   obtained by dividing the forecast of net income attributable to Sony Group Corporation’s stockholders for the
   fiscal year ended March 31, 2023, which was disclosed in May, 2022 (830 billion yen) by the number of diluted
   shares outstanding at the beginning of such fiscal year. The results for the Financial Performance KPIs for the
   fiscal year ended March 31, 2023 were as follows: Adjusted EBITDA: 1,703.4 billion yen (while net income
   attributable to Sony Group Corporation’s stockholders for the fiscal year ended March 31, 2023 was
   937.1 billion), and Adjusted EPS: 737.06 yen, each exceeding the targeted amount. For reconciliation of
   Adjusted EBITDA to net income attributable to Sony Group Corporation’s stockholders, refer to “Issues Facing
   Sony and Management’s Response to those Issues: Fourth Mid-Range Plan — Financial Targets and their
   Progress” in “Item 5.D Trend Information.”
        As outlined above under “(3) Basic policy regarding Director and Senior Executive remuneration”
   remuneration linked to business results for Senior Executives for the fiscal year ended March 31, 2023 was
   determined based on the level of achievement of the indicators which were selected based on the areas of
   responsibility of the relevant Senior Executive and the individual performance of such areas of responsibility.

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   The amounts to be paid to the Senior Executives were, in principle, determined within the range from 0% to
   200% of the Business Results Linked Standard Payment Amount. As a result, the ratio of remuneration linked to
   business results of Corporate Executive Officers for the fiscal year ended March 31, 2023 varied from 155.2% to
   178.5% of the Business Results Linked Standard Payment Amount.

   *1 “Adjusted EBITDA (Earnings Before Interest, Taxes, Depreciation and Amortization)” = Net income
   attributable to Sony Group Corporation’s stockholders + Net income attributable to noncontrolling interests +
   Income taxes + Interest expenses, net, recorded in Financial income and Financial expense — Gain on revaluation
   of equity instruments, net, recorded in Financial income and Financial expense + Depreciation and amortization
   expense excluding amortization for film costs, broadcasting rights and internally developed game content and
   master recordings included in Content assets, as well as for deferred insurance acquisition costs — the profit and
   loss amount that Sony deems non-recurring.

   *2 “EPS (Earning Per Share)” means net income attributable to Sony Group Corporation’s stockholders per
   share.

   “Adjusted EPS” is calculated by using the value excluding the profit and loss amount that Sony deems
   non-recurring from the value of the net income attributable to Sony Group Corporation’s stockholders.

   *3 Adjusted EPS result for the fiscal year ended March 31, 2023 is calculated by dividing adjusted net income
   attributable to Sony Group Corporation’s stockholders for the fiscal year ended March 31, 2023 by diluted
   weighted average number of shares during the fiscal year. The following table shows a reconciliation of net
   income attributable to Sony Group Corporation’s stockholders for diluted EPS computation reported in
   accordance with IFRS to Adjusted EPS for the fiscal year ended March 31, 2023.

                                                                                             Fiscal year ended March 31
                                                                                                         2023
                                                                                                   (Yen in billions,
                                                                                               yen per share amounts)

   Net income attributable to Sony Group Corporation’s stockholders for diluted
     EPS computation*                                                                                    937.2
   Profit and loss amount that Sony deems non-recurring, including adjustments for
     income taxes and non-controlling interests**                                                        (22.2)
   Adjusted Net income attributable to Sony Group Corporation’s stockholders for
     diluted EPS computation                                                                            915.0
   Weighted-average shares for diluted EPS computation (thousands of shares)*                       1,241,377
   Adjusted EPS (yen)                                                                                  737.06

   * Refer to Note 26 of the consolidated financial statements.

   ** This amount is calculated by subtracting the tax effect of 5.6 billion yen from 27.8 billion yen, the total
   amount of profit and loss that Sony deems non-recurring, included in income before income tax. For further
   information about the profit and loss amount that Sony deems non-recurring, refer to “Issues Facing Sony and
   Management’s Response to those Issues: Fourth Mid-Range Plan — Financial Targets and their Progress” in
   “Item 5. Operating and Financial Review and Prospects.”

   C.   Board Practices

   General

        Sony Group Corporation continuously strives to strengthen its corporate governance system based on the
   understanding that corporate governance is an essential basis to promote our management in order to fulfill the
   company’s corporate social responsibility and increase corporate value over the mid- to long-term. To operate
   Sony effectively, Sony Group Corporation continues to approach its corporate governance through two basic
   precepts: (a) the Board of Directors (the “Board”), a majority of which is comprised of independent outside
   Directors, focuses on effective oversight of management’s operation of the business and maintains a sound and
   transparent governance framework by utilizing the Nominating Committee, the Audit Committee and the
   Compensation Committee; and (b) the Board determines Sony’s fundamental management policies and other
   material matters and delegates to the Senior Executives (including Corporate Executive Officers), who assume
   important roles for the management of Sony, decision-making authority to conduct Sony’s business operations
   broadly in line with their respective responsibilities, as defined by the Board, with a view to promoting timely

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   and efficient decision-making within Sony. In furtherance of these efforts, Sony Group Corporation has adopted
   a “Company with Three Committees” corporate governance system under the Companies Act of Japan
   (Kaishaho) and related regulations (collectively the “Companies Act”). Under this system, Sony Group
   Corporation has introduced its own requirements to help improve and maintain the soundness and transparency
   of its governance by strengthening the separation of the Directors’ function from that of management;
   maintaining what the company believes is an appropriate Board size, which enables the members of the Board to
   actively contribute to discussion; and advancing the proper functioning of the statutory committees.

        Sony Group Corporation is governed by the Board, the members of which are elected at the Ordinary
   General Meeting of Shareholders. Under the Companies Act, a “Company with Three Committees” is required to
   have three committees: a Nominating Committee, an Audit Committee and a Compensation Committee, each
   consisting of Directors appointed by the Board. The Companies Act also requires the Board to appoint Corporate
   Executive Officers (Shikko-yaku), who make decisions regarding the execution of Sony’s business activities
   within the scope of the authority delegated to them by the Board. Sony Group Corporation has appointed its
   Chief Executive Officer (“CEO”), who is responsible for Sony’s overall management, and other officers who are
   responsible for important and extensive headquarters functions as Corporate Executive Officers. Sony Group
   Corporation has also appointed Corporate Executive Officers, including the CEO and other executives, that
   assume important roles for the management of Sony as Senior Executives. In addition, Sony grants titles, such as
   Senior Executive Vice President, Executive Vice President and Senior Vice President, to management team
   members in accordance with their respective roles and responsibilities.

        A summary of the governance system adopted by Sony Group Corporation is set forth below. For an
   explanation of the significant differences between the NYSE’s corporate governance standards and Sony’s
   corporate governance practices, refer to “Item 16G. Corporate Governance.”

   Board of Directors

   (1) Members: 10 Directors including 8 outside Directors (as of June 20, 2023)

                         Name                                             Position
                  Kenichiro Yoshida                                       Director
                    Hiroki Totoki                                         Director
                 Yoshihiko Hatanaka                                Chairman of the Board

                                                                      Outside Director
                    Toshiko Oka                                       Outside Director
                   Sakie Akiyama                                      Outside Director
                   Wendy Becker                                       Outside Director
                  Keiko Kishigami                                     Outside Director
                  Joseph A. Kraft Jr.                                 Outside Director
                        Neil Hunt                                     Outside Director
                  William Morrow                                      Outside Director

       Under the Companies Act, the term of office of Directors expires at the conclusion of the Ordinary General
   Meeting of Shareholders held with respect to the last business year ending within one year after their election.

   (2) Purpose/Authority

        The primary roles of the Board are to: (a) determine Sony’s fundamental management policies; (b) oversee
   the management of Sony’s business operations as an entity independent from Sony’s management; (c) appoint
   and dismiss the statutory committee members; (d) appoint and dismiss Corporate Executive Officers and oversee
   the status of appointment/dismissal of Senior Executives other than Corporate Executive Officers; and
   (e) appoint and dismiss Representative Corporate Executive Officers.

        For the matters to be decided by the Board and the matters to be reported to the Board, refer to Appendices
   1 and 2 of the Charter of the Board of Directors (the “Board Charter”) attached as Exhibit 1.3 hereto.

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   (3) Policy Regarding Composition of the Board

        With a view toward securing effective input and oversight by the Board, the Nominating Committee reviews
   and selects candidates for the Board with the aim of assuring that a substantial part of the Board is comprised of
   qualified outside Directors that satisfy the independence requirements established by Sony and by law. The
   Nominating Committee selects candidates that it views as well-suited to be Directors in light of the Board’s
   purpose of enhancing Sony’s corporate value. The Nominating Committee broadly considers various relevant
   factors, including a candidate’s capabilities (such as the candidate’s work and other experience, achievements
   and expertise), availability, and independence, as well as diversity, including gender and internationality, in the
   boardroom, the appropriate size of the Board, and the knowledge, experience and talent needed for the role.
   Under the Board Charter, Sony Group Corporation also requires that the Board consist of not fewer than 8
   Directors and not more than 14 Directors. In addition, since 2005 the majority of the members of the Board have
   been outside Directors.

   (4) Qualifications for Directors and Limitation of Re-election

        The qualifications for Directors of Sony Group Corporation under the Board Charter are generally as
   summarized below. As of the date of this report, all Directors satisfy the qualifications for Directors as set forth
   below, and all outside Directors satisfy the additional qualifications for outside Directors and are also qualified
   and designated as Independent Directors under the Securities Listing Regulations of the TSE. All Directors must
   meet the qualifications below:

        (a) He/she shall not be a director, a statutory auditor, a corporate executive officer, a general manager or
            other employee of any company in competition with Sony in any of Sony’s principal businesses (a
            “Competing Company”) or own 3% or more of the shares of any Competing Company.

        (b) He/she shall not be or have been a representative partner or partner of Sony’s independent auditor the
            past three years before being nominated as a Director.

        (c) He/she shall not have any connection with any matter that may cause a material conflict of interest in
            performing the duties of a Director.

        Outside Directors must meet the additional qualifications below:

        (a) He/she shall not have received directly from Sony, during any consecutive twelve-month period within
            the last three years, more than an amount equivalent to U.S. $120,000, other than Director and
            committee fees and pension or other forms of deferred compensation for prior service (provided such
            compensation is not contingent in any way on continued service).

        (b) He/she shall not be an executive director, corporate executive officer, general manager or other
            employee of any company whose aggregate amount of transactions with Sony, in any of the last three
            fiscal years, exceeds the greater of an amount equivalent to U.S. $1,000,000, or 2% of the annual
            consolidated sales of such company.

       For additional requirements for outside Directors under the Companies Act, refer to “Item 16G. Corporate
   Governance”.

        Also, each outside Director may be nominated as a Director candidate for re-election up to five times (six
   years, in total), and thereafter by resolution of the Nominating Committee and by consent of all of the Directors.
   Even with the consent of all of the Directors, in no event may any outside Director be re-elected more than eight
   times (nine years, in total).

   (5) Matters related to Outside Directors

        Sony Group Corporation expects that each outside Director plays an important role in ensuring proper
   business decisions by Sony and effective input and oversight by the Board through actively exchanging opinions
   and having discussions about Sony’s business based on his or her various and broad experience, knowledge and
   expertise. Considering these expectations, the policy and procedures on the election of Director candidates,
   including independent outside Director candidates, are set forth as described above. As of the date of this report,
   the Board has 10 Directors, eight of whom are outside Directors. The Chairman of the Board is an outside
   Director; all members of the Nominating Committee, the Compensation Committee and the Audit Committee are
   outside Directors.


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        Pursuant to the Articles of Incorporation, Sony Group Corporation has entered into a liability limitation
   agreement with all outside Directors. A summary of such liability limitation agreement is as follows:

        (i)   In a case where an outside Director is liable to the company after the execution of the liability
              limitation agreement for damages pursuant to Article 423, Paragraph 1 of the Companies Act, such
              liabilities shall be limited to the greater of either 30 million yen or an amount equal to the aggregate
              sum of the amounts prescribed in each item of Article 425, Paragraph 1 of the Companies Act, only
              where the outside Director acted in good faith without any gross negligence in performing his/her
              duties as a Director of the company.

        (ii) In a case where an outside Director is reelected as an outside Director of the company and reassumes
             his/her office as such on the expiration of the term of his/her office as an outside Director of the
             company, the liability limitation agreement shall continue to be effective after the reelection and
             re-assumption without any action or formality.

        In addition, Sony Group Corporation has a directors and officers liability insurance policy covering all
   Directors as insured parties. For an outline of the directors and officers liability insurance policy, refer to
   “Outline of the Terms of Directors and Officers Liability Insurance Policy”.

   (6) Policy and Procedure for Selection and Dismissal of Senior Executives

       Sony Group Corporation appoints Corporate Executive Officers including the CEO and other officers that
   assume important roles for the management of Sony as “Senior Executives.”

        The Board has the authority to appoint and dismiss and assign the roles and responsibilities of, or to request
   a report regarding such matters for Senior Executives, including the CEO, and exercises such authority as
   necessary. In making decisions on the appointment of Corporate Executive Officers, including the CEO, the
   Board considers whether candidates for CEO meet certain qualifications for the CEO position which are set by
   the Nominating Committee and whether candidates for other Corporate Executive Officer positions have the
   necessary skills, capabilities, experiences and achievements that correspond to such Corporate Executive
   Officers’ expected roles and responsibilities. The Board also receives a report on the status of appointment and
   dismissal of Senior Executives other than Corporate Executive Officers.

        The term of office of Senior Executives, including the CEO, is one year. The Board discusses, determines
   and/or oversees their re-appointment upon the expiration of each term considering the factors described above as
   well as their latest performance. The Board dismisses a Corporate Executive Officer, as necessary, in the event
   that the Board recognizes such Corporate Executive Officer is disqualified after discussions amongst the
   members of the Board or the Nominating Committee, even in the middle of the term for such Corporate
   Executive Officer.

   Nominating Committee

   (1) Members: 3 outside Directors (as of June 20, 2023)

                             Name                                                Position
                      Yoshihiko Hatanaka                           Chair of the Nominating Committee

                                                                           (Outside Director)
                           Toshiko Oka                              Nominating Committee Member

                                                                           (Outside Director)
                         Wendy Becker                               Nominating Committee Member

                                                                           (Outside Director)


   (2) Purpose/Authority

        The primary roles of the Nominating Committee are to: (a) determine the content of proposals regarding the
   appointment/dismissal of Directors to be submitted for approval at a General Meeting of Shareholders and
   (b) evaluate management succession plans, which the CEO develops, for the CEO and other executives
   designated by the Nominating Committee.

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        The Nominating Committee determines the content of proposals regarding the appointment and dismissal of
   Directors, considering the policy on composition of the Board, the qualifications for Directors and the limitation
   of re-election of Directors described above.

   (3) Policy Regarding Composition of the Nominating Committee

        Under the Companies Act, the Nominating Committee shall consist of at least three Directors, the majority
   of whom shall be outside Directors. In addition, under the Board Charter, the chair is to be selected from among
   the outside Directors. In determining whether to appoint or remove a member of the Nominating Committee,
   continuity of the Nominating Committee shall be duly taken into account. As of the date of this report, the
   Nominating Committee is comprised of three outside Directors.

   (4) Management Succession Plans

        The Nominating Committee evaluates the succession plans, and the implementation of such plans, for the
   CEO and other executives designated by the Nominating Committee and reports the results of its evaluation to
   the Board, as appropriate.

        Evaluations are conducted by having the CEO periodically submit draft succession plans to the Nominating
   Committee, which it reviews. As a part of such review, the Nominating Committee considers the development or
   promotion of the next generation of management and evaluates whether the succession plans have been prepared
   in a reasonable manner in light of Sony’s purpose to create sustainable social value and to enhance corporate
   value over the mid- to long-term.

   Audit Committee

   (1) Members: 3 outside Directors (as of June 20, 2023)

                             Name                                              Position
                           Toshiko Oka                             Chair of the Audit Committee

                                                                        (Outside Director)
                       Keiko Kishigami                              Audit Committee Member

                                                                        (Outside Director)
                      Joseph A. Kraft Jr.                           Audit Committee Member

                                                                        (Outside Director)


   (2) Purpose/Authority

       The primary roles of the Audit Committee are to: (a) monitor the performance of duties by Directors and
   Corporate Executive Officers and (b) oversee and evaluate the independent auditor.

   (3) Policy Regarding Composition of the Audit Committee

        Under the Companies Act, the Audit Committee shall consist of at least three Directors, the majority of
   whom shall be outside Directors. In addition, under the Board Charter, each member of the Audit Committee
   (“Audit Committee Member”) shall satisfy all of the following qualifications: (a) he/she shall not be a Director
   engaged in the business operations of Sony Group Corporation or any of its subsidiaries, a Corporate Executive
   Officer, an accounting counselor, a general manager or other employee of Sony and (b) he/she shall meet the
   independence requirements or such other equivalent requirements of the U.S. securities laws and regulations as
   may from time to time be applicable to Sony Group Corporation. The chair is to be selected from among the
   outside Directors. The Audit Committee Members shall be selected from among the persons who possess
   appropriate experience and talent as well as the necessary finance, accounting and legal knowledge to serve on
   the Audit Committee. In determining whether to appoint or remove the Audit Committee Member, continuity of
   the Audit Committee shall be duly taken into account.

        Moreover, at least one Audit Committee Member shall meet the audit committee financial expert
   requirements or such other equivalent requirements of the U.S. securities laws and regulations as may from time

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   to time be applicable to Sony Group Corporation. The Board makes a determination on whether or not such
   Audit Committee Members meet these requirements. As of the date of this report, the Audit Committee is
   comprised of three outside Directors, two of whom (Toshiko Oka and Keiko Kishigami) are “audit committee
   financial experts” within the meaning of Item 16A of Form 20-F under the Exchange Act, as amended.

   (4) Policy on Selection of Independent Auditor Candidates and Independence of the Independent Auditor
        With respect to the candidates for independent auditor nominated by the CEO and other Corporate
   Executive Officers, the Audit Committee evaluates the nomination, prior to making a decision on the candidates.
   The Audit Committee continues to evaluate the independence, the qualification and the reasonableness as well as
   the performance of the independent auditor so appointed.

   Compensation Committee
   (1) Members: 3 outside Directors (as of June 20, 2023)
                            Name                                                Position
                       Wendy Becker                              Chair of the Compensation Committee
                                                                          (Outside Director)
                       Sakie Akiyama                              Compensation Committee Member
                                                                          (Outside Director)
                      William Morrow                              Compensation Committee Member
                                                                          (Outside Director)

   (2) Purpose/Authority
        The primary roles of the Compensation Committee are to: (a) set policy on the content of individual
   compensation for Directors, Corporate Executive Officers and other officers and (b) determine the amount and
   content of individual compensation of Directors and Corporate Executive Officers in accordance with the policy,
   and oversee the determination regarding the amount and content of individual compensation of Senior Executives
   other than Corporate Executive Officers.
      For the basic policy regarding Director and Corporate Executive Officer compensation, refer to “Item 6B.
   Compensation”.

   (3) Policy Regarding Composition of the Compensation Committee
        Under the Companies Act, the Compensation Committee shall consist of at least three Directors, the
   majority of whom shall be outside Directors. In addition, under the Board Charter, a Director who is a CEO, a
   Chief Operating Officer (“COO”) or a Chief Financial Officer (“CFO”) of Sony Group Corporation or who holds
   any equivalent position shall not be a member of the Compensation Committee. In determining whether to
   appoint or remove a member of the Compensation Committee, continuity of the Compensation Committee shall
   be duly taken into account. As of the date of this report, the Compensation Committee is comprised of three
   outside Directors.

   Senior Executives (Corporate Executive Officer, Senior Executive Vice President and Executive Vice
   President)
   (1) Total number of Senior Executives: 15 (including 6 Corporate Executive Officers) (as of June 20, 2023)
   (2) Purpose/Authority
        The primary roles of Senior Executives are to determine and execute Sony’s business activities in
   accordance with their roles and responsibilities.
   (3) Delegation of Authority from the Board
        The Board determines the fundamental management policies and other material matters related to the
   operation of Sony’s business. The Board assigns the duties of Corporate Executive Officers, including the CEO,

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   by determining the areas over which each Corporate Executive Officer is in charge and by determining the scope
   of Senior Executives. Then, it delegates its decision-making authority to the CEO with a view to promoting
   timely and efficient decision-making within Sony. The CEO further subdelegates a part of such authority to other
   Senior Executives.

   Other Officers (Senior Vice President)
   (1) Total number of other officers: 10 (as of June 20, 2023)
   (2) Purpose/Authority
        The primary roles of other officers are to carry out their assignments within designated areas, such as
        headquarters functions and/or R&D, in accordance with the fundamental policies determined by the Board
        and Senior Executives.

   Outline of the Terms of Directors and Officers Liability Insurance Policy
        Sony Group Corporation has, at its expense in respect of insurance premiums, entered into a directors and
   officers liability insurance policy for all Directors, Corporate Executive Officers, corporate auditors, and persons
   in equivalent positions (the “Executives”) of itself and its subsidiaries over which Sony Group Corporation has a
   direct or indirect ownership more than 50%. The outline of the terms of such liability insurance policy is as
   follows:
        (i)   The insurance policy covers compensation for damages, litigation costs (including attorney’s fees) and
              other costs that may be incurred by the Executives as a result of assuming responsibility for the
              execution of their duties or receiving claims related to such responsibility.
        (ii) As a measure to ensure the appropriateness of the execution of duties by the Executives, there are
             certain exemptions, such as in the case of an act committed by the Executives with the knowledge that
             it constitutes a violation of laws or regulations.

   Support for Activities of Directors, the Board and the Committees
       Sony Group Corporation engages in various activities to enhance the oversight function of the Board over
   management’s operation of Sony’s business as follows:

   (1) Outside Director Initiatives
         The Chairman of the Board, who is an outside Director, leads the Board’s activities and secures the
   appropriate cooperation, communication and arrangement among outside Directors and Senior Executives. As an
   example of such initiatives, the outside Directors’ meetings have been held, generally on the same day as each
   Board Meeting, for the purpose of exchanging information and sharing information with respect to recognized
   issues among outside Directors. The Board also conducted Directors’ corporate strategic workshops with
   management, business site visits by Directors, and meetings with the Chairman and the CEO. All of these
   activities were aimed at securing better understanding by outside Directors of Sony’s business and management’s
   challenges and encouraging corporate strategic discussions among Directors. In September 2022, the Directors
   visited the Kumamoto Technology Centre of SSS located in Kumamoto Prefecture, Japan, where they observed
   manufacturing lines of image sensor products and discussed with the image sensor business’s management the
   current challenges and future strategies of the business. At a workshop held over two days in December 2022,
   through direct dialogue with executives in charge of Sony’s main business segments, the Directors intensively
   discussed a variety of matters, including the business environment and challenges surrounding each of Sony’s
   businesses and corresponding strategies, as well as Sony’s internal and external conditions related to
   sustainability and geopolitical risks, which are becoming increasingly important, in addition to Sony’s business
   portfolio.

   (2) Secretariat Offices for the Board and each Committee
        The company has established the secretariat offices of the Board and each Committee to support the
   activities of the members and encourage constructive and proactive discussion at the meetings of the Board and
   each Committee. Each secretariat office endeavors to distribute necessary materials for the meetings in advance
   and to provide other information such as accounting information, organizational charts, press releases, external
   analyst reports and credit rating reports, as appropriate. Each secretariat office explains the meeting agenda to the
   members and provides them with presentation materials in advance of each meeting date and facilitates
   deliberation in separate meetings or briefing sessions depending on the nature of matters to be discussed. Each

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   secretariat office also provides the absent members with a follow up briefing, as appropriate. In addition, each
   secretariat office shares the annual schedule of the meetings and anticipated agenda items in advance with the
   members in order to appropriately set the frequency of meetings and the number of agenda items to be
   deliberated at each meeting.

   (3) Provision of Necessary Information

        When the company is requested to provide additional information, each secretariat office endeavors to
   provide the members such information promptly. Also, each secretariat office verifies appropriately whether
   requested information is provided smoothly. In the event that the members consult with external specialists,
   participate in various seminars and so on to perform their duties, the costs and expenses in connection with such
   activities are borne by the company in accordance with applicable internal rules.

   (4) Audit Committee Aide

        With the approval of the Board and with the Audit Committee’s consent, the company has established the
   Audit Committee Aide to support the activities of the Audit Committee. The Audit Committee Aide does not
   concurrently hold positions related to the business operations of Sony and, upon instruction by each Audit
   Committee member, conducts investigations into and analyzes auditing matters and engages in physical
   inspections or visiting audits either by him/herself or by cooperating with relevant departments in order to
   support the Audit Committee.

   (5) Policy on Director Training

        Newly appointed Directors receive briefings by Senior Executives and outside experts regarding their
   expected roles and responsibilities, including their legal duties as a Director or as a member of the Committees,
   as well as briefings about the business, financial status, organization and governance structure of Sony. Also,
   throughout their tenure, each Director receives compliance-related training in accordance with internal protocols
   and briefings on matters relevant to each Director’s fulfillment of his/her roles and responsibilities including the
   current status of Sony’s business.

   Evaluation of the Board and the Committees’ Effectiveness

   (1) Policy for Evaluation

        Sony Group Corporation believes that it is important to endeavor to improve the effectiveness of the Board
   and each Committee in order to support Sony’s business operations and enhance the corporate value of Sony. To
   achieve this goal, Sony Group Corporation conducts evaluations of the effectiveness of the Board and of each
   Committee (the “Evaluation”) at least annually.

   (2) Recent Evaluation

        From February through April 2023, under the leadership of the Chairman and the Vice Chairman of the
   Board, the Board conducted the Evaluation mainly in respect of Board and Committee activities in the fiscal year
   ended March 31, 2023 after confirming that actions proposed in response to the results of the previous Evaluation
   were appropriately taken. The recent Evaluation was conducted, with the support of a third-party outside counsel
   with expertise in Japanese and global corporate governance practices (the “Outside Counsel”) in order to ensure
   transparency and objectivity and to obtain professional advice.

   (3) Procedure of the Recent Evaluation

        First, the Board confirmed that the actions proposed to be taken in response to the results of the previous
   Evaluation were taken, and it discussed and confirmed the proposed procedures for the Evaluation for the fiscal
   year ended March 31, 2023. Thereafter, the third-party evaluation was conducted by the Outside Counsel in
   accordance with the following steps:

        •   Reviewed relevant material, such as the minutes of Board meetings, and attended a Board meeting;

        •   Confirmed with the Board secretariat office and each Committee’s secretariat office how meetings of
            the Board and Committees were conducted;



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        •   Gathered responses to a questionnaire from each Director about the current status and practices of the
            Board and each Committee, such as the composition of the Board, operation of the Board, commitments
            of each Director, activities of each Committee and procedures of the previous Evaluation;
        •   Interviewed all the Directors including through the Peer Review(*); and
        •   Researched other global companies’ practices in Japan, the United States and Europe, and compared
            them with the company’s practices.

        The Board then received, reviewed and discussed the Outside Counsel’s report on the results of its
   evaluation. The Board confirmed the effectiveness of the Board and the Committees.
        * Peer Review: Mutual evaluation by Directors. We conducted the Evaluation through interviews in the
        presence of the Chairman or Vice Chairman of the Board.

   (4) Summary of the Results of the Recent Evaluation
        Based on the following findings, the Outside Counsel reported that, as assessed in the previous Evaluation,
   the Board is established and operated in a manner sufficient to be highly evaluated:
        •   The results of the questionnaire and interviews show that many Directors rate the effectiveness of the
            Board highly overall.
        •   Outward factors such as the composition of the Board are comparable with global companies in Europe
            and North America as well as Japan.
        •   In addition, the Peer Review was conducted in the fiscal year ended on March 31, 2023, and the
            involvement of the Board in the process of appointment of the new president was appropriate.
        •   The Board also received a favorable assessment on its response to the suggestions made by the Outside
            Counsel in the previous Evaluation and on its overall operations.

       Following discussions and analysis based on the Outside Counsel’s report, the Board re-affirmed that the
   Board and each Committee were functioning effectively as of April 2023.

       The Outside Counsel also suggested several possible options for the Board and Committees to further
   improve their own effectiveness.

   (5) Actions in Response to the Results of the Evaluation
        In order to increase the corporate value of Sony, Sony Group Corporation will take appropriate actions to
   further enhance functions of the Board and the Committees in response to the results of the Evaluation, as well as
   various comments and opinions given by Directors and the Outside Counsel during the Evaluation process.
       For reference, after the previous Evaluation conducted from February through May 2022, Sony Group
   Corporation took the following actions, among others, to help improve the effectiveness of the Board:
        •   Continuously made periodic reports to the Board on sustainability (Environment and Social) related
            matters;
        •   Enhanced Board’s supervision over risks regarding geopolitics and information security;
        •   Conducted deep discussions about Sony’s strategies on growth areas and new businesses (gaming,
            metaverse and mobility) ; and
        •   Promoted engagement between outside Directors and investors.

   Internal Control and Governance Framework
        At a Board meeting held on April 26, 2006, the Board reaffirmed the internal control and governance
   framework in effect as of the date of determination and determined to continue to evaluate and improve such
   framework going forward, as appropriate. At Board meetings held on May 13, 2009 and April 30, 2015, the
   Board amended and updated the internal control and governance framework, and at a Board meeting held on
   April 28, 2023, the Board reaffirmed that such framework was in effect and determined to continue to evaluate
   and improve such framework going forward, as appropriate. These determinations were required by and met the
   requirements of the Companies Act.

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       A summary of the principal framework of the internal control and governance framework based on the
   Board determination above is as follows:

   (1) Disclosure Control Framework
         The securities of Sony Group Corporation are listed for trading on exchanges in Japan and the U.S. As a result,
   Sony is obligated to make various disclosures to the public in accordance with applicable securities laws,
   regulations and rules in those countries and listing standards of the stock exchanges on which Sony Group
   Corporation’s shares are listed. Sony is committed to full compliance with all requirements applicable to its public
   disclosures. Sony Group Corporation’s policy on investor relations activities is to aim to disclose accurate
   information in a timely and fair manner, as well as to endeavor to promote constructive dialogue with shareholders
   and investors, with a view to maximizing the corporate value by building a relationship of trust with shareholders
   and investors. Sony Group Corporation has established disclosure controls and procedures as an approach to
   implement this policy. All personnel responsible for the preparation of submissions to and filings with the TSE, the
   SEC and other regulatory entities, or for other public communications made on behalf of Sony, or who provide
   information as part of that process, have a responsibility to ensure that such disclosures and information are full,
   fair, accurate, timely and understandable, and in compliance with the established disclosure controls and procedures.
        Sony Group Corporation has established “Disclosure Controls and Procedures” outlining the process through
   which potentially material information is reported from important business units, subsidiaries, affiliated companies and
   corporate divisions and is reviewed and considered for disclosure in light of its materiality to Sony. As a body to assist
   the CEO and the CFO of Sony Group Corporation in designing, implementing and evaluating the Disclosure Controls
   and Procedures, Sony Group Corporation has established the “Disclosure Committee,” which is comprised of members
   of senior management who are in charge of a part of Sony’s headquarters functions. In order to assure appropriate and
   timely disclosure, the Disclosure Committee shall evaluate events that are reported from the important business units,
   subsidiaries, affiliated companies and corporate divisions in accordance with Sony’s internal rules in light of their
   materiality to Sony. Based on such evaluation, the Disclosure Committee shall review the necessity of disclosure in
   accordance with applicable securities laws, regulations and rules, as well as the listing standards of the relevant stock
   exchanges, and report to the CEO and CFO for their determination.

   (2) Risk Management Framework
        Each business unit, subsidiary/affiliated company and corporate division of Sony periodically reviews and
   assesses risks and establishes and maintains necessary risk management systems (such as detection,
   communication, evaluation and response) for the area for which they are responsible. In addition, Senior
   Executives, including the Corporate Executive Officers, of Sony Group Corporation have established and
   currently maintain a system to identify and control risks that may cause losses to Sony regarding the areas for
   which they are responsible. The Corporate Executive Officer in charge of group risk control shall
   comprehensively promote and manage the establishment and maintenance of the systems as stated above.

   Details of Actions Taken by the Board and the Committees
   (1) Details of Actions Taken by the Board
        During the fiscal year ended on March 31, 2023, the Board convened 9 times. The attendance records of
   respective Directors are as follows.
                   Name *2                              Meeting Records *1                    Attendance Records *1

             Kenichiro Yoshida                               9 Times                           9 Times (100%)
               Hiroki Totoki                                 9 Times                           9 Times (100%)
                Shuzo Sumi                                   9 Times                           9 Times (100%)
            Yoshihiko Hatanaka                               9 Times                           9 Times (100%)
                 Tim Shaaff                                  9 Times                           9 Times (100%)
                Toshiko Oka                                  9 Times                           9 Times (100%)
               Sakie Akiyama                                 9 Times                           9 Times (100%)
               Wendy Becker                                  9 Times                           9 Times (100%)
              Keiko Kishigami                                9 Times                           9 Times (100%)
             Joseph A. Kraft Jr.                             9 Times                           9 Times (100%)

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   *1 The numbers of the Meeting Records and the Attendance Records are those applicable to the fiscal year ended
   on March 31, 2023.
   *2 Shuzo Sumi and Tim Shaaff, who were Directors during the fiscal year ended on March 31, 2023, retired as
   Directors at the conclusion of the Ordinary General Meeting of Shareholders on June 20, 2023. Accordingly, Neil
   Hunt and William Morrow were newly appointed as Directors at the Ordinary General Meeting of Shareholders
   on June 20, 2023.

        During the fiscal year ended on March 31, 2023, the Board of Directors discussed a variety of matters, such
   as supervision of the progress of the fourth mid-range plan, formulation of a business plan for the fiscal year
   ending on March 31, 2024, enhancement of Sony’s management structure (including the appointment of Hiroki
   Totoki as President, COO and CFO), Sony’s business portfolio, strategically important M&A and capital
   investments, effectiveness of internal control (including the ethics and compliance program and information
   security), approach to new risks (including geopolitical risks), and Sony’s situation and initiatives related to
   sustainability and environment as well as Sony’s strategy related to new technologies (including generative AI).

   (2) Details of Actions Taken by the Nomination Committee
        During the fiscal year ended on March 31, 2023, the Nomination Committee convened 5 times. The
   attendance records of respective Directors are as follows.
                   Name                               Meeting Records *1                  Attendance Records *1

              Shuzo Sumi *2                               5 Times                           5 Times (100%)
           Yoshihiko Hatanaka                             5 Times                           5 Times (100%)
              Wendy Becker                                5 Times                           5 Times (100%)

   *1 The numbers of the Meeting Records and the Attendance Records are those applicable to the fiscal year ended
   on March 31, 2023.
   *2 Shuzo Sumi, who was a member of the Nomination Committee during the fiscal year ended on March 31,
   2023, retired both as a Director and a member of the Nomination Committee at the conclusion of the Ordinary
   General Meeting of Shareholders on June 20, 2023. Accordingly, Toshiko Oka was newly appointed as a
   member of the Nomination Committee pursuant to the resolution at the Board meeting held on June 20, 2023.

        During the fiscal year ended on March 31, 2023, the matters given consideration by the Nominating
   Committee included policies on selecting outside Director candidates, exploring Director prospects, and CEO
   succession. In addition, the Nominating Committee assessed succession plans for Senior Executives with key
   management responsibilities for individual business units and headquarters functions, based on management,
   including CEO, reports. With respect to the selection of candidates for outside Directors, as a priority item for the
   current fiscal year, the Nominating Committee confirmed the policy that candidates for outside Directors should
   be selected from persons who have experience as CEOs of major global companies, backgrounds in technology
   and/or knowledge of the entertainment industry, and the Nomination Committee held discussions based on such
   policy. As a result, two new outside Director candidates were appointed based on this policy. Regarding the
   appointment of Senior Executives, Kenichiro Yoshida, Representative Corporate Executive Officer, Chairman,
   President and CEO, proposed to the Nominating Committee that Hiroki Totoki, Representative Corporate
   Executive Officer, Executive Deputy President and CFO, assume the position of President, COO and CFO. After
   a multifaceted review and discussion, including interviews by the Nominating Committee members, the proposal
   was shared with the outside Directors other than the Nominating Committee members and confirmed.

   (3) Details of Actions Taken by the Audit Committee
        During the fiscal year ended on March 31, 2023, the Audit Committee convened 6 times. The attendance
   records of respective Directors are as follows.
                   Name                               Meeting Records *1                  Attendance Records *1

               Toshiko Oka                                6 Times                           6 Times (100%)
             Keiko Kishigami                              6 Times                           6 Times (100%)
            Joseph A. Kraft Jr.                           6 Times                           6 Times (100%)

   *1 The numbers of the Meeting Records and the Attendance Records are those applicable to the fiscal year ended
   on March 31, 2023.

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        Specific considerations by the Audit Committee include review of audit plans in three-way audits,
   identification and audit of priority audit items for each fiscal year, review of financial results and disclosure
   documents related to financial results, review of development and operation of internal control systems, audit of
   financial reports and SOX 404-related activities, audit of internal audit activities, review of the content and
   process for determining the compensation of the independent auditors, audit of the appropriateness of audit by
   the independent auditors and evaluation of the independent auditors. In addition to these, the Audit Committee
   held interviews with Senior Executives to receive reports on matters such as the recognition of issues and the
   status of risk management in the respective areas of responsibility of each business and headquarter function, and
   engaged in dialogue.
        The priority audit items for the fiscal year ended on March 31, 2023 were disclosure of non-financial
   information and risk management. Through audit activities conducted in cooperation with the internal audit
   division and the divisions of the Sony Group responsible for internal control, the Audit Committee was informed
   about the latest trends in Japan and overseas regarding the disclosure of non-financial information such as
   climate change disclosure and risk management such as information security, and confirmed the status of internal
   responses.

   (4) Details of Actions Taken by the Compensation Committee
        During the fiscal year ended on March 31, 2023, the Compensation Committee convened 5 times. The
   attendance records of respective Directors are as follows.

                   Name                             Meeting Records *1                  Attendance Records *1

              Wendy Becker                               5 Times                         5 Times (100%)
          Yoshihiko Hatanaka *2                          5 Times                         5 Times (100%)
              Sakie Akiyama                              5 Times                         5 Times (100%)

   *1 The numbers of the Meeting Records and the Attendance Records are those applicable to the fiscal year ended
   on March 31, 2023.
   *2 Yoshihiko Hatanaka, who was a member of the Compensation Committee during the fiscal year ended on
   March 31, 2023, retired as a member of the Compensation Committee on June 20, 2023. Accordingly, William
   Morrow was newly appointed as a member of the Compensation Committee pursuant to the resolution at the
   Board meeting held on June 20, 2023.

        The specific matters given consideration by the Compensation Committee included the Corporation’s policy
   regarding the determination of individual remuneration for Directors and Senior Executives, including Corporate
   Executive Officers, for each fiscal year, and the amount and content of such remuneration. The Committee also
   considered the total number of stock acquisition rights to be issued for the purpose of granting stock options to
   Corporate Executive Officers, employees of the Corporation, Directors and other officers of the Corporation’s
   subsidiaries, and other stock-based compensation utilizing shares of the Corporation’s stock. In the fiscal year
   ended March 31, 2023, the Corporation newly introduced RSUs for the purpose of giving the recipients an
   incentive to contribute towards the improvement of the business performance of the Sony Group, and the
   Committee confirmed and discussed the scope of and plans for the recipients and the decision-making authority
   for the grant of RSUs. For the fiscal year ending March 31, 2024 and beyond, the Committee conducted a
   comprehensive review and discussion on the ideal KPIs for remuneration linked to business results and the ideal
   governance of executive compensation, with consideration of other companies’ trends and regulatory
   developments in Japan and other countries.

   D.   Employees
        As of March 31, 2023, Sony had approximately 113,000 employees, an increase of approximately 4,100
   employees from March 31, 2022. During the fiscal year ended March 31, 2023, although there was a decrease of
   employees mainly in the ET&S segment (outside of Japan) due to closure of manufacturing sites in Malaysia,
   employees of the G&NS, I&SS, and Pictures (outside of Japan) segments increased due to the expansion of these
   businesses, including through mergers and acquisitions. Approximately 9% of the total number of employees
   were members of labor unions.
       As of March 31, 2022, Sony had approximately 108,900 employees, a decrease of approximately 800
   employees from March 31, 2021. During the fiscal year ended March 31, 2022, although there was an increase of

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   employees mainly in the I&SS, Music (outside of Japan) and G&NS (outside of Japan) segments, there was a
   decrease of employees in the ET&S segment (outside of Japan) and All Other (outside of Japan). In the ET&S
   segment, this was mainly due to closure of manufacturing sites in Malaysia. Approximately 9% of the total
   number of employees were members of labor unions.

        As of March 31, 2021, Sony had approximately 109,700 employees, a decrease of approximately 2,000
   employees from March 31, 2020. During the fiscal year ended March 31, 2021, although there was an increase of
   employees in the I&SS and Financial Services segments, there was a decrease of employees in the ET&S and
   Pictures segments, as well as in All Other. In the ET&S segment, this was mainly due to closure of
   manufacturing sites in Malaysia and Brazil. Approximately 10% of the total number of employees were members
   of labor unions.

       The following table shows the number of employees of Sony by segment and region as of March 31, 2021,
   2022 and 2023.

   Number of Employees by Segment and Region

                                                                                                                                               March 31
                                                                                                                                      2021      2022       2023

   By segment:
     G&NS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          9,600    10,200     12,700
     Music . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         9,900    10,800     11,100
     Pictures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        8,000     8,100      9,100
     ET&S . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         43,700    40,200     38,400
     I&SS . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       16,800    18,100     20,300
     Financial Services . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               12,900    13,200     13,500
     All Other . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         2,800     2,300      2,100
     Unallocated — Corporate employees . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               6,000     6,000      5,800
   By region:
     Japan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      54,500    55,100     56,400
     Outside of Japan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             55,200    53,800     56,600
   Total . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   109,700   108,900    113,000

        In addition, the average number of employees for the fiscal years ended March 31, 2021, 2022 and 2023
   calculated by averaging the total number of employees at the end of each quarter, was approximately 110,700,
   109,600 and 112,300 respectively.

          Sony generally considers its labor relations to be good.

          In Japan, Sony Group Corporation and several subsidiaries have labor unions.

        In the G&NS, ET&S and I&SS segments, Sony owns many manufacturing sites, particularly in Asia, where
   a few sites have labor unions that have union contracts. In China, most employees are members of labor unions.
   Sony has generally maintained good relationships with these labor unions. In Europe, Sony also maintains good
   labor relations with the European Works Council and the local Unions and Works Councils.

          In the Music segment, Sony has a labor union and generally considers its labor relations to be good.

        In the Pictures segment, Sony also generally considers its labor relations to be good. A number of Pictures’
   subsidiaries are signatories to union contracts. During the fiscal year ended March 31, 2023, negotiations were
   conducted and agreements reached with a number of unions. Negotiations were successfully concluded with the
   International Alliance of Theatrical and Stage Employees (“IATSE”) for agreements with three-year terms
   covering The Animation Guild as well as for additional local agreements in New York. Negotiations were also
   completed with Teamsters for agreements for three-year terms covering Location Managers in New York,
   Casting Directors in New York and Los Angeles and drivers in Miami. Agreements were also reached for new
   three-year deals with Screen Actors Guild-American Federation of Television and Radio Artists
   (“SAG-AFTRA”) on the Network Code and The Animation Guild Agreement and with the Communications
   Workers of America, AFL-CIO for parking production assistants in New York. Negotiations were completed
   with Directors Guild of Canada, British Columbia District Council for a three-year agreement. An agreement was
   reached with the American Federation of Musicians to extend the Theatrical and Television Agreements through
   November 13, 2023. During the fiscal year, amendments to the COVID-19 Return to Work Agreement with the


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   Directors Guild of America (“DGA”), IATSE, SAG-AFTRA, Teamsters and Basic Crafts covering COVID-19
   safety protocols were negotiated and were in effect through May 11, 2023. The WGA agreement expired on
   May 1, 2023 and the parties have not reached agreement on the terms of a new deal. The WGA went on strike
   effective May 2, 2023. Negotiations have been completed with the DGA for new three-year deals on the Basic
   Agreement and the Film Live Tape Television Agreement subject to ratification by the DGA. Negotiations have
   commenced with SAG-AFTRA for the Codified Basic Agreement and the Television Basic Agreement which
   expire on June 30, 2023. If negotiations to renew expiring collective bargaining agreements are not successful or
   become unproductive, the affected unions could take actions such as strikes, work slowdowns or work stoppages.
   Strikes, work slowdowns, work stoppages or the possibility of such actions could result in delays in the
   production of television programs and feature films or otherwise disrupt operations. The Pictures segment could
   also incur higher costs from such actions or new collective bargaining agreements that include rate increases.

        Sony continuously strives to provide competitive wages and benefits and good working conditions for all of
   its employees.

   E.     Share Ownership

        The total number of shares of Common Stock beneficially owned by Directors and Corporate Executive
   Officers listed in “Directors and Senior Management” above (out of whom 12 people own shares) was
   approximately 0.043% of the total shares outstanding as of June 2, 2023.

        During the fiscal year ended March 31, 2023, Sony Group Corporation granted stock acquisition rights,
   which represent rights to subscribe for shares of Common Stock, to Corporate Executive Officers and employees
   of Sony Group Corporation as well as directors, officers and employees of its subsidiaries. The stock acquisition
   rights cannot be exercised for one year from the date of grant and generally vest ratably up to three years from
   the date of grant and are generally exercisable up to ten years from the date of grant. The following table shows
   the portion of those stock acquisition rights which were granted by Sony Group Corporation to Directors and
   Corporate Executive Officers as of June 2, 2023 and which were outstanding as of the same date.

                                                                                                                   Total number of
   Year granted                                                                                                 shares subject to stock
   (Fiscal year ended March 31)                                                                                   acquisition rights      Exercise price per share
                                                                                                                    (in thousands)
   2023 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            290                   11,390 yen
   2022 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            280                   14,350 yen
   2021 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            260                     9,237 yen
   2020 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            248                     6,705 yen
   2019 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            214                     6,440 yen
   2018 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             33                     5,231 yen
   2017 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            126                     3,364 yen
   2016 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             15                     3,404 yen
   2015 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             86                   2,410.5 yen

          Regarding the above compensation plans, refer to Note 21 of the consolidated financial statements.

   Item 7.          Major Shareholders and Related Party Transactions

   A.     Major Shareholders

        As of March 31, 2023, there were 1,261,081,781 shares of Common Stock outstanding, including
   26,584,521 shares of treasury stock. Out of the total outstanding shares, 117,871,924 shares were in the form of
   American Depositary Receipts (“ADRs”) and 215,074,779 shares were held of record in the form of Common
   Stock by residents in the U.S. As of March 31, 2023, the number of registered ADR holders was 4,697 and the
   number of registered holders of Common Stock in the U.S. was 389.

        The Financial Instruments and Exchange Act of Japan requires any person who solely or jointly owns more
   than 5% of total issued voting shares of a company listed on any Japanese stock exchange to file with the Kanto
   Local Finance Bureau (the “Bureau”) a Bulk Shareholding Report. The following table summarizes the Bulk
   Shareholding Reports related to Sony (each a “Report”) submitted to the Bureau, where it is reported that
   ownership percentage by the reported entity exceeds 5% in the most recent updated Report. The Reports do not
   specify whether reported ownership is direct or beneficial.



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                                                               Reported number of direct or Reported percentage of direct or
                                                                   indirect owned and             indirect owned and
   Date of Report*       Reported entities                       deemed owned shares**         deemed owned shares**
   October 6, 2020       Nomura Asset Management Co.,                 63,156,882                         5.01
                         Ltd. and 3 Joint Holders
   June 6, 2022          Sumitomo Mitsui Trust Asset                  82,189,224                         6.52
                         Management Co., Ltd. and 1 Joint
                         Holder
   May 18, 2023          BlackRock Japan Co., Ltd. and 9              93,769,348                         7.43
                         Joint Holders
   * The table above contains information from the most recent updated Reports.
   ** Shares issuable or transferable upon exchange of exchangeable securities, conversion of convertible
   securities or exercise of warrants or stock acquisition rights (including those incorporated in bonds with stock
   acquisition rights) are taken into account in determining both the size of the reported entity’s holding and Sony’s
   total issued share capital.
        To the knowledge of Sony Group Corporation, it is not directly or indirectly owned or controlled by any
   other corporation, by any foreign government or by any other natural or legal person either severally or jointly.
   As far as is known to Sony Group Corporation, there are no arrangements the operation of which may, at a
   subsequent date, result in a change in control of Sony Group Corporation.
        To the knowledge of Sony Group Corporation, there were no significant changes in the percentage
   ownership held by any other major beneficial shareholders during the past three fiscal years. Major shareholders
   of Sony Group Corporation do not have different voting rights from other shareholders.

   B.   Related Party Transactions
         In the ordinary course of business, Sony purchases materials, supplies, and services from numerous
   suppliers throughout the world, including firms with which certain members of the Board of Directors are
   affiliated.
        Refer to Note 32 of the consolidated financial statements for account balances and transactions with
   associates and joint ventures accounted for under the equity method.

   C.   Interests of Experts and Counsel
        Not Applicable

   Item 8.     Financial Information
   A.   Consolidated Statements and Other Financial Information
        Refer to the consolidated financial statements and the notes of the consolidated financial statements.

   Legal Proceedings
        Sony Group Corporation and certain of its subsidiaries are defendants or otherwise involved in pending
   legal and regulatory proceedings. However, based upon the information currently available, Sony believes that
   the outcome from such legal and regulatory proceedings would not have a material impact on Sony’s results of
   operations and financial position.

   Dividend Policy
        Sony believes that continuously increasing corporate value and providing dividends are essential to
   rewarding shareholders. It is Sony’s policy to utilize retained earnings, after ensuring the perpetuation of stable
   dividends, to carry out various investments that contribute to an increase in corporate value, such as those that
   ensure future growth and strengthen competitiveness. Going forward, Sony will determine the amount of
   dividends based on an overall consideration of Sony’s consolidated operating results, financial condition and
   future business expectations.
        A fiscal year-end dividend of 40 yen per share of Common Stock of Sony Group Corporation was approved
   at the Board of Directors meeting held on April 28, 2023 and the payment of such dividend started on June 5,

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   2023. Sony Group Corporation has already paid an interim dividend for Common Stock of 35 yen per share to
   each shareholder; accordingly, the total annual dividend per share of Common Stock for the fiscal year ended
   March 31, 2023 is 75 yen.

   B.   Significant Changes
        Not applicable

   Item 9.     The Offer and Listing
   A.   Offer and Listing Details
   Trading Markets
      The principal trading markets for Sony Group Corporation’s ordinary shares are the TSE in the form of
   Common Stock and the NYSE in the form of ADSs evidenced by ADRs. Each ADS represents one share of
   Common Stock.
       Sony Group Corporation’s Common Stock, with no par value per share, has been listed on the TSE since
   1958 under the stock code “6758.”
        Sony Group Corporation’s ADRs have been traded in the U.S. since 1961 and have been listed on the NYSE
   since 1970. As of April 1, 2021, the ticker symbol changed from “SNE” to “SONY.” Sony Group Corporation’s
   ADRs are issued and exchanged by Citibank, N.A., as the Depositary.

   B.   Plan of Distribution
        Not Applicable

   C.   Markets
        Refer to “Item 9.A. Offer and Listing Details.”

   D.   Selling Shareholders
        Not Applicable

   E.   Dilution
        Not Applicable

   F.   Expenses of the Issue
        Not Applicable

   Item 10. Additional Information
   A.   Share Capital
        Not Applicable

   B.   Memorandum and Articles of Association
   Organization
        Sony Group Corporation is a joint stock corporation (Kabushiki Kaisha) incorporated in Japan under the
   Companies Act (Kaishaho) of Japan. It is registered in the Commercial Register (Shogyo Tokibo) maintained by
   the Minato Branch Office of the Tokyo Legal Affairs Bureau.

   Objects and purposes
        The Articles of Incorporation of Sony Group Corporation provide that its purpose is to engage in the
   following business activities:
        (i)   manufacture and sale of electronic and electrical machines and equipment, medical instruments, optical
              instruments and other equipment, machines and instruments;

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        (ii) planning, production and sale of audio-visual software and computer software programs;

        (iii) manufacture and sale of metal industrial products, chemical industrial products and ceramic industrial
              products, textile products, paper products and wood-crafted articles, daily necessities, foodstuffs and
              toys, transportation machines and equipment, and petroleum and coal products;

        (iv) real estate activities, construction business, transportation business and warehousing business;

        (v) publishing business and printing business;

        (vi) advertising agency business, insurance agency business, broadcasting enterprise, recreation business
             such as travel, management of sporting facilities, etc. and other service enterprises;

        (vii) financial business;

        (viii) Type I and Type II telecommunications business under the Telecommunications Business Law;

        (ix) investing in stocks and bonds, etc.;

        (x) manufacture, sale, export and import of products which are incidental to or related to those mentioned
            above;

        (xi) rendering of services related to those mentioned above;

        (xii) investment in businesses mentioned above operated by other companies or persons; and

        (xiii) all businesses which are incidental to or related to those mentioned above.

   Directors

        Under the Companies Act, because Sony Group Corporation has adopted the “Company with Three
   Committees” system, Directors have no power to execute the business of Sony Group Corporation except in
   limited circumstances as permitted by law. If a Director also serves concurrently as a Corporate Executive
   Officer, then he or she can execute the business of Sony Group Corporation in the capacity of Corporate
   Executive Officer. Under the Companies Act, Directors must refrain from engaging in any business competing
   with Sony Group Corporation unless approved by the Board of Directors, and any Director who has a material
   interest in the subject matter of a resolution to be taken by the Board of Directors cannot vote on such resolution.
   The amount of remuneration to each Director is determined by the Compensation Committee, which consists of
   Directors, the majority of whom are outside Directors (Refer to “Board Practices” in “Item 6. Directors, Senior
   Management and Employees”). No member of the Compensation Committee may vote on a resolution with
   respect to his or her own compensation as a Director or a Corporate Executive Officer.

        Neither the Companies Act nor Sony Group Corporation’s Articles of Incorporation make a special
   provision as to the borrowing powers exercisable by Directors (subject to requisite internal authorizations as
   required by the Companies Act), their retirement age, or a requirement to hold any shares of capital stock of
   Sony Group Corporation.

       For more information on Directors, refer to “Board Practices” in “Item 6. Directors, Senior Management
   and Employees.”

   Capital stock

   (General)

        Unless indicated otherwise, set forth below is information relating to Sony Group Corporation’s capital
   stock, including brief summaries of the relevant provisions of Sony Group Corporation’s Articles of
   Incorporation and Share Handling Regulations, currently in effect, and of the Companies Act and related
   regulations.

        The central book-entry transfer system for shares of Japanese listed companies under the Act Concerning
   Book-entry Transfer of Corporate Bonds, Shares, etc. (including regulations promulgated thereunder, “Book-
   entry Transfer Act”) is applied to the shares of Common Stock of Sony Group Corporation. Under this system,
   shares of all Japanese companies listed on any Japanese stock exchange are dematerialized, and shareholders
   must have accounts at account management institutions to hold their shares unless such shareholder has an
   account at Japan Securities Depository Center, Inc. (“JASDEC”). “Account management institutions” are

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   financial instruments traders (i.e., securities companies), banks, trust companies and certain other financial
   institutions that meet the requirements prescribed by the Book-entry Transfer Act. Transfer of the shares of
   Common Stock of Sony Group Corporation is effected exclusively through entry in the records maintained by
   JASDEC and the account management institutions, and title to the shares passes to the transferee at the time
   when the transfer of the shares is recorded at the transferee’s account at an account management institution. The
   holder of an account at an account management institution is presumed to be the legal holder of the shares
   recorded in such account.

         Under the Companies Act and the Book-entry Transfer Act, in order to assert shareholders’ rights against
   Sony Group Corporation, a shareholder of shares must have its name and address registered in Sony Group
   Corporation’s register of shareholders. Under the central book-entry transfer system operated by JASDEC,
   shareholders shall notify the relevant account management institutions of certain information prescribed under
   the Book-entry Transfer Act or Sony Group Corporation’s Share Handling Regulations, including their names
   and addresses, and the registration on Sony Group Corporation’s register of shareholders is updated upon receipt
   by Sony Group Corporation of necessary information from JASDEC (as described in “(Record date)”). On the
   other hand, in order to assert, against Sony Group Corporation, shareholders’ rights to which shareholders are
   entitled, regardless of whether such shareholder held shares on the requisite record date, such as minority
   shareholders’ rights, including the right to propose a matter to be considered at a General Meeting of
   Shareholders, except for shareholders’ rights to request that Sony Group Corporation purchase or sell shares
   constituting less than a full unit (as described in “(Unit share system)”), JASDEC shall, upon the shareholder’s
   request, issue a notice of certain information, including the name and address of such shareholder, to Sony Group
   Corporation.

         Thereafter, such shareholder shall provide Sony Group Corporation with written notice that he or she
   exercises such shareholder’s right in accordance with the Sony Group Corporation’s Share Handling Regulations.
   Under the Book-entry Transfer Act, the shareholder shall exercise such shareholders’ right within four weeks
   after the notice above has been given to Sony Group Corporation.

        Mitsubishi UFJ Trust and Banking Corporation is the transfer agent for Sony Group Corporation’s capital
   stock. As such, it keeps Sony Group Corporation’s register of shareholders in its office at 4-5, Marunouchi
   1-chome, Chiyoda-ku, Tokyo.

        Non-resident shareholders are required to appoint a standing proxy in Japan or file notice of a mailing
   address in Japan. Notices from Sony Group Corporation to non-resident shareholders are delivered to such
   standing proxies or mailing address. Japanese securities companies and commercial banks customarily act as
   standing proxies and provide related services for standard fees. The recorded holder of deposited shares
   underlying the ADSs is the depositary for the ADSs. Accordingly, holders of ADSs will not be able to directly
   assert shareholders’ rights against Sony Group Corporation.

   (Authorized capital)

        Under the Articles of Incorporation of Sony Group Corporation, Sony Group Corporation may only issue
   shares of Common Stock. Sony Group Corporation’s Articles of Incorporation provide that the total number of
   shares authorized to be issued by Sony Group Corporation is 3.6 billion shares.

        All shares of capital stock of Sony Group Corporation have no par value. All issued shares are fully-paid
   and non-assessable.

   (Distribution of Surplus)

   Distribution of Surplus — General

         Under the Companies Act, distributions of cash or other assets by joint stock corporations to their
   shareholders, so called “dividends,” are referred to as “distributions of Surplus” (“Surplus” is defined in
   “— Restriction on distribution of Surplus”). Sony Group Corporation may make distributions of Surplus to
   shareholders any number of times per business year, subject to certain limitations described in “— Restriction on
   distribution of Surplus.” Distributions of Surplus are required in principle to be authorized by a resolution of a
   General Meeting of Shareholders, but Sony Group Corporation may authorize distributions of Surplus by a
   resolution of the Board of Directors as long as its non-consolidated annual financial statements and certain
   documents for the last business year present fairly its assets and profit or loss, as required by ordinances of the
   Ministry of Justice.


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         Distributions of Surplus may be made in cash or in kind in proportion to the number of shares of Common
   Stock held by each shareholder. A resolution of the Board of Directors or a General Meeting of Shareholders
   authorizing a distribution of Surplus must specify the kind and aggregate book value of the assets to be
   distributed, the manner of allocation of such assets to shareholders, and the effective date of the distribution. If a
   distribution of Surplus is to be made in kind, Sony Group Corporation may, pursuant to a resolution of the Board
   of Directors or (as the case may be) a General Meeting of Shareholders, grant a right to the shareholders to
   require Sony Group Corporation to make such distribution in cash instead of in kind. If no such right is granted to
   shareholders, the relevant distribution of Surplus must be approved by a special resolution of a General Meeting
   of Shareholders (refer to “(Voting rights)” with respect to a “special resolution”).

        Under the Articles of Incorporation of Sony Group Corporation, year-end dividends and interim dividends
   may be distributed in cash to shareholders appearing in Sony Group Corporation’s register of shareholders as of
   March 31 and September 30 each year, respectively, in proportion to the number of shares of Common Stock
   held by each shareholder following approval by the Board of Directors or (as the case may be) the General
   Meeting of Shareholders. Sony Group Corporation is not obliged to pay any dividends in cash unclaimed for a
   period of five years after the date on which they first became payable.

        In Japan, the ex-dividend date and the record date for dividends precede the date of determination of the
   amount of the dividends to be paid. The price of the shares of Common Stock generally goes ex-dividend on the
   business day immediately prior to the record date (or if the record date is not a business day, the second business
   day prior thereto).

   Distribution of Surplus — Restriction on distribution of Surplus

        In making a distribution of Surplus, Sony Group Corporation must, until the sum of its additional paid-in
   capital and legal reserve reaches one quarter of its stated capital, set aside in its additional paid-in capital and/or
   legal reserve an amount equal to one-tenth of the amount of Surplus so distributed.

        The amount of Surplus at any given time must be calculated in accordance with the following formula:

        A + B + C + D – (E + F + G)

             In the above formula:

             “A” =      the total amount of other capital surplus and other retained earnings, each such amount
                        being that appearing on the non-consolidated balance sheet as of the end of the last business
                        year
             “B” =      (if Sony Group Corporation has disposed of its treasury stock after the end of the last
                        business year) the amount of the consideration for such treasury stock received by Sony
                        Group Corporation less the book value thereof
             “C” =      (if Sony Group Corporation has reduced its stated capital after the end of the last business
                        year) the amount of such reduction less the portion thereof that has been transferred to
                        additional paid-in capital or legal reserve (if any)
             “D” =      (if Sony Group Corporation has reduced its additional paid-in capital or legal reserve after
                        the end of the last business year) the amount of such reduction less the portion thereof that
                        has been transferred to stated capital (if any)
             “E” =      (if Sony Group Corporation has cancelled its treasury stock after the end of the last business
                        year) the book value of such treasury stock
             “F” =      (if Sony Group Corporation has distributed Surplus to its shareholders after the end of the
                        last business year) the total book value of the Surplus so distributed
             “G” =      certain other amounts set forth in ordinances of the Ministry of Justice, including (if Sony
                        Group Corporation has reduced Surplus and increased its stated capital, additional paid-in
                        capital or legal reserve after the end of the last business year) the amount of such reduction
                        and (if Sony Group Corporation has distributed Surplus to the shareholders after the end of
                        the last business year) the amount set aside in additional paid-in capital or legal reserve (if
                        any) as required by ordinances of the Ministry of Justice.

         The aggregate book value of Surplus distributed by Sony Group Corporation may not exceed a prescribed
   distributable amount (the “Distributable Amount”), as calculated on the effective date of such distribution. The

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   Distributable Amount at any given time shall be equal to the amount of Surplus less the aggregate of the
   following:
             (a) the book value of its treasury stock;
             (b) the amount of consideration for any of treasury stock disposed of by Sony Group Corporation
                 after the end of the last business year; and
             (c) certain other amounts set forth in ordinances of the Ministry of Justice, including (if the sum of
                 one-half of goodwill and the deferred assets exceeds the total of stated capital, additional paid-in
                 capital and legal reserve, each such amount being that appearing on the non-consolidated balance
                 sheet as of the end of the last business year) all or certain part of such exceeding amount as
                 calculated in accordance with ordinances of the Ministry of Justice.
         As Sony Group Corporation has become a company with respect to which consolidated balance sheets
   should also be considered in the calculation of the Distributable Amount (renketsu haito kisei tekiyo kaisha),
   Sony Group Corporation must further deduct from the amount of Surplus the excess amount, if any, of (x) the
   total amount of stockholders’ equity appearing on the non-consolidated balance sheet as of the end of the last
   business year and certain other amounts set forth by an ordinance of the Ministry of Justice over (y) the total
   amount of stockholders’ equity and certain other amounts set forth by an ordinance of the Ministry of Justice
   appearing on the consolidated balance sheet as of the end of the last business year.
        If Sony Group Corporation has prepared interim financial statements as described below, and if such interim
   financial statements have been approved by the Board of Directors or (if so required by the Companies Act) by a
   General Meeting of Shareholders, then the Distributable Amount must be adjusted to take into account the
   amount of profit or loss, and the amount of consideration for any of the treasury stock disposed of by Sony Group
   Corporation, during the period in respect of which such interim financial statements have been prepared. Sony
   Group Corporation may prepare non-consolidated interim financial statements consisting of a balance sheet as of
   any date subsequent to the end of the last business year and an income statement for the period from the first day
   of the current business year to the date of such balance sheet. Interim financial statements so prepared by Sony
   Group Corporation must be audited by the Audit Committee and the independent auditor, as required by the
   Companies Act and in accordance with the details prescribed by ordinances of the Ministry of Justice.

   (Capital and reserves)
         Sony Group Corporation may generally reduce its additional paid-in capital or legal reserve by resolution of
   a General Meeting of Shareholders and, if so decided by the same resolution, may account for the whole or any
   part of the amount of such reduction as stated capital. On the other hand, Sony Group Corporation may generally
   reduce its stated capital by a special shareholders’ resolution (as defined in “(Voting rights)”) and, if so decided
   by the same resolution, may account for the whole or any part of the amount of such reduction as additional
   paid-in capital. In addition, Sony Group Corporation may reduce its Surplus and increase either (i) stated capital
   or (ii) additional paid-in capital and/or legal reserve by the same amount, in either case by resolution of a General
   Meeting of Shareholders.

   (Stock splits)
        Sony Group Corporation may at any time split shares in issue into a greater number of shares at the
   determination of the CEO, and may amend its Articles of Incorporation to increase the number of the authorized
   shares to be issued to allow such stock split pursuant to a resolution of the Board of Directors or a determination
   by a Corporate Executive Officer to whom the authority to make such determination has been delegated by a
   resolution of the Board of Directors, rather than relying on a special shareholders’ resolution, which is otherwise
   required for amending the Articles of Incorporation.
        When a stock split is to be made, Sony Group Corporation must give public notice of the stock split,
   specifying the record date thereof, at least two weeks prior to such record date. Under the central book-entry
   transfer system operated by JASDEC, Sony Group Corporation must also give notice to JASDEC regarding a
   stock split at least two weeks prior to the relevant effective date of the stock split. On the effective date of the
   stock split, the numbers of shares recorded in all accounts held by Sony Group Corporation’s shareholders at
   account managing institutions or JASDEC will be increased in accordance with the applicable ratio.

   (Consolidation of shares)
        Sony Group Corporation may at any time consolidate issued shares into a smaller number of shares by a
   special shareholders’ resolution. When a consolidation of shares is to be made, Sony Group Corporation must

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   give public notice or notice to each shareholder at least two weeks prior to the effective date of the consolidation
   of shares. Under the central book-entry transfer system operated by JASDEC, Sony Group Corporation must also
   give notice to JASDEC regarding a consolidation of shares at least two weeks prior to the effective date of the
   consolidation of shares. On the effective date of the consolidation of shares, the numbers of shares recorded in all
   accounts held by Sony Group Corporation’s shareholders at account managing institutions or JASDEC will be
   decreased in accordance with the applicable ratio. Sony Group Corporation must disclose the reason for the
   consolidation of shares at a General Meeting of Shareholders.

   (General Meeting of Shareholders)

        The Ordinary General Meeting of Shareholders of Sony Group Corporation for each business year is
   normally held in June of each year in Tokyo, Japan. In addition, Sony Group Corporation may hold an
   Extraordinary General Meeting of Shareholders whenever necessary by giving notice thereof at least two weeks
   prior to the date set for the meeting.

        Notice of a shareholders’ meeting setting forth the place, time and purpose thereof must be mailed to each
   shareholder having voting rights (or, in the case of a non-resident shareholder, to such shareholder’s resident
   proxy or mailing address in Japan) at least two weeks prior to the date set for the meeting. Under the Companies
   Act, such notice may be given to shareholders by electronic means, subject to obtaining the consent of the
   relevant shareholders. The record date for voting rights at an Ordinary General Meeting of Shareholders is
   March 31 of each year.

        Under the Companies Act and the Articles of Incorporation, Sony Group Corporation shall take measures to
   electronically provide to its shareholders (“Electronic Provision”) the contents of reference materials for a
   General Meeting of Shareholders, etc.

        Notice of a shareholders meeting must set forth the contents of reference materials for a General Meeting of
   Shareholders, etc. to be provided by way of Electronic Provision and the URL of the website used for Electronic
   Provision, in addition to the place, time and purpose of the meeting. The contents of reference materials for a
   General Meeting of Shareholders, etc. must be posted on the website from the earlier of the date three weeks
   prior to the date set for the meeting or the date on which the notice of the shareholders meeting is dispatched
   until the date on which three months have elapsed from the meeting. Any shareholder (other than those
   shareholders consenting to receipt of notice of shareholders’ meeting by electronic means) is entitled to request
   printed paper copies of the contents of reference materials for a General Meeting of Shareholders, etc. by the
   record date for voting rights at the relevant General Meeting of Shareholders.

        Any shareholder or group of shareholders holding at least 3% of the total number of voting rights for a
   period of six months or more may require the convocation of a General Meeting of Shareholders for a particular
   purpose. Unless such a shareholders’ meeting is convened promptly or a convocation notice of a meeting that is
   to be held no later than eight weeks from the day of such request is dispatched, the shareholder requesting the
   holding of the meeting may, upon obtaining a court’s approval, convene such a shareholders’ meeting.

        Any shareholder or group of shareholders holding at least 300 voting rights or 1% of the total number of
   voting rights for a period of six months or more may propose a matter to be considered at a General Meeting of
   Shareholders by submitting a written request to Sony Group Corporation at least eight weeks prior to the date set
   for such meeting, provided that Sony Group Corporation may limit the number of such matters requested by each
   shareholder to 10.

        If the Articles of Incorporation so provide, any of the minimum voting rights or percentages, time periods
   and number of voting rights necessary for exercising the minority shareholder rights described above may be
   decreased or shortened. Sony Group Corporation’s Articles of Incorporation currently do not include any such
   provisions.

   (Voting rights)

        So long as Sony Group Corporation maintains the unit share system, a holder of shares constituting one or
   more units is entitled to one vote for each such unit of stock (refer to “(Unit share system)” below; currently 100
   shares constitute one unit), except that no voting rights with respect to shares of capital stock of Sony Group
   Corporation are afforded to Sony Group Corporation or any corporate or certain other entities more than
   one-quarter of the total voting rights of which are directly or indirectly held by Sony Group Corporation. If Sony
   Group Corporation eliminates from its Articles of Incorporation the provisions relating to units of stock, holders
   of capital stock will have one vote for each share they hold. Except as otherwise provided by law or by the

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   Articles of Incorporation of Sony Group Corporation, a resolution can be adopted at a General Meeting of
   Shareholders by a majority of the number of voting rights of all the shareholders represented at the meeting. The
   Companies Act and Sony Group Corporation’s Articles of Incorporation provide, however, that the quorum for
   the election of Directors shall be one-third of the total number of voting rights of all the shareholders. Sony
   Group Corporation’s shareholders are not entitled to cumulative voting in the election of Directors. Shareholders
   may cast their votes in writing and may also exercise their voting rights through proxies, provided that the
   proxies are also shareholders holding voting rights. Shareholders may also exercise their voting rights by
   electronic means pursuant to the method designated by Sony Group Corporation.

       The Companies Act and the Articles of Incorporation of Sony Group Corporation provide that in order to
   amend the Articles of Incorporation and in certain other instances, including:

        (1) acquisition of its own shares from a specific party other than its subsidiaries;

        (2) consolidation of shares;

        (3) any offering of new shares or existing shares held by Sony Group Corporation as treasury stock at a
            “specially favorable” price (or any offering of stock acquisition rights to acquire shares of capital stock,
            or bonds with stock acquisition rights on “specially favorable” conditions) to any persons other than
            shareholders;

        (4) the exemption of liability of a Director, Corporate Executive Officer or independent auditor with
            certain exceptions;

        (5) a reduction of stated capital with certain exceptions;

        (6) a distribution of in-kind dividends which meets certain requirements;

        (7) dissolution, merger, consolidation, or corporate split with certain exceptions;

        (8) the transfer of the whole or a material part of the business;

        (9) the transfer of the whole or a part of the shares or equity interests in a subsidiary which meets certain
            requirements;

        (10) the taking over of the whole of the business of any other corporation with certain exceptions;

        (11) share exchange or share transfer for the purpose of establishing 100% parent-subsidiary relationships
             with certain exceptions; or

        (12) partial share exchange for the purpose of establishing parent-subsidiary relationships with certain
             exceptions,

   the quorum shall be one-third of the total number of voting rights of all the shareholders, and the approval by at
   least two-thirds of the number of voting rights of all the shareholders represented at the meeting is required (the
   “special shareholders’ resolutions”).

   (Issue of additional shares and pre-emptive rights)

        Holders of Sony Group Corporation’s shares of capital stock have no pre-emptive rights under its Articles of
   Incorporation. Authorized but unissued shares may be issued, or existing shares held by Sony Group Corporation
   as treasury stock may be transferred, at such times and upon such terms as the Board of Directors or the CEO
   determines, subject to the limitations as to the offering of new shares or transfer of existing shares held by Sony
   Group Corporation as treasury stock at a “specially favorable” price mentioned under “(Voting rights)” above.

         In the case of an issuance of shares (including a transfer of existing shares held by Sony Group Corporation
   as treasury stock) or stock acquisition rights whereby any subscriber will hold more than 50% of the voting rights
   of all shareholders, generally Sony Group Corporation shall give public notice at least two weeks prior to the
   payment date for such issuance, and if shareholders who hold one-tenth or more of the voting rights of all
   shareholders dissent from the issuance of shares or stock acquisition rights, the approval by a resolution of a
   General Meeting of Shareholders is generally required before the payment date pursuant to the Companies Act.
   In addition, in the case of an issuance of shares (including a transfer of existing shares held by Sony Group
   Corporation as treasury stock) or stock acquisition rights by way of an allotment to a third party which would
   dilute the outstanding voting shares by 25% or more or change the controlling shareholder, in addition to a
   resolution of the Board of Directors or a determination by the CEO, the approval of the shareholders or an

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   affirmative vote from a person independent of the management is generally required pursuant to the rules of the
   TSE. The Board of Directors or the CEO may, however, determine that shareholders shall be given subscription
   rights regarding a particular issue of new shares, in which case such rights must be given on uniform terms to all
   shareholders as of a record date of which not less than two weeks’ prior public notice is given. Each of the
   shareholders to whom such rights are given must also be given notice of the expiry thereof at least two weeks
   prior to the date on which such rights expire.
        Subject to certain conditions, Sony Group Corporation may issue stock acquisition rights by a resolution of
   the Board of Directors or a determination by the CEO. Holders of stock acquisition rights may exercise their
   rights to acquire a certain number of shares within the exercise period as prescribed in the terms of their stock
   acquisition rights. Upon exercise of stock acquisition rights, Sony Group Corporation will be obliged to issue the
   relevant number of new shares or alternatively to transfer the necessary number of treasury stock held by it.
        In cases where a particular issue of new shares or stock acquisition rights (i) violates laws and regulations or
   Sony Group Corporation’s Articles of Incorporation, or (ii) will be performed in a materially unfair manner, and
   shareholders may suffer disadvantages therefrom, such shareholders may file an injunction to enjoin such issue
   with a court.

   (Liquidation rights)
        In the event of a liquidation of Sony Group Corporation, the assets remaining after payment of all debts,
   liquidation expenses and taxes will be distributed among the holders of shares of Common Stock in proportion to
   the respective numbers of shares of Common Stock held.

   (Record date)
         March 31 is the record date for Sony Group Corporation’s year-end dividends, if declared. So long as Sony
   Group Corporation maintains the unit share system, shareholders who are registered as the holders of one or
   more unit of stock in Sony Group Corporation’s register of shareholders at the end of each March 31 are also
   entitled to exercise shareholders’ rights at the Ordinary General Meeting of Shareholders with respect to the
   business year ending on such March 31. September 30 is the record date for interim dividends, if declared. In
   addition, Sony Group Corporation may set a record date for determining the shareholders entitled to other rights
   and for other purposes by giving at least two weeks’ prior public notice.
        JASDEC is required to promptly give Sony Group Corporation notice of the names and addresses of Sony
   Group Corporation’s shareholders, the numbers of shares of Common Stock held by them and other relevant
   information as of such respective record dates.
        The price of shares generally goes ex-dividends or ex-rights on Japanese stock exchanges on the business
   day immediately prior to a record date (or if the record date is not a business day, the second business day prior
   thereto), for the purpose of dividends or rights offerings.

   (Acquisition by Sony Group Corporation of its capital stock)
        Under the Companies Act and the Articles of Incorporation of Sony Group Corporation, Sony Group
   Corporation may acquire shares of Common Stock (i) from a specific shareholder other than any of its
   subsidiaries (pursuant to the special shareholders’ resolution), (ii) from any of its subsidiaries (pursuant to a
   resolution of the Board of Directors), or (iii) by way of purchase on any Japanese stock exchange on which Sony
   Group Corporation’s shares of Common Stock are listed or by way of tender offer (pursuant to a resolution of the
   Board of Directors, as long as its non-consolidated annual financial statements and certain documents for the last
   business year present fairly its assets and profit or loss, as required by ordinances of the Ministry of Justice).
        In the case of (i) above, any other shareholder may make a request to Sony Group Corporation that such
   other shareholder be included as a seller in the proposed purchase, provided that no such right will be available if
   the purchase price or any other consideration to be received by the relevant specific shareholder will not exceed
   the last trading price of the shares on the relevant stock exchange on the day immediately preceding the date on
   which the resolution mentioned in (i) above was adopted (or, if there is no trading in the shares on the stock
   exchange or if the stock exchange is not open on such day, the price at which the shares are first traded on such
   stock exchange thereafter).
       The total amount of the purchase price of shares of Common Stock may not exceed the Distributable
   Amount, as described in “(Distribution of Surplus) — Distributions of Surplus — Restriction on distribution of
   Surplus.”

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         Shares acquired by Sony Group Corporation may be held for any period or may be retired at the
   determination of the CEO. Sony Group Corporation may also transfer (by public or private sale or otherwise) to
   any person the treasury stock held by it, at such times and upon such terms as the Board of Directors or the CEO
   determines, and subject also to other requirements similar to those applicable to the issuance of new shares, as
   described in “(Issue of additional shares and pre-emptive rights)” above. Sony Group Corporation may also
   utilize its treasury stock for the purpose of transfer to any person upon exercise of stock acquisition rights or for
   the purpose of acquiring another company by way of merger, share exchange, partial share exchange or corporate
   split through exchange of treasury stock for shares or assets of the acquired company.

   (Unit share system)

         The Articles of Incorporation of Sony Group Corporation provide that 100 shares constitute one “unit” of
   shares of stock. The Board of Directors or the Corporate Executive Officer to whom the authority to make such a
   determination has been delegated by a resolution of the Board of Directors is permitted to amend the Articles of
   Incorporation to reduce the number of shares that constitute a unit or to abolish the unit share system entirely.
   Under the Companies Act, the number of shares constituting one unit cannot exceed 1,000 shares nor 0.5% of the
   total number of issued shares.

        Under the unit share system, shareholders have one voting right for each unit of stock that they hold. Any
   number of shares less than one full unit have neither voting rights nor rights related to voting rights. Holders of
   shares constituting less than one unit will have no other shareholder rights if Sony Group Corporation’s Articles
   of Incorporation so provide, except that such holders may not be deprived of certain rights specified in the
   Companies Act or an ordinance of the Ministry of Justice, including the right to receive distribution of Surplus.

        A holder of shares constituting less than one full unit may require Sony Group Corporation to purchase such
   shares at their market value in accordance with the provisions of the Share Handling Regulations of Sony Group
   Corporation. In addition, the Articles of Incorporation of Sony Group Corporation provide that a holder of shares
   constituting less than one full unit may request Sony Group Corporation to sell to such holder such amount of
   shares which will, when added together with the shares constituting less than one full unit, constitute one full unit
   of stock. Such request by a holder and the sale by Sony Group Corporation must be made in accordance with the
   provisions of the Share Handling Regulations of Sony Group Corporation. As prescribed in the Share Handling
   Regulations, such requests shall be made through an account management institution and JASDEC pursuant to
   the rules set by JASDEC, without going through the notification procedure required for the exercise of the
   shareholders’ rights to which shareholders are entitled, regardless of whether such shareholder held shares on the
   requisite record date, as described in “(General).” Shares constituting less than a full unit are transferable, under
   the central book-entry transfer system described in “(General).” Under the rules of the Japanese stock exchanges,
   however, shares constituting less than a full unit do not comprise a trading unit, except in limited circumstances,
   and accordingly may not be sold on the Japanese stock exchanges.

   (Sale by Sony Group Corporation of shares held by shareholders whose location is unknown)

        Sony Group Corporation is not required to send a notice to a shareholder if a notice to such shareholder fails
   to arrive at the registered address of the shareholder in Sony Group Corporation’s register of shareholders or at
   the address otherwise notified to Sony Group Corporation continuously for five years or more.

         In addition, Sony Group Corporation may sell or otherwise dispose of shares of capital stock for which the
   location of the shareholder is unknown. Generally, if (i) notices to a shareholder fail to arrive continuously for
   five years or more at the shareholder’s registered address in Sony Group Corporation’s register of shareholders or
   at the address otherwise notified to Sony Group Corporation, and (ii) the shareholder fails to receive distributions
   of Surplus on the shares continuously for five years or more at the address registered in Sony Group
   Corporation’s register of shareholders or at the address otherwise notified to Sony Group Corporation, Sony
   Group Corporation may sell or otherwise dispose of such shareholder’s shares at the then market price of the
   shares by a determination of a Corporate Executive Officer and after giving at least three months’ prior public
   and individual notice, and hold or deposit the proceeds of such sale or disposal of shares for such shareholder.

   Reporting of substantial shareholdings

        The Financial Instruments and Exchange Act of Japan and its related regulations require any person,
   regardless of residence, who has become, beneficially and solely or jointly, a holder of more than 5% of the total
   issued shares of capital stock of a company listed on any Japanese stock exchange or whose shares are traded on
   the over-the-counter market in Japan to file with the Director General of the competent Local Finance Bureau of

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   the Ministry of Finance within five business days a report concerning such shareholdings. A similar report must
   also be filed in respect of any subsequent change of 1% or more in any such holding, or any change in material
   matters set out in reports previously filed, with certain exceptions. For this purpose, shares issuable to such
   persons upon conversion of convertible securities or exercise of share subscription warrants or stock acquisition
   rights are taken into account in determining both the number of shares held by such holders and the issuer’s total
   issued share capital. Any such report shall be filed with the Director General of the relevant Local Finance
   Bureau of the Ministry of Finance through the Electronic Disclosure for Investors’ Network (EDINET) system.

   Ownership restrictions

        Except for the general limitation under Japanese anti-trust and anti-monopoly regulations against holding of
   shares of capital stock of a Japanese corporation which leads or may lead to a restraint of trade or monopoly,
   except for the limitations under the Foreign Exchange Regulations as described in “D. Exchange Controls”
   below, and except for general limitations under the Companies Act or Sony Group Corporation’s Articles of
   Incorporation on the rights of shareholders applicable regardless of residence or nationality, there is no limitation
   under Japanese laws and regulations applicable to Sony Group Corporation or under its Articles of Incorporation
   on the rights of non-residents or foreign shareholders to hold or exercise voting rights on the shares of capital
   stock of Sony Group Corporation.

       There is no provision in Sony Group Corporation’s Articles of Incorporation or internal regulations that
   would have an effect of delaying, deferring or preventing a change in control of Sony Group Corporation and that
   would operate only with respect to a merger, acquisition or corporate restructuring involving Sony Group
   Corporation.

   C.   Material Contracts

        None

   D.   Exchange Controls

   Japanese Foreign Exchange Controls Regulations

         The following is a general summary of major Japanese foreign exchange controls regulations applicable to
   holders of shares of capital stock or voting rights of Sony Group Corporation or holders of ADSs who are
   “exchange non-residents” or “foreign investors,” as described below. The statements regarding Japanese
   foreign exchange control regulations set forth below are based on the laws and regulations in force and as
   interpreted by the Japanese authorities as of the date of this annual report and are subject to subsequent changes
   in the applicable Japanese laws or interpretations thereof. This summary is not exhaustive of all possible foreign
   exchange controls considerations that may apply to a particular investor, and potential investors are advised to
   satisfy themselves as to the overall foreign exchange controls consequences of the acquisition, ownership and
   disposition of shares of capital stock or voting rights of Sony Group Corporation or ADSs by consulting their
   own advisors.

        The Foreign Exchange and Foreign Trade Act of Japan (the FEFTA) and its related cabinet orders and
   ministerial ordinances (collectively, the “Foreign Exchange Regulations”) govern certain aspects relating to the
   acquisition and holding of shares of capital stock and voting rights of Sony Group Corporation by “exchange
   non-residents” and by “foreign investors” (as these terms are defined below). The Foreign Exchange Regulations
   also apply to the acquisition and holding of ADSs and the exercise of voting rights by holders of ADSs who are
   “foreign investors” that constitute an “inward direct investment” (as defined below).

   Capital Transaction

        Except as described below with respect to an “inward direct investment” by a “foreign investor”, the
   Foreign Exchange Regulations currently in effect do not affect transactions between exchange non-residents to
   purchase or sell shares of a Japanese listed corporation outside Japan using currencies other than Japanese yen.

       In general, the acquisition of shares of a Japanese corporation (such as the shares of capital stock of Sony
   Group Corporation) by an exchange non-resident from an exchange resident requires post facto reporting by the
   exchange resident to the Minister of Finance. No such reporting requirement is imposed, however, if:

        (i)   the aggregate purchase price of the relevant shares is 100 million yen or less;


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        (ii) the acquisition is effected through any bank, financial instruments business operator or other entity
             prescribed by the Foreign Exchange Regulations acting as an agent or intermediary; or

        (iii) the acquisition constitutes an “inward direct investment” described below (in which case a prior
              notification requirement may apply).

        Exchange residents are defined in the Foreign Exchange Regulations as:

        (i)   individuals who reside within Japan; or

        (ii) corporations whose principal offices are located within Japan.

        Exchange non-residents are defined in the Foreign Exchange Regulations as:

        (i)   individuals who do not reside in Japan; or

        (ii) corporations whose principal offices are located outside Japan.

        Generally, branches and other offices of non-resident corporations that are located within Japan are regarded
   as exchange residents. Conversely, branches and other offices of Japanese corporations located outside Japan are
   regarded as exchange non-residents.

   Inward Direct Investment in Shares of Listed Corporations

   Definition of Foreign Investor

        Foreign investors are defined in the Foreign Exchange Regulations as:

        (i)   individuals who are exchange non-residents;

        (ii) corporations or other entities that are organized under the laws of foreign countries or whose principal
             offices are located outside Japan;

        (iii) corporations of which 50% or more of the total voting rights are held, directly or indirectly, by
              individuals and/or corporations falling within (i) and/or (ii) above;

        (iv) partnerships under the Civil Code of Japan established to invest in corporations, limited partnerships
             for investment under the Limited Partnership Act for Investment of Japan or any other similar
             partnerships under foreign law of which (a) 50% or more of the total contributions are made by
             individuals and/or corporations falling within (i), (ii), (iii) above and/or (v) below or any other persons
             prescribed under the Foreign Exchange Regulations or (b) a majority of the general partners are
             individuals and/or corporations falling within (i), (ii), (iii) above and/or (v) below or any other persons
             prescribed under the Foreign Exchange Regulations; or

        (v) corporations or other entities, a majority of whose directors or other officers (or directors or other
            officers having the power of representation) are individuals who are exchange non-residents.

   Definition of Inward Direct Investment

        If a foreign investor acquires shares or voting rights of a Japanese corporation that is listed on a Japanese
   stock exchange (such as the shares of capital stock of Sony Group Corporation) or that is traded on an
   over-the-counter market in Japan and, as a result of the acquisition, the foreign investor, in combination with any
   existing holdings, directly or indirectly holds 1% or more of the total number of issued shares or the total number
   of voting rights of the relevant corporation, such acquisition constitutes an “inward direct investment.” In
   addition, the acquisition of the authority to exercise, either directly or through instructions, voting rights held by
   other shareholders that results in the foreign investor, in combination with any existing shareholding, directly or
   indirectly holding 1% or more of the total number of voting rights of the relevant corporation constitutes an
   “inward direct investment.”

        In addition to the acquisitions of shares or voting rights described above, if a foreign investor (i) is granted
   the authority to exercise voting rights on behalf of other shareholders of a Japanese listed corporation regarding
   certain matters which may give such foreign investor the power to control, or may have a material influence on
   the management of such corporation, such as the election or removal of directors, or (ii) obtains consent from
   another foreign investor holding the voting rights of the relevant corporation to exercise the voting rights of such

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   corporation held by such other foreign investor jointly, and, in each case, as a result of these arrangements, the
   number of the voting rights directly or indirectly held by the foreign investor, including the total number of the
   voting rights subject to such authorization to exercise, or the sum of the number of the voting rights directly or
   indirectly held by the foreign investor and such other foreign investor subject to such joint voting agreement, as
   the case may be, is 10% or more of the total number of voting rights of the relevant corporation, each such
   arrangement regarding voting rights (hereinafter referred to as a “voting arrangement”) also constitutes an
   “inward direct investment”.
         Additionally, if a foreign investor directly or indirectly holds 1% or more of the total voting rights of a
   Japanese listed corporation and, at a general meeting of shareholders, consents to certain proposals having a
   material influence on the management of such corporation such as the (i) election of such foreign investor or any
   of its related persons (as defined in the Foreign Exchange Regulations) as a director or corporate auditor of the
   relevant corporation or (ii) transfer or discontinuation of its business, such consent also constitutes an “inward
   direct investment.”

   Prior Notification Requirements regarding Inward Direct Investment
        If a foreign investor intends to consummate an acquisition of shares or voting rights of a Japanese listed
   corporation or the authority to exercise, either directly or through instructions, voting rights held by other
   shareholders that constitutes an “inward direct investment” as described above, unless certain exemptions apply
   (such as where the foreign investor is in a country that is listed on an exemption schedule in the Foreign
   Exchange Regulations and where that Japanese corporation is not engaged in certain businesses (the “Designated
   Businesses”) designated by the Foreign Exchange Regulations), a prior notification of the relevant inward direct
   investment is required to be filed with the Minister of Finance and any other competent Ministers.
        However, if a foreign investor is seeking to acquire shares or voting rights of a Japanese listed corporation
   or the authority to exercise, either directly or through instructions, voting rights held by other shareholders and
   such acquisition would constitute an “inward direct investment”, such foreign investor may be eligible for the
   exemptions if certain conditions are met. In the case of an acquisition of shares or voting rights or the authority to
   exercise, either directly or through instructions, voting rights of a Japanese listed corporation that is engaged in a
   Designated Business other than certain Designated Business designated by the Foreign Exchange Regulations as
   a core sector business (the “Core Sector Designated Businesses”), the foreign investor may be exempted from the
   prior notification requirement if such foreign investor complies with the following conditions (the “Exemption
   Conditions”):
        (i)   the foreign investor or its related persons will not become directors or corporate auditors of the relevant
              corporation;
        (ii) the foreign investor will not make certain proposals (as prescribed in the Foreign Exchange
             Regulations) at the general meeting of shareholders, including transfer or discontinuation of the
             Designated Businesses of the relevant corporation; and
        (iii) the foreign investor will not access non-public technical information in relation to the Designated
              Businesses of the relevant corporation, or take certain other actions that may lead to the leak of such
              non-public technical information (as prescribed in the Foreign Exchange Regulations).
        In addition, in the case of an acquisition of shares or voting rights or the authority to exercise, directly or
   through instructions, voting rights of a Japanese listed corporation that is engaged in the Core Sector Designated
   Businesses, the foreign investor may be exempted from the prior notification requirement, if, as a result of such
   acquisition, the foreign investor, in combination with any existing holdings, directly or indirectly holds less than
   10% of the total number of issued shares or voting rights of the relevant corporation and such foreign investor
   complies with the Exemption Conditions and the following additional conditions:
        (i)   the foreign investor will not attend, or not cause any persons designated by it to attend, meetings of the
              relevant corporation’s board of directors, or meetings of committees having authority to make
              important decisions, in respect of the Core Sector Designated Businesses of the relevant corporation;
              and
        (ii) the foreign investor will not make, or not cause any persons designated by it to make, proposals to such
             board or committees or their members in writing or electronic form requesting any response or actions
             by certain deadlines in respect of the Core Sector Designated Businesses of the relevant corporation.
        Notwithstanding the above, if a foreign investor falls under a category of disqualified investors designated
   by the Foreign Exchange Regulations (including (a) investors who have been sanctioned during the previous five

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   years due to violations of the FEFTA and (b) certain investors that are state-owned enterprises or other related
   entities that are not otherwise accredited by the Minister of Finance), in no event may such foreign investor be
   eligible for the exemptions described above. On the other hand, if a foreign investor, excluding the disqualified
   investors described in the foregoing sentence, falls under a category of certain foreign financial institutions (as
   prescribed in the Foreign Exchange Regulations) and complies with the Exemption Conditions, such foreign
   investor may be eligible for the exemptions described above, even if the acquisition results in such foreign
   investor’s directly or indirectly holding 10% or more of the total number of issued shares or voting rights of the
   corporation engaged in the Core Sector Designated Businesses.

          For reference purposes only, the Minister of Finance publishes, and may update from time to time, a list that
   classifies Japanese listed corporations into the following categories: (i) corporations engaged only in businesses
   other than the Designated Businesses, (ii) corporations engaged in Designated Businesses other than Core Sector
   Designated Businesses and (iii) corporations engaged in the Core Sector Designated Businesses. According to the
   list published by the Minister of Finance, as of May 19, 2023, Sony Group Corporation is classified as category
   (iii) above.

        In addition, if a foreign investor intends to make a voting arrangement with respect to a Japanese listed
   corporation engaged in the Designated Businesses or consents to a proposal at the general meeting of
   shareholders of such corporation, in each case, that constitutes an “inward direct investment” as described in
   “Definition of Inward Direct Investment” above, in certain circumstances, prior notification of the relevant
   inward direct investment must be filed with the Minister of Finance and any other competent Ministers. In such
   cases, the exemptions from the prior notification requirements may not be available, except for cases where the
   relevant voting arrangement is a joint voting agreement with other foreign investors to exercise voting rights
   regarding matters other than certain matters which may give such foreign investor the power to control, or may
   have a material influence on the management of the relevant corporation, such as the election or removal of
   directors.

        Acquisitions of shares by foreign investors by way of stock split are not subject to the foregoing notification
   requirements.

   Procedures for Prior Notification regarding Inward Direct Investment

         If such prior notification is filed, the proposed inward direct investment may not be consummated until 30
   days after the date of filing during which time the Ministers will review the proposed inward direct investment,
   although this screening period may be shortened by such Ministers if they no longer deem it necessary to review
   the proposed inward direct investment, or may be shortened to five business days, if the proposed inward direct
   investment is determined not to raise concerns from the perspective of national security or certain other factors.
   The Ministers may extend the screening period up to five months if they deem it necessary to continue to review
   the proposed inward direct investment, and may recommend any modification or abandonment of the proposed
   inward direct investment and, if the foreign investor does not accept such recommendation, the Ministers may
   order the modification or abandonment of such inward direct investment. In addition, if the Ministers consider
   the proposed inward direct investment to be an inward direct investment that is likely to cause damage to the
   national security of Japan, to interfere with the maintenance of public order or to pose an obstacle to the
   preservation of public safety, and, if a foreign investor (i) consummates such inward direct investment without
   filing the prior notification described above; (ii) consummates such inward direct investment before the
   expiration of the screening period described above; (iii) in connection with such inward direct investment, makes
   false statements in the prior notification described above; or (iv) does not follow the recommendation or order
   issued by the Ministers to modify or abandon such inward direct investment, the Ministers may order such
   foreign investor to divest all or part of the shares acquired or take other measures.

   Post Facto Reporting Requirements regarding Inward Direct Investment

         A foreign investor who consummates an inward direct investment as described above through an acquisition
   of shares or voting rights or the authority to exercise, directly or through instructions, voting rights of a Japanese
   listed corporation that is engaged in the Designated Businesses, but is not subject to the prior notification
   requirements described above due to the exemptions from such prior notification requirements, in general, must
   file a post facto report of the relevant inward direct investment with the Minister of Finance and any other
   competent Ministers having jurisdiction over such Japanese corporation within 45 days of the date when, as a
   result of such acquisition, the foreign investor, in combination with any existing holdings, directly or indirectly
   holds (i) 1% or more but less than 3% of the total number of issued shares or voting rights, for the first time, (ii)
   3% or more but less than 10% of the total number of issued shares or voting rights, for the first time, or (iii) 10%

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   or more of the total number of issued shares or voting rights (excluding, in the cases of (i) and (ii) above, a
   foreign investor who falls under a category of certain foreign financial institutions (as prescribed in the Foreign
   Exchange Regulations)). In addition, if a foreign investor consummates the inward direct investment described
   above through the acquisition of shares or voting rights or the authority to exercise, directly or through
   instructions, voting rights of a Japanese listed corporation that is not engaged in the Designated Businesses
   (which is, in general, not subject to the prior notification requirements described above) and, as a result of such
   inward direct investment, such foreign investor, in combination with any existing holdings, directly or indirectly
   holds 10% or more of shares or voting rights of the total number of issued shares or voting rights of the relevant
   corporation, such foreign investor, in general, must file a post facto report of the relevant inward direct
   investment with the Minister of Finance and any other competent Ministers having jurisdiction over such
   Japanese corporation within 45 days of such inward direct investment.
        In addition, if a foreign investor consummates the inward direct investment described above through a
   voting arrangement with respect to a Japanese listed corporation that is not engaged in the Designated Businesses
   (which is, in general, not subject to the prior notification requirements described above), such foreign investor, in
   general, must file a post facto report of the relevant inward direct investment with the Minister of Finance and
   any other competent Ministers having jurisdiction over such Japanese corporation within 45 days of such inward
   direct investment.
        Acquisitions of shares by foreign investors by way of stock split are not subject to the foregoing reporting
   requirements.

   Dividends and Proceeds of Sale
        Under the Foreign Exchange Regulations, dividends paid on and the proceeds from sales in Japan of shares
   of capital stock of Sony Group Corporation held by exchange non-residents may generally be converted into any
   foreign currency and repatriated abroad.

   E.   Taxation
        The following is a summary of the major Japanese national tax and U.S. federal income tax consequences of
   the ownership, acquisition and disposition of shares of Common Stock of Sony Group Corporation and of ADRs
   evidencing ADSs representing shares of Common Stock of Sony Group Corporation by a non-resident of Japan
   or a non-Japanese corporation without a permanent establishment in Japan. The summary does not purport to be
   a comprehensive description of all of the tax considerations that may be relevant to any particular investor, and
   does not take into account any specific individual circumstances of any particular investor. Accordingly, holders
   of shares of Common Stock or ADSs of Sony Group Corporation are encouraged to consult their tax advisors
   regarding the application of the considerations discussed below to their particular circumstances.
        This summary is based upon the representations of the depositary and the assumption that each obligation in
   the deposit agreement in relation to the ADSs dated as of October 15, 2014, and in any related agreement, will be
   performed in accordance with its terms.
        For purposes of the income tax convention between Japan and the United States (the “Treaty”) and the U.S.
   Internal Revenue Code of 1986, as amended (the “Code”), U.S. holders of ADSs generally will be treated as
   owning shares of Common Stock of Sony Group Corporation underlying the ADSs evidenced by the ADRs. For
   the purposes of the following discussion, a “U.S. holder” is a holder that:
        (i)   is a resident of the U.S. for purposes of the Treaty;
        (ii) does not maintain a permanent establishment in Japan (a) with which shares of Common Stock or
             ADSs of Sony Group Corporation are effectively connected and through which the U.S. holder carries
             on or has carried on business or (b) of which shares of Common Stock or ADSs of Sony Group
             Corporation form part of the business property; and
        (iii) is eligible for benefits under the Treaty with respect to income and gain derived in connection with
              shares of Common Stock or ADSs of Sony Group Corporation.
        The following is a summary of the principal Japanese tax consequences (limited to national taxes) to
   non-residents of Japan or non-Japanese corporations without a permanent establishment in Japan (“non-resident
   Holders”) who are holders of shares of Common Stock of Sony Group Corporation or of ADRs evidencing ADSs
   representing shares of Common Stock of Sony Group Corporation. The information given below regarding
   Japanese taxation is based on the tax laws and tax treaties in force and their interpretations by the Japanese tax

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   authorities as of June 20, 2023. Tax laws and tax treaties as well as their interpretations may change at any time,
   possibly with retroactive effect. Sony Group Corporation will not update this summary for any changes in the tax
   laws or tax treaties or their interpretation that occurs after such date.

        Generally, non-resident Holders are subject to Japanese withholding tax on dividends paid by Japanese
   corporations. Such taxes are withheld prior to payment of dividends as required by Japanese law. Stock splits are,
   in general, not a taxable event.

        In the absence of an applicable tax treaty, convention or agreement reducing the maximum rate of Japanese
   withholding tax or allowing exemption from Japanese withholding tax, the rate of Japanese withholding tax
   applicable to dividends paid by Japanese corporations to non-resident Holders is generally 20.42%, provided,
   with respect to dividends paid on listed shares issued by a Japanese corporation (such as the shares of Common
   Stock or ADSs of Sony Group Corporation) to non-resident Holders other than any non-resident Holder who is
   an individual holding 3% or more of the total shares issued by the relevant Japanese corporation, the
   aforementioned 20.42% withholding tax rate is reduced to 15.315% for dividends due and payable on or before
   December 31, 2037. Due to the imposition of a special additional withholding tax (2.1% of the original
   withholding tax amount) to secure funds for reconstruction from the Great East Japan Earthquake, the original
   withholding tax rates of 15% and 20% as applicable, have been effectively increased to 15.315% and 20.42%,
   respectively, until December 31, 2037.

        As of the date of this document, Japan has income tax treaties, conventions or agreements in force, whereby
   the above-mentioned withholding tax rate is reduced, in most cases to 15%, 10% or 5% for portfolio investors
   (15% under the income tax treaties with, among other countries, Canada, Denmark, Finland, Germany, Iceland,
   Ireland, Italy, Luxembourg, New Zealand, Norway and Singapore, 10% under the income tax treaties with,
   among other countries, Australia, Austria, Belgium, France, Hong Kong, the Netherlands, Portugal, Sweden,
   Switzerland, the U.K. and the United States, and 5% under the income tax treaties with, among other countries,
   Spain). Under the Treaty, the maximum rate of Japanese withholding tax that may be imposed on dividends paid
   by a Japanese corporation to a U.S. holder that does not own directly or indirectly at least 10% of the voting
   stock of the Japanese corporation is generally reduced to 10% of the gross amount actually distributed, and
   dividends paid by a Japanese corporation to a U.S. holder that is a pension fund are exempt from Japanese
   income taxation by way of withholding or otherwise unless such dividends are derived from the carrying on of a
   business, directly or indirectly, by such pension fund.

        If the maximum tax rate provided for in the income tax treaty applicable to dividends paid by Sony Group
   Corporation to any particular non-resident Holder is lower than the withholding tax rate otherwise applicable
   under Japanese tax law, or if any particular non-resident Holder is exempt from Japanese income tax with respect
   to such dividends under the income tax treaty applicable to such particular non-resident Holder, such
   non-resident Holder who is entitled to a reduced rate of or exemption from Japanese withholding tax on payment
   of dividends on shares of Common Stock by Sony Group Corporation is, in principle, required to submit an
   Application Form for Income Tax Convention Regarding Relief from Japanese Income Tax and Special Income
   Tax for Reconstruction on Dividends (together with any other required forms and documents) in advance through
   the withholding agent to the relevant tax authority before the payment of dividends. A standing proxy for
   non-resident Holders of a Japanese corporation may provide this application service. In this regard, a certain
   simplified special filing procedure is available for non-resident Holders to claim treaty benefits of exemption
   from or reduction of Japanese withholding tax, by submitting a Special Application Form for Income Tax
   Convention Regarding Relief from Japanese Tax and Special Income Tax for Reconstruction on Dividends of
   Listed Stock (together with any other required forms and documents). With respect to ADSs, this reduced rate or
   exemption is applicable if the depositary or its agent submits two Application Forms (one before payment of
   dividends and the other within eight months after the record date concerning such payment of dividends). To
   claim this reduced rate or exemption, a non-resident Holder of ADSs will be required to file a proof of taxpayer
   status, residence and beneficial ownership (as applicable) and to provide other information or documents as may
   be required by the depositary. A non-resident Holder who is entitled, under an applicable income tax treaty, to a
   reduced rate which is lower than the withholding tax rate otherwise applicable under Japanese tax law or an
   exemption from the withholding tax, but failed to submit the required application in advance will be entitled to
   claim the refund of taxes withheld in excess of the rate under an applicable tax treaty (if such non-resident
   Holder is entitled to a reduced treaty rate under the applicable income tax treaty) or the full amount of tax
   withheld (if such non-resident Holder is entitled to an exemption under the applicable income tax treaty) from the
   relevant Japanese tax authority, by complying with a certain subsequent filing procedure. Sony Group
   Corporation does not assume any responsibility to ensure withholding at the reduced treaty rate or to ensure the
   absence of withholding for shareholders who would be so eligible under any applicable income tax treaty but
   where the required procedures as stated above are not followed.

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        Gains derived from the sale of shares of Common Stock or ADSs of Sony Group Corporation outside Japan
   by a non-resident Holder holding such shares or ADSs as portfolio investors are, in general, not subject to
   Japanese income tax or corporation tax under Japanese tax law. U.S. holders are not subject to Japanese income
   or corporation tax with respect to such gains under the Treaty.

       Japanese inheritance tax and gift tax at progressive rates may be payable by an individual who has acquired
   from another individual shares of Common Stock or ADSs of Sony Group Corporation as a legatee, heir or donee
   even though neither the acquiring individual nor the deceased nor donor is a Japanese resident.

        Holders of shares of Common Stock or ADSs of Sony Group Corporation should consult their tax advisors
   regarding the effect of these taxes and, in the case of U.S. holders, the possible application of the Estate and Gift
   Tax Treaty between the U.S. and Japan.

   United States Taxation with respect to shares of Common Stock and ADSs

         The U.S. dollar amount of dividends received (prior to deduction of Japanese taxes) by a U.S. holder of
   ADSs or Common Stock of Sony Group Corporation will be included in income as ordinary income for U.S.
   federal income tax purposes to the extent paid out of current or accumulated earnings and profits of Sony Group
   Corporation as determined for U.S. federal income tax purposes. The U.S. dollar amount of dividends received
   by a non-corporate U.S. holder with respect to the ADSs or Common Stock will be subject to taxation at a
   reduced rate if the dividends are “qualified dividends.” Subject to certain exceptions for short-term and hedged
   positions, dividends paid on the ADSs or Common Stock will be treated as qualified dividends if Sony Group
   Corporation was not, in the year prior to the year in which the dividend was paid, and is not, in the year in which
   the dividend is paid a passive foreign investment company (“PFIC”). Based on Sony Group Corporation’s
   audited financial statements and relevant market and shareholder data, Sony Group Corporation believes that it
   was not treated as a PFIC for U.S. federal income tax purposes with respect to its taxable year ended March 31,
   2023. In addition, based on Sony Group Corporation’s audited financial statements and Sony Group
   Corporation’s current expectations regarding the value and nature of its assets, the sources and nature of its
   income, and relevant market and shareholder data, Sony Group Corporation does not anticipate becoming a PFIC
   for the taxable year ending March 31, 2024. Holders of ADSs and Common Stock of Sony Group Corporation
   should consult their own tax advisors regarding the availability of the reduced dividend tax rate in light of the
   considerations discussed above and their own particular circumstances. Dividends paid by Sony Group
   Corporation to U.S. corporate holders of ADSs or Common Stock of Sony Group Corporation will not be eligible
   for the dividends-received deduction.

        Subject to applicable limitations and special considerations discussed below, a U.S. holder of ADSs or
   Common Stock of Sony Group Corporation may be entitled to a credit for Japanese tax withheld in accordance
   with the Treaty from dividends paid by Sony Group Corporation. The applicable limitations include new
   requirements recently adopted by the U.S. Internal Revenue Service that any Japanese tax will need to satisfy in
   order to be eligible to be a creditable tax for a U.S. holder. In the case of a U.S. holder that properly elects the
   benefits of the Treaty, the Japanese tax on dividends will be treated as meeting the new requirements and
   therefore as a creditable tax. In the case of all other U.S. holders, the application of these requirements to the
   Japanese tax on dividends is uncertain and Sony Group Corporation has not determined whether these
   requirements have been met. Foreign tax credits will not be allowed for withholding taxes imposed in respect of
   certain short-term or hedged positions and may not be allowed in respect of arrangements in which economic
   profit, after non-U.S. taxes, is insubstantial. If the Japanese dividend tax is not a creditable tax for a U.S. holder
   or the U.S. holder does not elect to claim a foreign tax credit for any foreign income taxes paid or accrued in the
   same taxable year, the U.S. holder may be able to deduct the Japanese tax in computing such U.S. holder’s
   taxable income for U.S. federal income tax purposes. Holders of ADSs and Common Stock of Sony Group
   Corporation should consult their own tax advisors regarding the implications of these rules in light of their
   particular circumstances.

        For purposes of the foreign tax credit limitation, dividends will be foreign source income, and will generally
   constitute “passive” income.

        In general, a U.S. holder will recognize capital gain or loss upon the sale or other disposition of ADSs or
   Common Stock of Sony Group Corporation equal to the difference between the amount realized on the sale or
   disposition and the U.S. holder’s tax basis in the ADSs or Common Stock. Such capital gain or loss will be long-
   term capital gain or loss if the ADSs or Common Stock have been held for more than one year on the date of the
   sale or disposition. The net amount of long-term capital gain recognized by an individual holder is subject to
   lower rates of federal income taxation than ordinary income or short-term capital gain rates.


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        Under the Code, a U.S. holder of ADSs or Common Stock of Sony Group Corporation may be subject,
   under certain circumstances, to information reporting and possibly backup withholding with respect to dividends
   and proceeds from the sale or other disposition of ADSs or Common Stock, unless the U.S. holder provides proof
   of an applicable exemption or correct taxpayer identification number and otherwise complies with applicable
   requirements of the backup withholding rules. Any amount withheld under the backup withholding rules is not an
   additional tax and may be refunded or credited against the U.S. holder’s federal income tax liability, so long as
   the required information is furnished to the U.S. Internal Revenue Service.

   F.   Dividends and Paying Agents
        Not Applicable

   G. Statement by Experts
        Not Applicable

   H. Documents on Display
         It is possible to read and copy documents referred to in this annual report on Form 20-F that have been filed
   with the SEC at the SEC’s public reference room located at 100 F Street, N.E., Washington, D.C. 20549. Please
   call the SEC at 1-800-SEC-0330 for further information on the public reference rooms and their copy charges.
   You can also access the documents at the SEC’s home page (https://www.sec.gov).

   I.   Subsidiary Information
        Not Applicable

   J.   Annual Report to Security Holders
        Not Applicable

   Item 11. Quantitative and Qualitative Disclosures about Market Risk
        Sony’s business is continuously exposed to market fluctuation, such as fluctuations in currency exchange
   rates, interest rates or stock prices. For risk management policies and exposures for each risk, refer to Note 6 of
   the consolidated financial statements. For risk inherent in the insurance business, which is included in the
   Financial Services segment, refer to Note 13 of the consolidated financial statements. For derivative instruments
   and hedging activities utilized by Sony to reduce such risk, refer to Note 15 of the consolidated financial
   statements. For credit risk exposure for financial assets of debt instruments designated to be measured at fair
   value through profit or loss, refer to Note 6 of the consolidated financial statements.

   Item 12. Description of Securities Other Than Equity Securities
   A.   Debt Securities
        Not Applicable

   B.   Warrants and Rights
        Not Applicable

   C.   Other Securities
        Not Applicable

   D.   American Depositary Shares
        Citibank N.A. (the “Depositary”) serves as the depositary for Sony Group Corporation’s ADSs pursuant to a
   deposit agreement between Sony Group Corporation, the Depositary, and the holders and beneficial owners of
   ADSs issued thereunder from time to time (the “Deposit Agreement”) (attached as Exhibit 2.1 to this report).
   ADS holders (“Holders”) may be required to pay various fees to the Depositary and the Depositary may refuse to
   provide any service for which a fee is assessed until the applicable fee has been paid. The following fees may at
   any time and from time to time be changed by agreement between Sony Group Corporation and the Depositary.

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       Under the terms of the Deposit Agreement, Holders may have to pay the following service fees to the
   Depositary.

                   Service                                  Rate                               By Whom Paid
   Issuance of ADSs upon deposit of          Up to 5.00 U.S. dollar per 100        Person depositing Sony Group
      Sony Group Corporation’s               ADSs (or fraction thereof) issued     Corporation’s Common Stock or
      Common Stock                                                                 person receiving ADSs
   Delivery of deposited securities          Up to 5.00 U.S. dollar per 100        Person surrendering ADSs for the
     against surrender of ADSs               ADSs (or fraction thereof)            purpose of withdrawal of deposited
                                             surrendered                           securities or person to whom
                                                                                   deposited securities are delivered
   Distribution of cash dividends or         Up to 5.00 U.S. dollar per 100        Person to whom distribution is
     other cash distributions (i.e., sale    ADSs (or fraction thereof) held       made
     of rights and other entitlements)
   Distribution of ADSs pursuant to          Up to 5.00 U.S. dollar per 100        Person to whom distribution is
     (i) stock dividends or other free       ADSs (or fraction thereof) held       made
     stock distributions, (ii) exercise of
     rights to purchase additional ADSs
   Distribution of securities other than     Up to 5.00 U.S. dollar per 100        Person to whom distribution is
     ADSs or rights purchase                 ADSs (or fraction thereof) held       made
     Additional ADSs (i.e., spin-off
     shares)
   ADS Services                              Up to 5.00 U.S. dollar per 100        Person holding ADSs on the
                                             ADSs (or fraction thereof) held on    applicable record date (s)
                                             the applicable record date (s)        established by the Depositary
                                             established by the Depositary

        Holders will also be responsible for paying certain charges such as: (i) taxes (including applicable interest
   and penalties) and other governmental charges; (ii) such registration fees as may from time to time be in effect
   for the registration of Sony Group Corporation’s Common Stock or other deposited securities on the share
   register and applicable to transfer of Sony Group Corporation’s Common Stock or other deposited securities to or
   from the name of the custodian, the Depositary or any nominees upon the making of deposits and withdrawals,
   respectively; (iii) such cable, telex and facsimile transmission and delivery expenses as are expressly provided in
   the Deposit Agreement to be at the expense of the person depositing Sony Group Corporation’s Common Stock
   or withdrawing deposited securities or of the Holders and beneficial owners of ADSs; (iv) the expenses and
   charges incurred by the Depositary in the conversion of foreign currency; (v) such fees and expenses as are
   incurred by the Depositary in connection with compliance with exchange control regulations and other regulatory
   requirements applicable to Sony Group Corporation’s Common Stock, deposited securities, ADSs and ADRs;
   and (vi) the fees and expenses incurred by the Depositary, the custodian, or any nominee in connection with the
   servicing or delivery of deposited property.

         ADS fees and charges payable upon (i) deposit of shares against issuance of ADSs and (ii) surrender of
   ADSs for cancellation and withdrawal of deposited securities will be payable by the person to whom the ADSs
   so issued are delivered by the Depositary (in the case of ADS issuances) or by the person who delivers the ADSs
   for cancellation to the Depositary (in the case of ADS cancellations). In the case of ADSs issued by the
   Depositary into the Depository Trust Company or presented to the Depositary via the Depository Trust
   Company, the ADS issuance and cancellation fees and charges will be payable by the Depository Trust Company
   participant(s) receiving the ADSs from the Depositary or the Depository Trust Company
   participant(s) surrendering the ADSs to the Depositary for cancellation, as the case may be, on behalf of the
   beneficial owner(s) and will be charged by the Depository Trust Company participant(s) to the account(s) of the
   applicable beneficial owner(s) in accordance with the procedures and practices of the Depository Trust Company
   participant(s) as in effect at the time. ADS fees and charges in respect of distributions and the ADS service fee
   are payable by Holders as of the applicable ADS record date established by the Depositary. In the case of
   distributions of cash, the amount of the applicable ADS fees and charges is deducted from the funds being
   distributed. In the case of (i) distributions other than cash and (ii) the ADS service fee, the applicable Holders as
   of the ADS record date established by the Depositary will be invoiced for the amount of the ADS fees and
   charges. For ADSs held through the Depository Trust Company, the ADS fees and charges for distributions other
   than cash and the ADS service fee are charged to the Depository Trust Company participants in accordance with

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   the procedures and practices prescribed by the Depository Trust Company from time to time and the Depository
   Trust Company participants in turn charge the amount of such ADS fees and charges to the beneficial owners for
   whom they hold ADSs.
        In the event of refusal by a Holder to pay the Depositary fees, the Depositary may, under the terms of the
   Deposit Agreement, refuse the requested service until payment is received or may set off the amount of the
   Depositary fees from any distribution to be made to the Holder. Note that the fees and charges Holders may be
   required to pay may vary over time and may be changed by Sony Group Corporation and by the Depositary.
   Holders will receive prior notice of such changes. The Depositary may reimburse Sony Group Corporation for
   certain expenses incurred by Sony Group Corporation in respect of the ADR program, by making available a
   portion of the ADS fees charged in respect of the ADR program or otherwise, upon such terms and conditions as
   Sony Group Corporation and the Depositary agree from time to time.

   Direct and Indirect Payments by the Depositary to Sony
        The Depositary reimburses Sony for certain expenses Sony incurs in connection with its ADR program,
   subject to certain ceilings. These reimbursable expenses currently include, but are not limited to, legal and
   accounting fees, investor relations expenses and fees payable to service providers for the distribution of material
   to ADR holders. For the fiscal year ended March 31, 2023, such reimbursements totaled 3,399,247.27 U.S.
   dollars.

        In addition, as part of its service to Sony, the Depositary waives fees in connection with its ADR program,
   subject to a ceiling. These waived expenses currently include, but are not limited to, standard costs associated
   with the administration of the ADR program, associated operating expenses, investor relations advice and access
   to an internet-based tool used in Sony’s investor relations activities. For the fiscal year ended March 31, 2023,
   the amount of such indirect payments was estimated to total 5,000 U.S. dollars.

   Item 13. Defaults, Dividend Arrearages and Delinquencies
        None

   Item 14. Material Modifications to the Rights of Security Holders and Use of Proceeds
        None

   Item 15. Controls and Procedures
   Item 15(a). Disclosure Controls and Procedures
        Sony has carried out an evaluation under the supervision and with the participation of Sony’s management,
   including the CEO and CFO, of the effectiveness of the design and operation of Sony’s disclosure controls and
   procedures, as defined in Rules 13a-15(e) and 15d-15(e) under the Exchange Act, as of March 31, 2023.
   Disclosure controls and procedures require that information to be disclosed in the reports Sony Group
   Corporation files or submits under the Securities and Exchange Act of 1934 is recorded, processed, summarized
   and reported as and when required, within the time periods specified in the applicable rules and forms, and that
   such information is accumulated and communicated to Sony’s management, including the CEO and CFO, as
   appropriate to allow timely decisions regarding required disclosure. There are inherent limitations to the
   effectiveness of any system of disclosure controls and procedures, including the possibility of human error and
   the circumvention or overriding of the controls and procedures. Accordingly, even effective disclosure controls
   and procedures can only provide reasonable assurance of achieving their control objectives. Based upon Sony’s
   evaluation, the CEO and CFO have concluded that, as of March 31, 2023, the disclosure controls and procedures
   were effective at the reasonable assurance level.

   Item 15(b). Management’s Annual Report on Internal Control over Financial Reporting
        Sony’s management is responsible for establishing and maintaining adequate internal control over financial
   reporting, as defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act. Sony’s internal control over
   financial reporting is designed to provide reasonable assurance regarding the reliability of financial reporting and
   the preparation of financial statements for external purposes in accordance with IFRS. Sony’s internal control
   over financial reporting includes those policies and procedures that:
        (i)   pertain to the maintenance of records that, in reasonable detail, accurately and fairly reflect the
              transactions and dispositions of the assets of Sony;

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        (ii) provide reasonable assurance that transactions are recorded as necessary to permit preparation of
             financial statements in accordance with generally accepted accounting principles, and that receipts and
             expenditures of Sony are being made only in accordance with authorizations of management and
             directors; and

        (iii) provide reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use
              or disposition of Sony’s assets that could have a material effect on the financial statements.

        Because of its inherent limitations, internal control over financial reporting may not prevent or detect
   misstatements. Also, projections of any evaluation of effectiveness to future periods are subject to the risk that
   controls may become inadequate because of changes in conditions, or that the degree of compliance with the
   policies or procedures may deteriorate.

        Sony’s management excluded Bungie, which became a wholly-owned subsidiary of Sony on July 15, 2022,
   from its assessment of the effectiveness of Sony’s internal control over financial reporting as of March 31, 2023.
   Bungie’s total assets and total sales excluded from its assessment represented less than 1% of (i) Sony’s total
   consolidated assets as of March 31, 2023 and (ii) Sony’s total consolidated sales and financial services revenue
   for the fiscal year ended March 31, 2023. The Bungie acquisition is discussed in Note 30 to the consolidated
   financial statements.

        Sony’s management evaluated the effectiveness of Sony’s internal control over financial reporting as of
   March 31, 2023 based on the criteria established in “Internal Control — Integrated Framework (2013)” issued by
   the Committee of Sponsoring Organizations of the Treadway Commission (COSO). Based on the evaluation,
   management has concluded that Sony maintained effective internal control over financial reporting as of
   March 31, 2023.

        Sony’s independent registered public accounting firm, PricewaterhouseCoopers Aarata LLC, has issued an
   audit report on the effectiveness of Sony’s internal control over financial reporting as of March 31, 2023,
   presented on page (F-2).

   Item 15(c). Attestation Report of the Registered Public Accounting Firm

        Refer to the Report of Independent Registered Public Accounting Firm on page (F-2).

   Item 15(d). Changes in Internal Control over Financial Reporting

        There has been no change in Sony’s internal control over financial reporting during the fiscal year ended
   March 31, 2023 that has materially affected, or is reasonably likely to materially affect, Sony’s internal control
   over financial reporting.

   Item 16. [Reserved]

   Item 16A. Audit Committee Financial Expert

        Sony Group Corporation’s Board of Directors has determined that Toshiko Oka and Keiko Kishigami each
   qualifies as an “audit committee financial expert” as defined in Item 16A of Form 20-F under the Exchange Act,
   as amended. In addition, both are determined to be independent as defined under the NYSE Corporate
   Governance Standards.

   Item 16B. Code of Ethics

        Sony has adopted a code of ethics, as defined in Item 16B of Form 20-F under the Exchange Act, as
   amended. The code of ethics applies to all directors, officers and employees of Sony. The code of ethics is
   available at:

        https://www.sony.com/en/SonyInfo/csr_report/compliance/code_of_conduct_En.pdf




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   Item 16C. Principal Accountant Fees and Services

   Audit and Non-Audit Fees

        The following table presents fees for audit and other services rendered by PricewaterhouseCoopers for the
   fiscal years ended March 31, 2022 and 2023.

                                                                                                                                         Fiscal year ended
                                                                                                                                             March 31
                                                                                                                                        2022           2023
                                                                                                                                          Yen in millions
   Audit Fees (1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     4,514        4,901
   Audit-Related Fees (2) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             175          334
   Tax Fees (3) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       0           28
   All Other Fees (4) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          16            9
                                                                                                                                        4,705        5,272

   (1) Audit Fees consist of fees for the annual audit services engagement and other audit services, which are those
       services that only the external auditor can provide.

   (2) Audit-Related Fees consist of fees billed for assurance and related services, and audit services relating to
       benefit plans, business acquisitions and dispositions.

   (3) Tax fees primarily consist of fees for tax advice.

   (4) All Other Fees consist of fees primarily for services rendered with respect to advisory services.

   Audit Committee’s Pre-Approval Policies and Procedures

         Consistent with the SEC rules regarding auditor independence, Sony Group Corporation’s Audit Committee
   is responsible for appointing, reviewing and setting compensation, retaining, and overseeing the work of Sony’s
   independent auditor, so that the auditor’s independence will not be impaired. The Audit Committee established a
   formal policy requiring pre-approval of all audit and permissible non-audit services provided by the independent
   auditor to Sony Group Corporation or any of its subsidiaries. The Audit Committee periodically reviews this
   policy with due regard for compliance with laws and regulations of host countries where Sony Group
   Corporation is listed.

        Prior to the engagement of the independent auditor for the following fiscal year’s audit, management in
   charge of accounting or other relevant areas (“Accounting Management”) submits an application form to the
   Audit Committee for comprehensive pre-approval of all recurring services expected to be rendered during that
   year, other than services that are classified as “Tax” related services (“Tax Services”). In order to obtain
   comprehensive pre-approval, Accounting Management must designate in which of two categories (Audit and
   Non-Audit) the services will be classified as well as fees expected, both for each category in the aggregate and
   for each individual service, and detailed back-up information regarding each service to the extent possible to
   ensure that the Audit Committee knows precisely what particular service and the expected fees it is being asked
   to pre-approve and that the scope of any service or the expected fees approved is unambiguous. Any additional
   services not within the scope of comprehensive pre-approval and Tax Services require the Audit Committee’s
   separate pre-approval on an individual basis. The Audit Committee approves, if necessary, any changes in terms,
   conditions and fees resulting from changes in the scope of services to be provided or from other circumstances,
   with respect to both services that are subject to comprehensive and individual pre-approval. The Audit
   Committee or its designee establishes procedures to assure that the independent auditor is aware in a timely
   manner of the services that have been pre-approved.

   Item 16D. Exemptions from the Listing Standards for Audit Committees

          Not Applicable




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   Item 16E. Purchases of Equity Securities by the Issuer and Affiliated Purchasers

        The following table sets out information concerning purchases made by Sony Group Corporation during the
   fiscal year ended March 31, 2023.

                                                                                                           (c) Total number of      (d) Maximum
                                                                            (a) Total                      shares purchased as   number of shares that
                                                                           number of       (b) Average       part of publicly    may yet be purchased
                                                                             shares       price paid per   announced plans or     under the plans or
                                 Period                                    purchased       share (yen)        programs*1,2,3,4      programs*1,2,3,4
   April 1 — 30, 2022 . . . . . . . . . . . . . . . . . . . . .              620,533       11,365.92            619,300                 N/A
   May 1 — 31, 2022 . . . . . . . . . . . . . . . . . . . . .                495,331       10,882.17            494,200              24,692,800
   June 1 — 30, 2022 . . . . . . . . . . . . . . . . . . . . .                33,008       10,973.15             31,300              24,661,500
   July 1 — 31, 2022 . . . . . . . . . . . . . . . . . . . . . .               1,867       11,395.93                  0              24,661,500
   August 1 — 31, 2022 . . . . . . . . . . . . . . . . . . .               2,070,093       11,279.85          2,068,600              22,592,900
   September 1 — 30, 2022 . . . . . . . . . . . . . . . .                  1,519,072       10,468.75          1,517,500              21,075,400
   October 1 — 31, 2022 . . . . . . . . . . . . . . . . . .                2,810,154        9,655.97          2,808,900              18,266,500
   November 1 — 30, 2022 . . . . . . . . . . . . . . . .                       1,331       11,139.33                  0              18,266,500
   December 1 — 31, 2022 . . . . . . . . . . . . . . . . .                 1,143,106       10,565.40          1,084,400              17,182,100
   January 1 — 31, 2023 . . . . . . . . . . . . . . . . . . .                738,822       10,553.67            727,700              16,454,400
   February 1 — 28, 2023 . . . . . . . . . . . . . . . . . .                   6,297       11,693.43                  0              16,454,400
   March 1 — 31, 2023 . . . . . . . . . . . . . . . . . . . .                  6,056       11,560.96                  0              16,454,400
   Total . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   9,445,670       10,507.22          9,351,900                  N/A

       Column (a) represents the combined total number of shares purchased during the fiscal year ended
   March 31, 2023, including both fractional shares purchased from fractional shareholders in accordance with the
   Companies Act, and shares purchased in accordance with publicly announced plans, as shown in column (c).

       Under the Companies Act, a holder of shares constituting less than one full unit may require Sony Group
   Corporation to purchase such shares at their market value (Refer to “B. Memorandum and Articles of Association
   — Capital stock — (Unit share system)” in “Item 10. Additional Information”). During the fiscal year ended
   March 31, 2023, Sony Group Corporation purchased 93,770 shares of common stock for a total purchase price of
   1,028,945,637 yen upon such requests from holders of shares constituting less than one full unit.

   *1 Sony approved on April 28, 2021 by resolution of the Board of Directors the setting of the following
   parameters for repurchase of its own common stock pursuant to the Companies Act and Sony Group
   Corporation’s Articles of Incorporation

          •     Total number of shares for repurchase: 25 million shares (maximum) (2.02% of total number of shares
                issued and outstanding (excluding treasury stock))

          •     Total purchase price for repurchase of shares: 200 billion yen (maximum)

          •     Period of repurchase: From April 30, 2021 to April 28, 2022

   *2 The repurchase of shares of common stock based on the approval at the Board of Directors set forth in Note 1
   above was completed. The details are as follows.

          •     Total number of shares repurchased: 8,206,900 shares

          •     Total purchase price for repurchased shares: 97,381,577,700 yen

          •     Period of repurchase: April 30, 2021 to April 28, 2022

   *3 Sony approved on May 10, 2022 by resolution of the Board of Directors the setting of the following
   parameters for repurchase of its own common stock pursuant to the Companies Act and Sony Group
   Corporation’s Articles of Incorporation

          •     Total number of shares for repurchase: 25 million shares (maximum) (2.02% of total number of shares
                issued and outstanding (excluding treasury stock))

          •     Total purchase price for repurchase of shares: 200 billion yen (maximum)

          •     Period of repurchase: From May 11, 2022 to May 10, 2023




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   *4 The repurchase of shares of common stock based on the approval at the Board of Directors set forth in Note 3
   above was completed. The details are as follows.

        •   Total number of shares repurchased: 9,343,600 shares

        •   Total purchase price for repurchased shares: 99,118,323,800 yen

        •   Period of repurchase: May 11, 2022 to May 10, 2023

   Item 16F. Change in Registrant’s Certifying Accountant

       Not Applicable




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   Item 16G. Corporate Governance

        The table below discloses the significant ways in which Sony’s corporate governance practices differ from
   those required for U.S. companies under the listing standards of the NYSE. As a foreign private issuer listed on
   the NYSE, Sony Group Corporation is exempt from most of the exchange’s corporate governance standards
   requirements. For further information on Sony’s corporate governance practices and history, refer to “Board
   Practices” in “Item 6. Directors, Senior Management and Employees.”

                        NYSE Standards                                     Sony’s Corporate Governance Practices
   Board Independence. A majority of board directors             Sony Group Corporation has adopted the “Company
   must be independent.                                          with Three Committees” corporate governance
                                                                 system under the Companies Act. Sony Group
                                                                 Corporation’s Board Charter requires its board to
                                                                 consist of between 8 to 14 directors.
                                                                 The Companies Act does not require Sony Group
                                                                 Corporation to have a majority of “independent” (in
                                                                 the meaning given by the NYSE Corporate
                                                                 Governance Standards) directors on its board; rather,
                                                                 it requires Sony Group Corporation to have a
                                                                 majority of “outside” directors (the definition of the
                                                                 term “outside” director is summarized below) on
                                                                 each of three statutory committees (the Nominating
                                                                 Committee, the Audit Committee and the
                                                                 Compensation Committee).
   Director Independence. A director is not independent          “Outside” director is defined in the Companies Act as
   if such director is                                           a person who satisfies all of the requirements
                                                                 (i) through (v) below:
   (i) a person who the board determines has a material          (i) a person who is not a Director of Sony Group
   direct or indirect relationship with the company, its         Corporation or any of its subsidiaries engaged in the
   parent or a consolidated subsidiary;                          business operations of Sony Group Corporation or
                                                                 such subsidiaries, as the case may be, or a Corporate
   (ii) a person who, within the last three years, has been an   Executive Officer or general manager or other
   employee of the company or has an immediate family            employee (“Group Executive Director, etc.”) of Sony
   member of an executive officer of the company, its            Group Corporation or any of its subsidiaries and who
   parent or a consolidated subsidiary;                          has not been a Group Executive Director, etc. of
   (iii) a person who had received, or whose immediate           Sony Group Corporation or any of its subsidiaries for
   family member had received, during any 12-month               ten years prior to assuming his/her office; (ii) if a
   period within the last three years, more than 120,000         person who has been a director, accounting counselor
   U.S. dollars per year in direct compensation from the         (if the accounting counselor is a juridical person, a
   company, its parent or a consolidated subsidiary, other       member who is in charge of the affairs), or corporate
   than director and committee fees or deferred                  auditor of Sony Group Corporation or any of its
   compensation for prior services (provided such                subsidiaries (excluding a person who has been a
   compensation is not contingent in any way on continued        Group Executive Director, etc.) at the time within ten
   service);                                                     years prior to assuming his/her office, a person who
                                                                 has not been a Group Executive Director, etc. of
   (iv) (A) a person who is, or whose immediate family           Sony Group Corporation or any of its subsidiaries for
   member is, a current partner or employee of a firm that       ten years prior to assuming his/her office as a
   is the company’s internal or external auditor; (B) a          director, an accounting counselor, or a corporate
   person whose immediate family member is a partner of          auditor; (iii) a person who is not a director or a
   such a firm; (C) a person who has an immediate family         Corporate Executive Officer or general manager or
   member who is a current employee of such a firm and           other employee of a parent company or any entity
   who personally participates in the firm’s audit,              which controls the management of Sony Group
   assurance or tax compliance (but not tax planning)            Corporation; (iv) a person who is not a Group
   practice; or (D) a person who was, or has an immediate        Executive Director, etc. of a direct/indirect subsidiary
   family member who was, within the last three years, a         of Sony Group Corporation or any entity the
   partner or employee of such a firm and personally             management of which is directly or indirectly
   worked on the listed company’s audit within that time;        controlled by Sony Group Corporation; and (v) a
   (v) a person who is, or whose immediate family member         person who is not a spouse or relative within the
   is, or has been within the last three years, employed as      second degree of kinship of a Director or a Corporate
   an executive officer of another company where any of          Executive Officer or general manager or other

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                       NYSE Standards                                 Sony’s Corporate Governance Practices

   the listed company’s present executive officers at the   employee of Sony Group Corporation. Under the
   same time serves or served on that company’s             Companies Act, a director’s status as an “outside”
   compensation committee; or                               director is unaffected by the director’s compensation,
                                                            his or her affiliation with business partners, or the
   (vi) an executive officer or employee of a company, or   board’s affirmative determination of independence.
   has an immediate family member of an executive officer   On the other hand, under the Companies Act, a
   of a company, that makes payments to, or receives        director who has had a career as a management
   payments from, the listed company, its parent or a       director, corporate executive officer, or other
   consolidated subsidiary for property or services in an   employee of the company, its subsidiaries or other
   amount which, in any of the last three fiscal years,     group companies is by definition not an “outside”
   exceeds the greater of 1 million U.S. dollars or 2% of   director.
   such other company’s consolidated gross revenues
                                                            Sony Group Corporation’s Board Charter includes a
                                                            provision requiring that each “outside” director:
                                                            (i) Shall not have received directly from Sony Group,
                                                            during any consecutive 12-month period within the
                                                            last three years, more than an amount equivalent to
                                                            120,000 U.S. dollars, other than Director and
                                                            committee fees and pension or other forms of
                                                            deferred compensation for prior service (provided
                                                            such compensation is not contingent in any way on
                                                            continued service); and
                                                            (ii) Shall not be an executive director, a corporate
                                                            executive officer, a general manager or other
                                                            employee of any company whose aggregate amount
                                                            of transactions with Sony Group, in any of the last
                                                            three fiscal years, exceeds the greater of an amount
                                                            equivalent to 1,000,000 U.S. dollars, or 2% of the
                                                            annual consolidated sales of such company;
                                                            In addition, the Securities Listing Regulations of the
                                                            TSE require Sony Group Corporation to make efforts
                                                            to have at least one “Independent Director” on the
                                                            Board of Directors. “Independent Director” is
                                                            defined in the Securities Listing Regulations of the
                                                            TSE as an “outside” director who is unlikely to have
                                                            conflicts of interest with shareholders. According to
                                                            the guidelines of the TSE, if a person falls in any of
                                                            the categories listed below, such person, in principle,
                                                            will be considered to have a conflict of interest with
                                                            shareholders of the listed company.
                                                            (1) A person for which the listed company is a
                                                                major client or a person who executes business
                                                                of a person for which the listed company is a
                                                                major client;
                                                            (2) A major client of the listed company or a person
                                                                who executes business of a major client of the
                                                                listed company;
                                                            (3) A consultant, accounting professional, or legal
                                                                professional (or, if such consultant, accounting
                                                                professional, or legal professional is a juridical
                                                                person, a member of such juridical person) of
                                                                the listed company who receives a large amount
                                                                of money or other consideration other than
                                                                remuneration for directorship/auditorship from
                                                                such listed company;

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                                                            (4) A person who has fallen in any of categories
                                                                (1) through (3) listed above until recently;
                                                            (5) A person who has fallen in any of categories
                                                                (a) or (b) listed below for ten years prior to
                                                                assuming his/her office:
                                                                (a) A person who executes business of a parent
                                                                    company of the listed company or a
                                                                    director who does not execute business of a
                                                                    parent company of the listed company; or
                                                                (b) A person who executes business of a fellow
                                                                    subsidiary of the listed company.
                                                            (6) A close relative of a person who falls in any of
                                                                categories (a) through (f) listed below (only if
                                                                such person is significant):
                                                                (a) A person who falls in any of (1) through
                                                                    (5) listed above;
                                                                (b) A person who executes business of a
                                                                    subsidiary of the listed company;
                                                                (c) A director who does not execute business
                                                                    of a subsidiary of the listed company;
                                                                (d) A person who executes business of a parent
                                                                    company of the listed company or a
                                                                    director who does not execute business of a
                                                                    parent company of the listed company;
                                                                (e) A person who executes business of a fellow
                                                                    subsidiary of the listed company; or
                                                                (f)   A person who has fallen in any of
                                                                      categories (b) or (c) listed above or a
                                                                      person who has executed business of the
                                                                      listed company until recently.

                                                            As of June 20, 2023, 8 of the 10 members of Sony
                                                            Group Corporation’s Board of Directors qualified as
                                                            “outside” directors. In addition, all 8 “outside”
                                                            directors are qualified and designated as
                                                            “Independent Directors” under the Securities Listing
                                                            Regulations of the TSE.


   Executive Sessions. Non-management directors must        An “outside” director, as defined under the
   meet in regularly scheduled executive sessions without   Companies Act, is equivalent to a “non-management
   management. Independent directors should meet alone      director” under the NYSE rules because an “outside”
   in an executive session at least once a year.            director does not engage in the execution of business
                                                            operations of the company.
                                                            The outside/non-management Directors generally
                                                            meet several times a year without management,
                                                            though neither the Companies Act nor Sony Group
                                                            Corporation’s        Board    Charter     requires
                                                            non-management Directors to meet regularly without
                                                            management and there is no requirement for the
                                                            outside Directors to meet alone in an executive
                                                            session at least once a year.

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   Nominating/Corporate Governance Committee. A                  Sony Group Corporation’s Nominating Committee
   nominating/corporate     governance    committee   of         shall consist of at least three Directors. Under the
   independent directors is required. The committee must         Companies Act, the Committee is responsible for
   have a charter that addresses the purpose,                    determining the contents of proposals regarding the
   responsibilities (including development of corporate          appointment and dismissal of Directors to be
   governance guidelines) and annual performance                 submitted for approval to the shareholders’ meeting.
   evaluation of the committee.                                  Unlike listed U.S. companies under NYSE rules, it is
                                                                 not responsible for developing governance guidelines
                                                                 or overseeing the evaluation of the board and
                                                                 management. Under the Companies Act, a majority
                                                                 of its members shall be “outside” directors, as
                                                                 defined under the Companies Act.

   Compensation Committee. A compensation committee              Sony Group Corporation’s Compensation Committee
   of independent directors is required. The committee           shall consist of at least three Directors. Under the
   must have a charter that addresses the purpose,               Companies Act, a majority of its members shall be
   responsibilities and annual performance evaluation of         “outside” directors, as defined under the Companies
   the committee. In addition, in accordance with the SEC        Act. Sony Group Corporation’s Board Charter
   rules adopted pursuant to Section 952 of the Dodd-            prohibits the CEO, the COO and/or the CFO (or a
   Frank Act, NYSE listing standards expanded the factors        person at any equivalent position) from serving on
   relevant in determining whether a committee member            the Compensation Committee. Under the Companies
   has a relationship to the company that will materially        Act, the Committee is responsible for, among others,
   affect that member’s duties to the compensation               determining the compensation of each director and
   committee and provided compensation committees the            Corporate Executive Officer.
   authority     to    engage      compensation     advisers.
   Additionally, the committee may obtain or retain the
   advice of a compensation adviser only after taking into
   consideration all factors relevant to determining that
   adviser’s independence from management, unless the
   adviser’s role is (i) limited to consulting on a generally
   applicable broad-based plan or (ii) is providing
   information that is not customized for the issuer or is not
   customized by the adviser and about which the adviser
   does not provide advice.


   Audit Committee. An audit committee satisfying the            Sony Group Corporation’s Audit Committee shall
   independence and other requirements of Rule 10A-3             consist of at least three Directors. Under the
   under the Exchange Act is required. The committee             Companies Act, a majority of its members shall be
   must have at least three members. All members must be         “outside” Directors, as defined under the Companies
   independent. The committee must have a charter                Act. In addition, pursuant to the Companies Act, no
   addressing the committee’s purpose, an annual                 member of the Committee shall be a Director of the
   performance evaluation of the committee and the duties        company or any of its subsidiaries who is engaged in
   and responsibilities of the committee.                        the business operations of the company or such
                                                                 subsidiary, as the case may be, or a corporate
                                                                 executive officer of the company or any of its
                                                                 subsidiaries, or an accounting counselor, general
                                                                 manager or other employee of any of such
                                                                 subsidiaries. Sony Group Corporation’s Board
                                                                 Charter also requires each member of the Audit
                                                                 Committee to meet the independence requirements of
                                                                 the applicable U.S. securities laws and regulations,
                                                                 and requires at least one member to meet the audit
                                                                 committee financial expert requirements. Currently,
                                                                 all the members of Sony Group Corporation’s Audit
                                                                 Committee are also “independent” as defined in the
                                                                 NYSE Corporate Governance Standards, and two
                                                                 members of the Committee are qualified as audit
                                                                 committee financial experts.


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   Equity Compensation Plans. Equity compensation plans    Under the Companies Act, if Sony Group Corporation
   require shareholder approval, subject to limited        wishes to adopt an equity compensation plan under
   exemptions.                                             which stock acquisition rights or shares of common
                                                           stock are granted on specially favorable conditions,
                                                           except where all of its shareholders are granted rights
                                                           to subscribe for such stock acquisition rights/shares of
                                                           common stock or such stock acquisition rights/shares
                                                           of common stock are gratuitously allocated to all of its
                                                           shareholders, each on a pro rata basis, then Sony
                                                           Group Corporation must obtain shareholder approval
                                                           by a “special resolution” at a General Meeting of
                                                           Shareholders, where the quorum is one-third of the
                                                           total number of voting rights of all of its shareholders
                                                           and the approval by at least two-thirds of the number
                                                           of voting rights of all the shareholders represented at
                                                           the meeting is required under Sony Group
                                                           Corporation’s Articles of Incorporation.
                                                           On the other hand, under the Companies Act, if Sony
                                                           Group Corporation wishes to adopt an equity
                                                           compensation plan under which stock acquisition rights
                                                           or shares of common stock are granted against fair value
                                                           thereof, such plan can be adopted by the resolution of
                                                           Sony Group Corporation’s Compensation Committee,
                                                           and grants of stock acquisition rights or shares pursuant
                                                           to such plan may be decided by a resolution of the
                                                           Board of Directors or a determination by a Corporate
                                                           Executive Officer to whom the authority to make such
                                                           determination has been delegated, and no shareholder
                                                           approval is required.


   Corporate Governance Guidelines. Corporate              Sony Group Corporation is required to disclose the
   governance guidelines must be adopted and disclosed.    status of its corporate governance under the
                                                           Companies Act, Financial Instruments and Exchange
                                                           Act and its related regulations, and the Securities
                                                           Listing Regulations of the TSE; however, Sony
                                                           Group Corporation does not have corporate
                                                           governance guidelines that cover all the requirements
                                                           described in the NYSE Corporate Governance
                                                           Standards, as many of the provisions do not apply to
                                                           Sony Group Corporation. Refer to “Board Practices”
                                                           in “Item 6. Directors, Senior Management and
                                                           Employees.”


   Code of Ethics. A code of business conduct and ethics   Although this provision of the NYSE Corporate
   for directors, officers and employees must be adopted   Governance Standards does not apply to Sony Group
   and disclosed, along with any waivers of the code for   Corporation, Sony Group Corporation has adopted a
   directors or executive officers.                        code of conduct to be observed by all its directors,
                                                           officers and other employees. The code of conduct is
                                                           available at:
                                                           https://www.sony.com/en/SonyInfo/csr_report/
                                                           compliance/code_of_conduct_En.pdf

                                                           The code’s content covers principal items described
                                                           in the NYSE Corporate Governance Standards.




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   Item 16H. Mine Safety Disclosure

       Not Applicable

   Item 16I. Disclosure Regarding Foreign Jurisdictions that Prevent Inspections

       Not Applicable

   Item 17.   Financial Statements

       Not Applicable

   Item 18.   Financial Statements

       Refer to the consolidated financial statements.




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   Item 19. Exhibits

          Documents filed as exhibits to this annual report:

   1.1          Amended Articles of Incorporation of Sony Group Corporation (English Translation), incorporated
                by reference to Exhibit 1.1 to Sony’s annual report on Form 20-F for the fiscal year ended March 31,
                2022 (Commission file number 001-06439) filed on June 28, 2022
   1.2          Share Handling Regulations (English Translation), incorporated by reference to Exhibit 1.2 to Sony’s
                annual report on Form 20-F for the fiscal year ended March 31, 2010 (Commission file number
                001-06439) filed on June 28, 2010
   1.3          Charter of the Board of Directors, as amended (English Translation), incorporated by reference to
                Exhibit 1.3 of Sony’s annual report on Form 20-F for the fiscal year ended March 31, 2021
                (Commission file number 001-06439) filed on June 22, 2021
   2.1          Amended and Restated Deposit Agreement, dated as of October 15, 2014, by and among Sony Group
                Corporation, Citibank, N. A. and the holders and beneficial owners of American Depositary Shares
                issued thereunder, incorporated by reference to Exhibit 99. A to Sony’s registration statement on
                Form F-6 (Commission file number 333-198953) filed on September 26, 2014
   2.2          Form of American Depositary Receipt for American Depositary Shares representing Deposited
                Shares of Common Stock of Sony Group Corporation, incorporated by reference to Sony’s
                prospectus filed pursuant to Rule 424(b)(3) on April 1, 2021, to the registration statement on Form
                F-6 (Commission file number 333-198953)
   2.3          Description of Rights of each Class of Securities Registered under Section 12 of the Securities
                Exchange Act of 1934 (the “Exchange Act”), incorporated by reference to Exhibit 2.3 to Sony’s
                annual report on Form 20-F for the fiscal year ended March 31, 2022 (Commission file number
                001-06439) filed on June 28, 2022
   8.1          Significant subsidiaries (as defined in §210.1-02(w) of Regulation S-X) of Sony Group Corporation,
                including additional subsidiaries that management has deemed to be significant, as of March 31,
                2022: Incorporated by reference to “Business Overview” and “Organizational Structure” in “Item 4.
                Information on the Company”
   12.1         302 Certification
   12.2         302 Certification
   13.1         906 Certification
   15.1         Consent of PricewaterhouseCoopers Aarata LLC
   101.INS      Inline XBRL Instance Document — the instance document does not appear in the Interactive Data
                File because its XBRL tags are embedded within the Inline XBRL document
   101.SCH      Inline XBRL Taxonomy Extension Schema Document
   101.CAL Inline XBRL Taxonomy Extension Calculation Linkbase Document
   101.DEF      Inline XBRL Taxonomy Extension Definition Linkbase Document
   101.LAB Inline XBRL Taxonomy Extension Label Linkbase Document
   101.PRE      Inline XBRL Taxonomy Extension Presentation Linkbase Document
   104          The cover page for the Company’s Annual Report on Form 20-F for the fiscal year ended March 31,
                2023, has been formatted in Inline XBRL




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                                                   SIGNATURES

         Pursuant to the requirements of Section 12 of the Securities Exchange Act of 1934, the registrant hereby
   certifies that it meets all of the requirements for filing on Form 20-F and that it has duly caused and authorized
   the undersigned to sign this annual report on its behalf.



                                                               SONY GROUP CORPORATION
                                                               (Registrant)

                                                               By: /s/ HIROKI TOTOKI

                                                                   (Signature)
                                                                   Hiroki Totoki
                                                                   President, Chief Operating Officer and
                                                                   Chief Financial Officer

   Date: June 20, 2023




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        All other schedules are omitted because they are not applicable or the required information is shown in the
   financial statements or the notes thereto.




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                             Report of Independent Registered Public Accounting Firm
   To the Board of Directors and Stockholders of Sony Group Corporation (Sony Group Kabushiki Kaisha)
   Opinions on the Financial Statements and Internal Control over Financial Reporting
   We have audited the accompanying consolidated statements of financial position of Sony Group Corporation and
   its subsidiaries (the “Company”) as of March 31, 2023 and 2022, and the related consolidated statements of
   income, comprehensive income, changes in stockholders’ equity and cash flows for each of the three years in the
   period ended March 31, 2023, including the related notes (collectively referred to as the “consolidated financial
   statements”). We also have audited the Company’s internal control over financial reporting as of March 31,
   2023, based on criteria established in Internal Control — Integrated Framework (2013) issued by the Committee
   of Sponsoring Organizations of the Treadway Commission (COSO).
   In our opinion, the consolidated financial statements referred to above present fairly, in all material respects, the
   financial position of the Company as of March 31, 2023 and 2022, and the results of its operations and its cash
   flows for each of the three years in the period ended March 31, 2023 in conformity with International Financial
   Reporting Standards as issued by the International Accounting Standards Board. Also in our opinion, the
   Company maintained, in all material respects, effective internal control over financial reporting as of March 31,
   2023, based on criteria established in Internal Control — Integrated Framework (2013) issued by the COSO.

   Basis for Opinions
   The Company’s management is responsible for these consolidated financial statements, for maintaining effective
   internal control over financial reporting, and for its assessment of the effectiveness of internal control over
   financial reporting, included in Management’s Annual Report on Internal Control over Financial Reporting
   appearing under Item 15(b). Our responsibility is to express opinions on the Company’s consolidated financial
   statements and on the Company’s internal control over financial reporting based on our audits. We are a public
   accounting firm registered with the Public Company Accounting Oversight Board (United States) (PCAOB) and
   are required to be independent with respect to the Company in accordance with the U.S. federal securities laws
   and the applicable rules and regulations of the Securities and Exchange Commission and the PCAOB.
   We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we plan
   and perform the audits to obtain reasonable assurance about whether the consolidated financial statements are
   free of material misstatement, whether due to error or fraud, and whether effective internal control over financial
   reporting was maintained in all material respects.
   Our audits of the consolidated financial statements included performing procedures to assess the risks of material
   misstatement of the consolidated financial statements, whether due to error or fraud, and performing procedures
   that respond to those risks. Such procedures included examining, on a test basis, evidence regarding the amounts
   and disclosures in the consolidated financial statements. Our audits also included evaluating the accounting
   principles used and significant estimates made by management, as well as evaluating the overall presentation of
   the consolidated financial statements. Our audit of internal control over financial reporting included obtaining an
   understanding of internal control over financial reporting, assessing the risk that a material weakness exists, and
   testing and evaluating the design and operating effectiveness of internal control based on the assessed risk. Our
   audits also included performing such other procedures as we considered necessary in the circumstances. We
   believe that our audits provide a reasonable basis for our opinions.
   As described in Management’s Annual Report on Internal Control over Financial Reporting, management has
   excluded Bungie, Inc. from its assessment of internal control over financial reporting as of March 31, 2023
   because it was acquired by the Company in a purchase business combination during the year ended March 31,
   2023. We have also excluded Bungie, Inc. from our audit of internal control over financial reporting. Bungie, Inc.
   is a wholly-owned subsidiary whose total assets and total sales excluded from management’s assessment and our
   audit of internal control over financial reporting represent less than 1% of the related total consolidated assets
   and total consolidated sales and financial services revenue as of and for the year ended March 31, 2023.

   Definition and Limitations of Internal Control over Financial Reporting
   A company’s internal control over financial reporting is a process designed to provide reasonable assurance
   regarding the reliability of financial reporting and the preparation of financial statements for external purposes in
   accordance with generally accepted accounting principles. A company’s internal control over financial reporting
   includes those policies and procedures that (i) pertain to the maintenance of records that, in reasonable detail,
   accurately and fairly reflect the transactions and dispositions of the assets of the company; (ii) provide reasonable
   assurance that transactions are recorded as necessary to permit preparation of financial statements in accordance
   with generally accepted accounting principles, and that receipts and expenditures of the company are being made
   only in accordance with authorizations of management and directors of the company; and (iii) provide reasonable

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   assurance regarding prevention or timely detection of unauthorized acquisition, use, or disposition of the
   company’s assets that could have a material effect on the financial statements.
   Because of its inherent limitations, internal control over financial reporting may not prevent or detect
   misstatements. Also, projections of any evaluation of effectiveness to future periods are subject to the risk that
   controls may become inadequate because of changes in conditions, or that the degree of compliance with the
   policies or procedures may deteriorate.

   Critical Audit Matters
   The critical audit matter communicated below is a matter arising from the current period audit of the
   consolidated financial statements that was communicated or required to be communicated to the audit committee
   and that (i) relates to accounts or disclosures that are material to the consolidated financial statements and
   (ii) involved our especially challenging, subjective, or complex judgments. The communication of critical audit
   matters does not alter in any way our opinion on the consolidated financial statements, taken as a whole, and we
   are not, by communicating the critical audit matter below, providing a separate opinion on the critical audit
   matter or on the accounts or disclosures to which it relates.

   Valuation of liabilities for future insurance policy benefits and deferred acquisition costs
   As described in Notes 3 and 13 to the consolidated financial statements, liabilities for future insurance policy
   benefits include liabilities for minimum guarantee benefits related to certain variable life insurance contracts. For
   these contract features, the liabilities for minimum guarantee benefits are calculated using current best-estimate
   assumptions and are based on the ratio of the present value of expected total excess payments divided by the
   present value of expected total assessments over the life of the contract. The significant assumptions in the
   valuation include mortality rates, lapse rates, discount rates and investment yields. As of March 31, 2023, the
   liabilities for minimum guarantee benefits for the variable life contracts were 76,012 million yen.
   Also, the Company defers acquisition costs that vary with and are directly related to the acquisition or renewal of
   insurance policies as long as they are recoverable. Among them, the deferred insurance acquisition costs for
   non-traditional life insurance contracts such as interest sensitive whole life contracts, variable life insurance
   contracts, individual variable annuity contracts and other contracts without life contingencies are amortized over
   the expected life at a constant rate based on the present value of the estimated gross profit. The present value of
   the estimated gross profit is affected by a number of significant assumptions, including investment yields,
   mortality rates, lapse rates and discount rates. As of March 31, 2023, deferred insurance acquisition costs for
   non-traditional life insurance contracts were 324,862 million yen.
   The principal considerations for our determination that performing procedures relating to the valuation of
   liabilities for future insurance policy benefits and deferred acquisition costs is a critical audit matter are
   (i) management’s significant judgment involved in developing the aforementioned assumptions, (ii) this in turn
   led to a high degree of auditor judgment, subjectivity, and effort in performing procedures and evaluating audit
   evidence related to management’s significant assumptions, and (iii) the audit effort involved the use of
   professionals with specialized skill and knowledge.
   Addressing the matter involved performing procedures and evaluating audit evidence in connection with forming
   our overall opinion on the consolidated financial statements. These procedures included testing the effectiveness
   of controls relating to the valuation of: (i) liabilities for minimum guarantee benefits for certain variable life
   insurance contracts and (ii) deferred insurance acquisition costs for non-traditional life insurance contracts;
   including controls over the determination of significant assumptions related to mortality rates, lapse rates,
   discount rates, and investment yields, and controls over the completeness and accuracy of data used by
   management to develop the assumptions, such as past claims, lapses, discount rates, and investment yields. These
   procedures also included, among others, testing the completeness and accuracy of data used by management to
   develop the significant assumptions; and considering the reasonableness of the significant assumptions across
   products, in relation to prior periods, and in relation to management’s historical experience or industry
   knowledge. Professionals with specialized skill and knowledge were used to assist in evaluating the
   reasonableness of the methodology used by management to determine their assumptions and the reasonableness
   of the aforementioned assumptions used in the valuation of liabilities for minimum guarantee benefits for certain
   variable life contracts and deferred insurance acquisition costs for non-traditional life insurance contracts based
   on industry knowledge and the Company’s historical data and experience.
   /s/ PricewaterhouseCoopers Aarata LLC
   Tokyo, Japan
   June 20, 2023
   We have served as the Company’s auditor since 2006.

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                   SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

   Consolidated Statements of Financial Position

                                                                                            Yen in millions
                                                                                        March 31,     March 31,
                                                                               Note      2022            2023

   ASSETS
   Current assets:
   Cash and cash equivalents                                                    27      2,049,636     1,480,900
   Investments and advances in the Financial Services segment
     (including assets pledged that secured parties are permitted to sell or
     repledge of 94,147 million yen, and 85,494 million yen as of March 31,
     2022 and 2023, respectively)                                              5, 14      360,673       328,357
   Trade and other receivables, and contract assets                            5, 22    1,628,521     1,777,939
   Inventories                                                                   7        874,007     1,468,042
   Other financial assets                                                        5        149,301       110,950
   Other current assets                                                         19        473,070       610,330
        Total current assets                                                            5,535,208     5,776,518
   Non-current assets:
   Investments accounted for using the equity method                            8        268,513       325,220
   Investments and advances in the Financial Services segment
     (including assets pledged that secured parties are permitted to sell or
     repledge of 2,700,603 million yen and 2,427,446 million yen as of
     March 31, 2022 and 2023, respectively)                                    5, 14   18,445,088   18,445,728
   Property, plant and equipment                                                 9      1,113,213    1,344,864
   Right-of-use assets                                                          10        413,430      478,063
   Goodwill                                                                     11        952,895    1,275,112
   Content assets                                                               11      1,342,046    1,561,882
   Other intangible assets                                                      11        450,103      563,842
   Deferred insurance acquisition costs                                         13        676,526      730,864
   Deferred tax assets                                                          25        298,589      384,839
   Other financial assets                                                        5        696,306      832,344
   Other non-current assets                                                     19        289,050      321,946
        Total non-current assets                                                       24,945,759   26,264,704
   Total assets                                                                        30,480,967   32,041,222




   (Continued on the following page.)

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                       SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

   Consolidated Statements of Financial Position (Continued)

                                                                                    Yen in millions
                                                                                March 31,     March 31,
                                                                       Note      2022            2023

   LIABILITIES
   Current liabilities:
   Short-term borrowings                                               5, 14    1,976,553     1,914,934
   Current portion of long-term debt                                   5, 14      171,409       187,942
   Trade and other payables                                              5      1,843,242     1,865,993
   Deposits from customers in the banking business                       5      2,886,361     3,163,237
   Income taxes payables                                                          106,092       152,700
   Participation and residual liabilities in the Pictures segment       18        190,162       230,223
   Other financial liabilities                                           5         97,843        73,572
   Other current liabilities                                            19      1,488,488     1,720,335
        Total current liabilities                                               8,760,150     9,308,936
   Non-current liabilities:
   Long-term debt                                                      5, 14    1,203,646     1,767,696
   Defined benefit liabilities                                          17        254,548       236,121
   Deferred tax liabilities                                             25        696,492       356,324
   Future insurance policy benefits and other                           13      7,039,034     7,264,421
   Policyholders’ account in the life insurance business                13      4,791,295     5,148,579
   Participation and residual liabilities in the Pictures segment       18        220,113       192,952
   Other financial liabilities                                           5        211,959       350,278
   Other non-current liabilities                                        19        106,481       127,593
        Total non-current liabilities                                          14,523,568    15,443,964
   Total liabilities                                                           23,283,718    24,752,900
   EQUITY
   Sony Group Corporation’s stockholders’ equity:                       20
   Common stock                                                                   880,365       880,365
   Additional paid-in capital                                                   1,461,053     1,463,807
   Retained earnings                                                            3,760,763     4,614,637
   Accumulated other comprehensive income                                       1,222,332       494,407
   Treasury stock, at cost                                                       (180,042)     (223,507)
        Equity attributable to Sony Group Corporation’s stockholders            7,144,471     7,229,709
   Noncontrolling interests                                                        52,778        58,613
   Total equity                                                                 7,197,249     7,288,322
   Total liabilities and equity                                                30,480,967    32,041,222

   The accompanying notes are an integral part of these statements.




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                   SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

   Consolidated Statements of Income

                                                                                          Yen in millions
                                                                                    Fiscal year ended March 31
                                                                      Note      2021            2022          2023

   Sales and financial services revenue:
   Sales                                                               22     7,333,670     8,396,702 10,095,841
   Financial services revenue                                         5, 13   1,664,991     1,524,811  1,443,996
   Total sales and financial services revenue                                 8,998,661     9,921,513       11,539,837
   Costs and expenses:
   Cost of sales                                                 7, 17, 23    5,065,879     5,845,804        7,174,723
   Selling, general and administrative                            17, 23      1,473,154     1,588,473        1,969,170
   Financial services expenses                                   5, 13, 17    1,501,674     1,374,037        1,224,208
   Other operating (income) expense, net                          23, 31         14,250       (65,494)         (12,021)
   Total costs and expenses                                                   8,054,957     8,742,820       10,356,080
   Share of profit (loss) of investments accounted for using
     the equity method                                                 8        11,551          23,646         24,449
   Operating income                                                            955,255      1,202,339        1,208,206
   Financial income                                                    24       83,792         19,304           31,058
   Financial expenses                                                  24       41,082        104,140           58,951
   Income before income taxes                                                  997,965      1,117,503        1,180,313
   Income taxes                                                        25      (45,931)       229,097          236,691
   Net income                                                                 1,043,896       888,406         943,622
   Net income attributable to
   Sony Group Corporation’s stockholders                                      1,029,610       882,178         937,126
   Noncontrolling interests                                                      14,286         6,228           6,496

                                                                                               Yen
                                                                                    Fiscal year ended March 31
                                                                      Note      2021            2022          2023

   Per share data:                                                     26
        Net income attributable to Sony Group Corporation’s
          stockholders
        — Basic                                                                 836.75          711.84         758.38
        — Diluted                                                               823.77          705.16         754.95

   The accompanying notes are an integral part of these statements.




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                  SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

   Consolidated Statements of Comprehensive Income

                                                                                          Yen in millions
                                                                                   Fiscal year ended March 31
                                                                      Note     2021            2022          2023

   Net income                                                                1,043,896        888,406       943,622
   Other comprehensive income, net of tax —                           20
     Items that will not be reclassified to profit or loss
        Changes in equity instruments measured at fair value
           through other comprehensive income                                 144,740        (106,426)       (36,862)
        Remeasurement of defined benefit pension plans                         11,555          33,641         18,891
        Share of other comprehensive income of investments
           accounted for using the equity method                                    87             577          145
     Items that may be reclassified subsequently to profit or
        loss
        Changes in debt instruments measured at fair value
           through other comprehensive income                                (205,549)       (416,904)      (884,678)
        Cash flow hedges                                                           51           4,735         12,379
        Insurance contract valuation adjustments                               (3,120)            599          1,714
        Exchange differences on translating foreign operations                115,321         226,275        178,275
        Share of other comprehensive income of investments
           accounted for using the equity method                                   798           1,501         3,554
   Total other comprehensive income, net of tax                                63,883        (256,002)      (706,582)
   Comprehensive income                                                      1,107,779        632,404       237,040
   Comprehensive income attributable to
   Sony Group Corporation’s stockholders                                     1,118,628        623,678       227,794
   Noncontrolling interests                                                    (10,849)         8,726         9,246

   The accompanying notes are an integral part of these statements.




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                      SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

   Consolidated Statements of Changes in Stockholders’ Equity

                                                                                        Yen in millions
                                                                                Accumulated             Sony Group
                                                     Additional                    other     Treasury Corporation’s
                                            Common    paid-in     Retained     comprehensive stock, at stockholders’ Noncontrolling   Total
                                     Note    stock    capital     earnings        income       cost        equity      interests      equity

   Balance at April 1, 2020                 880,214 1,297,554 1,949,697             979,476 (232,503)      4,874,438     1,120,038 5,994,476
   Comprehensive income:
     Net income                                                   1,029,610                                1,029,610        14,286 1,043,896
     Other comprehensive income,
       net of tax                     20                                             89,018                  89,018        (25,135)    63,883
       Total comprehensive income                                 1,029,610          89,018                1,118,628       (10,849) 1,107,779
   Transfer to retained earnings                                     5,472            (5,472)                    —                         —
   Transactions with stockholders
     and other:
     Exercise of stock acquisition
       rights                                             (354)       (735)                     18,074       16,985                    16,985
     Conversion of convertible
       bonds                                            (3,671)      (8,198)                    89,402       77,533                    77,533
     Stock-based compensation                            1,577                                                1,577                     1,577
     Dividends declared (50.00 yen
       per share)                                                   (61,343)                                 (61,343)      (12,996)    (74,339)
     Purchase of treasury stock                                                                   (366)         (366)                     (366)
     Reissuance of treasury stock                          354                                   1,165         1,519                     1,519
     Transactions with
       noncontrolling interests
       shareholders and other         20              194,137                       457,235                 651,372     (1,052,197) (400,825)
   Balance at March 31, 2021                880,214 1,489,597 2,914,503           1,520,257 (124,228)      6,680,343        43,996 6,724,339

                                                                                        Yen in millions
                                                                                Accumulated             Sony Group
                                                     Additional                    other     Treasury Corporation’s
                                            Common    paid-in     Retained     comprehensive stock, at stockholders’ Noncontrolling   Total
                                     Note    stock    capital     earnings        income       cost        equity      interests      equity

   Balance at April 1, 2021                 880,214 1,489,597 2,914,503           1,520,257 (124,228)      6,680,343        43,996 6,724,339
   Comprehensive income:
     Net income                                                    882,178                                  882,178          6,228    888,406
     Other comprehensive income,
       net of tax                     20                                           (258,500)               (258,500)         2,498    (256,002)
       Total comprehensive income                                  882,178         (258,500)                623,678          8,726    632,404
   Transfer to retained earnings                                    39,425          (39,425)                     —                         —
   Transactions with stockholders
     and other:
     Issuance of new shares                    151         151                                                  302                       302
     Exercise of stock acquisition
        rights                                             547                                  12,785       13,332                    13,332
     Conversion of convertible
        bonds                                           (2,805)       (958)                     18,278       14,515                    14,515
     Stock-based compensation                            6,643                                                6,643                     6,643
     Dividends declared (60.00 yen
        per share)                                                  (74,385)                                 (74,385)       (4,955)    (79,340)
     Purchase of treasury stock       20                                                        (88,624)     (88,624)                  (88,624)
     Reissuance of treasury stock                        1,544                                    1,747        3,291                     3,291
     Transactions with
        noncontrolling interests
        shareholders and other                         (34,624)                                              (34,624)        5,011     (29,613)
   Balance at March 31, 2022                880,365 1,461,053 3,760,763           1,222,332 (180,042)      7,144,471        52,778 7,197,249




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                      SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

   Consolidated Statements of Changes in Stockholders’ Equity (Continued)


                                                                                       Yen in millions
                                                                               Accumulated             Sony Group
                                                     Additional                   other     Treasury Corporation’s
                                            Common    paid-in     Retained    comprehensive stock, at stockholders’ Noncontrolling   Total
                                     Note    stock    capital     earnings       income       cost        equity      interests      equity

   Balance at April 1, 2022                 880,365 1,461,053 3,760,763          1,222,332 (180,042)     7,144,471         52,778 7,197,249
   Comprehensive income:
     Net income                                                    937,126                                 937,126          6,496    943,622
     Other comprehensive income,
       net of tax                     20                                          (709,332)               (709,332)         2,750    (706,582)
       Total comprehensive income                                  937,126        (709,332)                227,794          9,246    237,040
   Transfer to retained earnings                                    18,593         (18,593)                     —                         —
   Transactions with stockholders
     and other:
     Exercise of stock acquisition
       rights                                              (14)     (1,352)                    10,364        8,998                      8,998
     Conversion of convertible
       bonds                                            (2,588)    (13,858)                    42,993       26,547                    26,547
     Stock-based compensation                           11,064                                              11,064                    11,064
     Dividends declared (70.00 yen
       per share)                                                  (86,635)                                (86,635)        (5,980)    (92,615)
     Purchase of treasury stock       20                                                      (99,248)     (99,248)                   (99,248)
     Reissuance of treasury stock                        1,242                                  2,426        3,668                      3,668
     Transactions with
       noncontrolling interests
       shareholders and other                           (6,950)                                              (6,950)        2,569      (4,381)
   Balance at March 31, 2023                880,365 1,463,807 4,614,637            494,407 (223,507)     7,229,709         58,613 7,288,322

   The accompanying notes are an integral part of these statements.




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                   SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

   Consolidated Statements of Cash Flows

                                                                                            Yen in millions
                                                                                     Fiscal year ended March 31
                                                                       Note      2021            2022          2023

   Cash flows from operating activities:
     Income before income taxes                                                 997,965     1,117,503      1,180,313
     Adjustments to reconcile income before income taxes to net
       cash provided by operating activities:
       Depreciation and amortization, including amortization of
          contract costs                                                        687,373        835,233     1,004,590
       Amortization of deferred insurance acquisition costs                      44,738         69,237        84,523
       Other operating (income) expense, net                           23        14,250        (65,494)      (12,021)
       (Gain) loss on securities, net (other than Financial Services
          segment)                                                     24       (62,704)        60,402          4,469
       Share of profit of investments accounted for using the
          equity method, net of dividends                                        (5,012)       (13,934)      (17,696)
       Change in future insurance policy benefits and other                     358,666        458,880       234,102
       Change in policyholders’ account in the life insurance
          business, less cash impact                                            558,539        238,309         15,523
       Net cash impact of policyholders’ account in the life
          insurance business                                                    134,299        227,262       346,455
       Changes in assets and liabilities:
          Increase in trade receivables and contract assets                    (137,939)      (171,094)      (70,448)
          Increase in inventories                                               (56,509)      (194,624)     (560,382)
          Increase in investments and advances in the Financial
             Services segment                                                 (1,977,092) (1,724,164) (1,250,078)
          Increase in content assets                                            (309,178) (502,253) (603,314)
          Increase in deferred insurance acquisition costs                       (98,122) (117,337) (118,096)
          Increase (decrease) in trade payables                                  288,854     126,989    (109,336)
          Increase in deposits from customers in the banking
             business                                                           333,075        230,236       300,201
          Increase in borrowings in the life insurance business and
             the banking business                                               462,751        905,139       111,314
          Increase in taxes payable other than income taxes, net                 19,164         17,840         4,183
          (Increase) decrease in other financial assets and other
             current assets                                                       (9,703)      (17,681)         5,965
          Increase in other financial liabilities and other current
             liabilities                                                         23,906         66,407       122,878
       Income taxes paid                                               25      (102,732)      (269,885)     (297,881)
       Other                                                                    (24,372)       (43,328)      (60,573)
     Net cash provided by operating activities                                1,140,217     1,233,643        314,691
   (Continued on the following page.)




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                   SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

   Consolidated Statements of Cash Flows (Continued)

                                                                                            Yen in millions
                                                                                     Fiscal year ended March 31
                                                                       Note      2021            2022          2023

   Cash flows from investing activities:
     Payments for property, plant and equipment and other
       intangible assets                                                       (477,931)      (441,096)     (613,635)
     Proceeds from sales of property, plant and equipment and
       other intangible assets                                                   15,893         11,409         11,595
     Payments for investments and advances (other than Financial
       Services segment)                                                       (103,351)       (91,082)     (191,129)
     Proceeds from sales or return of investments and collections
       of advances (other than Financial Services segment)                        20,352        16,081        13,548
     Payments for purchases of businesses                                        (15,260)     (277,618)     (283,402)
     Proceeds from sales of businesses                                             3,151        64,609         1,221
     Other                                                                        (6,764)      (11,083)        9,138
     Net cash used in investing activities                                     (563,910)      (728,780) (1,052,664)
   Cash flows from financing activities:
     Increase (decrease) in short-term borrowings, net                14, 27    (18,334)           408        32,391
     Proceeds from issuance of long-term debt                         14, 27    236,935         31,458       361,776
     Payments of long-term debt                                       14, 27    (89,918)      (194,562)     (132,198)
     Proceeds from issuance of short-term borrowings in
       connection with payment for purchase of noncontrolling
       interest in Sony Financial Group Inc.                                    396,500              —                —
     Payments of short-term borrowings in connection with
       payment for purchase of noncontrolling interest in Sony
       Financial Group Inc.                                                    (396,500)            —              —
     Dividends paid                                                             (61,288)       (74,342)       (86,568)
     Payments for purchases of treasury stock                          20          (366)       (88,624)       (99,248)
     Payment for purchase of noncontrolling interest in Sony
       Financial Group Inc.                                            20      (396,698)            —              —
     Other                                                                       (8,864)       (10,916)         8,147
     Net cash provided by (used in) financing activities                       (338,533)      (336,578)        84,300
   Effect of exchange rate changes on cash and cash equivalents                  36,685         94,369         84,937
   Net increase (decrease) in cash and cash equivalents                          274,459      262,654       (568,736)
   Cash and cash equivalents at beginning of the fiscal year           27      1,512,523    1,786,982      2,049,636
   Cash and cash equivalents at end of the fiscal year                 27      1,786,982    2,049,636      1,480,900

   The accompanying notes are an integral part of these statements.




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                           SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

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   Sony Group Corporation and Consolidated Subsidiaries

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                    SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

   Notes to Consolidated Financial Statements
   Sony Group Corporation and Consolidated Subsidiaries


   1.   Reporting entity
        Sony Group Corporation is a public company domiciled in Japan. Sony Group Corporation and its
   consolidated subsidiaries (hereinafter collectively referred to as “Sony” or “Sony Group”) are engaged in the
   development, design, production, manufacture, offer and sale of various kinds of electronic equipment,
   instruments, and devices for consumer, professional and industrial markets such as network services, home
   gaming consoles and software, televisions, audio and video recorders and players, still and video cameras,
   smartphones, and image sensors. Sony’s primary manufacturing facilities are located in Asia including Japan.
   Sony also utilizes third-party contract manufacturers for certain products. Sony’s products and services are
   marketed throughout the world by sales subsidiaries and unaffiliated distributors as well as direct sales and offers
   via the internet. Sony is engaged in the development, production, manufacture, and distribution of recorded
   music and the management and licensing of the words and music of songs as well as production and distribution
   of animation titles and game applications. Sony is also engaged in the production, acquisition and distribution of
   motion pictures and television programming and the operation of television networks and direct-to-consumer
   (“DTC”) streaming services. Further, Sony is also engaged in various financial services businesses, including life
   and non-life insurance businesses through its Japanese insurance subsidiaries and banking business through a
   Japanese internet-based banking subsidiary.

   2.   Basis of preparation
   Compliance with International Financial Reporting Standards
        The consolidated financial statements of Sony have been prepared in accordance with International
   Financial Reporting Standards (“IFRS”), as issued by the International Accounting Standards Board (“IASB”).
   The term “IFRS” also includes International Accounting Standards (IASs) and the related interpretations of the
   interpretations committees (Standard Interpretations Committee (SIC) and International Financial Reporting
   Interpretations Committee (IFRIC)).

   Approval of consolidated financial statements
        The consolidated financial statements were approved by Kenichiro Yoshida, Chairman and Chief Executive
   Officer and Representative Corporate Executive Officer, and Hiroki Totoki, President, Chief Operating Officer
   and Chief Financial Officer and Representative Corporate Executive Officer, on June 20, 2023.

   Basis of measurement
        The consolidated financial statements have been prepared on a historical cost basis except for items such as
   financial instruments measured at fair value as separately described in Note 3.

   Functional currency and presentation currency
        The consolidated financial statements have been presented in Japanese yen, which is the functional currency
   of Sony Group Corporation. All financial information presented in Japanese yen has been rounded to the nearest
   million Japanese yen.

   Use of estimates and judgments
        The preparation of the consolidated financial statements in accordance with IFRS requires management to
   make judgments, estimates and assumptions that affect the application of accounting policies, the reported
   amounts of assets, liabilities, revenues and expenses, and disclosure of contingent assets and liabilities. Actual
   results could differ from these estimates and assumptions. These estimates and assumptions are reviewed on a
   continuous basis. Changes in these accounting estimates are recognized in the period in which the estimates are
   revised and in any future periods affected.

        Information about judgments that have been made in the process of applying accounting policies that have
   significant effects on the amounts reported in the consolidated financial statements is as follows:
        •    Classification of financial instruments (Note 3 I (5))

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        Information about accounting estimates and assumptions that have significant effects on the amounts
   reported in the consolidated financial statements is as follows:
        •    Fair value of financial instruments (Note 3 I (5) and (15) and Note 5)
        •    Impairment of non-financial assets (Note 3 I (10) and Note 12)
        •    Measurement of deferred insurance acquisition costs, future insurance policy benefits, and
             policyholders’ account in the life insurance business (Note 3 I (11) and Note 13)
        •    Measurement of film costs and participation and residual liabilities in the Pictures segment (Note 3 I
             (9) and (12), Note 11, and Note 18)
        •    Recoverability of deferred tax assets (Note 3 I (23) and Note 25)
        •    Measurement of fair value of assets acquired and liabilities assumed in business combinations (Note 3 I
             (2) and Note 30)

   Change in presentation
   Consolidated Statements of Cash Flows
        Adjustments for foreign exchange fluctuations related to investments in the Financial Services segment and
   adjustments for foreign exchange fluctuations related to content assets, which were included in “Other” in cash
   flows from operating activities in the previous fiscal year, have been reclassified to “Increase in investments and
   advances in the Financial Services segment” and “Increase in content assets,” respectively, of cash flows from
   operating activities from the current fiscal year considering the materiality and the nature of the adjustments.
   Also, adjustments for changes in taxes payable other than income taxes, net, which were included in “Other” in
   cash flows from operating activities in the previous fiscal year, have been presented separately as “Increase in
   taxes payable other than income taxes, net” in cash flows from operating activities from the current fiscal year
   considering, among other things, the increase in materiality of the adjustments during the fiscal year ended
   March 31, 2023. As a result of these changes in presentation, reclassifications within cash flows from operating
   activities in the consolidated statements of cash flows for the fiscal years ended March 31, 2021 and 2022 have
   been made to conform to the presentation for the fiscal year ended March 31, 2023.

        As a result, in the consolidated statements of cash flows for the fiscal year ended March 31, 2021
   (39,514) million yen, which was previously included in “Other” in cash flows from operating activities, has been
   reclassified to (75,164) million yen of “Increase in investments and advances in the Financial Services segment”
   and 16,486 million yen of “Increase in content assets,” and also has been presented separately in 19,164 million
   yen of “Increase in taxes payable other than income taxes, net” of cash flows from operating activities. In the
   consolidated statements of cash flows for the fiscal year ended March 31, 2022 (189,295) million yen, which was
   previously included in “Other” in cash flows from operating activities, has been reclassified to (194,499) million
   yen of “Increase in investments and advances in the Financial Services segment” and (12,636) million yen of
   “Increase in content assets,” and also has been presented separately in 17,840 million yen of “Increase in taxes
   payable other than income taxes, net” of cash flows from operating activities.

   3.   Summary of significant accounting policies
   I.   Significant accounting policies
   (1) Basis of consolidation -
        i)   Subsidiaries
                  A subsidiary is an entity controlled by Sony Group Corporation. Control is obtained when Sony
             Group Corporation is exposed, or has rights to variable returns from its involvement with the entity and
             has the ability to affect those returns through its power over the entity.
                 The financial statements of subsidiaries are included in the consolidated financial statements of
             Sony from the date on which control is obtained until the date on which control is lost.
                  All intercompany transactions and balances are eliminated in the preparation of the consolidated
             financial statements.

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                   If any accounting policies applied by a subsidiary differ from those applied by Sony, adjustments
              are made to the financial statements of the subsidiary as necessary.
                    Any changes in ownership interest in a subsidiary that do not result in a loss of control are
              accounted for as equity transactions. The difference between the amount by which the non-controlling
              interests are adjusted and the fair value of the consideration is directly recognized in equity and
              attributed to the owners of Sony. When control over a subsidiary is lost, the investment retained in the
              former subsidiary is remeasured at fair value as of the date when control is lost, and any gain or loss
              resulting from the loss of control is recognized in profit or loss.

        ii)   Associates and joint ventures
                    An associate is an entity over which Sony has significant influence, but does not have control or
              joint control, in terms of financial and operating policies.
                   A joint venture is an investee whereby two or more parties including Sony have the rights to the
              net assets of the investee in accordance with the terms of the joint arrangement. Joint control is the
              contractually agreed sharing of control of an arrangement, which exists only when decisions about the
              relevant activities require the unanimous consent of the parties sharing control.
                   Investments in associates and joint ventures are accounted for using the equity method from the
              date on which significant influence or joint control is obtained until the date on which significant
              influence or joint control is lost. Under the equity method, investments in associates and joint ventures
              are recognized at cost, adjusted for Sony’s share of the profit or loss and other comprehensive income
              of the associates and joint ventures from the date on which Sony obtains significant influence or joint
              control to the date on which Sony loses such significant influence or joint control. Sony recognizes its
              share of profit or loss of the investees, net of income taxes after the elimination of unrealized
              intercompany profits, in the consolidated operating income (loss) to the extent of Sony’s interest in
              these entities.
                   For investments accounted for using the equity method, the carrying amount of each investment is
              tested for impairment as a single asset, when there is objective evidence that the investments may be
              impaired.
                  If any accounting policies applied by an associate or a joint venture differ from those applied by
              Sony, adjustments are made to the financial statements of the associate or the joint venture as
              necessary.
                   When an investment ceases to be an associate or a joint venture and the use of the equity method
              is discontinued, any gain or loss arising from discontinuation of the equity method is recognized in
              profit or loss.

        iii) Joint operations
                   A joint operation is a joint arrangement whereby two or more parties including Sony have the
              rights to the assets, and obligations for the liabilities, relating to the investee in accordance with the
              terms of the joint arrangement.
                   Sony recognizes its share of the assets, liabilities, revenue and expenses related to joint operations.

        iv) Structured entities
                   A structured entity is an entity designed so that voting or similar rights are not the dominant factor
              in deciding who controls the entity.
                   Sony has control and, therefore, consolidates a structured entity when Sony has exposure or rights
              to variable returns and has the ability to use its power over the structured entity to affect returns.

   (2) Business combinations -
        Sony recognizes identifiable assets acquired and the liabilities assumed of an acquiree at their fair values at
   the acquisition date with limited exceptions.

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         Sony recognizes goodwill when the aggregate of the consideration transferred in a business combination, the
   amount of any non-controlling interests in the acquiree and the fair value of Sony’s previously held equity
   interest in the acquiree exceeds the net amount of the identifiable assets and liabilities of the acquiree at the
   acquisition date. If the aggregate above is less than the net amount of identifiable assets and liabilities, the
   difference is recognized as a gain. The consideration transferred is calculated as the sum of the fair values of the
   assets transferred, liabilities assumed and equity interest issued. Non-controlling interests are measured either at
   fair value or based on the non-controlling interests’ proportionate share of the acquiree’s net identifiable assets
   for each business combination transaction.
        Acquisition-related costs are recognized as expenses in the period they are incurred.

   (3) Foreign currency translation -
        i)    Foreign currency transactions
                   Foreign currency transactions are translated at the exchange rates prevailing at the transaction date
              or rates that approximate such rates. Monetary assets and liabilities denominated in foreign currencies
              are translated into the functional currency using the exchange rate at the end of the period. Foreign
              exchange gains and losses resulting from translation and settlement are generally recognized in profit
              or loss. They are deferred in other comprehensive income if they relate to qualifying cash flow hedges.

        ii)   Foreign operations
                   Assets and liabilities of foreign operations such as overseas subsidiaries and associates are
              translated using the exchange rates at the end of the period, and revenue and expense items are
              translated using the average exchange rates for the period unless the exchange rates fluctuate
              significantly. Exchange differences arising from the translation are recognized in other comprehensive
              income.
                    On the disposal of a foreign operation, the cumulative amount of exchange differences relating to
              that foreign operation is reclassified to profit or loss.

   (4) Cash and cash equivalents -
         Cash and cash equivalents include all highly liquid investments, with original maturities of three months or
   less, that are readily convertible to known amounts of cash and which are subject to an insignificant risk of
   changes in value.

   (5) Financial instruments -
        Sony recognizes a financial instrument as a financial asset or a financial liability when Sony becomes party
   to the contractual provisions of the instrument.
        Financial assets and financial liabilities are initially measured at fair value. Except for financial assets and
   financial liabilities measured at fair value through profit or loss, transaction costs that are directly attributable to
   the acquisition or issuance of the financial asset or financial liability are added to the fair value of financial assets
   or subtracted from the fair value of financial liabilities at initial recognition.

        i)    Non-derivative financial assets
         a.    Classification and measurement
                  Non-derivative financial assets held by Sony are classified as either financial assets measured at
              amortized cost, debt instruments measured at fair value through other comprehensive income, equity
              instruments measured at fair value through other comprehensive income or financial assets measured at
              fair value through profit or loss.

               Financial assets measured at amortized cost
                 Sony classifies a financial asset as measured at amortized cost if the financial asset is held within a
              business model whose objective is to collect contractual cash flows and the contractual terms of the

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          financial asset give rise on specified dates to cash flows that are solely payments of principal and
          interest on the principal amount outstanding. The financial asset is measured at amortized cost by using
          the effective interest method after initial recognition. On derecognition of a financial asset measured at
          amortized cost, the difference between the carrying amount and the consideration received or receivable
          is recognized in profit or loss.

           Debt instruments measured at fair value through other comprehensive income
             A debt instrument is classified as a financial asset measured at fair value through other
          comprehensive income if the debt instrument is held within a business model whose objective is
          achieved by both collecting contractual cash flows and selling the financial asset and the contractual
          terms of the financial asset give rise on specified dates to cash flows that are solely payments of
          principal and interest on the principal amount outstanding. Changes in the fair value of the financial
          asset after initial recognition, except for impairment gains or losses and foreign exchange gains or
          losses, are recognized in other comprehensive income. Interest income from these financial assets is
          recognized in profit or loss using the effective interest method. On derecognition of a debt instrument
          measured at fair value through other comprehensive income, the cumulative amount previously
          recognized in other comprehensive income is reclassified to profit or loss.
              In the life insurance business, the financial assets are held mainly from the perspective of asset-
          liability management (“ALM”). The objective of holding financial assets in the life insurance business
          is to match the interest rate sensitivity (duration) of financial assets and insurance contract liabilities
          (which mainly consist of future insurance policy benefits and the policyholders’ account in the life
          insurance business) as much as possible, in order to ensure sufficient cash flows are available to settle
          insurance claims when they come due. Sony manages these assets as one portfolio, based on the overall
          objective of managing duration and liquidity needs in a capital efficient manner. While some assets
          within the portfolio may be held for a longer period of time, Sony considers, because of its overall
          objective for these assets, that all the financial assets are held within one business model whose
          objective is achieved by both collecting cash flows and selling financial assets.

           Equity instruments measured at fair value through other comprehensive income
             For investments in equity instruments which are not held for trading, Sony may make an irrevocable
          election at initial recognition to present subsequent changes in fair value of the investments in other
          comprehensive income.
             These financial assets are measured at fair value and subsequent changes in the fair value are
          recognized in other comprehensive income. Dividends from financial assets are recognized in profit or
          loss, and the cumulative amount recognized in other comprehensive income is transferred to retained
          earnings upon derecognition.

           Financial assets measured at fair value through profit or loss
             Financial assets other than those measured at amortized cost or fair value through other
          comprehensive income are classified as financial assets measured at fair value through profit or loss.
          Financial assets measured at fair value through profit or loss include financial assets held for trading.
             In the life insurance business, investments held for variable life insurance and individual variable
          annuity contracts mainly consist of equity securities, debt securities and investment funds, which are
          measured at fair value through profit or loss.
             For certain financial assets that would not normally be measured at fair value through profit or loss,
          Sony may, at initial recognition, choose the irrevocable option to measure such financial assets at fair
          value through profit or loss in order to eliminate or significantly reduce an accounting mismatch.
              In the banking business, Sony has made the irrevocable election as mentioned above for some fixed-
          rate debt securities. In relation to such debt securities, Sony utilizes derivatives to hedge the risk arising
          from the changes in the fair value of the debt securities due to unfavorable fluctuations of interest rates.
          Thus, this election is made to mitigate accounting mismatches derived from the changes in the fair
          value of the debt securities and derivatives used as hedging instruments by recognizing gains and losses
          from the changes in the fair value of the debt securities in profit or loss.

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       b.    Derecognition

               Sony derecognizes a financial asset when the contractual rights to the cash flows from the financial
            asset expire, or when Sony transfers the contractual rights to receive the cash flows of the financial
            asset and transfers substantially all of the risks and rewards of the financial asset.

       c.    Impairment

                Sony estimates expected credit losses and recognizes loss allowances for financial assets measured
            at amortized cost and debt instruments measured at fair value through other comprehensive income. At
            each reporting date, Sony measures the loss allowance for a financial instrument at an amount equal to
            the lifetime expected credit losses if the credit risk on that financial instrument has increased
            significantly since initial recognition. If, at the reporting date, the credit risk on a financial instrument
            has not increased significantly since initial recognition, Sony measures the loss allowance for that
            financial instrument at an amount equal to 12-month expected credit losses. In assessing whether the
            credit risk has increased significantly or not, Sony uses the change in the risk of a default occurring
            over the expected life of the financial instrument and estimates expected credit losses by using the
            method which reflects the past loss rate and other reasonable and supportable forward-looking
            information on macroeconomic factors affecting the ability of the customers to settle the receivables.

               Sony measures the expected credit losses of a financial asset in a way that reflects an unbiased and
            probability-weighted amount incorporating the time value of money and reasonable and supportable
            information that is available at the reporting date about past events, current conditions and forecasts of
            future economic conditions.

                However, for trade and other receivables, and contract assets including non-current other receivables
            in the Pictures segment, the loss allowance is measured at an amount equal to lifetime expected credit
            losses irrespective of the change of credit risk on a collective basis or an individual basis incorporating
            factors such as the past-due status and the attributes of the counterparties.

               Sony determines a financial asset is credit-impaired when one or more events that have a detrimental
            impact on the estimated future cash flows of that financial asset have occurred. The criteria that Sony
            uses to determine that a financial asset is credit-impaired include a default or delinquency of more than
            90 days past due in interest or principal payments.

               Sony writes off the gross carrying amount of a financial asset when it cannot reasonably expect to
            recover all or part of the asset.

             Debt securities and housing loans in the Financial Services segment

               The expected credit losses for debt securities and housing loans in the Financial Services segment
            are the product of the probability of default (“PD”), loss given default (“LGD”) and exposure at default
            (“EAD”), by leveraging the Basel III regulatory framework or based on the external information
            published by major credit rating agencies. Forward-looking economic information is also included in
            determining the PD.

               Assessments on significant increases in credit risk are performed at the reporting date by comparing
            the risk of default occurring with that at initial recognition. Sony recognizes and measures the expected
            credit losses on a collective basis or an individual basis using reasonable and supportable information
            that is available without undue cost or effort, such as asset type, credit ratings, collateral collectability,
            past-due status and other relevant characteristics of financial instruments.

               In addition, Sony has applied the low credit risk exemption for certain debt securities rated
            “investment grade” by major credit rating agencies at the reporting date. For such instruments, Sony
            assumes that the credit risk has not increased significantly since initial recognition.

               If contractual terms of a loan have been modified, it is necessary to recalculate the gross carrying
            amount of that loan by using the original effective interest rate and recognize a modification gain or
            loss in profit or loss.



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        ii)   Non-derivative financial liabilities
                  Sony classifies non-derivative financial liabilities as either financial liabilities subsequently
              measured at amortized cost by using the effective interest method or financial liabilities measured at
              fair value through profit or loss.
                 Sony derecognizes a financial liability when it is extinguished, meaning when the obligation
              specified in the contract is discharged, cancelled or expired.

        iii) Derivative financial instruments and hedge accounting
                  All derivatives are recognized as either assets or liabilities in the consolidated statements of
              financial position at fair value. Changes in the fair value of derivative financial instruments are either
              recognized periodically through profit or loss or other comprehensive income, depending on whether
              the derivative financial instrument qualifies as a hedge and the derivative is being used to hedge
              changes in cash flows.
                 Derivative financial instruments held by Sony are accounted for as described below.

               Cash flow hedges
                  Changes in the fair value of derivatives that are designated and determined to be effective as cash
              flow hedges for forecasted transactions or exposures associated with recognized assets or liabilities are
              initially recorded in other comprehensive income and reclassified to profit or loss when the hedged
              transaction affects profit or loss. Changes in the fair value of the ineffective portion are immediately
              recognized in profit or loss.

               Derivatives not designated as hedges
                 Changes in the fair value of derivatives not designated as hedges are immediately recognized in
              profit or loss.

               Assessment of hedge effectiveness
                  When applying hedge accounting, Sony formally documents all hedging relationships between the
              derivatives designated as hedges and the hedged items, as well as its risk management objectives and
              strategies for undertaking various hedging activities. Sony links all hedges that are designated as cash
              flow hedges to specific assets or liabilities in the consolidated statements of financial position or to the
              specific forecasted transactions. Sony also assesses, both at the inception of the hedge and on an
              on-going basis, whether the derivatives that are designated as hedges have an economic relationship
              with the hedged item in offsetting changes in fair value or cash flows of hedged items. The effect of
              credit risk does not dominate the value changes that result from the underlying economic relationship.
              In addition, the hedge ratio of the hedging relationship is designed to be the same as that resulting from
              the quantity of the hedged item that Sony actually hedges and the quantity of the hedging instrument
              that Sony actually uses to hedge that quantity of the hedged item. When it is determined that a
              derivative no longer has an economic relationship with the hedged item, Sony discontinues hedge
              accounting.

        iv) Offsetting a financial asset and a financial liability
                  Sony offsets a financial asset and a financial liability and presents the net amount in the consolidated
              statements of financial position when Sony currently has a legally enforceable right to set off the
              recognized amounts and intends either to settle on a net basis or to realize the asset and settle the
              liability simultaneously.

   (6) Inventories -
        Inventories are measured at the lower of cost or net realizable value. The cost of inventories is determined
   on the “weighted average cost” basis. Net realizable value is the estimated selling price in the ordinary course of
   business less the estimated costs of completion and the estimated costs necessary to make the sale.

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   (7) Property, plant and equipment and depreciation -
        Sony has adopted the cost model for the measurement of property, plant and equipment and presents an item
   of property, plant and equipment at its cost less any accumulated depreciation and any accumulated impairment
   losses. The cost of an item of property, plant and equipment includes any costs directly attributable to the
   acquisition of the asset as well as costs of its dismantlement, removal or restoration. Property, plant and
   equipment are depreciated on a straight-line basis over their useful lives (depreciation period ranging
   from 2 to 50 years for buildings and from 2 to 10 years for machinery and equipment). Sony reviews the residual
   values and the useful lives at each fiscal year-end, or sooner if circumstances require.

   (8) Leases -
        When entering into a contract, Sony determines whether an arrangement contains a lease at its inception. An
   arrangement contains a lease if it conveys the right to control the use of an identified asset for a period of time in
   exchange for consideration. Assets and liabilities recognized from leases are included in right-of-use (“ROU”)
   assets, the current portion of long-term debt, and long-term debt in Sony’s consolidated statements of financial
   position.
         ROU assets represent Sony’s right to use an underlying asset for the lease term and lease liabilities represent
   Sony’s obligation to make lease payments arising from the lease. ROU assets and lease liabilities are recognized
   at the commencement date based on the present value of lease payments over the lease term. ROU assets also
   include any lease payments and initial direct costs incurred on or before the commencement date and exclude
   lease incentives. In determining the present value of lease payments, Sony generally uses its incremental
   borrowing rate, as the implicit rate is not available for most of its leases. Sony determines its incremental
   borrowing rate based on the estimated rate of interest for collateralized borrowings, taking into account the lease
   term and the economic conditions of each country or region at commencement date. The lease terms may include
   options to extend or terminate the lease when it is reasonably certain that Sony will exercise that option. If the
   lease transfers ownership of the underlying asset to the lessee by the end of the lease term or the purchase option
   is reasonably certain to be exercised, Sony depreciates the ROU assets from the commencement date to the end
   of the useful life of the underlying assets. Otherwise, Sony depreciates the ROU assets from the commencement
   date to the earlier of the end of the useful life of the ROU assets or the end of the lease term. Sony accounts for
   the lease and non-lease components as a single lease component. Sony has applied the short-term lease exception
   for leases with a term of one year or less, where ROU assets and lease liabilities are not recognized and the
   expense is recognized on a straight-line basis.

   (9) Intangible assets and amortization, including content assets -
       Intangible assets are measured using the cost model and stated at cost less accumulated amortization and
   impairment losses. Intangible assets acquired separately are initially recognized at cost.
         Intangible assets with finite useful lives mainly consist of patent rights, know-how, license agreements,
   customer relationships, trademarks, software, television carriage contracts (broadcasting agreements), film costs,
   broadcasting rights, music catalogs, artist contracts, music distribution rights and game content. Patent rights,
   know-how, license agreements, trademarks and software are generally amortized on a straight-line basis over
   3 to 10 years. Customer relationships, television carriage contracts (broadcasting agreements), music catalogs,
   artist contracts, music distribution rights and game content are generally amortized on a straight-line basis, over
   10 to 44 years. Film costs are amortized using an ultimate revenue method based on the ratio of current period
   actual revenues to the estimated remaining total revenues. Sony considers that amortization pursuant to the
   ultimate revenue method reflects the rate at which it plans to consume the future economic benefits related to the
   asset, and there is a high correlation between revenue and the consumption of the economic benefits embodied in
   the intangible assets. Broadcasting rights are generally amortized based on estimated usage or on a straight-line
   basis over the useful life.
        Amortization of intangible assets is included in cost of sales and selling, general and administrative
   expenses in the consolidated statements of income. Certain intangible assets are assessed to have indefinite lives
   because there is no foreseeable limit to the period over which such assets are expected to generate net cash flows
   for Sony.
        Film costs, broadcasting rights, music catalogs, artist contracts, music distribution rights and game content
   are collectively classified and presented as content assets in the consolidated statements of financial position.

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   Film costs include direct production costs, production overhead, and costs for acquisition and distribution rights
   for both motion picture and television productions. Broadcasting rights, consisting of acquired programming to
   be aired on Sony’s television networks and DTC streaming services, are recognized when the license period
   begins and the program is available for use. Music catalogs are exclusive rights to the recorded music master or
   music copyrights, which consist of melodies and lyrics of songs, that can be exploited and marketed in various
   markets. Artist contracts are contracts with recorded music artists or songwriters that provide Sony with
   exclusive rights to musical works. Music distribution rights are agreements to distribute music content owned by
   third parties. Game content includes internally developed content, content developed through a third-party
   arrangement where Sony owns the rights to the content, content acquired externally through contracts with third
   parties, and agreements to distribute game content owned by third parties.

   (10) Impairment of non-financial assets -
        Sony reviews the recoverability of its non-financial assets, except for inventories, contract costs and
   deferred tax assets, whenever there is any indication that an asset or a cash-generating unit (“CGU”) may be
   impaired. In addition, an annual impairment test for goodwill, intangible assets with indefinite useful lives or
   intangible assets not yet available for use is performed during the fourth quarter of the fiscal year for each CGU
   or group of CGUs to which the carrying amount of these assets is allocated.
        A CGU is the smallest identifiable group of assets that generates cash inflows that are largely independent
   of the cash inflows from other assets or group of assets. Goodwill is allocated to each CGU or group of CGUs
   that is expected to benefit from the synergies of a business combination. A CGU or group of CGUs to which
   goodwill is allocated is not larger than an operating segment.
        The recoverable amount of an asset, a CGU or group of CGUs is the higher of its value in use and fair value
   less costs of disposal. In assessing value in use, the estimated future cash flows are discounted to their present
   value using a pre-tax discount rate that reflects current market assessments of the time value of money and the
   risks specific to the assets. This approach uses significant estimates and assumptions, including estimated future
   cash flows, the timing of such cash flows, discount rates reflecting the risk inherent in future cash flows,
   perpetual growth rates, earnings or revenue multiples, the determination of appropriate comparable entities and
   the determination of whether a premium or discount should be applied to comparables. The assumptions used for
   estimated future cash flows and the timing of such cash flows for each CGU are generally based on the three-year
   mid-range plan (“MRP”) and take into account such factors as historical experience, market and industry
   information, and current and forecasted economic conditions. Perpetual growth rates are generally utilized to
   determine a terminal value and are generally set after the three-year forecasted period for the MRP.
        If the recoverable amount is determined to be less than the carrying amount of a CGU or group of CGUs, an
   impairment loss would be recognized equal to the amount by which the carrying amount exceeds the recoverable
   amount. Such impairment losses are recognized by first reducing the carrying amount of any allocated goodwill
   and then are allocated to the other assets of the CGU on a pro rata basis of the carrying amount of each asset in
   the CGU. Impairment losses except for content assets are included in other operating (income) expense, net, and
   impairment losses for content assets are included in cost of sales in the consolidated statements of income.
         Assets other than goodwill are reviewed to assess whether there is any indication that an impairment loss
   recognized in prior periods may no longer exist or may have decreased. If any such indication exists, the
   recoverable amount of the asset is determined and a reversal of an impairment loss is recognized when the
   recoverable amount of the asset exceeds the carrying amount. Any increase in the carrying amount of an asset
   attributable to the reversal of an impairment loss does not exceed the carrying amount of the asset, net of
   depreciation and amortization, which would have been determined if an impairment loss had never been
   recognized for the asset in prior periods.

   (11) Insurance-related accounts -
        In accordance with IFRS 4 “Insurance Contracts” (“IFRS 4”), insurance contracts are recognized and
   measured according to the same accounting principles previously applied under generally accepted accounting
   principles in the United States.

        i)   Deferred insurance acquisition costs
                  Costs that vary with and are directly related to the acquisition or renewal of insurance policies are
             deferred as long as they are recoverable. The deferred insurance acquisition costs include such items as

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             commissions, medical examination costs and inspection report fees, and are subject to recoverability
             testing at least annually to ensure that the capitalized amounts do not exceed the present value of
             anticipated gross profits or premiums less benefits and maintenance expenses, as applicable. The
             deferred insurance acquisition costs for traditional life insurance contracts are amortized over the
             premium-paying period of the related insurance policies using assumptions consistent with those used
             in computing future insurance policy benefits. The deferred insurance acquisition costs for
             non-traditional life insurance contracts are amortized over the expected life at a constant rate based on
             the present value of the estimated gross profit. Investment yields, mortality rates, lapse rates and
             discount rates are used as significant assumptions for the present value of the estimated gross profit.

       ii)   Future insurance policy benefits
                  Liabilities for future insurance policy benefits are primarily comprised of the present value of
             estimated future payments to policyholders. These liabilities are computed by the net level premium
             method based upon the assumptions as to future investment yield, morbidity rates, mortality rates,
             lapse rates and other factors. These assumptions are reviewed on a periodic basis. Liabilities for future
             insurance policy benefits include the liabilities for the minimum guarantee benefits of individual
             variable annuity and variable life insurance contracts.

       iii) Policyholders’ account in the life insurance business
                  Liabilities for policyholders’ account in the life insurance business represent the contract value
             that has accrued to the benefit of the policyholders as of the end of the reporting period. This liability is
             generally equal to the accumulated account deposits, plus interest credited, less policyholder
             withdrawals and other charges assessed against the account balances. Liabilities for policyholders’
             account in the life insurance business include the liabilities related to the individual variable annuity
             and variable life insurance contracts with minimum guarantee benefits.

       iv) Insurance-related accounts measured at fair value
                   Sony measures at fair value certain future insurance policy benefits and policyholders’ account in
             the life insurance business. The fair value measurement mitigates accounting mismatches related to the
             changes in the fair value between liabilities for those future insurance policy benefits and
             policyholders’ account due to changes in the minimum guarantee risk of individual variable annuity
             contracts with minimum guarantee benefits, and the underlying investment managed for policyholders
             and derivatives entered into related to such investments. Changes in fair value resulting from changes
             in instrument-specific credit risk were estimated by incorporating the certain subsidiary’s current credit
             spreads, and are recognized in other comprehensive income, net of tax. The amount recognized in other
             comprehensive income is reclassified to profit or loss when the insurance contract liabilities are
             derecognized.

       v)    Shadow accounting in the life insurance business
                   When holding financial assets that are measured at fair value through other comprehensive income
             and which correspond to insurance contract liabilities, shadow accounting is applied to evaluate
             insurance-related accounts as if the financial assets were sold as of the end of reporting period and
             realized valuation gains or losses for the purpose of reducing the accounting mismatches between the
             insurance contract liabilities and the financial assets.
                   Sony performs a shadow liability adequacy test on life insurance contracts quarterly. In a shadow
             liability adequacy test, mainly, future insurance policy benefits minus deferred insurance acquisition
             costs in the consolidated statements of financial position are compared to the present value of future
             cash flow on a best-estimate basis as of the end of reporting period to determine that the future
             insurance policy benefits are recorded at a sufficient level. If there is a shortage compared to the
             present value of future cash flows on a best-estimate basis at the time, the deferred insurance
             acquisition costs will be decreased to the extent of the shortage through other comprehensive income.
             If the deferred insurance acquisition costs are decreased to zero and the shortage remains, the future
             insurance policy benefits are increased by the remaining shortage through other comprehensive
             income.

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                    Shadow accounting is an accounting treatment that affects the measurement of the insurance-
              related accounts in response to unrealized gains or losses recognized for the assets in a manner
              consistent with realized gains or losses. When the gains or losses from the assets are recognized in
              other comprehensive income, the fluctuations in the carrying amount of insurance-related accounts are
              also recognized in other comprehensive income.

   (12) Provisions -

         Provisions are recognized when Sony has present legal or constructive obligations as a result of past events,
   it is probable that outflows of resources embodying economic benefits will be required to settle the obligations,
   and reliable estimates can be made of the amount of obligations.

       Provisions mainly consist of participation and residual liabilities in the Pictures segment and product
   warranties.

        i)    Participation and residual liabilities in the Pictures segment

                    Parties involved in the production or exploitation of film and television content may be
              compensated in part by contingent payments based on the financial results of a film or television show
              pursuant to contractual formulas (participations) and by contingent amounts due under provisions of
              collective bargaining agreements (residuals). Such parties are collectively referred to as participants,
              and such costs are referred to collectively as participation and residual costs. Participation and residual
              costs may be given to creative talent, such as actors or writers, investors or to entities from whom
              distribution rights are licensed.

                   Participation and residual liabilities are accrued based on the ratio of current period actual
              revenues to the estimated remaining total revenues. The participation and residual liabilities are
              expected to be relieved when the contingent payments are fixed and paid. The majority of the
              non-current portion of participation and residual liabilities is expected to be paid within the next
              10 years.

                    Sony also enters into arrangements with other studios to jointly produce and distribute films,
              under which each partner is responsible for the distribution of the film in specific territories or
              distribution windows. The partners’ shares in the profits and losses of the films under these
              arrangements are included within participation and residual costs.

        ii)   Product warranties

                   Sony issues contractual product warranties under which it generally guarantees the performance of
              products delivered and services rendered for a certain period or term. Product warranties are calculated
              based upon product sales, estimated probability of failure and estimated cost per claim. The estimates
              and forecasts used in the calculation of product warranties are reviewed on a periodic basis.

   (13) Employee benefits -

        i)    Post-employment benefits

                   Sony adopts defined benefit plans and defined contribution plans.

              Defined benefit plans

                   Sony recognizes the net defined benefit liability or asset of defined benefit plans in the
              consolidated statements of financial position as the amount of the present value of defined benefit
              obligations less the fair value of plan assets.

                   The present value of defined benefit obligations is calculated by discounting the expected future
              benefit, and service costs are determined by using the projected unit credit method. If the fair value of
              plan assets is in excess of the present value of defined benefit obligations, the amount of any asset to be
              recognized is limited to the present value of any economic benefits available in the form of refunds
              from the plan or reductions in the future contributions to the plan. The discount rate is determined by

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              reference to market yields at each fiscal year-end on high-quality corporate bonds which have
              approximately the same term as the defined benefit obligations and are payable in the same currency as
              the benefit payments. Net interest on the net defined benefit liability or asset is calculated by
              multiplying the net defined benefit liability or asset by the discount rate.
                   Past service cost, which is the change in the present value of the defined benefit obligation
              resulting from a plan amendment or curtailment, is recognized in profit or loss.
                  Remeasurements of the net defined benefit liability or asset are recognized in other
              comprehensive income when they occur and transferred to retained earnings immediately.

              Defined contribution plans
                   Sony recognizes contributions to defined contribution plans as expenses when employees have
              rendered related services.

        ii)   Short-term employee benefits
                   Sony recognizes short-term employee benefits, such as salaries, bonuses and annual paid
              absences, as expenses at the amount expected to be paid in exchange for services when employees have
              rendered such services.

   (14) Stock-based compensation -
        i)    Stock option plan
                   Sony estimates the cost of stock options at their fair value on the grant date and recognizes the
              expense over the vesting period with a corresponding increase in equity. The fair value of options
              granted is calculated using the Black-Scholes option-pricing model with consideration for terms and
              conditions of the stock options.

        ii)   Restricted stock plan
                   Sony estimates the cost of restricted stock by the fair value of the stock granted on the grant date
              and recognizes the expense over the vesting period with a corresponding increase in equity.

        iii) Restricted stock unit plan
                   Sony estimates the cost of restricted stock units by the fair value of the units granted on the grant
              date and recognizes the expense over the vesting period with a corresponding increase in equity.

   (15) Fair value measurement -
        Sony measures fair value as an exit price, or the amount that would be received to sell an asset or paid to
   transfer a liability in an orderly transaction between market participants as of the measurement date.
        Sony determines a hierarchy of inputs to valuation techniques based on the extent to which inputs used in
   measuring fair value are observable in the market. Observable inputs reflect market data obtained from
   independent sources, while unobservable inputs reflect assumptions which Sony developed using the information
   that market participants would use in pricing the asset or liability. Observable market data is used if such data is
   available without undue cost and effort. Each fair value measurement is reported in one of three levels which is
   determined by the lowest level input that is significant to the fair value measurement in its entirety.
        These levels are:
        Level 1 — Inputs are unadjusted quoted prices for identical assets and liabilities in active markets.
        Level 2 — Inputs are based on observable inputs other than Level 1 prices, such as quoted prices for
                  similar instruments in active markets, quoted prices for identical or similar instruments in
                  markets that are not active and model-derived valuations, in which all significant inputs are
                  observable in active markets.
        Level 3 — One or more significant inputs are unobservable.

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         When available, Sony uses unadjusted quoted market prices in active markets to measure fair value and
   classifies such items within Level 1. If quoted market prices are not available, fair value is based upon internally
   developed valuation techniques that use, where possible, current market-based or independently sourced market
   parameters, such as interest rates, currency rates and option volatilities. Items valued using internally generated
   models are classified according to the lowest level input that is significant to the valuation. For certain financial
   assets and liabilities, Sony determines fair value using third-party information such as indicative quotes from
   dealers and quantitative input from investment advisors following Sony’s established valuation procedures
   including validation against internally developed prices. Additionally, Sony considers both counterparty credit
   risk and Sony’s own creditworthiness in determining fair value. Sony attempts to mitigate credit risk to third
   parties by entering into netting agreements and actively monitoring the creditworthiness of counterparties and its
   exposure to credit risk through the use of credit limits and by selecting major international banks and financial
   institutions as counterparties.

        Transfers between levels are deemed to have occurred at the beginning of the interim period in which the
   transfers occur.

   (16) Revenue recognition -

         Sony recognizes revenue in an amount that reflects the consideration Sony expects in exchange for
   satisfying performance obligations to transfer the goods or services promised in contracts with customers. This is
   in accordance with the following steps:

        Step 1: Identify the contract(s) with a customer.
        Step 2: Identify the performance obligations in the contract.
        Step 3: Determine the transaction price.
        Step 4: Allocate the transaction price to the performance obligations in the contract.
        Step 5: Recognize revenue when (or as) Sony satisfies a performance obligation.

         Sony owns a variety of intellectual property throughout its segments and recognizes revenue through the
   licensing of such intellectual property. Sony licenses rights to use its intellectual property and rights to access its
   intellectual property. When Sony grants a customer the right to use Sony’s intellectual property, Sony satisfies its
   performance obligation at the point in time when the customer obtains control and is entitled to benefit from the
   license. When Sony grants a customer the right to access Sony’s intellectual property, Sony satisfies its
   performance obligation over the license period.

         Incremental costs of obtaining a contract and costs to fulfill a contract are recognized as assets when Sony
   expects to recover these costs. The incremental costs of obtaining a contract are those costs that would not have
   been incurred if the contract had not been obtained. Costs to fulfill a contract are those costs that are directly
   related to a contract or to an anticipated contract and that generate or enhance resources for Sony to satisfy its
   performance obligations. Sony applies a practical expedient and recognizes the incremental costs of obtaining a
   contract as an expense when incurred if the amortization period of the asset that would have been recognized is
   one year or less.

        Performance obligations in contracts for the Entertainment, Technology & Services (“ET&S”) and
   Imaging & Sensing Solutions (“I&SS”) segments are primarily to deliver various kinds of electronic equipment,
   instruments and devices to customers. Revenues from these performance obligations are generally recognized
   when a promised good is delivered to a customer. However, if the sales contract contains a customer acceptance
   provision, then revenues are recognized when the customer accepts the promised good or when a deemed
   acceptance occurs by the lapse of time. Revenues are also recognized over time, primarily from the provision of
   internet broadband network services to subscribers over the subscription period. Revenues are recognized net of
   anticipated returns and sales incentives.

         Within the Game & Network Services (“G&NS”) segment, revenues from hardware, peripherals and
   software discs are recognized when performance obligations are satisfied by transferring control to the retailer/
   distributor, net of anticipated returns, sales incentives and cooperative advertising obligations. Revenues from
   platform licensing to publishers are recognized when physical software discs are delivered. Revenues from
   digital game content, which is a right to use Sony’s intellectual property, are recognized when the digital content
   is made available for use by the licensee via an online platform, net of anticipated sales incentives and credit card
   chargebacks. Revenues from digital game content involving multiple performance obligations, such as
   obligations to make content available on future dates, are allocated to each performance obligation based on the

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   relative standalone selling prices that are observable in the market or Sony’s best estimate. Revenues from
   subscription fees for digital subscription services are recognized over the subscription period.
        Within the Music segment, Sony licenses intellectual property that transfer to a customer either a right to
   use Sony’s intellectual property, or a right to access Sony’s intellectual property. Revenues are recognized when
   the customer has the right to use or access the intellectual property and obtains control of the use or access of that
   license. Digital revenues include revenues from contracts with digital streaming services typically recognized as
   a single performance obligation, which is ongoing access to intellectual property in an evolving library of content
   over the contract term, predicated on: (1) the business practice and contractual ability to remove specific content
   without a requirement to replace the content and without impact to minimum royalty guarantees and (2) the
   contracts not containing a specific listing of content subject to the license. For these contracts, revenues are
   recognized based on sales and usage royalties, except where there is a minimum royalty guarantee that is not
   expected to be recouped, or a fixed fee, which is recognized on a straight-line basis over the term of the contract.
   Revenues from the sale of physical products such as CDs, net of anticipated returns and sales incentives, are
   recognized when delivery has occurred and the product is available for sale to the public.
        Within the Pictures segment, revenues from the theatrical exhibition of motion pictures are recognized as
   the customer exhibits the film. Revenues from the licensing of motion picture and television programming for
   pay and free television exhibition and other markets are recognized when the product is available for use by the
   licensee. Revenues for motion picture and television program licensing arrangements involving multiple
   performance obligations, for example a fee for multiple titles, territories or availability dates, are allocated based
   on the relative standalone selling price of each performance obligation using Sony’s best estimate based on
   available information such as market conditions and internal pricing guidelines. Each individual motion picture
   or television programming product delivered generally represents a separate performance obligation. Licensing
   revenue associated with renewals or extensions of existing agreements for motion pictures and television
   programming is recognized when the licensee can use and benefit from the content under the renewal or
   extension. Licensing revenue associated with minimum guarantees for a right to access Sony’s intellectual
   property is recognized ratably over the license term. For home entertainment distribution, revenues from the sale
   of physical products such as DVDs and Blu-ray Disc™, net of anticipated returns and sales incentives, are
   recognized when delivery has occurred and the product is available for sale to the public. Revenues from
   electronic sell-through and video-on-demand are recognized when the product is made available for viewing via
   digital distribution platforms. Revenues from the sale of broadcast advertising are recognized when the
   advertisement is aired, and the performance obligation in these arrangements is the delivery of advertising spots
   and may include a guaranteed amount of impressions. When a guarantee for a number of impressions is not
   achieved, revenues are not recognized until additional advertising spots are delivered to provide the guaranteed
   impressions. Revenues from subscription fees received by television networks and DTC streaming services are
   recognized when the service is provided. The performance obligation under network subscription arrangements is
   a right to use Sony’s intellectual property that is satisfied as programming is provided over the term of the
   arrangement.
         Within the Financial Services segment, traditional life insurance policies that Sony underwrites in the life
   insurance business, most of which are categorized as long-duration contracts, mainly consist of whole life, term
   life, and disease and health insurance contracts. Premiums from these policies are reported as revenue when due
   from policyholders. Amounts received as payment for non-traditional contracts such as interest sensitive whole
   life contracts, variable life insurance contracts, individual variable annuity contracts and other contracts without
   life contingencies are recognized in policyholders’ account in the life insurance business. Revenues from these
   contracts are comprised of fees earned for administrative and contract-holder services, which are recognized over
   the period of the contracts, and included in financial services revenue. Property and casualty insurance policies
   that Sony underwrites in the non-life insurance business are primarily automotive insurance contracts which are
   categorized as short-duration contracts. Premiums from these policies are reported as revenue over the period of
   the contract in proportion to the amount of insurance protection provided.
        Revenue is recognized net of any taxes collected from customers and subsequently remitted to governmental
   authorities.

   (17) Cost of sales -
        Costs classified as cost of sales relate to the producing and manufacturing of products and include items
   such as material cost, subcontractor cost, depreciation of property, plant and equipment, amortization of
   intangible assets including content assets, employee benefits expenses and research and development costs.

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   (18) Research and development expenditures -
        Research and development expenditures include items such as employee benefits expenses and other direct
   and indirect expenses associated with research and product development. Development expenditures are
   capitalized only when technical feasibility is achieved, Sony has the intention, ability and sufficient resources to
   use or sell the outcome of the development, it is probable that the outcome will generate a future economic
   benefit, and the cost can be reliably measured. Capitalized development costs are measured as the sum of total
   expenditures for development upon achieving the foregoing conditions for capitalization until development is
   completed. Research expenditures and other development expenditures that do not meet the foregoing conditions
   are expensed as incurred and included in the cost of sales in the consolidated statements of income.

   (19) Selling, general and administrative -
        Costs classified as selling expenses relate to promoting and selling products and include items such as
   advertising, promotion, shipping and warranty expenses. General and administrative expenses include operating
   items such as employee benefits expenses, depreciation of property, plant and equipment, office rental for sales,
   marketing and administrative divisions, loss allowance for trade receivables and amortization of intangible
   assets.

   (20) Financial services expenses -
       Financial services expenses include a provision for policy reserves and amortization of deferred insurance
   acquisition costs, interest expenses in the banking business, and all other operating costs, such as employee
   benefits expenses, depreciation of property, plant and equipment, and office rental of subsidiaries, in the
   Financial Services segment.

   (21) Advertising costs -
        Advertising costs are expensed as incurred.

   (22) Shipping and handling costs -
        The majority of shipping and handling, warehousing and internal transfer costs for finished goods are
   included in selling, general and administrative expenses. However, in the Pictures segment, certain costs are
   charged to cost of sales as they are an integral part of producing and distributing motion pictures and television
   programming. All other costs related to Sony’s distribution network are included in cost of sales, including
   inbound freight charges, purchasing and receiving costs, inspection costs and warehousing costs for raw
   materials and in-process inventory. Shipping and handling activities that occur after control of the related good
   transfers are treated as separate performance obligations. Amounts paid by customers for shipping and handling
   costs are included in sales.

   (23) Income taxes -
        Income taxes consist of current and deferred taxes. Current and deferred taxes are recognized in profit or
   loss, except to the extent that the tax arises from a business combination, or a transaction or event which is
   recognized, in the same or a different period, outside profit or loss, either in other comprehensive income or
   directly in equity.
        Current taxes are computed based on taxable profit or loss for the year, using the tax rates enacted or
   substantively enacted at the end of the reporting period.
         Deferred tax assets and liabilities are recognized for temporary differences between the tax bases of assets
   and liabilities and their carrying amounts at the end of the reporting period. Deferred tax liabilities include the
   liabilities being recognized for undistributed profits of subsidiaries and associates accounted for under the equity
   method that are expected to be remitted in the foreseeable future. Deferred income taxes are determined using tax
   rates and laws that have been enacted or substantively enacted by the end of the reporting period and are
   expected to apply when the related deferred income tax asset is realized or the deferred income tax liability is
   settled. Deferred tax assets and liabilities are not recognized in respect of temporary differences that arise from
   the initial recognition of an asset or liability in a transaction which is not a business combination and which, at
   the time of the transaction, affects neither accounting profit nor taxable profit (tax loss).

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         Deferred tax assets are recognized to the extent that it is probable that taxable profit will be available against
   which the assets can be utilized. Accordingly, the valuation of the deferred tax assets is assessed periodically
   with available evidence related to the recoverability of the deferred tax assets. Management’s judgment related to
   this assessment considers the nature, frequency and severity of current and cumulative losses on an individual tax
   jurisdiction basis, forecasts of future profitability after consideration of uncertain tax positions, excess of
   appreciated asset value over the tax basis of net assets, the duration of statutory carryforward periods, the past
   utilization of net operating loss carryforwards prior to expiration, as well as prudent and feasible tax planning
   strategies which would be employed by Sony to prevent net operating loss and tax credit carryforwards from
   expiring unutilized.
        Sony records assets and liabilities resulting from uncertain tax positions taken or expected to be taken in a
   tax return. The amount of income taxes Sony pays is subject to ongoing audits by various taxing authorities,
   which may result in proposed assessments. In addition, several significant items related to intercompany transfer
   pricing are currently the subject of negotiations between taxing authorities in different jurisdictions as a result of
   pending advance pricing agreement applications and competent authority requests. Sony’s estimate for the
   potential outcome for any uncertain tax issues is judgmental and requires significant estimates. Sony assesses its
   income tax positions and records tax benefits and expenses for all years subject to examinations based upon the
   evaluation of the facts, circumstances and information available at that reporting date.

   (24) Net income (loss) attributable to Sony Group Corporation’s stockholders per share (“EPS”) -
         Basic EPS is computed based on the weighted-average number of shares of common stock outstanding
   during each period. The computation of diluted EPS reflects the maximum possible dilution from conversion,
   exercise, or contingent issuance of securities. All potentially dilutive securities are excluded from the calculation
   in a situation where there is a net loss attributable to Sony Group Corporation’s stockholders.

   II. Recently adopted accounting standards
   Amendments to IAS 12 “Income taxes”
         In May 2023, the IASB issued “International Tax Reform-Pillar Two Model Rules”. The amendments (i)
   introduce a temporary exception to the accounting for deferred taxes arising from the implementation of the
   Pillar Two model rules published by the Organization for Economic Co-operation and Development (OECD) and
   (ii) require additional disclosures. Sony retrospectively adopted the provision of the temporary exception to the
   accounting for deferred taxes from the fiscal year ended March 31, 2023. The additional disclosure requirements
   will be effective for Sony from the fiscal year ending March 31, 2024.

   III. New accounting standards and interpretations not yet adopted
       Major new or amended standards and interpretations that have been issued as of the date of approval of the
   consolidated financial statements which are not effective and have not yet been adopted by Sony as of March 31,
   2023 are as follows:

   IFRS 17 “Insurance Contracts”
        The IASB issued IFRS 17 “Insurance Contracts” (“IFRS 17”) in May 2017 and Amendments to IFRS 17 in
   June 2020 and December 2021. IFRS 17 replaces IFRS 4 and sets out principles for the recognition,
   measurement, presentation and disclosure of insurance contracts within the scope of IFRS 17. IFRS 17 provides a
   general model, supplemented by a specific approach for contracts with direct participation features (the variable
   fee approach) and a simplified approach (the premium allocation approach) mainly for short-duration contracts.
         IFRS 17 becomes effective for Sony as of April 1, 2023. On transition, Sony is required to apply IFRS 17
   retrospectively unless such application is impracticable. If it is impracticable to apply IFRS 17 retrospectively for
   a group of insurance contracts, either the modified retrospective approach, which uses reasonable and
   supportable information, or the fair value approach, which uses the fair value as of April 1, 2022, the transition
   date for IFRS 17, may be applied. If Sony cannot obtain reasonable and supportable information necessary to
   apply the modified retrospective approach, Sony will apply the fair value approach. Sony adopted IFRS 9
   “Financial Instruments” (“IFRS 9”) before its initial application of IFRS 17 and will redesignate the
   measurement method of certain financial assets based on the facts and circumstances existing at the date of the
   initial application of IFRS 17 (April 1, 2023) in order to mitigate accounting mismatches arising from the assets
   and liabilities in the insurance business.

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        Applying IFRS 17 affects the measurement and presentation of insurance-related accounts, which are
   primarily included in future insurance policy benefits and other, policyholders’ account in the life insurance
   business, and deferred insurance acquisition costs in the consolidated statements of financial position under the
   currently applied standard, IFRS 4. These insurance-related accounts, after applying IFRS 17, are primarily
   recorded as insurance contracts liability in the consolidated statements of financial position. The financial
   services revenue, after applying IFRS 17, consists of insurance revenue and other financial services revenue,
   which are separately presented in the consolidated statements of income. The insurance revenue differs from
   insurance premium revenue under IFRS 4 mainly because the insurance revenue excludes any investment
   components that are deposits, as described in “(1) Significant accounting policies of IFRS 17, which Sony will
   apply from the fiscal year ending March 31, 2024.”
        The estimated effect of adopting IFRS 17 on Sony’s total equity as of April 1, 2022, the transition date for
   IFRS 17, is expected to be a reduction of approximately 1.5 trillion yen mainly due to the effect of the changes in
   discount rate used in measuring insurance contract liabilities.
        These assessments and expectations above are preliminary and the actual result may differ upon adoption, as
   not all of the transition work has been finalized.

   (1) Significant accounting policies of IFRS 17, which Sony will apply from the fiscal year ending
       March 31, 2024
   Insurance contract liabilities -
        i)    Definition and classification of insurance contracts
                    Sony defines insurance contracts as the contracts under which Sony accepts significant insurance
              risk by agreeing to compensate the policyholder if a specified uncertain future event adversely affects
              the policyholder. In making this assessment, all substantive rights and obligations, including those
              arising from laws and regulations, are considered on a contract-by-contract basis. Sony uses judgment
              in assessing whether there is a scenario with commercial substance in which there is the possibility of a
              loss on a present value basis and whether the accepted insurance risk is significant. Contracts that have
              a legal form of an insurance contract but do not transfer significant insurance risk to Sony are classified
              as investment contracts and accounted for as financial liabilities.
                   Insurance contracts that Sony underwrites in the life insurance business, which is included in the
              Financial Services segment, mainly consist of whole life, term life, disease and health insurance,
              variable life insurance, and individual variable annuity contracts. Sony classifies certain variable life
              insurance and individual variable annuity contracts as insurance contracts with direct participation
              features, if they meet all of the following conditions on initial recognition:
                   •     the contractual terms specify that the policyholder participates in a share of a clearly
                         identified pool of underlying items;
                   •     Sony expects to pay to the policyholder an amount equal to a substantial share of the fair
                         value returns on the underlying items; and
                   •     Sony expects a substantial proportion of any change in the amounts to be paid to the
                         policyholder to vary with the change in the fair value of the underlying items.
                   All other insurance contracts are classified as insurance contracts without direct participation
              features.

        ii)   Aggregation of insurance contracts
                   In measuring insurance contracts, Sony aggregates the insurance contracts into groups. Each
              group of insurance contracts is determined by identifying portfolios of insurance contracts. Each
              portfolio is comprised of contracts that are subject to similar risks and are managed together, and Sony
              divides each portfolio by each quarterly accounting period (to which the issue date of the insurance
              contracts belongs). The portfolios are then classified into one of the following three groups based on
              the profitability of contracts:
                   •     any contracts that are onerous on initial recognition;

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                •     any contracts that, on initial recognition, have no significant possibility of becoming onerous
                      subsequently; and
                •     any remaining contracts.

       iii) Recognition and derecognition of insurance contracts
                A group of insurance contracts issued by Sony is recognized from the earliest of:
                •     the beginning of the coverage period of the group of insurance contracts;
                •     when the first payment from the policyholder in the group of insurance contracts becomes
                      due; and
                •     when facts and circumstances indicate that the group to which the insurance contract belongs
                      is onerous.
                If there is no contractual due date, the due date is considered as the day when the first payment is
           received from the policyholder.
                 In addition, only contracts that individually meet the recognition criteria by the end of the
           reporting period are included in the groups. When contracts individually meet the recognition criteria
           after the end of the reporting period, they are added to the groups in the reporting period in which they
           meet the recognition criteria. Composition of the groups is not reassessed in subsequent periods.
                 Insurance acquisition cash flows are allocated to groups of insurance contracts using a systematic
           and rational method and considering, in an unbiased way, all reasonable and supportable information
           that is available without undue cost or effort.
                If insurance acquisition cash flows are directly attributable to a group of insurance contracts, they
           are allocated to that group. If insurance acquisition cash flows are directly attributable to a portfolio but
           not to a group of insurance contracts, then they are allocated to the groups in that portfolio using a
           systematic and rational method.
                Sony derecognizes an insurance contract when it is extinguished, i.e., when the obligation
           specified in the insurance contract expires or is discharged or canceled. When an insurance contract is
           derecognized, Sony:
                •     adjusts the fulfillment cash flows allocated to the group of insurance contracts to eliminate
                      those relating to the derecognized rights and obligations;
                •     adjusts the contractual service margin (“CSM”) of the group of insurance contracts for the
                      change in the fulfillment cash flows; and
                •     adjusts the number of coverage units expected for the remaining insurance contract services
                      to reflect the number of coverage units derecognized from the group of insurance contracts.

       iv) Contract boundaries
                In measuring groups of insurance contracts, Sony includes all of the future cash flows within the
           boundary of each contract in the group. Cash flows are within the contract boundary if they arise from
           substantive rights and obligations that exist during the reporting period in which the policyholder is
           obliged to pay premiums or Sony has a substantive obligation to provide services (including insurance
           coverage and any investment services).
                A substantive obligation to provide services ends when Sony:
                (a) has the practical ability to reassess the risks of the particular policyholder and can set a price
                    or level of benefits that fully reflects those reassessed risks; or
                (b) has the practical ability to reassess the risks of the portfolio that contains the contract and can
                    set a price or level of benefits that fully reflects the risks of that portfolio, and the pricing of
                    the premiums up to the reassessment date does not take into account risks that relate to
                    periods after the reassessment date.

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                 For cash flows arising during the period after the renewal of the insurance contract, which has
            automatic renewal clauses, Sony assesses the contract boundaries and determines that they are within
            the existing contract boundaries when Sony does not have the above practical ability to reassess the
            risks.

       v)   Initial measurement of insurance contracts not measured under the premium allocation approach
            (“PAA”)

                 On initial recognition, Sony measures a group of insurance contracts as the total of the following:

            (a) Fulfillment cash flows

                      The fulfillment cash flows of the groups of insurance contracts consist of estimates of the
                 future cash flows and risk adjustments for non-financial risk. The estimates of the future cash
                 flows are adjusted to reflect the time value of money and the associated financial risks, and do not
                 reflect Sony’s non-performance risk. The discount rates reflect the characteristics of the cash
                 flows arising from the groups of insurance contracts, including timing, currency and liquidity of
                 cash flows. The determination of the discount rate that reflects the characteristics of the cash flows
                 and liquidity characteristics of the insurance contracts involves significant estimation. The risk
                 adjustment for non-financial risk, determined separately from the other estimates, is designed to
                 reflect the compensation required for bearing uncertainty about the amount and timing of the cash
                 flows that arises from non-financial risk.

            (b) CSM

                      The CSM of a group of insurance contracts represents the unearned profit that Sony will
                 recognize as it provides insurance contract services under those contracts.

       vi) Subsequent measurement of insurance contracts not measured under the PAA

                  The carrying amount of a group of insurance contracts at each reporting date is the sum of the
            liability for incurred claims and the liability for remaining coverage. The liability for incurred claims
            comprises the fulfillment cash flows for incurred claims and expenses that have not yet been paid,
            including claims that have been incurred but not yet reported. The liability for remaining coverage
            comprises the items described below.

            (a) Fulfillment cash flows

                       The fulfillment cash flows of groups of insurance contracts are measured at the reporting date
                 using current estimates of future cash flows, current discount rates and current estimates of the
                 risk adjustment for non-financial risk.

            (b) CSM

                       The carrying amount of the CSM of contracts without direct participation features at each
                 reporting date is the carrying amount at the beginning of the fiscal year, adjusted for the following
                 items (among these, (2) and (3)1, (3)2 and (3)4 are measured using the discount rate determined at
                 initial recognition (locked-in discount rate):

                      (1) the effect of any new contracts that are added to the group during the current fiscal year;

                      (2) interest accreted on the carrying amount of the CSM during the current fiscal year;

                      (3) the changes in fulfillment cash flows relating to future service including the following
                          items below:

                           1.   experience adjustments arising from premiums received in the current fiscal year
                                that relate to future services (including those for related cash flows such as
                                insurance acquisition cash flows and premium-based taxes);



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                       2.   changes in estimates of the present value of future cash flows in the liability for
                            remaining coverage (excluding the effect of the time value of money, financial risk
                            and changes therein);
                       3.   differences between any investment component expected to become payable in the
                            current fiscal year and the actual investment component that becomes payable in
                            the current fiscal year; and
                       4.   changes in the risk adjustment for non-financial risk that relate to future services;
                  (4) the effect of any currency exchange differences; and
                  (5) the amount recognized as insurance revenue for insurance contract services provided
                      during the current fiscal year, which is determined after all the adjustments above.
                  The carrying amount of the CSM of contracts with direct participation features at each
             reporting date is the carrying amount at the beginning of the fiscal year, adjusted for the following
             items:
                  (1) the effect of any new contracts that are added to the group during the current fiscal year;
                  (2) changes in Sony’s share of the fair value of the underlying items;
                  (3) changes in the fulfillment cash flows that do not vary based on the returns of underlying
                      items including the following items below:
                       1.   changes in the effect of the time value of money and financial risks including the
                            effect of financial guarantees;
                       2.   experience adjustments arising from premiums received in the current fiscal year
                            that relate to future services (including those for related cash flows such as
                            insurance acquisition cash flows and premium-based taxes);
                       3.   changes in estimates of the present value of future cash flows in the liability for
                            remaining coverage (excluding the effect of the time value of money, financial risk
                            and changes therein);
                       4.   differences between any investment component expected to become payable in the
                            current fiscal year and the actual investment component that becomes payable in
                            the current fiscal year; and
                       5.   changes in the risk adjustment for non-financial risk that relate to future services;
                  (4) the effect of any currency exchange differences; and
                  (5) the amount recognized as insurance revenue for insurance contract services provided
                      during the current fiscal year, which is determined after all the adjustments above.
                  Sony selects an accounting policy to update accounting estimates related to insurance
             contracts made in the previous interim consolidated financial statements in the subsequent annual
             and interim consolidated financial statements and to measure the annual results using the
             year-to-date approach.
                  Changes in the fulfillment cash flows that relate to current or past services are recognized as
             profit or loss. Changes in the fulfillment cash flows that relate to future services are adjusted to the
             extent of the CSM carrying amount as follows:
                  •    when an increase in the fulfillment cash flows exceeds the carrying amount of the CSM,
                       the CSM is reduced to zero and the excess is recognized as insurance service expenses
                       and such excess is recorded as a loss component of the liability for the remaining
                       coverage;
                  •    when the CSM is zero, changes in the fulfillment cash flows adjust the loss component
                       within the liability for remaining coverage with correspondence to insurance service
                       expenses; and

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                      •     the excess of any decrease in the fulfillment cash flows over the loss component reduces
                            the loss component to zero and reinstates the CSM.
                      When a loss component exists, Sony allocates the following items between the loss
                 component and the remaining component of the liability for the remaining coverage for the
                 respective group of insurance contracts, based on the ratio of the loss component to the fulfillment
                 cash flows relating to the expected future cash outflows:
                      (1) expected incurred claims and expenses for the period;
                      (2) changes in the risk adjustment for non-financial risk for the risk expired; and
                      (3) finance income (expenses) from insurance contracts issued.
                     The amounts of loss component allocation in (1) and (2) above reduce the respective
                 components of insurance revenue and are reflected in insurance service expenses.

       vii) Application of the PAA
                 For certain insurance contracts in a group with a coverage period of one year or less at initial
            recognition, Sony uses the PAA to simplify the measurement of the group of insurance contracts.
                  Under the PAA, on initial recognition of each group of insurance contracts, the carrying amount of
            the liability for remaining coverage is measured at the premiums received on initial recognition, minus
            any insurance acquisition cash flows allocated to the group at the date of the receipt of the premiums.
            Sony amortizes insurance acquisition cash flows over the coverage period of the group of insurance
            contracts.
                 Subsequently, the carrying amount of the liability for remaining coverage is increased by any
            premiums received and the amortization of insurance acquisition cash flows recognized as expenses,
            and decreased by the amount recognized as insurance revenue for services provided and any additional
            insurance acquisition cash flows allocated after initial recognition.

       viii) Presentation
                  Portfolios of insurance contracts that are assets and those that are liabilities are presented
            separately in the consolidated statements of financial position. If no insured event has occurred and the
            surrender option has not been exercised as of the reporting date, the insurance contract liabilities are
            classified as non-current liabilities. However, if an insured event occurs or the surrender option is
            exercised, Sony loses its rights to postpone the payment of these liabilities. In this case, the insurance
            contract liabilities are classified as current liabilities, as they are due to be settled within 12 months
            after the end of the reporting period.
                 Sony disaggregates amounts recognized in the consolidated statements of income and the
            consolidated statements of comprehensive income into an insurance service result, which is comprised
            of insurance revenue and insurance service expenses, and insurance finance income or expenses. Sony
            does not disaggregate changes in the risk adjustment for non-financial risk between the insurance
            service result and insurance finance income or expenses and includes them in the insurance service
            result.

       (a) Insurance revenue
                 Insurance revenue excludes any investment components and is recognized as follows:

            (1) Contracts not measured under the PAA
                      Sony recognizes insurance revenue as it provides insurance contract services. For contracts
                 not measured under the PAA, the insurance revenue relating to services provided for each period
                 represents the total of the changes in the liability for remaining coverage that relate to services for
                 which Sony expects to receive consideration, and primarily comprises the following items:
                      •     a release of the CSM, measured based on coverage units provided during the fiscal year;

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                     •    changes in the risk adjustment for non-financial risk relating to current services;
                     •    claims and other insurance service expenses incurred during the year, measured at the
                          amounts expected at the beginning of the fiscal year; and
                     •    allocation of the amount of insurance acquisition cash flows in a systematic way based
                          on the passage of time.
                     The release amount of the CSM of a group of insurance contracts that is recognized as
                insurance revenue in each fiscal year is determined by identifying the coverage units in the group
                and recognizing in profit or loss the amount of the CSM allocated to the coverage units provided
                during the fiscal year. The number of coverage units is the quantity of services provided based on
                the insurance contracts in the group, determined by considering the quantity of benefits to be
                provided by each insurance contract in the group and the expected coverage period.
                     Services provided based on insurance contracts include insurance coverage and, for all direct
                participating contracts, investment related services for managing underlying items on behalf of
                policyholders. Insurance contracts other than direct participating contracts include investment
                return services for generating an investment return for the policyholder.

           (2) Contracts measured under the PAA
                    For contracts measured under the PAA, the insurance revenue for each period is the amount
                of expected premium receipts for providing services during the period. Sony allocates the
                expected premium receipts to each period based mainly on the passage of time.

       (b) Insurance service expenses
                Insurance service expenses arising from insurance contracts comprise the following items:
                (1) incurred claims and benefits excluding investment components and reduced by the loss
                    component allocation;
                (2) other incurred and directly attributable insurance service expenses (reduced by the loss
                    component allocation);
                (3) amortization of insurance acquisition cash flows;
                (4) changes that relate to past services (e.g., changes in the fulfillment cash flows relating to the
                    liability for incurred claims; and
                (5) changes that relate to future services (e.g., losses on onerous insurance contracts and reversal
                    of those losses arising from changes in the loss components).
                For contracts not measured under the PAA, amortization of insurance acquisition cash flows is
           reflected in insurance service expenses in the same amount as insurance acquisition cash flows
           recovery reflected within insurance revenue as described above.

       (c) Insurance finance income and expenses
                Insurance finance income and expenses comprise changes in the carrying amounts of groups of
           insurance contracts arising from the effects of the time value of money, financial risk and changes
           therein. Sony has chosen to disaggregate insurance finance income or expenses between profit or loss
           and other comprehensive income for contracts without direct participation features, excluding certain
           variable life insurance and individual variable annuity contracts. The amount included in profit or loss
           is determined by a systematic allocation of the expected total insurance finance income or expenses
           over the duration of the group of insurance contracts. The amount of systematic allocation is
           determined using the discount rates determined on initial recognition of the group of insurance
           contracts. For insurance finance income or expenses arising from the CSM, the discount rates
           determined on initial recognition of the group of insurance contracts are used. As a result of this
           systematic allocation, the total amounts recognized in other comprehensive income is equal to zero
           over the duration of the group of insurance contracts. In addition, the cumulative amount recognized in
           other comprehensive income at any point in time is the difference between the carrying amount of the
           group of insurance contracts and the amount measured by this systematic allocation.

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                   For contracts with direct participation features, the insurance finance income or expenses include
             changes in the value of underlying items (excluding additional premium payments and withdrawals),
             all of which are recognized in profit or loss.

   (2) Significant judgments and estimates for IFRS 17, which Sony will apply from the fiscal year ending
       March 31, 2024

       i)    Measurement methods and inputs for insurance contracts

                  Sony estimates the mortality and morbidity rates based on the most recent actual outcomes and
             analyzes the historical experience and trends in data using statistical methods. When estimating the
             mortality and morbidity rates for each group of insurance contracts, Sony takes into account the
             characteristics of policyholders including gender, health conditions and smoking habits and the
             characteristics of the group of insurance contracts such as the selective effects over time. The estimates
             are revised in a timely manner to reflect changes in lifestyle, as well as changes in social conditions
             such as improvement of mortality and morbidity rates in the future.

                  Sony estimates the lapse and surrender rates based on the most recent actual outcomes and
             determines the probability-weighted lapse and surrender rates for each group of insurance contracts by
             analyzing historical experience and trends in data using statistical methods. Lapse and surrender rates
             are estimated, taking into account both ordinary and dynamic lapses, and reflect the tendency to higher
             surrender rates when the yield on contracts increases or exceeds the guaranteed minimum for certain
             insurance contracts. In determining the lapse and surrender rates, historical actual data is considered. If
             no clear correlation is found in historical actual data, the actual results of similar products as well as
             domestic and overseas practical trends are used as reference.

                  Sony projects estimates of future expenses based on the current expense levels. The expenses
             comprise expenses directly attributable to the group of insurance contracts, including the allocation of
             fixed and variable overhead expenses. In addition, Sony applies inflation adjustments to the estimated
             claims to be paid in future.

       ii)   Discretionary participation features of future cash flows

                  For certain participating insurance contracts other than direct participating contracts, the effect of
             discretionary changes on the fulfillment cash flows is adjusted in the contractual service margin.
             Although Sony has discretionary participation features related to the investment policy for these
             contracts, the investment policy is established based on the market conditions. Therefore, the effect of
             changes in assumptions that relate to financial risk on the investment policy is included in insurance
             finance income or expenses. In addition, since the dividend policy can be changed at Sony’s discretion,
             the effect of changes in the dividend policy on the fulfillment cash flows is adjusted in the contractual
             service margin.

       iii) Risk adjustments for non-financial risk

                   Risk adjustments for non-financial risk are determined to reflect the compensation that each
             insurance subsidiary would require for bearing non-financial risk, and are allocated to groups of
             insurance contracts based on an analysis of the risk profiles of the groups. Risk adjustments for
             non-financial risk reflect the diversification benefits, in a way that is consistent with the compensation
             that the insurance company would require and that reflects its degree of risk aversion.

                  The risk adjustments for non-financial risk are determined mainly using a cost of capital
             technique. In applying a cost of capital technique, Sony determines the risk adjustment for
             non-financial risk by applying a cost-of-capital rate to the amount of capital required for each future
             reporting date and discounting the result using risk-free rates adjusted for illiquidity. The required
             capital is determined by estimating the probability distribution of the present value of future cash flows
             from insurance contracts at each future reporting date and calculating the capital that Sony would
             require to meet its contractual obligations to pay claims and expenses arising over the duration of the
             contracts at a 99.5% confidence level. The cost-of-capital rate represents the additional reward that
             investors would require for exposure to the non-financial risk.

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        iv) Discount rates

                  All cash flows are discounted using risk-free yield curves adjusted to reflect the characteristics of
             the cash flows and the liquidity of the insurance contracts. Sony determines the risk-free yield curves
             using the yields on government bonds. The yield curve is determined by incorporating long-term real
             interest rate and inflation expectations. For extrapolation for the periods in which market data is not
             available, a method using an ultimate forward rate is used. To be specific, the method uses an ultimate
             forward rate of 3.5% and starts extrapolation in the 40th year (or the 30th year for U.S. dollar). The
             forward rates for the 41st year (or the 31st year for U.S. dollar) and onwards are extrapolated so that
             they will converge to the level of the ultimate forward rate in 30 years, using the Smith-Wilson
             method. To reflect the liquidity characteristics of the insurance contracts, the risk-free yield curves are
             adjusted by an illiquidity premium. Illiquidity premiums are determined by setting up a reference
             portfolio of Sony’s assets.

        v)   Investment components

                  Sony identifies the investment component of an insurance contract by determining the amount that
             it would be required to repay to the policyholder in all circumstances, regardless of whether an insured
             event occurs or not. These include circumstances in which an insured event occurs or the contract
             matures or is terminated without an insured event occurring. Investment components are excluded from
             insurance revenue and insurance service expenses.

        vi) Determination of coverage units

                  The amount of the CSM of a group of insurance contracts that is recognized as insurance revenue
             in each year is determined by identifying the coverage units in the group and recognizing in profit or
             loss the amount of the CSM allocated to the coverage units provided during the year. The number of
             coverage units is determined by considering for each contract the quantity of benefits provided and its
             expected coverage period. To be specific, Sony determines the quantity of benefits based on:

                  •     the death benefit amount in the case of contracts for which the death benefit amount increases
                        or decreases based on the period (e.g., whole life, term life and variable life insurance
                        contracts);

                  •     the premium amount proportionate to the insurance period in the case of contracts whose host
                        contract and riders have different coverage types (e.g., disease and health insurance
                        contracts); and

                  •     the cash surrender value (or the premium reserve during the annuity payment period) in the
                        case of annuity contracts with investment-related services (e.g., individual variable annuity
                        contracts).

                   Sony considers the characteristics of insurance contracts and aggregates quantities of benefits
             related to insurance coverage, investment-return services and investment-related services when
             determining the relative weighting of the benefits provided to the policyholder by these services.

   (3) Disclosure of transition to IFRS 17

        Upon transition to IFRS 17 as of April 1, 2022, Sony determined that it was impracticable to apply the full
   retrospective approach to certain groups of insurance contracts, as the necessary information was unavailable due
   to restrictions of contract data and systems in the past or it was impossible to recreate past estimation without the
   use of hindsight. Sony will apply alternative transition methods (the modified retrospective approach or the fair
   value approach) to groups of insurance contracts for which the full retrospective approach is impracticable as of
   the date of the transition.




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        Sony will apply the following approaches on transition to IFRS 17:

    Year of issue (fiscal year)   Transition approach
    2015 and thereafter           For all groups of insurance contracts: Full retrospective approach
                                  For groups of insurance contracts with direct participation features and certain
                                  groups of insurance contracts without direct participation features: Fair value
    1993 – 2014
                                  approach
                                  For other groups of insurance contracts: Modified retrospective approach
    In and before 1992            For all groups of insurance contracts: Fair value approach

   Modified retrospective approach
        The objective of the modified retrospective approach is to achieve the closest outcome to retrospective
   application possible using reasonable and supportable information available without undue cost or effort. Sony
   will apply each of the following modifications only to the extent that it does not have reasonable and supportable
   information to apply IFRS 17 retrospectively.

        Sony will apply the following modifications to certain groups of insurance contracts:
        •    For groups of contracts issued, initiated or acquired from April 1, 1993 to March 31, 2015, the future
             cash flows on initial recognition are estimated by adjusting the amount as of April 1, 2015, which can
             be determined retrospectively, for the cash flows that are known to have occurred before that date;
        •    For groups of contracts issued, initiated or acquired from April 1, 1993 to March 31, 2013, the
             illiquidity premiums applied to the observable risk-free yield curves on initial recognition are estimated
             by determining an average spread between the observable risk-free yield curves and the discount rates,
             which can be determined retrospectively, for the period from April 1, 2013 to March 31, 2022. The
             amount of insurance finance income or expenses recognized in accumulated other comprehensive
             income as of April 1, 2022 is calculated by using this discount rate; and
        •    The risk adjustment for non-financial risk on initial recognition is determined by adjusting the amount
             as of April 1, 2022 for the expected release of risk before April 1, 2022.
        After applying such modifications to fulfillment cash flows, the CSM (or the loss component) on initial
   recognition is determined as follows:
        •    the amount of the CSM recognized as profit or loss before April 1, 2022 is determined by comparing
             the remaining coverage units as of the date of the transition and the coverage units provided based on
             groups of insurance contracts before the date of the transition; and
        •    the amount allocated to the loss component before April 1, 2022 is determined using the proportion of
             the loss component relative to the total estimate of the present value of the future cash outflows plus
             the risk adjustment for non-financial risk on initial recognition.

   Fair value approach
        Under the fair value approach, the CSM (or the loss component) as of April 1, 2022 is determined as the
   difference between the fair value of a group of insurance contracts at that date and the fulfillment cash flows at
   that date.

        For all insurance contracts measured under the fair value approach, Sony uses reasonable and supportable
   information available as of April 1, 2022 to determine the following matters:
        •    how to identify groups of contracts;
        •    whether a contract meets the definition of an insurance contract with direct participation features; and
        •    how to identify discretionary cash flows for contracts without direct participation features.
        For groups of contracts measured under the fair value approach, the discount rates on initial recognition are
   determined as of April 1, 2022 instead of at the date of initial recognition.

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        For all insurance contracts measured under the fair value approach, the amount of insurance finance income
   or expenses recognized in accumulated other comprehensive income as of April 1, 2022 is determined to be zero.

   Amendments to IAS 1 “Presentation of Financial Statements”

        In January 2020, the IASB issued “Classification of Liabilities as Current or Non-current” (“Amendments to
   IAS 1”). The amendments clarify the right to defer settlement, which is one of the existing requirements when
   classifying a liability to current or non-current. The amendments will be effective for Sony as of April 1, 2024.
   The impact of the amendments on Sony’s results of operations and financial position is being evaluated.

       In October 2022, the IASB issued “A Non-current Liability with Covenants” (“Amendments to IAS 1”).
   The amendments were issued to improve the information a company provides about long-term debt with
   covenants by enabling investors to understand the risk that such debt could become repayable within twelve
   months. The amendments will be effective for Sony as of April 1, 2024. The impact of the amendments on
   Sony’s results of operations and financial position is being evaluated.

   4.   Business segment information

        The reportable segments presented below are the segments of Sony for which separate financial information
   is available and for which operating income or loss amounts are evaluated regularly by the chief operating
   decision maker (“CODM”) in deciding how to allocate resources and in assessing performance. The CODM does
   not evaluate segments using discrete asset information. Sony’s CODM is its Chairman, President and Chief
   Executive Officer.

        The former Electronics Products & Solutions segment has been renamed the Entertainment, Technology &
   Services (ET&S) segment effective from April 2022. This change has not resulted in any reclassification of
   businesses across segments.

         The G&NS segment includes the network services businesses, the manufacture and sales of home gaming
   products and the production and sales of software. The Music segment includes the Recorded Music, Music
   Publishing and Visual Media and Platform businesses. The Pictures segment includes the Motion Pictures,
   Television Productions and Media Networks businesses. The ET&S segment includes the Televisions business,
   the Audio and Video business, the Still and Video Cameras business, the smartphone business and the internet-
   related service business. The I&SS segment includes the image sensors business. The Financial Services segment
   primarily represents individual life insurance and non-life insurance businesses in the Japanese market and the
   banking business in Japan. All Other consists of various operating activities, including the disc manufacturing
   and recording media businesses. Sony’s products and services are generally unique to a single operating segment.




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       Segment sales and financial services revenue:

                                                                                   Yen in millions
                                                                            Fiscal year ended March 31
                                                                        2021            2022          2023

       Sales and financial services revenue:
         Game & Network Services —
            Customers                                                 2,604,713     2,674,356      3,538,533
            Intersegment                                                 51,565        65,407        106,065
              Total                                                   2,656,278     2,739,763      3,644,598
          Music —
           Customers                                                    927,250     1,100,532      1,364,815
           Intersegment                                                  12,617        16,417         15,817
               Total                                                    939,867     1,116,949      1,380,632
          Pictures —
            Customers                                                   751,800     1,236,399      1,364,887
            Intersegment                                                  1,187         2,512          4,535
               Total                                                    752,987     1,238,911      1,369,422
          Entertainment, Technology & Services —
            Customers                                                 2,016,887     2,297,886      2,436,739
            Intersegment                                                 51,200        41,300         39,286
               Total                                                  2,068,087     2,339,186      2,476,025
          Imaging & Sensing Solutions —
            Customers                                                   937,859       992,200      1,301,481
            Intersegment                                                 74,638        84,224        100,706
               Total                                                  1,012,497     1,076,424      1,402,187
          Financial Services —
            Customers                                                 1,664,991     1,524,811      1,443,996
            Intersegment                                                  9,011         9,018         10,550
               Total                                                  1,674,002     1,533,829      1,454,546
          All Other —
            Customers                                                    84,202        82,264         72,338
            Intersegment                                                 16,534        16,519         15,285
             Total                                                      100,736        98,783         87,623
       Corporate and elimination                                       (205,793)     (222,332)      (275,196)
       Consolidated total                                             8,998,661     9,921,513    11,539,837

        G&NS intersegment amounts primarily consist of transactions with the ET&S segment. ET&S intersegment
   amounts primarily consist of transactions with the G&NS segment. I&SS intersegment amounts primarily consist
   of transactions with the G&NS segment and the ET&S segment. Corporate and elimination includes certain
   brand and patent royalty income.




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       Segment profit (loss):

                                                                                     Yen in millions
                                                                              Fiscal year ended March 31
                                                                          2021            2022          2023

       Operating income (loss):
         Game & Network Services                                         341,718        346,089        250,006
         Music                                                           184,786        210,933        263,107
         Pictures                                                         79,851        217,393        119,255
         Entertainment, Technology & Services                            127,859        212,942        179,461
         Imaging & Sensing Solutions                                     145,884        155,597        212,214
         Financial Services                                              154,765        150,111        223,935
         All Other                                                         7,178         17,981         16,849
            Total                                                       1,042,041     1,311,046      1,264,827
          Corporate and elimination                                       (86,786)     (108,707)       (56,621)
       Consolidated operating income                                     955,255      1,202,339      1,208,206
       Financial income                                                   83,792         19,304         31,058
       Financial expenses                                                (41,082)      (104,140)       (58,951)
       Consolidated income before income taxes                           997,965      1,117,503      1,180,313

        Operating income (loss) is sales and financial services revenue less costs and expenses, and includes the
   share of profit (loss) of investments accounted for using the equity method.

       Other significant items:

                                                                                     Yen in millions
                                                                              Fiscal year ended March 31
                                                                          2021            2022          2023

       Share of profit (loss) of investments accounted for using the
         equity method:
         Game & Network Services                                               —             14            144
         Music                                                                570         4,073          7,063
         Pictures                                                             123          (664)           515
         Entertainment, Technology & Services                                  57         1,103          1,076
         Imaging & Sensing Solutions                                         (123)         (603)        (1,128)
         Financial Services                                                    —             —              —
         All Other                                                         10,924        19,723         16,779
       Consolidated total                                                  11,551        23,646         24,449
       Depreciation and amortization:
         Game & Network Services                                          52,987         61,219         87,201
         Music                                                            46,217         61,465         67,240
         Pictures                                                        290,895        396,251        506,697
         Entertainment, Technology & Services                             82,174         91,759         97,448
         Imaging & Sensing Solutions                                     159,469        172,842        196,674
         Financial Services, including deferred insurance acquisition
           costs                                                           68,598        94,169        110,856
         All Other                                                          7,686         4,300          4,376
            Total                                                        708,026        882,005      1,070,492
          Corporate                                                       24,085         22,465         18,621
       Consolidated total                                                732,111        904,470      1,089,113




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       Sales to customers by product category:

        The following table is a breakdown of sales and financial services revenue to external customers by product
   category for each segment. Sony management views each segment as a single operating segment.

                                                                                       Yen in millions
                                                                                Fiscal year ended March 31
                                                                            2021            2022          2023

       Sales and financial services revenue:
       Game & Network Services
         Digital Software and Add-on Content                             1,454,654      1,424,459      1,523,045
         Network Services                                                  382,950        409,355        464,676
         Hardware and Others                                               767,109        840,542      1,550,812
           Total                                                         2,604,713      2,674,356      3,538,533
       Music
        Recorded Music — Streaming                                         337,100        462,368        598,868
        Recorded Music — Others                                            179,167        206,412        286,270
        Music Publishing                                                   156,862        200,334        276,665
        Visual Media and Platform                                          254,121        231,418        203,012
            Total                                                          927,250      1,100,532      1,364,815
       Pictures
         Motion Pictures                                                   265,301        518,840        464,043
         Television Productions                                            267,123        419,494        536,250
         Media Networks                                                    219,376        298,065        364,594
            Total                                                          751,800      1,236,399      1,364,887
       Entertainment, Technology & Services
         Televisions                                                       709,007        858,837        733,251
         Audio and Video                                                   313,975        326,704        391,608
         Still and Video Cameras                                           338,694        414,898        565,018
         Mobile Communications                                             358,580        365,864        356,771
         Other                                                             296,631        331,583        390,091
            Total                                                        2,016,887      2,297,886      2,436,739
       Imaging & Sensing Solutions                                         937,859        992,200      1,301,481
       Financial Services                                                1,664,991      1,524,811      1,443,996
       All Other                                                            84,202         82,264         72,338
       Corporate                                                            10,959         13,065         17,048
          Consolidated total                                             8,998,661      9,921,513    11,539,837

        In the G&NS segment, Digital Software and Add-on Content includes distribution of software titles and
   add-on content through the network by Sony Interactive Entertainment; Network Services includes network
   services relating to game, video and music content; Hardware and Others includes home gaming consoles,
   packaged software, game software sold bundled with home gaming consoles, peripheral devices and first-party
   software for third-party platforms. In the Music segment, Recorded Music — Streaming includes the distribution
   of digital recorded music by streaming; Recorded Music — Others includes the distribution of recorded music by
   physical media and digital download as well as revenue derived from artists’ live performances; Music
   Publishing includes the management and licensing of the words and music of songs; Visual Media and Platform
   includes the production and distribution of animation titles and game applications, and various service offerings
   for music and visual products. In the Pictures segment, Motion Pictures includes the worldwide production,
   acquisition and distribution of live-action and animated motion pictures; Television Productions includes the
   production, acquisition and distribution of television programming; Media Networks includes the operation of
   television networks and DTC streaming services worldwide. In the ET&S segment, Televisions includes LCD
   and OLED televisions; Audio and Video includes Blu-ray disc players and recorders, home audio, headphones


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   and memory-based portable audio devices; Still and Video Cameras includes interchangeable lens cameras,
   compact digital cameras, consumer video cameras and video cameras for broadcast; Mobile Communications
   includes smartphones and an internet-related service business; Other includes display products such as projectors
   and medical equipment.

       Geographic Information:

        Sales and financial services revenue attributed to countries and areas based on location of external
   customers for the fiscal years ended March 31, 2021, 2022 and 2023 and non-current assets (property, plant and
   equipment, ROU assets, goodwill, content assets and other intangible assets) as of March 31, 2022 and 2023 are
   as follows:

                                                                                       Yen in millions
                                                                                Fiscal year ended March 31
                                                                            2021            2022          2023

       Sales and financial services revenue:
         Japan                                                           2,965,936      2,764,321      2,691,972
         United States                                                   2,147,686      2,766,021      3,401,402
         Europe                                                          1,817,854      1,870,091      2,190,311
         China                                                             762,766        771,006        855,437
         Asia-Pacific                                                      861,623      1,149,261      1,563,414
         Other Areas                                                       442,796        600,813        837,301
            Total                                                        8,998,661      9,921,513    11,539,837

                                                                                            Yen in millions
                                                                                               March 31
                                                                                          2022           2023

       Non-current assets (property, plant and equipment,
         right-of-use assets, goodwill, content assets and other
         intangible assets):
         Japan                                                                          1,592,981      1,875,354
         United States                                                                  1,830,602      2,417,228
         Europe                                                                           565,044        603,338
         China                                                                             34,029         34,322
         Asia-Pacific                                                                     158,030        186,359
         Other Areas                                                                       91,001        107,162
            Total                                                                       4,271,687      5,223,763


        Major countries and areas in each geographic segment excluding Japan, United States and China are as
   follows:

            (1) Europe:               United Kingdom, France, Germany, Russia, Spain and Italy
            (2) Asia-Pacific:         India, South Korea, Oceania, Thailand and Malaysia
            (3) Other Areas:          The Middle East/Africa, Brazil, Mexico and Canada

        There are no individually material countries with respect to sales and financial services revenue or
   non-current assets (property, plant and equipment, ROU assets, goodwill, content assets and other intangible
   assets) included in Europe, Asia-Pacific and Other Areas. As of March 31, 2023, Sony has suspended its business
   in Russia.

        Transfers between reportable business segments or geographic areas are made at individually negotiated
   prices that are intended to reflect a market-based transfer price.

        There were no sales or financial services revenue with any single major external customer for the fiscal
   years ended March 31, 2021, 2022 and 2023.




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   5.   Financial instruments

   (1) Financial instruments by measurement method

        The carrying amount of Sony’s assets and liabilities by measurement method as of March 31, 2022 and
        2023 are as follows:

                                                                                           Yen in millions
                                                                                             March 31
                                                                                        2022             2023

        Assets:
          Financial assets required to be measured at amortized cost (“AC”)
            Investments and advances in the Financial Services segment
                Debt securities                                                         358,238        422,025
                Housing loans in the banking business                                 2,752,985      3,129,393
                Other loans                                                             230,516        229,666
            Trade and other receivables *
                Trade receivables                                                     1,617,323      1,761,025
                Other receivables                                                         2,736          2,712
            Other financial assets
                Time deposit                                                            39,223           36,671
                Security deposit                                                       121,856           95,813
                Non-current other receivables in the Pictures segment                  166,279          152,619
                Other                                                                   16,425           19,582
          Financial assets required to be measured at fair value through profit or
            loss (“FVPL”)
            Investments and advances in the Financial Services segment
                Debt securities                                                       1,012,057      1,059,718
                Equity securities                                                     1,798,536      2,123,062
            Other financial assets
                Debt securities                                                         16,013           20,905
                Equity securities                                                      120,274          125,590
                Derivative assets                                                       61,023           70,144
          Financial assets designated to be measured at FVPL
            Investments and advances in the Financial Services segment
                Debt securities                                                        267,169          188,906
          Financial assets required to be measured at fair value through other
            comprehensive income (“FVOCI”)
            Investments and advances in the Financial Services segment
                Debt securities                                                      12,378,244     11,615,862
            Other financial assets
                Debt securities                                                             522             125
          Financial assets designated to be measured at FVOCI
            Investments and advances in the Financial Services segment
                Equity securities                                                         8,016           5,453
            Other financial assets
                Equity securities                                                      303,992          421,845
             Total assets                                                            21,271,427     21,481,116
             Current assets                                                           2,130,033      2,203,044
             Non-current assets                                                      19,141,394     19,278,072

   *    The amounts of trade and other receivables exclude contract assets within trade and other receivables, and
        contract assets in the consolidated statements of financial position.




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        Cash and cash equivalents are excluded from the table above. Refer to Note 27.

                                                                                              Yen in millions
                                                                                                March 31
                                                                                           2022             2023

        Liabilities:
          Financial liabilities required to be measured at AC
             Short-term borrowings                                                       1,976,553      1,914,934
             Current portion of long-term debt                                             171,409        187,942
             Trade and other payables
                Trade payables                                                           1,716,316      1,701,598
                Other payables                                                             126,926        162,475
             Deposits from customers in the banking business *1                          3,004,215      3,306,981
             Long-term debt                                                              1,203,646      1,767,696
             Deferred consideration *2                                                          —          87,937
             Other financial liabilities                                                    63,281         61,128
          Financial liabilities required to be measured at FVPL
             Other financial liabilities
                Derivative liabilities                                                      72,120          34,123
                Contingent consideration                                                    21,552          51,512
          Financial liabilities designated to be measured at FVPL
             Other financial liabilities
                Redeemable noncontrolling interests                                         34,995          47,326
             Total liabilities                                                           8,391,013      9,323,652

             Current liabilities                                                         6,975,408      7,205,678
             Non-current liabilities                                                     1,415,605      2,117,974

   *1   Deposits from customers in the banking business include the non-current portion that is recorded within
        other financial liabilities in the consolidated statements of financial position.
   *2   Deferred consideration is recorded within other financial liabilities or trade and other payables in the
        consolidated statements of financial position.

   (2) Financial instruments measured at fair value on a recurring basis

        The following section describes the valuation techniques used by Sony to measure different financial
   instruments at fair value, including an indication of the level in the fair value hierarchy in which each instrument
   is generally classified.

   Debt instruments and equity instruments

         Where quoted prices of financial instruments are available in an active market, these instruments are
   classified in Level 1 of the fair value hierarchy. Level 1 financial instruments include exchange-traded equity
   instruments. If quoted market prices are not available for the specific financial instruments or the market is
   inactive, then fair values are estimated by using pricing models, quoted prices of financial instruments with
   similar characteristics or discounted cash flows and mainly classified in Level 2 of the fair value hierarchy.
   Level 2 financial instruments include debt instruments with quoted prices that are not traded as actively as
   exchange-traded instruments, such as the majority of government bonds and corporate bonds. In certain cases
   where there is limited activity or less transparency around inputs to the valuation, these instruments are classified
   within Level 3 of the fair value hierarchy. Level 3 financial instruments primarily include certain private equity
   investments, investment funds, securitized products which are not classified within Level 1 or Level 2 and
   domestic and foreign corporate bonds for which quoted prices are not available in a market and where there is
   less transparency around inputs. Sony estimates the fair value for private equity investments primarily by using
   comparable company analysis and discounted cash flow method. The price book-value ratio and price earnings
   ratio of comparable companies, as well as cost of capital and EBITDA multiples for the terminal value used in

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   discounted cash flow method, are primarily used as significant unobservable inputs in the fair value measurement
   of equity securities classified as Level 3. The fair value increases (decreases) as the price book-value ratio and
   price earnings ratio of comparable companies rise (decline). In addition, the fair value increases (decreases), as
   the cost of capital declines (rises) and EBITDA multiples rise (decline), both of which are used in discounted
   cash flow. Sony estimates the fair value for certain investment funds by using the net asset value. Sony estimates
   the fair value for securitized products and domestic and foreign corporate bonds for which quoted prices are not
   available in a market and where there is less transparency around inputs by using third-party information such as
   indicative quotes from dealers without adjustment or discounted cash flows. For validating the fair values of
   Level 3 financial instruments, Sony primarily uses internal models which include management judgment or
   estimation of assumptions that market participants would use in pricing the asset.

   Derivatives

        Exchange-traded derivatives valued using quoted prices are classified within Level 1 of the fair value
   hierarchy. However, few classes of derivative contracts are listed on an exchange; thus, the majority of Sony’s
   derivative positions are valued using internally developed models that use as their basis readily observable
   market parameters, meaning parameters that are actively quoted and can be validated to external sources,
   including pricing services. Depending on the types and contractual terms of derivatives, fair value can be
   modeled using a series of techniques, such as the Black-Scholes option pricing model, which are consistently
   applied. For derivative products that have been established for some time, Sony uses models that are widely
   accepted in the financial services industry. These models reflect the contractual terms of the derivatives,
   including the period to maturity, and market-based parameters such as interest rates, volatility, and the credit
   rating of the counterparty. Further, many of these models do not contain a high level of subjectivity as the
   techniques used in the models do not require significant judgment, and inputs to the model are readily observable
   from actively quoted markets. Such instruments are generally classified within Level 2 of the fair value
   hierarchy.

        In determining the fair value of Sony’s interest rate swap derivatives, Sony uses the present value of
   expected cash flows based on market observable interest rate yield curves commensurate with the term of each
   instrument. For foreign currency derivatives, Sony’s approach is to use forward contract valuation models
   employing market observable inputs, such as spot currency rates and time value. These derivatives are classified
   within Level 2 since Sony primarily uses observable inputs in its valuation of its derivative assets and liabilities.




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       The fair value of Sony’s assets and liabilities that are measured at fair value on a recurring basis as of
   March 31, 2022 and 2023 is as follows:
                                                                                      Yen in millions
                                                                                      March 31, 2022
                                                                                               Presentation in the consolidated statements of
                                                                                                             financial position
                                                                                          Investments                     Investments
                                                                                         and advances                    and advances
                                                                                             in the                          in the
                                                                                           Financial         Other         Financial       Other
                                                                                            Services       financial        Services     financial
                                                                                            segment          assets         segment        assets
                                             Level 1    Level 2    Level 3    Total        (Current)      (Current)      (Non-current) (Non-current)
   Assets:
   Financial assets required to be
     measured at FVPL
     Debt securities
       Japanese national government
           bonds                                   —    368,273     —          368,273              —              —          368,273            —
       Japanese local government bonds             —        600     —              600              —              —              600            —
       Japanese corporate bonds                    —     15,350     18          15,368              —              —           15,317            51
       Foreign government bonds                29,237   185,238     —          214,475              —              —          214,475            —
       Foreign corporate bonds                     —         —     117             117              —              —               —            117
       Securitized products                        —         —   3,713           3,713              —              —            3,713            —
       Investment funds                            —    377,004 48,520         425,524               3             —          409,676        15,845
     Equity securities                      1,906,244     9,349  3,217       1,918,810              —              —        1,798,536       120,274
     Derivative assets
       Interest rate contracts                     —      26,795       —       26,795               —              32              —         26,763
       Foreign exchange contracts                  —      30,204       —       30,204               —          28,147              —          2,057
       Equity contracts                            —          —     4,024       4,024               —           3,669              —            355
   Financial assets designated to be
     measured at FVPL
     Debt securities
       Japanese national government
           bonds                                   —     48,711        —       48,711          4,002               —          44,709             —
       Japanese local government bonds             —     26,612        —       26,612          5,315               —          21,297             —
       Japanese corporate bonds                    —      7,228        —        7,228          3,907               —           3,321             —
       Foreign government bonds                    —     17,598        —       17,598          1,466               —          16,132             —
       Foreign corporate bonds                     —    163,395     3,625     167,020         33,690               —         133,330             —
   Financial assets required to be
     measured at FVOCI
     Debt securities
       Japanese national government
           bonds                                   — 9,667,158      — 9,667,158                   —                —        9,667,158            —
       Japanese local government bonds             —    36,369      —    36,369               12,435               —           23,934            —
       Japanese corporate bonds                    —   746,223 154,245  900,468               10,257               —          890,211            —
       Foreign government bonds                    — 1,353,394      — 1,353,394                   —                —        1,353,277           117
       Foreign corporate bonds                     —   318,699 20,837   339,536               65,000               —          274,131           405
       Securitized products                        —    41,982 39,859    81,841                   —                —           81,841            —
   Financial assets designated to be
     measured at FVOCI
     Equity securities                       106,499          — 205,509       312,008               —              —            8,016       303,992
     Total assets                           2,041,980 13,440,182 483,684 15,965,846          136,075           31,848     15,327,947        469,976


                                                                                             Presentation in the
                                                                                           consolidated statements
                                                                                             of financial position
                                                                                             Other           Other
                                                                                           financial       financial
                                                                                          liabilities      liabilities
                                             Level 1    Level 2    Level 3    Total       (Current)      (Non-current)
   Liabilities:
   Financial liabilities required to be
     measured at FVPL
     Derivative liabilities
        Interest rate contracts                   —        7,530       —        7,530            471            7,059
        Foreign exchange contracts                —       36,582       —       36,582         36,582               —
        Equity contracts                      11,903      16,105       —       28,008         28,008               —
     Contingent consideration                     —           —    21,552      21,552          1,475           20,077
   Financial liabilities designated to be
     measured at FVPL
     Redeemable noncontrolling interests           —          —    34,995      34,995           2,435          32,560
     Total liabilities                        11,903      60,217   56,547     128,667         68,971           59,696




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                                                                                      Yen in millions
                                                                                      March 31, 2023
                                                                                               Presentation in the consolidated statements of
                                                                                                             financial position
                                                                                          Investments                    Investments
                                                                                         and advances                   and advances
                                                                                             in the                         in the
                                                                                           Financial        Other         Financial       Other
                                                                                            Services      financial        Services     financial
                                                                                            segment         assets         segment        assets
                                             Level 1    Level 2    Level 3    Total        (Current)     (Current)      (Non-current) (Non-current)
   Assets:
   Financial assets required to be
     measured at FVPL
     Debt securities
       Japanese national government
           bonds                                   —    422,739     —          422,739              —             —          422,739            —
       Japanese local government bonds             —        600     —              600              —             —              600            —
       Japanese corporate bonds                    —     16,872     38          16,910              —             —           16,872            38
       Foreign government bonds                30,100   173,393     —          203,493              —             —          203,493            —
       Foreign corporate bonds                     —      5,515  3,377           8,892              —             —            5,515         3,377
       Securitized products                        —         —      —               —               —             —               —             —
       Investment funds                            —    367,193 60,796         427,989              —             —          410,499        17,490
     Equity securities                      2,236,646     5,217  6,789       2,248,652              —             —        2,123,062       125,590
     Derivative assets
       Interest rate contracts                    —       43,844       —       43,844               —            438              —         43,406
       Foreign exchange contracts                 —       21,318       —       21,318               —         19,978              —          1,340
       Equity contracts                          290          —     4,692       4,982               —          4,982              —             —
   Financial assets designated to be
     measured at FVPL
     Debt securities
       Japanese national government
           bonds                                   —      8,830        —        8,830          1,001              —           7,829             —
       Japanese local government bonds             —     16,038        —       16,038          2,010              —          14,028             —
       Japanese corporate bonds                    —      3,315        —        3,315             —               —           3,315             —
       Foreign government bonds                    —     15,325        —       15,325             —               —          15,325             —
       Foreign corporate bonds                     —    141,857     3,541     145,398         21,227              —         124,171             —
   Financial assets required to be
     measured at FVOCI
     Debt securities
       Japanese national government
           bonds                                   — 9,095,550      — 9,095,550                   —               —        9,095,550             —
       Japanese local government bonds             —    43,655      —    43,655                1,369              —           42,286             —
       Japanese corporate bonds                    —   736,204 171,622  907,826                6,815              —          901,011             —
       Foreign government bonds                    — 1,166,279      — 1,166,279                   —               —        1,166,154            125
       Foreign corporate bonds                     —   307,717 24,672   332,389               46,367              —          286,022             —
       Securitized products                        —    29,697 40,591    70,288                   —               —           70,288             —
   Financial assets designated to be
     measured at FVOCI
     Equity securities                       103,270          — 324,028       427,298               —             —            5,453       421,845
     Total assets                           2,370,306 12,621,158 640,146 15,631,610           78,789          25,398     14,914,212        613,211


                                                                                             Presentation in the
                                                                                           consolidated statements
                                                                                             of financial position
                                                                                             Other          Other
                                                                                           financial      financial
                                                                                          liabilities     liabilities
                                             Level 1    Level 2    Level 3    Total       (Current)     (Non-current)
   Liabilities:
   Financial liabilities required to be
     measured at FVPL
     Derivative liabilities
        Interest rate contracts                   —        5,656       —        5,656            427           5,229
        Foreign exchange contracts                —       19,876       —       19,876         18,679           1,197
        Equity contracts                       3,321       5,270       —        8,591          8,591              —
     Contingent consideration                     —           —    51,512      51,512         14,790          36,722
   Financial liabilities designated to be
     measured at FVPL
     Redeemable noncontrolling interests           —          —    47,326      47,326               —         47,326
     Total liabilities                         3,321      30,802   98,838     132,961         42,487          90,474


         Cash and cash equivalents are excluded from the tables above. Refer to Note 27.

        Transfers of debt securities from Level 2 to Level 1 were 1,953 million yen and 2,704 million yen for the
   fiscal years ended March 31, 2022 and 2023, respectively, as quoted prices in active markets for certain debt
   securities became available. Transfers of debt securities from Level 1 to Level 2 were 2,523 million yen and

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   1,982 million yen for the fiscal years ended March 31, 2022 and 2023, respectively, as quoted prices in active
   markets for certain debt securities were not available.
        Transfers of equity securities from Level 2 to Level 1 were 12,276 million yen and 24,958 million yen for
   the fiscal years ended March 31, 2022 and 2023, respectively, as quoted prices in active markets for certain
   equity securities became available.
        The valuation techniques used to measure the fair value of assets and liabilities classified as Level 3,
   significant unobservable inputs, and their range are as follows:
                                                                                        Significant               Range
                                                                Valuation              unobservable
                                                               technique(s)               inputs      March 31, 2022 March 31, 2023

   Financial assets required to be measured at
     FVOCI
     Debt securities
       Japanese corporate bonds                                                                        26bp-67bp   34bp-63bp
                                                            Discounted cash
       Foreign corporate bonds                                              Credit spread *            0bp-170bp     10bp
                                                                 flow
       Securitized products                                                                           100bp-160bp 150bp-190bp
   * bp = basis point
        The decrease (increase) in fair value is the result of rise (decline) of credit spreads.
        For the above assets classified as Level 3, the fair value would not change significantly, even if one or more
   of the significant unobservable inputs are changed to reflect reasonably possible alternative assumptions.
       The changes in fair value of Level 3 assets and liabilities for the fiscal years ended March 31, 2022 and
   2023 are as follows:
                                                                              Yen in millions
                                                                    Fiscal year ended March 31, 2022
                                                  Total gains (losses)*1
                                                              Other                            Transfers Transfers
                                       Beginning Net comprehensive                  Sales and    into     out of         Ending
                                        balance income *2   income   *3  Purchases settlements Level 3*4 Level 3*5 Other balance
   Assets:
   Financial assets required to be
     measured at FVPL
     Debt securities
        Japanese corporate bonds             62       —             —             20           —        —        (34) (30)    18
        Foreign corporate bonds             213        5            —             10           —        —         — (111)    117
        Securitized products              6,142       —             —             —        (2,429)      —         —    —   3,713
        Investment funds                 37,254    5,678           394        22,079      (16,885)      —         —    — 48,520
     Equity securities                    3,172     (395)          (15)          477          (22)      —         —    —   3,217
     Derivative assets
        Equity contracts                 10,176   (6,629)          477           —             —        —        —      —     4,024
   Financial assets designated to be
     measured at FVPL
     Debt securities
        Foreign corporate bonds              —       337             —           —             —      3,288      —      —     3,625
   Financial assets required to be
     measured at FVOCI
     Debt securities
        Japanese corporate bonds         93,288       (1)       (13,006)      73,964           —         —        —      — 154,245
        Foreign corporate bonds          18,066      700             (5)      12,000       (9,868)       —        —     (56) 20,837
        Securitized products              9,402      279            (82)      41,763      (10,625)    3,166   (4,044)    — 39,859
   Financial assets designated to be
     measured at FVOCI
     Equity securities                  104,541       —         25,614        89,274       (5,825)      63    (7,884) (274) 205,509
   Liabilities:
   Financial liabilities required to
     be measured at FVPL
     Contingent consideration             6,161      297          1,645       15,221       (1,762)      —        —      (10) 21,552
   Financial liabilities designated
     to be measured at FVPL
     Redeemable noncontrolling
        interests                         8,179    2,008          2,978       27,240       (5,285)      —        — (125) 34,995

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                                                                              Yen in millions
                                                                    Fiscal year ended March 31, 2023
                                                  Total gains (losses)*1
                                                              Other                            Transfers Transfers
                                       Beginning Net comprehensive                  Sales and     to      out of         Ending
                                        balance income *2   income   *3  Purchases settlements Level 3*4 Level 3*5 Other balance
   Assets:
   Financial assets required to be
     measured at FVPL
     Debt securities
        Japanese corporate bonds             18       —             —          20         —            —      —       —      38
        Foreign corporate bonds             117      (14)           —       3,434        (70)          —      —      (90) 3,377
        Securitized products              3,713       —             —          —      (3,713)          —      —       —      —
        Investment funds                 48,520   (2,541)          395     17,254     (2,832)          —      —       — 60,796
     Equity securities                    3,217     (413)           —       4,021        (36)          —      —       —   6,789
     Derivative assets
        Equity contracts                  4,024     (393)          356       705          —            —      —      —    4,692
   Financial assets designated to be
     measured at FVPL
     Debt securities
        Foreign corporate bonds           3,625      (84)            —         —          —            —      —      —    3,541
   Financial assets required to be
     measured at FVOCI
     Debt securities
        Japanese corporate bonds        154,245        6        (30,203)   47,574         —         —          —     — 171,622
        Foreign corporate bonds          20,837      598             —     24,362    (21,125)       —          —     — 24,672
        Securitized products             39,859     (389)             6    13,575    (15,048)    6,712     (4,124)   — 40,591
   Financial assets designated to be
     measured at FVOCI
     Equity securities                  205,509       —         (24,913) 143,611        (126)      146      (600) 401 324,028
   Liabilities:
   Financial liabilities required to
     be measured at FVPL
     Contingent consideration            21,552     (475)         1,240    43,455    (13,951)          —      — (309) 51,512
   Financial liabilities designated
     to be measured at FVPL
     Redeemable noncontrolling
        interests                        34,995   (1,410)         2,877    13,670     (2,802)          —      —      (4) 47,326

   *1   For liability items, gains are presented as negative and losses are presented as positive.

   *2   Gains (losses) recognized in net income are included in financial services revenue, other operating (income)
        expense, net, financial income and financial expenses in the consolidated statements of income.

   *3   Gains (losses) recognized in other comprehensive income are included in changes in equity instruments
        measured at fair value through other comprehensive income, changes in debt instruments measured at fair
        value through other comprehensive income and exchange differences on translating foreign operations in the
        consolidated statements of comprehensive income.

   *4   Certain financial assets were transferred to Level 3 because the observability of the inputs used decreased.

   *5   Certain financial assets were transferred from Level 3 because observable market data became available.




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       The changes in unrealized gains (losses) recognized in net income for Level 3 assets and liabilities held as
   of March 31, 2022 and 2023 are as follows:
                                                                                              Yen in millions
                                                                                         Fiscal year ended March 31
                                                                                           2022              2023

       Assets:
       Financial assets required to be measured at FVPL
         Debt securities
            Foreign corporate bonds                                                             5               (14)
            Investment funds                                                                4,562            (2,420)
         Equity securities                                                                     98              (413)
         Derivative assets
            Equity contracts                                                               (6,629)              (393)
       Financial assets designated to be measured at FVPL
         Debt securities
            Foreign corporate bonds                                                           337                (84)
       Financial assets required to be measured at FVOCI
         Debt securities
            Japanese corporate bonds                                                           —                   6
            Foreign corporate bonds                                                           700                598
            Securitized products                                                              238               (389)
       Liabilities:
       Financial liabilities required to be measured at FVPL
         Contingent consideration                                                            (513)           (2,683)
       Financial liabilities designated to be measured at FVPL
         Redeemable noncontrolling interests                                               (1,878)            1,410

       Gains (losses) recognized in net income are included in financial services revenue, other operating (income)
   expense, net, financial income and financial expenses in the consolidated statements of income.

       Sony generally elects to designate investments in equity instruments held to promote its businesses and to
   maintain and enhance the business relationship as financial assets measured at fair value through other
   comprehensive income based on the purposes of holding the investments.

       Equity instruments measured at fair value through other comprehensive income as of March 31, 2022 and
   2023 comprise the following:
                                                                                              Yen in millions
                                                                                                  March 31
                                                                                           2022              2023

       Marketable equity instruments                                                     106,499         103,270
       Non-marketable equity instruments                                                 205,509         324,028
       Total                                                                             312,008         427,298

       Significant marketable equity instruments measured at fair value through other comprehensive income as of
   March 31, 2022 and 2023 are as follows:
                                                                                              Yen in millions
                                                                                                  March 31
                                                                                           2022              2023

       Bilibili Inc.                                                                       54,162            54,214
       Toei Animation Co., Ltd.                                                             8,371            10,407
       ANYCOLOR Inc.                                                                           —             10,061
       KADOKAWA Corporation                                                                 9,161             8,017




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       The balances of the non-marketable instruments measured at fair value through other comprehensive
   income by major sector categories as of March 31, 2022 and 2023 are as follows:
                                                                                                     Yen in millions
                                                                                                         March 31
                                                                                                  2022              2023

        Entertainment*1                                                                         148,283          259,214
        Manufacturing*2                                                                          35,406           35,182
        Information technology, Communication and Service*3                                      20,327           27,136

   *1 Major investments included Epic Games, Inc. and Scopely, Inc.

   *2 Major investments included Nichia Corporation.

   *3 Major investments included Semiconductor Energy Laboratory Co., Ltd.

        In order to enhance the efficiency of using assets held effectively, Sony derecognizes equity instruments
   measured at fair value through other comprehensive income upon the sale of the investment. Information relating
   to investments derecognized during the fiscal years ended March 31, 2022 and 2023 is as follows:
                                                                                                     Yen in millions
                                                                                                Fiscal year ended March 31
                                                                                                  2022              2023

        Fair value at derecognition                                                              11,015                 625
        Cumulative amount recognized in other comprehensive income, net of tax *                  5,784                (298)
        Dividend received                                                                            70                   8

   * The cumulative amount recognized in other comprehensive income, net of tax, was transferred to retained
     earnings upon derecognition of the equity instruments.

   (3) Financial instruments measured at amortized cost

        The fair values by fair value hierarchy level of certain financial instruments that are measured at amortized
   cost as of March 31, 2022 and 2023 are summarized as follows:

                                                                                 Yen in millions
                                                                                 March 31, 2022
                                                                                                                        Carrying
                                                                             Fair value                                 amount
                                                          Level 1      Level 2        Level 3            Total           Total

   Assets:
     Debt securities
       Japanese national government bonds                       —       86,622       —     86,622    75,634
       Japanese local government bonds                          —        1,963       —      1,963     1,717
       Japanese corporate bonds                                 —        3,727       —      3,727     3,583
       Foreign corporate bonds                                  —        5,121       —      5,121     5,047
       Securitized products                                     —           —   269,376   269,376   271,308
       Other                                                    —           41      909       950       949
     Housing loans in the banking business                      —           — 2,837,349 2,837,349 2,752,985
     Total assets                                               —       97,474     3,107,634        3,205,108          3,111,223
   Liabilities:
     Long-term debt including the current portion               —      841,249         60,873            902,122        909,706
     Total liabilities                                          —      841,249         60,873            902,122        909,706




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                                                                                    Yen in millions
                                                                                    March 31, 2023
                                                                                                                      Carrying
                                                                               Fair value                             amount
                                                            Level 1      Level 2        Level 3         Total          Total

   Assets:
     Debt securities
       Japanese national government bonds                         —        83,357       —     83,357    79,550
       Japanese local government bonds                            —         1,803       —      1,803     1,618
       Japanese corporate bonds                                   —         3,337       —      3,337     3,483
       Foreign corporate bonds                                    —         4,814       —      4,814     4,796
       Securitized products                                       —            —   324,153   324,153   331,354
       Other                                                      —            41    1,173     1,214     1,224
     Housing loans in the banking business                        —            — 3,184,060 3,184,060 3,129,393
     Total assets                                                 —        93,352    3,509,386        3,602,738    3,551,418
   Liabilities:
     Long-term debt including the current portion                 —    1,343,077          67,844      1,410,921    1,423,392
     Total liabilities                                            —    1,343,077          67,844      1,410,921    1,423,392

       The table above does not include financial instruments measured at amortized cost whose carrying amounts
   approximate their fair values mainly due to their short-term nature.

       The fair values of long-term debt, including the current portion classified as Level 2, were estimated mainly
   based on discounted future cash flows using Sony’s current rates for similar liabilities.

        Financial instruments classified as Level 3 mainly include housing loans in the banking business, securitized
   products and certain bonds issued by Sony. In determining the fair value of such financial instruments, Sony uses
   the present value of expected cash flows based on risk-free interest rate yield curves with certain credit risk.

   (4) Income and expenses related to financial instruments in the Financial Services segment

        Income and expenses related to financial instruments in the Financial Services segment are recorded in
   financial services revenue and financial services expenses in the consolidated statements of income. Income and
   expenses related to financial instruments in all segments other than Financial Services segment are recorded in
   Financial income and Financial expenses in the consolidated statements of income. Refer to Note 24.

         The breakdown of income and expenses related to financial instruments in the Financial Services segment
   for the fiscal years ended March 31, 2021, 2022 and 2023 is as follows:

                                                                       Yen in millions
                                                                       March 31, 2021
                                       Financial      Financial
                                      instruments instruments Financial    Financial       Debt       Equity
                                     required to be designated to assets   liabilities instruments instruments
                                      measured at be measured measured at measured at measured at measured at
                                         FVPL         at FVPL      AC         AC         FVOCI       FVOCI              Total

   Income
     Net gains (losses) recognized
       in profit or loss                 412,957        4,936     (14,069)      (5,569)      51,194               — 449,449
     Total interest income                    —            —       26,141           —       169,072               — 195,213
     Dividend income                          —            —           —            —            —                 2      2
   Expenses
     Total interest expenses                  —            —           —         4,577             —              —      4,577
     Impairment losses (gains) on
       financial assets                       —            —          (15)           —             18             —             3




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                                                                       Yen in millions
                                                                       March 31, 2022
                                       Financial      Financial
                                      instruments instruments Financial    Financial       Debt       Equity
                                     required to be designated to assets   liabilities instruments instruments
                                      measured at be measured measured at measured at measured at measured at
                                         FVPL         at FVPL      AC         AC         FVOCI       FVOCI         Total

   Income
     Net gains (losses) recognized
       in profit or loss                 225,922       (6,673)     14,765     (49,110)   148,813            — 333,717
     Total interest income                    —            —       32,839          —     180,006            — 212,845
     Dividend income                          —            —           —           —          —             85     85
   Expenses
     Total interest expenses                  —            —           —        3,838          —            —       3,838
     Impairment losses (gains) on
       financial assets                       —            —           19          —           24           —            43

                                                                       Yen in millions
                                                                       March 31, 2023
                                       Financial      Financial
                                      instruments instruments Financial    Financial       Debt       Equity
                                     required to be designated to assets   liabilities instruments instruments
                                      measured at be measured measured at measured at measured at measured at
                                         FVPL         at FVPL      AC         AC         FVOCI       FVOCI         Total

   Income
     Net gains (losses) recognized
       in profit or loss                  47,709       (2,493)     14,944     (58,484)   140,589             — 142,265
     Total interest income                    —            —       47,054          —     198,549             — 245,603
     Dividend income                          —            —           —           —          —             195    195
   Expenses
     Total interest expenses                  —            —           —       29,774          —            —      29,774
     Impairment losses (gains) on
       financial assets                       —            —          144          —            8           —         152

   6.    Financial risk management

   (1) Capital risk

         Sony uses Return on Equity (“ROE”) as an indicator for capital risk management.

                                                                                                    March 31
                                                                                                2022        2023

         ROE*                                                                                       12.8%        13.0%

   *    ROE is calculated using equity attributable to Sony Group Corporation’s stockholders.

        Sony manages capital separately for the Financial Services segment and the Sony Group without the
   Financial Services segment because certain subsidiaries in the Financial Services segment are subject to the
   below restrictions. Sony also refers to the ratio of stockholders’ equity to total assets of the Sony Group without
   the Financial Services segment to ensure financial soundness.

        In the Financial Services segment, Sony is required to maintain the capital adequacy ratio and net assets at a
   certain level or higher based on the Insurance Business Act and the Banking Act in Japan. Material requirements
   which Sony is subject to are as follows:

         Insurance business: Maintain solvency margin ratio

             The life insurance subsidiary and the non-life insurance subsidiary have maintained a high solvency
         margin ratio, relative to the Japanese domestic minimum solvency margin ratio requirements.



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        Banking business: Maintain capital adequacy ratio

              The banking subsidiary has maintained a capital adequacy ratio relative to the Japanese domestic
        criteria.

        Accordingly, lending and borrowing between subsidiaries in the Financial Services segment and the other
   companies within Sony Group is strictly limited. The carrying amounts of total assets of Sony Financial Group
   Inc. (“SFGI”) as of March 31, 2022 and 2023 are 20,974,027 million yen and 20,805,535 million yen,
   respectively. Total liabilities of SFGI as of March 31, 2022 and 2023 are 18,392,874 million yen and
   18,990,548 million yen, respectively.

   (2) Interest rate risk

        For interest rate risk inherent in the insurance business, which is included in the Financial Services segment,
   refer to Note 13. For interest rate risk inherent in the banking business, which is included in the Financial
   Services segment, refer to (7) Market risks for the banking business.

   Risk management policy and exposure

        Interest rate risk is the risk the fair value of a financial instrument or future cash flows of the financial
   instrument will fluctuate because of changes in market interest rates.

         Sony without the Financial Services segment is exposed to interest rate risk that is mainly related to its
   liabilities such as short-term borrowings and long-term debt as well as bonds. The amount of interest will be
   affected by changes in market interest rates; therefore, Sony is exposed to the interest rate risk that the future
   cash outflows for interest payments will fluctuate.

       Sony raises funds by issuing fixed-rate bonds in order to avoid an increase in future interest payments that is
   mainly resulting from an increase in interest rates.

        Also, Sony utilizes interest rate swap agreements to reduce funding costs, to diversify sources of funding,
   and to hedge the downside risk on borrowings and debt securities resulting from unfavorable fluctuations of
   interest rates and currency exchange rates, and from changes in the fair value of financial instruments. Therefore,
   the interest rate risk associated with cash flows of Sony without the Financial Services segment is not significant.

   (3) Price risk

        For price risk inherent in the insurance business, which is included in the Financial Services segment, refer
   to Note 13. For price risk inherent in the banking business, which is included in the Financial Services segment,
   refer to (7) Market risks for the banking business.

   Risk management policy and exposure

        Sony is exposed to securities price risk inherent in holding of equities in other entities in Japan and overseas
   countries. Sony periodically assesses fair values of equity instruments and the financial conditions of the issuers
   of such equity instruments, and reviews its portfolio on a regular basis.

   Price sensitivity analysis

         The table below shows the effects on income before income taxes and other comprehensive income (before
   considering the tax effects) as of March 31, 2022 and 2023 if market prices of marketable equity instruments
   (e.g., stocks) had decreased by 10%.

                                                                                                 Yen in millions
                                                                                                    March 31
                                                                                                2022         2023

        Income before income taxes                                                            (11,604)    (11,734)
        Other comprehensive income (before considering the tax effects)                        (9,871)     (9,800)

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   (4) Liquidity risk

        For liquidity risk inherent in the insurance business, which is included in the Financial Services segment,
   refer to Note 13. This section does not include information regarding the insurance business other than maturity
   analysis for financial liabilities.

   Risk management policy

         The description below covers basic financial policy and figures for Sony’s consolidated operations except
   for the Financial Services segment and certain subsidiaries, which secure liquidity on their own. Furthermore, the
   banking business in the Financial Services segment is described separately at the end of this section.

   Liquidity Management and Market Access

         An important financial objective of Sony is to maintain the strength of its financial condition, while securing
   adequate liquidity for business activities. Sony defines its liquidity sources as the amount of cash and cash
   equivalents (“cash balance”) (excluding restrictions on capital transfers mainly due to national regulations) and
   the unused amount of committed lines of credit. Funding requirements that arise from maintaining liquidity are
   principally covered by cash flow from operating and investing activities (including asset sales) and by the
   available cash balance; however, Sony also raises funds as needed from financial and capital markets through
   means such as corporate bonds, commercial paper (“CP”) and bank loans. Sony Group Corporation, Sony Global
   Treasury Services Plc (“SGTS”), a finance subsidiary in the U.K. and Sony Capital Corporation (“SCC”), a
   finance subsidiary in the U.S., maintain CP programs with access to the Japanese, U.S. and European CP
   markets. The borrowing limits under these CP programs, translated into yen, were 1,166.3 billion yen in total for
   Sony Group Corporation, SGTS and SCC as of March 31, 2023. There were no amounts outstanding under the
   CP programs as of March 31, 2023. If disruption and volatility occur in financial and capital markets and Sony
   becomes unable to raise sufficient funds from these sources, Sony may also draw down funds from contractually
   committed lines of credit from various financial institutions. Sony has a total, translated into yen, of 641.5 billion
   yen in unused committed lines of credit, as of March 31, 2023. Details of those committed lines of credit are: a
   275.0 billion yen committed line of credit contracted with a syndicate of Japanese banks, a 1.7 billion U.S. dollar
   multi-currency committed line of credit also contracted with a syndicate of Japanese banks and a 1,050 million
   U.S. dollar multi-currency committed line of credit contracted with a syndicate of foreign banks. Sony currently
   believes that it can sustain sufficient liquidity through access to committed lines of credit with financial
   institutions, together with its available cash balance, even in the event that financial and capital markets become
   illiquid. Sony considers one of management’s top priorities to be the maintenance of stable and appropriate credit
   ratings in order to ensure financial flexibility for liquidity and capital management and continued adequate access
   to sufficient funding resources in the financial and capital markets. However, in the event of a downgrade in
   Sony’s credit ratings, there are no financial covenants in any of Sony’s material financial agreements with
   financial institutions that would cause an acceleration of the obligation. Even though the cost of borrowing for
   some committed lines of credit could change according to Sony’s credit ratings, there are no financial covenants
   that would cause any impairment on the ability to draw down on unused facilities.

   Cash Management

        Sony manages its global cash management activities primarily through Sony Group Corporation in Japan,
   SCC in the U.S. and SGTS in other regions. The excess or shortage of cash at most of Sony’s subsidiaries is
   invested or funded by Sony Group Corporation, SGTS and SCC on a net basis, although Sony recognizes that
   fund transfers are limited in certain countries and geographic areas due to restrictions on capital transactions. In
   order to pursue more efficient cash management, cash surpluses among Sony’s subsidiaries are deposited with
   Sony Group Corporation, SGTS and SCC, and cash shortfalls among subsidiaries are covered by loans through
   Sony Group Corporation, SGTS and SCC, so that Sony can make use of excess cash balances and reduce third-
   party borrowings. Where local restrictions prevent an efficient intercompany transfer of funds, Sony’s intent is
   that cash balances remain outside of Sony Group Corporation, SGTS and SCC and that Sony meets its liquidity
   needs through ongoing cash flows, external borrowings, or both. Sony does not expect restrictions of capital
   transactions on amounts held outside of Japan to have a material effect on Sony’s overall liquidity, financial
   condition or results of operations.




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   Banking business in the Financial Services segment

        In the banking business in the Financial Services segment, by formulating and conforming with liquidity
   risk management policies, Sony manages a variety of liquidity risks. Sony defines liquidity risk as cash flow risk
   and market liquidity risk. Cash flow risk is the risk associated with losses due to Sony’s inability to make cash
   payments because of a failure to maintain sufficient cash reserves at settlement, as well as risks associated with
   losses if Sony is forced to raise funds under unfavorable conditions in order to fulfill cash payment obligations.
   The levels of cash flow risks are classified into phases based on the degree of pressure, and methods of risk
   management and reporting are set out for each phase, while guidelines are formulated and reviewed as necessary.
   Market liquidity risk is the risk associated with losses due to Sony’s inability to conduct market transactions, in
   particular due to an inability to unwind its market position at a given time, or due to Sony being forced to
   complete transactions under unfavorable market conditions, due to market turmoil or other factors. To manage
   market liquidity risk, Sony works to understand market liquidity conditions that pertain to the types of products it
   handles. Sony formulates and revises guidelines on a product-by-product basis, as necessary. To manage liquidity
   risk and ensure a robust liquidity buffer, Sony carries out stress tests regularly. Sony estimates potential cash
   outflow and determines the required buffer, if the liquidity stress scenario would happen. The liquidity buffer
   consists of highly liquid assets, such as cash and government bonds, which can be immediately converted to cash
   even in a liquidity crisis. The aforementioned liquidity risk management is carried out by the risk management
   division. The division periodically reports risk management conditions to the banking subsidiary’s Board of
   Directors and Executive Committee. In addition, the banking subsidiary’s internal audit division conducts regular
   audits.

   Maturity analysis

        The following table summarizes Sony’s financial liabilities as of March 31, 2022 and 2023.

                                                                       Yen in millions
                                                                       March 31, 2022
                                  Carrying                  Within     1 year to 2 years to 3 years to 4 years to
                                  amount        Total       1 year      2 years     3 years  4 years    5 years               5+ years

   Deposits from customers in
     the banking business*1   3,004,215 3,004,215 2,886,361              48,676      15,860   3,038                 1,186 49,094
   Bonds                        216,103   218,676    36,976              25,363      40,326 20,303                 35,243 60,465
   Borrowings                 2,670,156 2,687,135 2,053,340              58,767      76,434 115,460                23,813 359,321
   Loan commitments                  —     33,587    33,587                  —           —       —                     —       —
   Derivative liabilities*2      72,120    72,118    66,017                 688         718     753                   721   3,221
   Guarantee deposits
     received                    39,296    39,296    28,872                  345           27                8            8    10,036
   Redeemable noncontrolling
     interests                   34,995    37,046     2,435              19,927        9,046        2,381               —        3,257

                                                                             Yen in millions
                                                                             March 31, 2022
                                             Carrying                 Within   1 year to 2 years to              3 years to   4 years to
                                             amount       Total       1 year    2 years      3 years              4 years      5 years

                                                        511,883       81,421       69,791        59,214           45,063       37,363
                                                        5 years to   6 years to   7 years to    8 years to       9 years to
   Lease liabilities                         465,349     6 years      7 years      8 years       9 years          10 years    10+ years

                                                         35,841       32,369       30,593        27,864           19,913       72,451

   *1   Demand deposits are included in the “Within 1 year” category.

   *2   Breakdown of net settlements and gross settlements in the derivative liabilities are presented below.




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                                                                              Yen in millions
                                                                              March 31, 2022
                                                         Within      1 year to 2 years to 3 years to          4 years to
                                              Total      1 year       2 years    3 years      4 years          5 years     5+ years

   Derivative contracts
     —Net settled
     Paid                                     72,118     66,017           688          718           753          721         3,221
   Derivative contracts
     —Gross settled
     Received                                     —            —            —            —             —            —            —
     Paid                                         —            —            —            —             —            —            —
                                                                       Yen in millions
                                                                       March 31, 2023
                                  Carrying                  Within     1 year to 2 years to 3 years to 4 years to
                                  amount       Total        1 year      2 years     3 years  4 years    5 years            5+ years
   Deposits from customers in
     the banking business*1   3,306,981 3,316,556 3,171,377              30,215 14,933    1,060                  2,410 96,561
   Bonds                        349,332   354,169    26,039              40,986 110,862 35,591                  80,416 60,275
   Borrowings                 2,988,994 3,025,480 1,998,315              70,690 147,447 270,268                 62,571 476,189
   Loan commitments                  —     35,831    35,831                  —       —       —                      —       —
   Derivative liabilities*2      34,123    33,766    28,886                 623   1,041     912                    918   1,386
   Guarantee deposits
     received                    40,568    40,568    31,085                  272            19           58          13       9,121
   Redeemable noncontrolling
     interests                   47,326    48,616        —               24,844      10,397          4,572          198       8,605
                                                                             Yen in millions
                                                                             March 31, 2023
                                             Carrying                 Within   1 year to 2 years to           3 years to   4 years to
                                             amount       Total       1 year    2 years      3 years           4 years      5 years

                                                        593,967      90,244        80,476        68,143       55,189       47,665
                                                        5 years to   6 years to   7 years to     8 years to   9 years to
   Lease liabilities                         532,246     6 years      7 years      8 years        9 years      10 years    10+ years

                                                         56,603      37,539        34,588        25,798       18,384       79,338
   *1 Demand deposits are included in the “Within 1 year” category.
   *2 Breakdown of net settlements and gross settlements in the derivative liabilities are presented below.
                                                                              Yen in millions
                                                                              March 31, 2023
                                                         Within      1 year to 2 years to 3 years to          4 years to
                                              Total      1 year       2 years    3 years      4 years          5 years     5+ years

   Derivative contracts
     —Net settled
     Paid                                     32,881     27,820           769        1,076           912          918         1,386
   Derivative contracts
     —Gross settled
     Received                                 29,092     25,894           156        3,042             —            —            —
     Paid                                     29,977     26,960            10        3,007             —            —            —

   (5) Foreign exchange risk
       For foreign exchange risk inherent in the insurance business, which is included in the Financial Services
   segment, refer to Note 13. For foreign exchange risk inherent in the banking business, which is included in the
   Financial Services segment, refer to (7) Market risks for the banking business.

   Risk management policy and exposure
        Costs and prices of products and services in transactions denominated in foreign currencies are affected by
   currency exchange rate fluctuation, which may have adverse impacts on Sony’s business, operating results, and

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   financial condition. Sony seeks to reduce its exposure to foreign exchange risk mainly by using derivatives such
   as currency forward contracts or investing in securities denominated in the same currency.

       The net amount of Sony’s exposure to foreign exchange risk mainly includes the following. Foreign
   exchange risk exposures that are mitigated by the use of derivatives are excluded.

                                                                                             Yen in millions
                                                                                                March 31
                                                                                            2022         2023

        U.S. dollar                                                                        (6,384)     45,316
        Euro                                                                              (22,713)      1,459

   * Net exposures resulting in a liability are presented as negative and net exposures resulting in an asset are
     presented as positive.

   Sensitivity analysis

        The table below shows the effects on the income before income taxes regarding the financial instruments
   denominated in foreign currencies held by Sony as of March 31, 2022 and 2023 if the Japanese yen had
   strengthened by 10% against the U.S. dollar or euro. If the Japanese yen had weakened by 10% against the U.S.
   dollar or euro, there would be an opposite impact on income before income taxes in the same amount. This
   analysis was performed based on the assumption that all other variables stay the same.

                                                                                             Yen in millions
                                                                                                March 31
                                                                                            2022         2023

        U.S. dollar                                                                            638      (4,532)
        Euro                                                                                 2,271        (146)

   (6) Credit risk

        Risk management policy and exposure

        Sony is exposed to credit risk in relation to its customers with outstanding trade receivables and the
   financial institutions who are the counterparties of derivative instruments that Sony holds to hedge the foreign
   exchange risk related to such trade receivables.

        In order to manage risks inherent in trade receivables, Sony assesses management conditions and
   creditworthiness of prospective customers and sets credit limits before commencement of business in accordance
   with Sony’s internal rules regarding credit management. After commencement of business, in accordance with
   Sony’s internal rules regarding receivable management, Sony seeks to promptly identify and mitigate the risk of
   uncollectible receivables due to deterioration in the financial conditions of customers by managing payment due
   dates and outstanding balances by customer, consistently reviewing the status of transactions, payment history,
   and trends in the outstanding balance of customers, and actively monitoring their management and business
   conditions. Sony makes judgments about the creditworthiness of customers based on past collection experience,
   the current conditions, forecasts of future economic conditions and ongoing credit risk evaluations when
   calculating the loss allowances for the expected credit losses from trade receivables.

        In addition, the credit risk inherent in derivative transactions is considered low since Sony enters into
   derivative transactions only with financial institutions with high creditworthiness or central clearing house
   counterparties, and such derivative transactions are collateralized.

        The Financial Services segment formulates Fundamental Principles for Risk Management and manages
   risks depending on its subsidiaries’ size, characteristics and business. Risk Management Guidelines in the
   Financial Services segment establish a detailed framework for risk management, and each of the subsidiaries in
   the Financial Services segment has developed a framework for risk management on its own depending on the

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   characteristics of financial assets, including issuer credit risk on debt securities, counterparty risks, credit
   screenings, the management of credit information, credit ratings, the setting of guarantees or collateral and
   handling of problem assets on a case-by-case basis. Relevant departments of subsidiaries in the Financial
   Services segment periodically report risk management conditions to their Boards of Directors and their Executive
   Committees.

   Risk exposure analysis

   (a) Changes in the loss allowances

       Trade and other receivables, and contract assets including non-current other receivables in the Pictures
       segment

                                                                                           Yen in millions
                                                                                   Lifetime expected credit losses
                                                                                    Fiscal year ended March 31
                                                                                      2022                2023

       Balance at beginning of the fiscal year                                          30,066             31,341
       Changes due to financial assets recognized at beginning of the fiscal
         year:
         — Financial assets that have been derecognized                                   (935)             (4,568)
       New financial assets originated or purchased                                      5,998               6,401
       Write-offs                                                                       (9,501)             (6,647)
       Changes in models/risk parameters                                                 4,269              (1,409)
       Foreign exchange and other movements                                              1,444               2,416
       Balance at end of the fiscal year                                                31,341             27,534


       Debt Securities

                                                                                           Yen in millions
                                                                                 12-month expected credit losses *
                                                                                    Fiscal year ended March 31
                                                                                      2022                2023

       Balance at beginning of the fiscal year                                               29                  53
       Changes due to financial assets recognized at beginning of the fiscal
         year:
         — Financial assets that have been derecognized                                      (6)                 (4)
       New financial assets originated or purchased                                          44                  13
       Changes in models/risk parameters                                                    (14)                 (1)
       Foreign exchange and other movements                                                  —                   —
       Balance at end of the fiscal year                                                     53                  61

   * For all debt securities, Sony considers that the credit risk has not increased significantly since initial
     recognition, and therefore the loss allowance is measured at an amount equal to 12-months of expected credit
     losses.

        Substantially all of the loss allowances for debt securities are for debt securities measured at fair value
   through other comprehensive income as of March 31, 2022 and 2023.




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     Loans

                                                                                            Yen in millions
                                                                                   12-month     Lifetime
                                                                                   expected     expected
                                                                                     credit       credit
                                                                                     losses       losses      Total

        Balance as of April 1, 2021                                                     122          946      1,068
        Changes due to financial assets recognized as of April 1, 2021:
          — Transfer to lifetime expected credit losses                                  (1)           1        —
          — Transfer to 12-month expected credit losses                                 103         (103)       —
          — Financial assets that have been derecognized                                (59)         (97)     (156)
        New financial assets originated or purchased                                     33           17        50
        Changes in models/risk parameters                                               (34)         163       129
        Foreign exchange and other movements                                             —            —         —
        Balance as of March 31, 2022                                                    164          927      1,091
        Changes due to financial assets recognized as of March 31, 2022:
          — Transfer to lifetime expected credit losses                                  (1)           1        —
          — Transfer to 12-month expected credit losses                                  80          (80)       —
          — Financial assets that have been derecognized                                 (6)        (285)     (291)
        New financial assets originated or purchased                                     51           20        71
        Changes in models/risk parameters                                                25          241       266
        Foreign exchange and other movements                                             —            —         —
        Balance as of March 31, 2023                                                    313          824      1,137


        Loans that are credit-impaired as of March 31, 2022 and 2023 were not significant.

   (b) Description of collateral held as security and other credit enhancements

        Sony assesses creditworthiness of each customer on an individual project basis. When it is determined to
   extend credit to a customer, the amount of collateral to be obtained will be based on the credit assessment for the
   customer by management. Collateral held as security includes, but is not limited to the following:

        •    Floating charges on all assets and businesses of the customer

        •    Specific or related guarantees

        •    Debt guarantees from customers and loan agreements with favorable and unfavorable covenant terms

        The carrying amount of the financial assets, without taking into account any collateral held or credit
   enhancements, represents Sony’s maximum exposure to credit risk on these assets. For maximum exposure to
   credit risk of securities to which impairment requirements in IFRS 9 are not applied without taking into account
   any collateral held or other credit enhancements, refer to Note 5.

        In the Financial Services segment, housing loans have sufficient collateral, which results in no significant
   loss allowance being recognized. In addition, certain securities received as collateral for short-term lending
   transactions are permitted to be sold or repledged. The fair value of the securities which were not sold or
   repledged as collateral was 530,589 million yen and 4,691 million yen as of March 31, 2022 and 2023,
   respectively. None of the securities were sold or repledged as collateral as of March 31, 2022 or 2023. The
   securities are not recognized in the consolidated statements of financial position until being sold or repledged as
   collateral.




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   (c) Credit risk exposure by risk rating grades

       Credit risk exposure by risk rating grades as of March 31, 2022 and 2023, is as follows:

   Trade and other receivables, and contract assets including non-current other receivables in the Pictures segment

                                                                                           Yen in millions
                                                                                             March 31
                                                                                        2022             2023

       Outstanding receivables by overview period of overdue
         (Gross carrying amount)
         Not past due or due within 30 days                                           1,732,371      1,849,112
         Due over 30 to 90 days                                                          52,895         46,332
         Due over 90 days                                                                45,269         63,519
       Total                                                                          1,830,535      1,958,963


   Debt securities

        Debt securities held in the Financial Services segment are substantially all composed of investment grade
   debt securities, and, as a financial instrument subject to IFRS 9 impairment requirements, 12-month expected
   losses are recorded.

       The following table shows an analysis of the gross carrying amount for debt securities measured at
   amortized cost or at fair value through other comprehensive income based on a credit rating system in the
   Financial Services segment, which is primarily a composite of external credit ratings as of March 31, 2022 and
   2023.

                                                                                           Yen in millions
                                                                                             March 31
                                                                                        2022             2023

       Debt securities by credit ratings (Gross carrying amount)
         AAA                                                                            488,275        559,271
         AA                                                                           2,431,758      2,807,508
         A                                                                            8,560,523      8,695,883
         BBB                                                                             12,948          9,625
         Other                                                                           32,422          6,434
       Total                                                                         11,525,926     12,078,721


   Loans

         Loans held in the banking business in the Financial Services segment are regularly reassessed by the credit
   ratings of debtors, and as a financial instrument subject to IFRS 9 impairment requirements, 12-month or lifetime
   expected credit losses are recorded depending on whether or not the credit risk has increased significantly since
   initial recognition or not.




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       The following table shows an analysis of the gross carrying amount for loans measured at amortized cost
   based on credit ratings by debtors in the banking business in the Financial Services segment as of March 31,
   2022 and 2023.
                                                                       Yen in millions
                                                                      March 31, 2022
                                                 Normal*                          Other than Normal
                                     12-month    Lifetime                 12-month Lifetime
                                     expected    expected                  expected expected
                                       credit     credit                     credit      credit
                                       losses     losses     Sub total       losses      losses  Sub total     Total

        Loans
          Housing loans             2,747,406        156    2,747,562       2,532       3,423      5,955     2,753,517
          Other                        24,522        282       24,804          11          85         96        24,900
        Total                       2,771,928        438    2,772,366       2,543       3,508      6,051     2,778,417

                                                                       Yen in millions
                                                                      March 31, 2023
                                                 Normal*                          Other than Normal
                                     12-month    Lifetime                 12-month Lifetime
                                     expected    expected                  expected expected
                                       credit     credit                     credit      credit
                                       losses     losses     Sub total       losses      losses  Sub total     Total

        Loans
          Housing loans             3,124,410        140    3,124,550       2,173       3,350      5,523     3,130,073
          Other                        16,852        242       17,094           4          74         78        17,172
        Total                       3,141,262        382    3,141,644       2,177       3,424      5,601     3,147,245

   *    Normal is defined as borrowers who have strong results and no particular problems with their financial
        position.

   (d) Credit risk for debt securities designated to be measured at fair value through profit or loss
        The credit risk exposures for debt securities designated to be measured at fair value through profit or loss
   were 267,169 million yen, and 188,906 million yen as of March 31, 2022 and 2023, respectively. The change in
   the fair value attributable to the changes in credit risk was an increase of 1,425 million yen for the fiscal year
   ended March 31, 2022 and an increase of 509 million yen for the fiscal year ended March 31, 2023. The
   cumulative changes are 2,026 million yen and 2,535 million yen as of March 31, 2022 and 2023, respectively.

   (7) Market risks for the banking business
        In the banking business, by formulating and conforming with market risk management policies, Sony
   manages the risk of loss for when the value of assets and liabilities (including off-balance-sheet items), and
   income from assets and liabilities could be adversely affected by changes in various market risk factors, such as
   interest rates, exchange rates and stock prices. Market risk management policies specify details such as risk
   management methods and procedures. ALM and risk management policies are determined by the banking
   subsidiary’s Board of Directors. Based on these policies, an ALM committee and a risk management committee
   typically meet once each month to understand and confirm actual conditions and deliberate future measures and
   risk conditions. On a daily basis, the risk management division maintains an overall understanding of interest,
   exchange rates and duration of financial assets and liabilities, and monitors Value at Risk (“VaR”), which
   quantifies the maximum expected loss which could occur during a given holding period and at a given
   probability, and interest rate sensitivity analysis, and confirms regulatory compliance. Sony also conducts interest
   rate swaps and other derivative transactions to hedge against interest and exchange rate fluctuation risks. In the
   measurement of VaR, the historical method (time period: 250 days, confidence level: 99.0%) is used, and interest
   rate risk, exchange rate risk, and price risk are measured as the amount of market risk. The total market risk
   volume as of March 31, 2022 and 2023 was 8,230 million yen and 21,433 million yen, respectively. VaR
   employs statistical methods to estimate the maximum loss that could occur in a defined period of time in the
   future based on market fluctuation data for a defined period of time in the past; therefore, VaR may not capture
   the risk in situations in which the market environment undergoes drastic changes that are unpredictable under
   normal circumstances.

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   (8) Effect of IBOR reform
        Due to the reform and replacement of benchmark interest rates such as the London Interbank Offered Rate
   (“LIBOR”), the use of other interbank offered rates (“IBORs”) has become a priority for global regulators. The
   use of panel-based LIBOR ceased as of December 2021, except for the use of certain U.S. dollar (“USD”)
   LIBORs. The 1-, 3-, and 6-months panel-based USD LIBOR settings are expected to be abolished and lose their
   representativeness at the end of June 2023. The overnight and 12 months USD LIBOR settings will permanently
   cease immediately after June 2023. As of March 31, 2023, Sony has contracts that reference USD LIBOR.

         As mentioned above, the JPY and GBP IBORs have been abolished on December 31, 2021 and replaced by
   alternative interest rates such as the Tokyo Overnight Average rate and the Sterling Overnight Index Average.
   Currently, the Secured Overnight Financing Rate (“SOFR”) is gradually replacing USD LIBOR as a reference
   rate. There remains key differences between USD LIBOR and SOFR. USD LIBOR is a “term rate,” which means
   that it is published for a specific borrowing period (such as three months or six months) and is “forward-
   looking,” because it is published at the beginning of the borrowing period. On the other hand, SOFR is currently
   a “backward-looking” rate, based on overnight rates from actual transactions, and is published at the end of the
   borrowing period. Furthermore, LIBOR includes a credit spread over the risk-free rate, while SOFR currently
   does not include such a spread. To transition existing contracts and agreements that reference USD LIBOR to
   SOFR, adjustments for term differences and credit differences need to be applied to SOFR, to enable the two
   benchmark rates to be economically equivalent on transition.

        As of March 31, 2023, the Alternative Reference Rates Committee, a working group for a transition from
   USD LIBOR to a more robust reference rate, recommends SOFR instead of LIBOR. However, some market
   participants are calling for the use of credit sensitive rates (“CSRs”) that include a credit spread, and these rates
   might be used in addition to SOFR.

         After 2021, Sony established a LIBOR transition project plan in the banking business. In the initial stages of
   this transition project, Sony planned for the transition out of LIBOR, including USD LIBOR. As the cessation
   date for the publication of major tenors of USD LIBOR has been set as the end of June 2023, the transition out of
   USD LIBOR has not been completed as of March 31, 2023. Sony is continuing to drive the transition project to
   meet the objective of moving out of LIBOR prior to the cessation date for the publication of USD LIBOR. This
   transition project considered changes to business processes, risk management and valuation models, as well as
   managing any related tax and accounting implications. As of March 31, 2023, changes to business processes and
   risk management are largely complete, except for some valuation model changes. However, some contractual
   changes, such as securities and derivatives transactions that reference USD LIBOR, have not yet been
   implemented. Therefore, there is a risk that Sony will not be able to make the necessary contractual changes
   before the end of June 2023, when the 1-, 3-, and 6-months panel-based USD LIBOR are abolished. In addition,
   CSRs, rather than SOFR, might be used as an alternative interest rate for debt securities, which would require the
   implementation of system changes in a short period of time. To avoid the above risks, Sony communicates
   closely with its counterparty. Sony is also flexible in responding to systemic issues through collaboration among
   project members and other departments.

        Sony has a loan contract and interest swap agreement, related to the loan contract, aiming to manage certain
   borrowing costs, both of which reference USD LIBOR. From March 31, 2023 to the date of submission of this
   document, Sony has completed the execution of amendment agreements for the transition to alternative interest
   rate benchmarks for contracts that used USD LIBOR as a reference rate.




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        The following table contains details of all of the financial instruments that Sony holds at March 31, 2023 which
   reference USD LIBOR and SOFR and have not yet transitioned to SOFR or an alternative interest rate benchmark:

                                                                                               Yen in millions
                                                                                               March 31, 2023
                                                                                                         Of which
                                                                                                        have yet to
                                                                                                     transition to an
                                                                                                        alternative
                                                                                          Carrying      benchmark
                                                                                           Value       interest rate
        Debt securities
          Financial assets required to be measured at FVOCI                                18,529            3,291
          Financial assets required to be measured at AC                                  290,178          223,111
        Long-term debt                                                                   (159,918)        (159,918)
        Derivatives*                                                                       35,483           34,375
        Total                                                                             184,272          100,859

   *    Derivatives are presented on a net basis.

   7.   Inventories

        Inventories are comprised of the following:

                                                                                               Yen in millions
                                                                                                  March 31
                                                                                             2022           2023

        Finished products                                                                   533,612      1,028,614
        Work in process                                                                     163,206        244,140
        Raw materials, purchased components and supplies                                    177,189        195,288
        Inventories                                                                         874,007      1,468,042


        For the fiscal years ended March 31, 2021, 2022 and 2023 the write-downs of inventories were
   73,594 million yen, 80,546 million yen and 110,901 million yen, respectively.

        For the fiscal years ended March 31, 2021, 2022, and 2023 the amounts of inventories expensed and
   included in cost of sales were 2,057,248 million yen, 2,495,769 million yen, and 3,317,553 million yen,
   respectively. Included within these amounts for the fiscal years ended March 31, 2021, 2022 and 2023 were
   employee benefits expenses of 269,428 million yen, 282,765 million yen and 238,133 million yen, respectively,
   and depreciation and amortization expenses of 192,760 million yen, 201,860 million yen and 189,230 million
   yen, respectively. Other cost of sales mainly consists of material costs, subcontractor costs and other professional
   service fees.




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   8.   Investments in associates and joint ventures

        There are no associates or joint ventures that are individually material to Sony.

       The carrying amounts of investments in associates and joint ventures that are not individually material to
   Sony, as of March 31, 2022 and 2023 are as follows:

                                                                                               Yen in millions
                                                                                                  March 31
                                                                                             2022           2023

        Investments accounted for using the equity method
          Associates                                                                        235,671        279,640
          Joint ventures                                                                     32,842         45,580
             Total                                                                          268,513        325,220


         Sony’s share of comprehensive income, profit or loss and other comprehensive income, of associates and
   joint ventures that are not individually material to Sony for the fiscal years ended March 31, 2021, 2022 and 2023
   are as follows:

                                                                                          Yen in millions
                                                                                   Fiscal year ended March 31
                                                                               2021            2022          2023

        Share of profit or loss
          Associates                                                           14,086        21,920         22,637
          Joint ventures                                                       (2,535)        1,726          1,812
             Total                                                             11,551        23,646         24,449

        Share of other comprehensive income
          Associates                                                              884          2,077          3,659
          Joint ventures                                                            1              1             40
             Total                                                                885          2,078          3,699

        Share of comprehensive income
          Associates                                                           14,970        23,997         26,296
          Joint ventures                                                       (2,534)        1,727          1,852
             Total                                                             12,436        25,724         28,148




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   9.     Property, plant and equipment

        The changes in property, plant and equipment for the fiscal years ended March 31, 2022 and 2023 are as
   follows:

                                                                                  Yen in millions
                                                                                 Machinery
                                                                                    and        Construction
                                                           Land      Buildings   equipment      in progress     Total

   Balance as of April 1, 2021:
     Cost                                                 76,077 755,115 1,864,034                102,310 2,797,536
     Accumulated depreciation and impairment losses          (37) (491,156) (1,314,220)            (1,582) (1,806,995)
        Carrying amount                                   76,040     263,959       549,814        100,728      990,541
   Changes in carrying amount:
     Additions                                              2,461     25,434        91,189        229,094      348,178
     Acquisitions through business combinations                —       1,946         1,437             —         3,383
     Reclassifications                                         24     48,600       134,660       (185,979)      (2,695)
     Disposals or classified as held for sale*1            (1,628)    (2,248)       (4,690)          (158)      (8,724)
     Depreciation*2                                            —     (29,906)     (205,920)            —      (235,826)
     Impairment losses                                         —        (235)         (579)           (74)        (888)
     Translation adjustment                                 1,226      9,640         7,032          1,036       18,934
     Other                                                     —         282            22              6          310
        Total changes                                       2,083     53,513        23,151         43,925      122,672
   Balance as of March 31, 2022:
     Cost                                                 78,160 832,785 1,953,985                145,940 3,010,870
     Accumulated depreciation and impairment losses          (37) (515,313) (1,381,020)            (1,287) (1,897,657)
        Carrying amount                                   78,123     317,472       572,965        144,653     1,113,213
   Changes in carrying amount:
     Additions                                                700     17,369       112,351        364,450      494,870
     Acquisitions through business combinations                —         168         2,480          5,939        8,587
     Reclassifications                                         75     75,608       232,218       (314,742)      (6,841)
     Disposals or classified as held for sale*1              (876)    (1,610)       (2,793)          (644)      (5,923)
     Depreciation*2                                            —     (33,682)     (234,530)            —      (268,212)
     Impairment losses                                         —        (317)         (570)           (52)        (939)
     Translation adjustment                                 1,232      8,931         5,315            531       16,009
     Other                                                     —      (4,636)       (1,264)            —        (5,900)
        Total changes                                       1,131     61,831       113,207         55,482      231,651
   Balance as of March 31, 2023:
     Cost                                                 79,291 921,156 2,202,010                201,299 3,403,756
     Accumulated depreciation and impairment losses          (37) (541,853) (1,515,838)            (1,164) (2,058,892)
        Carrying amount                                   79,254     379,303       686,172        200,135     1,344,864

   *1 An asset or disposal group for which the cash flows are expected to arise principally from sale rather than
      continuing use is classified to current asset as an asset held for sale.

   *2 Depreciation expenses are allocated to the cost of inventory and are recognized in cost of sales as inventory is
      sold, or are directly recognized in selling, general and administrative expenses and research and development
      expenditures in the consolidated statements of income, depending on the use of the asset.




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   10. Leases

        Sony leases communication and commercial equipment, plant, office space, warehouses, employees’
   residential facilities and other assets.

   (1) Right-of-use assets as a lessee

       The changes in right-of-use assets for the fiscal years ended March 31, 2022 and 2023 are as follows:

                                                                                     Yen in millions
                                                                                           Machinery and
                                                                    Land      Buildings      equipment          Total

       Balance as of April 1, 2021:
         Carrying amount                                          15,394      327,350            15,290     358,034
       Changes in the carrying amount
         Increase due to new lease agreements and
           remeasurement of lease liabilities                       2,908     104,456            12,816     120,180
         Decrease due to termination of lease agreements
           and remeasurement of lease liabilities                    (159)     (5,685)             (356)     (6,200)
         Depreciation                                              (1,140)    (72,944)           (7,700)    (81,784)
         Other                                                        797      22,091               312      23,200
          Net changes                                               2,406      47,918             5,072         55,396
       Balance as of March 31, 2022:
         Carrying amount                                          17,800      375,268            20,362     413,430
       Changes in the carrying amount
         Increase due to new lease agreements and
           remeasurement of lease liabilities                       1,533      90,395            36,604     128,532
         Decrease due to termination of lease agreements
           and remeasurement of lease liabilities                  (3,323)    (10,654)             (214)    (14,191)
         Depreciation                                              (1,171)    (77,368)           (7,808)    (86,347)
         Other                                                        399      35,422               818      36,639
          Net changes                                              (2,562)     37,795            29,400         64,633
       Balance as of March 31, 2023:
         Carrying amount                                          15,238      413,063            49,762     478,063


   (2) Income, expenses, and cash flows (except for depreciation) arising from lease contracts as a lessee and
       lessor are as follows:

                                                                                         Yen in millions
                                                                                  Fiscal year ended March 31
                                                                             2021             2022           2023

       Interest expenses on lease liabilities                                  8,292           8,223            10,382
       Expenses related to short-term leases accounted for
          applying an exemption                                              17,805          19,764             36,807
       Income from subleases                                                 (2,256)         (2,256)            (1,784)
       Net cash outflows for leases                                          81,399          83,546             89,681

       Refer to Note 6 for the maturity analysis of Sony’s financial liabilities including lease liabilities.




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   11. Goodwill and intangible assets
   (1) Goodwill
       The changes in goodwill for the fiscal years ended March 31, 2022 and 2023 are as follows:
                                                                                              Yen in millions
                                                                                       Fiscal year ended March 31
                                                                                          2022              2023

       Balance at beginning of the fiscal year
         Cost                                                                          1,073,178       1,312,615
         Accumulated impairments                                                        (347,069)       (359,720)
         Carrying amount                                                                 726,109         952,895
       Increase (decrease) due to:
         Acquisitions                                                                    197,644         274,499
         Disposals or classified as held for sale *                                      (40,201)           (445)
         Impairments                                                                          —               —
         Translation adjustments                                                          69,343          48,163
         Other                                                                                —               —
       Balance at end of the fiscal year
         Cost                                                                          1,312,615       1,649,041
         Accumulated impairments                                                        (359,720)       (373,929)
         Carrying amount                                                                 952,895       1,275,112

   *   Disposals or classified as held for sale for the fiscal year ended March 31, 2022 relate mainly to the transfer
       of certain operations of Game Show Network, LLC, a wholly-owned subsidiary in the Pictures segment.
       Refer to Note 31 for the details of the transfer.
       The carrying amounts of goodwill by segment as of March 31, 2022 and 2023 are as follows:
                                                                                            Yen in millions
                                                                                              March 31
                                                                                         2022             2023

       Game & Network Services*1                                                         200,206         407,121
       Music*2                                                                           539,055         579,969
       Pictures*3                                                                        187,658         259,055
       Entertainment, Technology & Services                                               11,949          14,654
       Imaging & Sensing Solutions                                                         3,193           3,479
       Financial Services                                                                 10,834          10,834
       All Other                                                                              —               —
       Total                                                                             952,895       1,275,112


       *1   Game & Network Services
           All of the goodwill shown in the G&NS line of the table above is allocated to a group of CGUs which
       comprise the entire G&NS segment.
            Intangible assets with indefinite useful lives related to the G&NS business have carrying amounts of
       57,217 million yen and 57,409 million yen, as of March 31, 2022 and 2023, respectively, which are included
       in “Other intangible assets.” Intangible assets with indefinite useful lives include the trademark for
       PlayStation®, which is assessed to have an indefinite useful life as the trademark for PlayStation® is utilized
       as the core trademark for Sony’s products and services throughout the G&NS segment and Sony expects to
       continue using the trademark in the foreseeable future as well.
            The recoverable amount of the group of CGUs is determined by the value in use. The value in use is
       calculated by discounting the estimated future cash flows including a terminal value. The estimated future

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       cash flows are prepared based on the MRP. A terminal value after the final year of the total forecasted
       period is determined by utilizing a perpetual growth rate. The growth rate and the pre-tax discount rate were
       1.5% and 9.6% as of March 31, 2022, and 1.5% and 10.8% as of March 31, 2023, respectively.

       *2   Music

           Goodwill shown in the Music line of the table above is primarily allocated to the worldwide recorded
       music and the worldwide music publishing CGUs excluding operations in Japan.

             Goodwill related to the worldwide recorded music CGU has carrying amounts of 235,746 million yen
       and 255,834 million yen, as of March 31, 2022 and 2023, respectively. The recoverable amount of the CGU
       is determined by the value in use. The value in use is calculated by discounting the estimated future cash
       flows including a terminal value. The estimated future cash flows are prepared based on the MRP. A
       terminal value after the final year of the total forecasted period is determined by utilizing a perpetual growth
       rate. The growth rate and the pre-tax discount rate were 1.0% and 8.9% as of March 31, 2022, and 1.0% and
       12.8% as of March 31, 2023, respectively.

            Goodwill related to the music publishing CGU has carrying amounts of 270,116 million yen and
       290,833 million yen, as of March 31, 2022 and 2023, respectively. The recoverable amount of the CGU is
       determined by the value in use. The value in use is calculated by discounting the estimated future cash flows
       including a terminal value. The estimated future cash flows are prepared based on the MRP. A terminal
       value after the final year of the total forecasted period is determined by utilizing a perpetual growth rate.
       The growth rate and the pre-tax discount rate were 2.5% and 8.5% as of March 31, 2022, and 3.0% and
       11.1% as of March 31, 2023, respectively.

       *3   Pictures

             Goodwill shown in the Pictures line of the table above is primarily allocated to the animation
       distribution CGU.

            Goodwill related to the animation distribution CGU has carrying amounts of 102,590 million yen and
       124,265 million yen, as of March 31, 2022 and 2023, respectively. The recoverable amount of the CGU is
       determined by the value in use. The value in use is calculated by discounting the estimated future cash flows
       including a terminal value. The estimated future cash flows are prepared based on the MRP, with revenues
       in years beyond the MRP based on declining growth rates. A terminal value is based on a revenue multiple
       applied to the final year of the total forecasted period. The growth rates beyond the MRP period were 5.0%
       to 15.0% and 5.0% to 15.0%, and the pre-tax discount rate were 13.5% and 16.2% as of March 31, 2022 and
       2023, respectively.

            The value in use calculation uses key assumptions such as the pre-tax discount rate, perpetual growth
       rate, competitive and regulatory environment, and technology trends. For each assumption, historical
       experience, external information, competitors and industry trends are taken into account. Sony does not
       expect the recoverable amounts to be lower than the carrying amounts even when the growth rate and
       pre-tax discount rate that are used in the evaluation of the recoverable amounts change within a reasonably
       predictable range.




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   (2) Content assets

         The changes in content assets for the fiscal years ended March 31, 2022 and 2023 are as follows:

                                                                           Yen in millions
                                                                                             Music
                                                    Broadcasting     Music        Artist  distribution    Game       Content
                                      Film costs       rights       catalogs    contracts    rights      content   assets Total

   Balance as of April 1, 2021:
     Cost                              2,909,102       304,036      724,513      26,709       32,019      14,178 4,010,557
     Accumulated amortization
       and impairment losses          (2,514,627)     (239,403) (167,761) (14,232)            (7,008)     (4,979) (2,948,010)
       Carrying amount                  394,475         64,633      556,752      12,477       25,011       9,199 1,062,547
   Changes in carrying amount:
     Additions*                         313,648         75,841        87,350       2,209           —      20,997     500,045
     Acquisitions through
       business combinations              11,724        32,124        28,194          —        9,760      10,797       92,599
     Disposals or classified as
       held for sale                        (932)       (4,747)           —           —           —           —     (5,679)
     Amortization                       (294,350)      (70,514)      (25,182)       (604)     (1,648)     (8,602) (400,900)
     Impairment losses                   (13,870)         (738)           —           —           —           —    (14,608)
     Translation adjustment               42,782         4,619        57,676       1,161         938         866   108,042
     Other                                    —             —             —           —           —           —         —
       Total changes                      59,002        36,585      148,038        2,766       9,050      24,058     279,499
   Balance as of March 31, 2022:
     Cost                              3,549,934       395,045      914,418      30,278       43,219      46,086 4,978,980
     Accumulated amortization
       and impairment losses          (3,096,457)     (293,827) (209,628) (15,035)            (9,158)    (12,829) (3,636,934)
       Carrying amount                  453,477        101,218      704,790      15,243       34,061      33,257 1,342,046
   Changes in carrying amount:
     Additions*                         526,273         83,491        27,839         942           35     10,725     649,305
     Acquisitions through
       business combinations                 419              7          607          —        1,171      46,079       48,283
     Disposals or classified as
       held for sale                     (38,899)           —             —           —           —           (7) (38,906)
     Amortization                       (381,753)      (76,824)      (31,686)     (1,285)     (2,755)    (15,820) (510,123)
     Impairment losses                   (13,815)           —           (236)         —           —         (152) (14,203)
     Translation adjustment               27,228         4,665        50,980       1,086         937         294    85,190
     Other                                    —             —             —           —           —          290       290
       Total changes                    119,453         11,339        47,504         743        (612)     41,409     219,836
   Balance as of March 31, 2023:
     Cost                              4,320,022       419,025 1,008,942         32,484       45,988      97,386 5,923,847
     Accumulated amortization
       and impairment losses          (3,747,092)     (306,468) (256,648) (16,498)           (12,539)    (22,720) (4,361,965)
       Carrying amount                  572,930        112,557      752,294      15,986       33,449      74,666 1,561,882


   *     The additions in Film costs include the cost of films internally produced and acquired from third party
         projects. Film costs acquired from third party projects are not a significant portion of Film costs recorded by
         Sony. The additions in Broadcasting rights, Music catalogs, Artist contracts and Music distribution rights
         mainly represent acquisitions through contracts with third parties. The additions in Game content primarily
         include externally acquired game content for the fiscal year ended March 31, 2022 and internally developed
         game content for the fiscal year ended March 31, 2023.



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   (3) Other intangible assets

       The changes in other intangible assets for the fiscal years ended March 31, 2022 and 2023 are as follows:

                                                                     Yen in millions
                                   Patent rights,
                                    know-how                                         Television
                                    and license   Customer                            carriage
                                    agreements relationships Trademarks Software     contracts     Other      Total


   Balance as of April 1, 2021:
     Cost                             218,192       41,494       24,250     827,210     55,752     148,729 1,315,627
     Accumulated amortization
       and impairment losses         (200,406)      (36,775)      (6,397) (582,875)    (27,162)    (70,957) (924,572)
     Carrying amount                   17,786         4,719      17,853     244,335     28,590      77,772    391,055
   Changes in carrying amount:
     Additions                           4,668          639         158      93,642          —       3,538    102,645
     Acquisitions through
        business combinations            2,488      19,121        7,076       6,895          —       8,132     43,712
     Internal development                   —           —            —       15,681          —          —      15,681
     Disposals or classified as
        held for sale                      (49)        (565)        (550)    (2,599)         —        (107)   (3,870)
     Amortization                       (5,576)      (4,975)      (1,875)   (87,113)     (3,361)    (6,904) (109,804)
     Impairment losses                      (6)          —          (313)    (3,218)         —        (202)   (3,739)
     Translation adjustment                216        2,146        2,280      5,534       2,829      1,577    14,582
     Other                                 140           —             1        819          —      (1,119)     (159)
     Total changes                       1,881      16,366        6,777      29,641       (532)      4,915     59,048
   Balance as of March 31, 2022:
     Cost                             213,649       58,427       32,683     952,153     61,939     155,479 1,474,330
     Accumulated amortization
       and impairment losses         (193,982)      (37,342)      (8,053) (678,177)    (33,881)    (72,792) (1,024,227)
     Carrying amount                   19,667       21,085       24,630     273,976     28,058      82,687    450,103
   Changes in carrying amount:
     Additions                           6,432           —           17     117,019          —       3,323    126,791
     Acquisitions through
        business combinations            2,056        9,237      16,655      26,298          —      38,394     92,640
     Internal development                   —            —           —       19,835          —          —      19,835
     Disposals or classified as
        held for sale                       (8)        (112)         (14)    (2,907)         —        (129)   (3,170)
     Amortization                       (8,152)      (9,437)      (4,290)   (94,821)     (3,954)   (14,566) (135,220)
     Impairment losses                      (8)         (93)          —        (342)         —         (66)     (509)
     Translation adjustment                156        1,483        1,516      3,715       2,176        613     9,659
     Other                              (1,121)         158          699      4,299          —        (322)    3,713
     Total changes                        (645)       1,236      14,583      73,096      (1,778)    27,247    113,739
   Balance as of March 31, 2023:
     Cost                             201,243       66,593       51,747 1,045,743       66,583     199,311 1,631,220
     Accumulated amortization
       and impairment losses         (182,221)      (44,272)     (12,534) (698,671)    (40,303)    (89,377) (1,067,378)
     Carrying amount                   19,022       22,321       39,213     347,072     26,280     109,934    563,842




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   12. Impairment of non-financial assets

        There were no material impairment losses for the fiscal years ended March 31, 2021, 2022 and 2023.

   13. Insurance-related accounts

   (1) Assets, liabilities, revenues and expenses included in the insurance business

   Insurance policies

         Life insurance policies that Sony underwrites in the life insurance business, which are included in the
   Financial Services segment, most of which are categorized as long-duration contracts, mainly consist of whole
   life, term life, disease and health insurance, variable life insurance and individual variable annuity contracts. The
   life insurance revenues for the fiscal years ended March 31, 2021, 2022 and 2023 were 913,361 million yen,
   943,092 million yen and 975,799 million yen, respectively. Property and casualty insurance policies that Sony
   underwrites in the non-life insurance business, which is included in the Financial Services segment, are primarily
   automotive insurance contracts, which are categorized as short-duration contracts. The non-life insurance
   revenues for the fiscal years ended March 31, 2021, 2022 and 2023 were 123,574 million yen, 132,908 million
   yen and 139,678 million yen, respectively.

        The insurance contract liability in which an insured event has not occurred or a surrender option has not
   been exercised at the reporting date is classified as non-current. However, if either the insured event has occurred
   or the surrender option has been exercised, Sony would no longer have the right to defer payment of these
   amounts. Since the insurance contract liability would be due to be settled within twelve months after the
   reporting period, it is classified as current.

   Deferred insurance acquisition costs

        As of March 31, 2022 and 2023, the balances of deferred insurance acquisition costs for non-traditional life
   insurance contracts were 261,475 million yen and 324,862 million yen, respectively.

   Future insurance policy benefits

        Liabilities for future insurance policy benefits, except the portion of liabilities for minimum guarantee
   benefits described below, which mainly relate to individual life insurance policies, are established in amounts
   adequate to meet the estimated future obligations of policies in force. These liabilities, which require significant
   management judgment and estimates, are computed by the net level premium method based upon the
   assumptions as to future investment yield, morbidity, mortality rates, lapse rates and other factors. Future
   insurance policy benefits are computed using interest rates ranging from 0.5% to 4.5% and are based on factors
   such as market conditions and expected investment returns. Morbidity, mortality rates and lapse rates used as
   assumptions for all policies are based on either the subsidiary’s own experience or various actuarial tables.
   Generally these assumptions are locked in throughout the life of the contract upon the issuance of new insurance
   contracts, although significant changes in experience or assumptions may require Sony to provide for expected
   future losses.

        Liabilities for future insurance policy benefits include the liabilities for the minimum guarantee benefits of
   individual variable annuity and variable life insurance contracts. The details regarding the minimum guarantee
   benefits are presented in “Minimum guarantee benefit for individual variable annuity and variable life insurance
   contracts” below. Sony measures certain of these liabilities for future insurance policy benefits at fair value.
   Refer to (4).

   Policyholders’ account in the life insurance business

        Policyholders’ account in the life insurance business represents an accumulation of account deposits plus
   credited interest less withdrawals, expenses and mortality charges. Policyholders’ account in the life insurance
   business includes universal life insurance and investment contracts. Investment contracts are defined by the
   previous accounting practices in accordance with the provisions of IFRS 4. Universal life insurance includes
   interest sensitive whole life contracts and variable life insurance contracts. The credited rates associated with
   interest sensitive whole life contracts range from 1.7% to 2.0%. For variable life insurance contracts, policy
   values are expressed in terms of investment units. Each unit is linked to an asset portfolio. The value of a unit

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   increases or decreases based on the value of the linked asset portfolio. Investment contracts mainly include single
   payment endowment contracts, single payment educational endowment contracts, individual variable annuity
   contracts and policies after the start of annuity payments. The credited rates associated with investment contracts,
   except for individual variable annuity contracts, range from 0.01% to 6.3%. For individual variable annuity
   contracts, policy values are expressed in terms of investment units. Each unit is linked to an asset portfolio. The
   value of a unit increases or decreases based on the value of the linked asset portfolio. The liabilities for
   policyholders’ account in the life insurance business includes the liabilities related to the individual variable
   annuity and variable life insurance contracts with minimum guarantee benefits. Sony measures certain of these
   liabilities for policyholders’ account in the life insurance business at fair value. Refer to Note (4).

        Policyholders’ account in the life insurance business is comprised of the following:

                                                                                                  Yen in millions
                                                                                                     March 31
                                                                                                2022           2023

        Universal life insurance                                                            3,278,148       3,348,137
        Investment contracts                                                                1,393,257       1,715,921
        Other                                                                                 119,890          84,521
        Total                                                                               4,791,295       5,148,579


   Minimum guarantee benefit for individual variable annuity and variable life insurance contracts

        Regarding individual variable annuity and variable life insurance contracts, minimum guarantee benefits
   (minimum death benefit, minimum accumulation benefit, etc.) are provided, and Sony bears the risk of fulfilling
   the minimum guarantee benefits prescribed in the contracts to policyholders. The fair value measurement is
   applied to the liability for individual variable annuity contracts with minimum guarantee benefits. Refer to
   Note (4). Excluding the portion of the liability measured at fair value, the liabilities for the minimum guarantee
   benefits are calculated using current best-estimate assumptions and are based on the ratio of the present value of
   expected total excess payments divided by the present value of expected total assessments over the life of the
   contract. Mortality rates, lapse rates, discount rates and investment yield are used as significant assumptions for
   this calculation. The policyholders’ account value, net amount at risk, liability for the minimum guarantee
   benefit, and average attained age as of March 31, 2022 and 2023 are as follows:

                                                                                    Yen in millions
                                                                                    March 31, 2022
                                                              Individual variable        Variable life
                                                               annuity contracts     insurance contracts       Total

        Policyholders’ account value                                   467,924              1,686,488       2,154,412
        Net amount at risk                                              58,961              6,361,770       6,420,731
        Liability for minimum guarantee benefit                         37,382                 63,392         100,774

                                                                                                 Age
                                                                                          March 31, 2022
                                                                             Individual variable         Variable life
                                                                              annuity contracts      insurance contracts

        Average attained age                                                                 63                        45

                                                                                    Yen in millions
                                                                                    March 31, 2023
                                                              Individual variable        Variable life
                                                               annuity contracts     insurance contracts       Total

        Policyholders’ account value                                   419,628              1,778,451       2,198,079
        Net amount at risk                                              78,322              7,727,061       7,805,383
        Liability for minimum guarantee benefit                         41,214                 76,012         117,226

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                                                                                                   Age
                                                                                            March 31, 2023
                                                                               Individual variable         Variable life
                                                                                annuity contracts      insurance contracts

        Average attained age                                                                   64                       45

   Shadow liability adequacy test in the life insurance business

         When holding financial assets that are measured at fair value through other comprehensive income and
   correspond to insurance contract liabilities, shadow accounting is applied to evaluate insurance-related accounts
   as if the financial assets were sold as of the end of reporting period and valuation gains or losses were realized
   for the purpose of reducing the accounting mismatches between the insurance contract liabilities and the financial
   assets. Sony performs a shadow liability adequacy test on life insurance contracts quarterly.

       Mortality rates, morbidity rates, lapse rates and discount rates are used as significant assumptions for this
   shadow liability adequacy test.

        As a result of the shadow liability adequacy test, the net amounts of future insurance policy benefits minus
   deferred insurance acquisition costs were recorded at a sufficient level as of March 31, 2022 and 2023, and
   accordingly, a decrease of deferred insurance acquisition costs and an increase of future insurance policy benefits
   were not recorded as of those dates.

   (2) Changes in insurance contract liabilities and deferred insurance acquisition costs

   Changes in insurance contract liabilities

        The changes in insurance contract liabilities are as follows:

                                                                                     Yen in millions
                                                                  Future insurance      Policyholders’
                                                                   policy benefits    account in the life
                                                                     and other       insurance business         Total

        Balance as of April 1, 2021                                     6,749,450           4,328,894       11,078,344
             Current portion*1                                            134,865                  —           134,865
             Non-current portion                                        6,614,585           4,328,894       10,943,479
          Net premiums                                                   813,856               468,299        1,282,155
          Insurance liabilities released                                (539,586)             (251,169)        (790,755)
          Unwind of discount and actuarial items*2                       149,869               201,797          351,666
          Changes in valuation of expected future
            benefits                                                     (11,144)                  946          (10,198)
          Shadow accounting adjustments                                  (15,692)               (3,169)         (18,861)
          Other                                                          (65,198)               29,328          (35,870)
          Currency exchange rate fluctuations                            110,485                16,369          126,854
        Balance as of March 31, 2022                                    7,192,040           4,791,295       11,983,335
             Current portion*1                                            153,006                  —           153,006
             Non-current portion                                        7,039,034           4,791,295       11,830,329
          Net premiums                                                   821,226               594,239        1,415,465
          Insurance liabilities released                                (778,728)             (261,212)      (1,039,940)
          Unwind of discount and actuarial items*2                       151,058               (31,604)         119,454
          Changes in valuation of expected future
            benefits                                                       7,378                12,142           19,520
          Shadow accounting adjustments                                    2,083                (4,694)          (2,611)
          Other                                                          (76,745)               38,177          (38,568)
          Currency exchange rate fluctuations                            108,200                10,236          118,436
        Balance as of March 31, 2023                                    7,426,512           5,148,579       12,575,091
             Current portion*1                                            162,091                  —           162,091
             Non-current portion                                        7,264,421           5,148,579       12,413,000

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       *1 The current portion of future insurance policy benefits and other is included in other current liabilities in
          the consolidated statements of financial position.
       *2 Mainly includes interests credited to reserves, expenses and mortality charges.

   Changes in deferred insurance acquisition costs
        The changes in deferred insurance acquisition costs are as follows:
                                                                                               Yen in millions
                                                                                        Fiscal year ended March 31
                                                                                          2022               2023

        Balance at beginning of the fiscal year                                           631,231          683,836
              Current portion*                                                              7,245            7,310
              Non-current portion                                                         623,986          676,526
            New deferred insurance acquisition costs                                      109,320          110,108
            Amortization amount for current period                                        (69,237)         (84,523)
            Shadow accounting adjustments                                                   4,505           20,604
            Currency exchange rate fluctuations                                             8,017            7,988
        Balance at end of the fiscal year                                                 683,836          738,013
              Current portion*                                                              7,310            7,149
              Non-current portion                                                         676,526          730,864
        *     The current portion of deferred insurance acquisition costs is included in other current assets in the
              consolidated statements of financial position.

   (3) Significant assumptions regarding insurance contracts
   Significant assumptions
       The significant assumptions and the ranges used to measure the insurance contract liabilities as of March 31,
   2022 and 2023 are as follows:
                                                                                   Fiscal year ended March 31
                                                                                   2022                  2023

        Discount rate                                                         (0.075%)-6.25%      (0.115%)-6.25%

        Other significant assumptions are mortality rates and lapse rates.

   Impact from changes made to assumptions
                                                                                               Yen in millions
                                                                                        Fiscal year ended March 31
                                                                                          2022               2023

        Impact on gains (losses)                                                             6,643          15,640
          Changes in economic assumptions                                                    7,091          15,378
          Changes in non-economic assumptions                                                 (448)            262
        Impact on capital                                                                   18,087          31,244
          Changes in economic assumptions                                                   16,874          30,858
          Changes in non-economic assumptions                                                1,213             386

        Economic assumptions including discount rates and non-economic assumptions including mortality rates
   and morbidity rates, lapse rates, and operating expense rates are developed based on best estimates by product as
   of each cutoff date. Best-estimate assumptions are developed to reflect past and current experiences as well as
   expected experiences in the future. Expected future changes in assumptions should be reflected only when they
   are supported by sufficient rationales. Except for a deteriorating trend in mortality rates and morbidity rates, no
   other expected future changes are assumed in the best-estimate assumptions applied.

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   (4) Insurance-related accounts measured at fair value
         In determining the fair value of future insurance policy benefits and policyholders’ account in the life
   insurance business to which Sony measures at fair value, Sony uses the present value of future expected cash
   flows based on mortality rates, lapse rates, discount rates, investment yield and various actuarial assumptions.
   These are classified within Level 3 of the fair value hierarchy since Sony primarily uses unobservable inputs in
   its valuation.

        The fair value of future insurance policy benefits and policyholders’ account in the life insurance business
   as of March 31, 2022 and 2023 is as follows:
                                                                                 Yen in millions
                                                                        Presentation in the consolidated statements of
                                                                                       financial position
                                                                      Future insurance              Policyholders’ account
                                                   Fair value     policy benefits and other     in the life insurance business

        March 31, 2022                              507,699                        37,382                           470,317
        March 31, 2023                              462,684                        41,214                           421,470

        The valuation techniques, significant unobservable inputs, and the ranges used to measure the fair value of
   the future insurance policy benefits and policyholders’ account in the life insurance business as of March 31,
   2022 and 2023 are as follows:
                                                                                                   Range
                                                           Significant
        Valuation techniques                           unobservable inputs        March 31, 2022           March 31, 2023

                                                          Credit spread*             47.5bp                  83.6bp
        Present value of future expected cash flows       Mortality rates       0.003%-35.693%          0.003%-37.438%
                                                          Lapse rates              0%-7.500%               0%-7.500%
        * bp = basis point
        The decrease (increase) in fair value is the result of higher (lower) credit spreads, mortality rates or lapse
   rates. The fair value of the future insurance policy benefits and policyholders’ account in the life insurance
   business measured at fair value would not change significantly, even if one or more of the significant
   unobservable inputs are changed to reflect reasonably possible alternative assumptions.
        The changes in fair value of future insurance policy benefits and policyholders’ account in the life insurance
   business measured at fair value for the fiscal years ended March 31, 2022 and 2023 are as follows:
                                                                                                      Yen in millions
                                                                                               Fiscal year ended March 31
                                                                                                  2022              2023

        Balance at beginning of the fiscal year                                                   536,189           507,699
        Total (gains) losses*1:
           Included in net income*2                                                                   830           (11,740)
           Included in other comprehensive income*3                                                  (797)           (2,380)
        Issuances                                                                                      —                 —
        Settlements                                                                               (28,523)          (30,895)
        Balance at end of the fiscal year                                                         507,699           462,684
        Changes in unrealized gains (losses) relating to future insurance policy
          benefits and policyholders’ account in the life insurance business still
          held as of the end of the reporting period included in net income*2                     (13,638)              (501)
       *1 Gains presented as negative and losses presented as positive.
       *2 Included in financial services revenue and financial services expenses in the consolidated statements of
          income.
       *3 Included in insurance contract valuation adjustments in the consolidated statements of comprehensive
          income.

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   (5) Insurance and market risks
   Risk management policy and exposure
        In the life insurance business, Sony manages various market-related risks in the following manner:

   (a) Insurance risk management
   Insurance risk
        With respect to insurance underwriting risk, based on the level of policy reserves and capital levels, the life
   insurance subsidiary manages the insurance portfolio appropriately, such as setting policy limits for each type of
   insurance as necessary. In addition, underwriting standards and standards for revising and abolishing each
   product are clearly defined as internal rules and are regularly reviewed.

   Concentration of insurance risk
        The insurance contract portfolio does not have excessive concentration risk.

   (b) Market risk management
   Interest rate risk management
        Interest rate risk is managed by the risk management division of the life insurance subsidiary based on the
   policies for interest rate risk management that specify details such as risk management methods and procedures.
   Based on ALM policies that are determined through such methods as deliberation by the life insurance
   subsidiary’s Executive Committee, the subsidiary determines and confirms actual risk conditions with its Board
   of Directors. The division maintains an overall understanding of the interest rates and durations of financial
   instruments, monitors them based on the analysis of the quantity of risk using VaR, and periodically reports the
   status of each risk to the life insurance subsidiary’s Board of Directors and the Executive Committee. As part of
   the ALM management, the life insurance subsidiary invests in financial assets that match the characteristics of
   the insurance contract obligations, and thereby reduces interest rate risk as much as possible. Through the
   purchase and sale of financial assets included in their portfolio, the interest rate sensitivity (duration) of financial
   assets and insurance contract obligations is matched as much as possible so that they ensure sufficient cash flow
   to settle insurance claims as they come due.

   Exchange rate risk
        Exchange rate risk is managed by the risk management division of the life insurance subsidiary based on the
   policies for exchange rate risk management that specify details such as risk management methods and
   procedures. The division periodically reports the status of each risk to the life insurance subsidiary’s Board of
   Directors and Executive Committee.

   Equity market price fluctuation risk
        Equity market price fluctuation risk is managed by the risk management division of the life insurance
   subsidiary based on the policies for equity market price fluctuation risk management that specify details such as
   risk management methods and procedures. The division periodically reports the status of each risk to the life
   insurance subsidiary’s Board of Directors and Executive Committee.

   Derivative transactions
        Derivative transactions are managed by the risk management division of the life insurance subsidiary based
   on the policies for derivative transactions that specify details such as risk management methods and procedures.
   The division periodically reports the status of each risk to the life insurance subsidiary’s Board of Directors and
   Executive Committee.

   Sensitivity analysis
   Market risk
        For the purpose of pursuing a stable and sustainable increase of corporate value, in the life insurance
   business, Sony uses Market Consistent Embedded Value (“MCEV”), which is an indicator used to support the
   analysis of the value of a life insurance business and is compliant with the European Insurance CFO Forum
   Market Consistent Embedded Value Principles© (“MCEV Principles”). MCEV is also used for sensitivity
   analysis of market risk and insurance risk.

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         MCEV represents the present value of the current and future distributable earnings to shareholders
   generated from assets allocated to the covered business after sufficient allowance for the aggregate risks in the
   covered business. MCEV consists of the adjusted net worth and the value of the existing business. Adjusted net
   worth is the amount of assets allocated to the covered business as of the valuation date and is calculated as the
   amount of its market value in excess of statutory policy reserves and other liabilities. The value of the existing
   business consists of the present value of certainty-equivalent profit, the time value of options and guarantees,
   frictional costs and the cost of non-hedgeable risks. The main assumptions, including mortality rates, morbidity
   rates, lapse and surrender rates, and operating expense rates, were developed based on best estimates by product.
   The Board of Directors of the life insurance subsidiary has confirmed that, with the exception of certain
   noncompliance items, the MCEV presented below has been produced following the methodology set out in the
   MCEV Principles. The main noncompliance item referred to above is the reference rate, which is used in the
   calculations and has been defined as the government bond nominal spot rate curve rather than the swap rate curve
   as stipulated in the MCEV Principles.
        MCEV is not an estimate of “fair value” as it does not include the value of new businesses to be sold in the
   future and does not include the non-life insurance business, such as the property and casualty insurance business
   and the banking business. The calculation of MCEV is based on numerous assumptions with respect to economic
   conditions, operating conditions, taxes and other matters, many of which are beyond Sony’s control. In general,
   deviations between projection assumptions and actual experience in the future are to be expected and such
   deviations may materially impact the value calculated.

       The tables below show the sensitivities of changing the underlying assumptions of MCEV as of March 31,
   2022 and 2023.
                                                                                       March 31, 2022
                                                                               Yen in millions
   Assumption                             Changes in assumptions, etc.     MCEV     Change in amount     Rate of change

   Base                                  No change                       2,066,357                 —                —
   Interest rates*                       50bp decrease                   2,107,521             41,164             1.99%
                                         50bp increase                   2,004,841            (61,516)           (2.98%)
   Stock / Real estate market value      10% decrease                    2,049,089            (17,268)           (0.84%)
   Maintenance expenses                  10% decrease                    2,097,153             30,796             1.49%
   Lapse and surrender rate              10% decrease                    2,083,260             16,903             0.82%
   Mortality rates (death protection)    5% decrease                     2,136,304             69,948             3.39%
   Mortality rates (third sector /
     annuity products)                   5% decrease                     2,052,870            (13,487)           (0.65%)
   Morbidity rates                       5% decrease                     2,136,413             70,057             3.39%
   Foreign exchange rates                10% appreciation of the Yen     2,051,249            (15,108)           (0.73%)

   * bp = basis point
                                                                                       March 31, 2023
                                                                               Yen in millions
   Assumption                             Changes in assumptions, etc.     MCEV     Change in amount     Rate of change

   Base                                  No change                       2,121,135                —                 —
   Interest rates*                       50bp decrease                   2,244,971           123,836              5.84%
                                         50bp increase                   1,990,132          (131,003)            (6.18%)
   Stock / Real estate market value      10% decrease                    2,103,460           (17,675)            (0.83%)
   Maintenance expenses                  10% decrease                    2,158,765            37,630              1.77%
   Lapse and surrender rate              10% decrease                    2,182,037            60,902              2.87%
   Mortality rates (death protection)    5% decrease                     2,191,177            70,042              3.30%
   Mortality rates (third sector /
     annuity products)                   5% decrease                     2,110,640            (10,495)           (0.49%)
   Morbidity rates                       5% decrease                     2,184,127             62,992             2.97%
   Foreign exchange rates                10% appreciation of the Yen     2,118,499             (2,636)           (0.12%)

   * bp = basis point

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   Liquidity risk

   (a) Risk management policy and exposure

        In line with liquidity risk management policies, the accounting division of each insurance subsidiary
   prepares and updates cash flow plans in a timely manner based on the reports from departments and manages
   cash flows, and the risk management division of each insurance subsidiary manages the liquidity risk. The
   accounting division and risk management division periodically or as needed report such information to each
   insurance subsidiary’s Board of Directors and Executive Committee.

   (b) Maturity analysis

        The following table summarizes the estimated timing of the remaining undiscounted net cash flows from
   insurance contract liabilities and the contractual timing of the remaining undiscounted cash flows arising from
   securities held in the insurance business as of March 31, 2022 and 2023. The cash flows of insurance liabilities
   are based on assumptions regarding morbidity rates, mortality rates, and lapse rates, which are consistent with the
   estimates used for the carrying amounts.

                                                                        Yen in millions
                                                                        March 31, 2022
                                               Indefinite   Within      1 to 2      2 to 3   3 to 4       4 to 5    More than
                                     Total       Terms      1 year      years       years    years        years      5 years

   Insurance contract liabilities 25,561,549        — 165,028 155,586 198,370 234,987 263,679 24,543,899
   Securities held in the
     insurance business           18,536,483 2,008,071 656,948 223,111 348,527 335,791 311,466 14,652,569

                                                                        Yen in millions
                                                                        March 31, 2023
                                               Indefinite   Within      1 to 2      2 to 3   3 to 4       4 to 5    More than
                                     Total       Terms      1 year      years       years    years        years      5 years

   Insurance contract liabilities 27,737,139        — 165,746 153,881 198,154 224,698 263,708 26,730,952
   Securities held in the
     insurance business           19,640,244 2,408,401 636,352 367,283 345,113 322,176 428,997 15,131,922

        Since the total of the above estimated amounts is the amount before discounting, it exceeds the amount of
   insurance contract liabilities and securities which is included in investments and advances in the Financial
   Services segment shown in the consolidated statements of financial position.

   14. Short-term borrowings and long-term debt

        Short-term borrowings and long-term debt are comprised of the following:

                                                                                       March 31, 2022
                                                                     Book value        Weighted average
                                                                   (Yen in millions)     interest rate             Due

        Short-term borrowings                                           1,976,553                     0.18%
        Long-term debt
          Long-term loans                                                 693,603                     0.70% 2022-2056
          Unsecured bonds                                                 189,608                     0.25% 2022-2029
          Unsecured zero coupon convertible bonds                          26,495                       —%       2022
          Lease liabilities                                               465,349                     2.10%
                                                                        1,375,055
          Less — Portion due within one year                              171,409
                                                                        1,203,646




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                                                                                       March 31, 2023
                                                                     Book value        Weighted average
                                                                   (Yen in millions)     interest rate        Due

        Short-term borrowings                                           1,914,934                 1.89%
        Long-term debt
          Long-term loans                                               1,074,060                 1.70% 2023-2056
          Unsecured bonds                                                 349,332                 0.30% 2023-2029
          Lease liabilities                                               532,246                 2.35%
                                                                        1,955,638
          Less — Portion due within one year                              187,942
                                                                        1,767,696

        In the Financial Services segment, Sony pledged assets as collateral for short-term borrowings and long-
   term debt and the pledged assets are comprised of the following:
                                                                                                  Yen in millions
                                                                                                     March 31
                                                                                                2022           2023

        Securities                                                                           1,490,663     1,678,553
        Housing loans in the banking business                                                  782,175       829,659

        In addition to the above, in the Financial Services segment, Sony pledged securities for securities-for-securities
   lending transactions and the pledged securities are as follows:
                                                                                                  Yen in millions
                                                                                                     March 31
                                                                                                2022           2023

        Securities                                                                             521,912          4,728

        Furthermore, in the Financial Services segment, Sony pledged securities as collateral for cash settlements,
   variation margins of futures markets and certain other purposes and the pledged securities are as follows:
                                                                                                  Yen in millions
                                                                                                     March 31
                                                                                                2022           2023

        Securities                                                                              21,271        80,328

        On July 21, 2015, Sony issued 120,000 million yen of 130% Callable Unsecured Zero Coupon Convertible
   Bonds due on September 28, 2022 (the “Zero Coupon Convertible Bonds”). The bondholders were entitled to
   convert the Zero Coupon Convertible Bonds into shares of common stock from September 1, 2015 to
   September 28, 2022, and the initial conversion price was 5,008 yen per share. The conversion price is subject to
   anti-dilution provisions, where the conversion price is adjusted in certain cases such as the issuance or disposal of
   the shares of Sony Group Corporation’s common stock at below market price, stock splits, bonus issues of
   shares, and dividends in excess of 25 yen per common share per fiscal year. In addition, an early redemption is
   triggered upon the occurrence of certain corporate events including a merger or corporate split, and the
   completion of a takeover bid resulting in the delisting of the shares of common stock of Sony Group Corporation.
   The conversion price is reduced for a certain period prior to the early redemption date, which is determined by a
   formula that is based on time to maturity and Sony’s common stock price, in order to compensate bondholders
   for the time value up to the original maturity date. The reduced conversion price ranged from 3,526.5 yen to
   5,008 yen per share. The conversion price has been adjusted to 4,952.8 yen per common share since June 10,
   2022 because the payment of the total annual dividend per common share for the fiscal year ended March 31,
   2022 was 65 yen, which is in excess of 25 yen. At the early redemption date, the remaining Zero Coupon
   Convertible Bonds would be redeemed at 100% of the principal amount. The conversion right is bifurcated from
   the host contract and classified as equity.
        Sony had the option to redeem all of the Zero Coupon Convertible Bonds outstanding at 100% of the
   principal amount on or after July 21, 2020, if the closing price per share of Sony Group Corporation’s common
   stock on the Tokyo Stock Exchange was 130% or more of the conversion price of the Zero Coupon Convertible

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   Bonds applicable on each trading day for 20 consecutive trading days. As the option is considered closely related
   to the host contract, Sony does not bifurcate the option from the host contract.

        There were no significant adverse debt covenants under the Zero Coupon Convertible Bonds.

        Sony redeemed the Zero Coupon Convertible Bonds at maturity on September 30, 2022.

         In August and October 2022, in order to enhance liquidity, Sony executed an approximate 1,175 million
   U.S. dollar bank loan from a group of banks with three, five and ten-year maturity terms for the purpose of
   covering the consideration for the acquisition of 100% of the equity interest in Ellation, a subsidiary of AT&T
   Inc., which operates the anime business “Crunchyroll,” in August 2021. This bank loan utilizes the co-financing
   facility of Japan Bank for International Cooperation (“JBIC”), which aims to facilitate overseas mergers and
   acquisitions by Japanese companies. Approximately 60%, or 705 million U.S. dollars, is from the JBIC and was
   borrowed in U.S. dollars in October 2022, and approximately 40%, or 70,000 million yen (approximately
   470 million U.S. dollars) is from Japanese private banks and was borrowed in yen in August 2022.

        In December 2022, Sony Group Corporation issued unsecured straight bonds in the total principal amount of
   150,000 million yen. Sony Group Corporation used all of the proceeds of the issued bonds for the repayment of
   CP by the end of December 2022.

        There are no significant adverse debt covenants or cross-default provisions related to the other short-term
   borrowings and long-term debt.

   15. Derivative instruments and hedging activities

        Sony has certain financial instruments including financial assets and liabilities acquired in the normal course
   of business. Such financial instruments are exposed to market risk arising from the changes in foreign currency
   exchange rates and interest rates. In applying a consistent risk management strategy for the purpose of reducing
   such risk, Sony uses derivative financial instruments, which include foreign exchange forward contracts, swap
   agreements, currency option contracts, and interest rate swap agreements (including interest rate and currency
   swap agreements). Certain other derivative financial instruments are entered into in the Financial Services
   segment for ALM purposes. These instruments are executed with creditworthy financial institutions, and
   virtually all foreign currency contracts are denominated in U.S. dollars, euros and other currencies of major
   countries. Other than derivatives utilized in the Financial Services segment for ALM, Sony does not use
   derivative financial instruments for trading or speculative purposes. These derivative transactions utilized for
   ALM in the Financial Services segment are executed within certain limits in accordance with an internal risk
   management policy.

        A description of the purpose and classification of the derivative financial instruments held by Sony is as
   follows:

   Foreign exchange forward contracts, swap agreements and currency option contracts

        Foreign exchange forward contracts, swap agreements and purchased and written foreign currency option
   contracts are utilized primarily to limit the exposure affected by changes in foreign currency exchange rates on
   cash flows generated or anticipated by Sony’s transactions and accounts receivable and payable denominated in
   foreign currencies. The majority of written foreign currency option contracts are a part of range forward contract
   arrangements and expire in the same month with the corresponding purchased foreign currency option contracts.

        Sony also entered into foreign exchange forward contracts and foreign exchange range forward contracts
   which effectively fixed the cash flows from certain forecasted purchase and sale transactions denominated in
   foreign currencies for the fiscal years ended March 31, 2021, 2022 and 2023. The ineffective portions of the
   hedging relationships were not significant. Accordingly, these derivatives have been designated as cash flow
   hedges.

       Foreign exchange forward contracts and foreign currency option contracts that do not qualify as hedges are
   measured at fair value with changes in value recognized in financial income and financial expenses.

        Foreign exchange forward contracts, foreign currency option contracts and swap agreements held by certain
   subsidiaries in the Financial Services segment are measured at fair value with changes in value recognized in
   financial services revenue.

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   Interest rate swap agreements (including interest rate and currency swap agreements)

        Interest rate swap agreements are utilized primarily to lower funding costs, to diversify sources of funding
   and to limit Sony’s exposure associated with underlying borrowings and debt securities resulting from adverse
   fluctuations in interest rates, foreign currency exchange rates and changes in fair values. Interest rate swap
   agreements entered into in the Financial Services segment are used for reducing the risk arising from the changes
   in the fair value of fixed rate debt securities.

      Certain subsidiaries in the Financial Services segment have interest rate swap agreements as part of their
   ALM, which are measured at fair value with changes in value recognized in financial services revenue.

         Any other interest rate swap agreements that do not qualify as hedges, which are used for reducing the risk
   arising from changes of variable rate debt, are measured at fair value with changes in value recognized in
   financial income and financial expenses.

   Other agreements

        Certain subsidiaries in the Financial Services segment have equity future contracts, equity swap agreements,
   bond future contracts, commodity future contracts, interest rate swaption agreements, other currency contracts
   and hybrid financial instruments as part of their ALM, which are marked-to-market with changes in value
   recognized in financial services revenue. The hybrid financial instruments, disclosed in Note 5 as debt securities,
   contained embedded derivatives that are not required to be bifurcated because the entire instruments are
   measured at fair value.

        The estimated fair values of Sony’s outstanding derivative instruments are summarized as follows:

                                                                                         Yen in millions
                                                                            March 31, 2022             March 31, 2023
                                                                          Asset      Liability       Asset      Liability
                                                                        derivatives derivatives derivatives derivatives

   Interest rate contracts
      Interest rate swap agreements                                        26,795       6,455       43,464        3,139
      Interest rate swaptions agreements                                       —        1,075          380        2,517
   Foreign exchange contracts
     Foreign exchange forward contracts                                    14,687      34,284       12,496       12,257
     Swap agreements                                                       11,897         925        3,774        5,781
     Currency option contracts purchased                                       42          —           508          835
     Currency option contracts written                                         —          172           —             5
     Other currency contracts                                               3,578       1,201        4,540          998
   Equity contracts
     Equity future contracts                                                   —       11,903          290        3,321
     Equity swap agreements                                                    —       16,105           —         5,270
     Option contracts purchased                                             4,024          —         4,692           —
   Total derivatives                                                       61,023      72,120       70,144       34,123




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        The estimated fair values and maturity analysis for notional amounts of Sony’s outstanding derivative
   instruments which are designated as hedging instruments are summarized as follows:

                                                                        Yen in millions
                                                                        March 31, 2022
                                             Notional amounts                                Fair Value
                                      Within 1    Over 1                  Asset        Liability
                                       Year        Year       Total     derivatives   derivatives    Balance sheet location

   Cash flow hedging relationships
     Foreign exchange forward                                                                      Current liabilities:
       contracts                      138,135          —     138,135            —         7,618    Other financial
                                                                                                   liabilities
     Average rate (JPY/USD)             115.3         —
     Currency option bought                                                                        Current assets: Other
       contracts                        4,830         —         4,830           28           —     financial assets
     Average rate (JPY/USD)             115.0         —
     Currency option sold contracts     4,975         —         4,975           —           161    Current liabilities:
                                                                                                   Other financial
                                                                                                   liabilities
     Average rate (JPY/USD)             118.5    —
     Interest rate swap agreements        — 146,778 146,778               17,987             —     Non-current assets:
                                                                                                   Other financial assets
     Average rate                          —          1.5%

                                                                        Yen in millions
                                                                        March 31, 2023
                                             Notional amounts                                Fair Value
                                      Within 1    Over 1                  Asset        Liability
                                       Year        Year       Total     derivatives   derivatives    Balance sheet location

   Cash flow hedging relationships
     Foreign exchange forward                                                                      Current assets: Other
       contracts                       70,125          —       70,125         458             —    financial assets
     Average rate (JPY/USD)             131.3         —
     Currency option bought                                                                        Current assets:
       contracts                      45,789          —        45,789         502            —     Other financial assets
     Average rate (JPY/USD)            125.8          —
     Currency option sold contracts   47,995          —        47,995           —           835    Current liabilities:
                                                                                                   Other financial
                                                                                                   liabilities
     Average rate (JPY/USD)             131.9    —
     Interest rate swap agreements        — 159,918 159,918               28,513             —     Non-current assets:
                                                                                                   Other financial assets
     Average rate                          —          1.5%




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        Changes in the fair value of hedging instruments related to cash flow hedges are recorded in accumulated
   other comprehensive income for the fiscal years ended March 31, 2022 and 2023.

                                                                                                      Yen in millions
                                                                                        Foreign exchange Interest rate
                                                                                            contracts        contracts        Total

   Balance as of April 1, 2021                                                                     (4,282)         5,581       1,299
     Changes in fair value of hedging instruments recognized in other
       comprehensive income                                                                      (14,645)          6,942     (7,703)
     Reclassification adjustments to profit (loss) for the year*1,2                               12,886           1,643     14,529
     Deferred tax                                                                                    538          (2,629)    (2,091)
   Balance as of March 31, 2022                                                                    (5,503)        11,537       6,034
     Changes in fair value of hedging instruments recognized in other
       comprehensive income                                                                      (26,950)         13,975 (12,975)
     Reclassification adjustments to profit (loss) for the year*1,2                               34,825          (4,012) 30,813
     Deferred tax                                                                                 (2,408)         (3,051) (5,459)
   Balance as of March 31, 2023                                                                       (36)        18,449     18,413

   *1   In the consolidated statements of income, the amount reclassified to profit (loss) is included in sales for
        hedges of foreign exchange contracts and in financial expenses for hedges of interest rate contracts.

   *2   For the fiscal years ended March 31, 2022 and 2023, hedge ineffectiveness recognized in profit or loss was
        not material.

   16. Offsetting of financial assets and financial liabilities

        Tables below show the gross amounts of financial assets and liabilities, amounts offset, and net amounts
   presented in the consolidated statements of financial position, as well as the financial assets and liabilities that
   are subject to enforceable master netting agreements or similar agreements, as of March 31, 2022 and 2023.

                                                                            Yen in millions
                                                                           March 31, 2022
                                                                                           Gross amounts not offset in the
                              Gross amounts       Amounts offset         Net amounts          consolidated statements of
                                 recognized            in the          presented in the           financial position
                              financial assets      consolidated         consolidated
                               and financial       statements of        statements of        Financial            Cash         Net
                                  liabilities    financial position   financial position    instruments        collateral    amounts

   Derivative assets*1               37,847                   —                37,847           24,504           10,782        2,561
   Trade receivables*2               30,370               26,739                3,631               —                —         3,631
     Total assets                    68,217               26,739               41,478           24,504           10,782        6,192

   Derivative liabilities*1         72,004                    —               72,004           33,514            29,530       8,960
   Trade payables*2                 60,056                26,739              33,317               —                 —       33,317
   Short-term borrowings*3       1,272,040                    —            1,272,040        1,269,188                —        2,852
     Total liabilities           1,404,100                26,739           1,377,361        1,302,702            29,530      45,129




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                                                                            Yen in millions
                                                                           March 31, 2023
                                                                                           Gross amounts not offset in the
                              Gross amounts       Amounts offset         Net amounts          consolidated statements of
                                 recognized            in the          presented in the           financial position
                              financial assets      consolidated         consolidated
                               and financial       statements of        statements of        Financial            Cash         Net
                                  liabilities    financial position   financial position    instruments        collateral    amounts

   Derivative assets*1              34,382                    —                34,382           16,430           13,852        4,100
   Trade receivables*2             175,872               174,930                  942               —                —           942
     Total assets                  210,254               174,930               35,324           16,430           13,852        5,042

   Derivative liabilities*1         31,997                    —               31,997           21,700              5,216  5,081
   Trade payables*2                281,295               174,930             106,365               —                  — 106,365
   Short-term borrowings*3       1,557,652                    —            1,557,652        1,556,595                 —   1,057
     Total liabilities           1,870,944               174,930           1,696,014        1,578,295              5,216     112,503

   *1   Certain subsidiaries have entered into master netting agreements or other similar agreements, which are
        mainly International Swaps and Derivatives Association (ISDA) Master Agreements. An ISDA Master
        Agreement is an agreement between two counterparties that may have multiple derivative contracts with
        each other, and such ISDA Master Agreement may provide for the net settlement of all or a specified group
        of these derivative contracts, through a single payment, in a single currency, in the event of a default on or
        affecting any one derivative contract, or a termination event affecting all or a specified group of derivative
        contracts. Master netting agreements create a right of set off, but the master netting agreements do not
        automatically provide for such set off.
   *2   Amounts offset in the consolidated statements of financial position are related to repurchase agreements of
        products.
   *3   Short-term borrowings relate to repurchase agreements (repos).

   17. Employee benefits
   (1) Defined benefit and severance plans
         Upon terminating employment, employees of Sony Group Corporation and its subsidiaries in Japan are
   entitled, under most circumstances, to lump-sum indemnities or pension payments as described below. Sony
   Group Corporation and certain of its subsidiaries’ pension plans utilize a point-based plan under which a point is
   added every year reflecting the individual employee’s performance over that year. Under the point-based plan,
   the amount of payment is determined based on the sum of cumulative points from past services and interest
   points earned on the cumulative points regardless of whether or not the employee is voluntarily retiring.
        Under the plans, in general, the defined benefits cover 65% of the indemnities under existing regulations to
   employees. The remaining indemnities are covered by severance payments by the companies. The pension
   benefits are payable at the option of the retiring employee either in a lump-sum amount or monthly pension
   payments. Contributions to the plans are funded through several financial institutions in accordance with the
   applicable laws and regulations.
        From April 1, 2012, Sony Group Corporation and substantially all of its subsidiaries in Japan have modified
   existing defined benefit pension plans such that life annuities will no longer accrue additional service benefits,
   with those participants instead accruing fixed-term annuities. The defined benefit pension plans were closed to
   new participants and a defined contribution plan was also introduced.
        From October 1, 2019, Sony Group Corporation and substantially all of its subsidiaries in Japan have
   amended their defined benefit pension plans and have implemented defined contribution plans for all employees
   other than those employees that had retired before the amendments.
        In addition, several of Sony’s foreign subsidiaries have defined benefit pension plans or severance
   indemnity plans, which cover substantially all of their employees. Under such plans, the related cost of benefits is
   currently funded or accrued. Benefits awarded under these plans are based primarily on the current rate of pay
   and length of service.

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   Net defined benefit liability (asset) recognized in the consolidated statements of financial position

        Amounts recognized in the consolidated statements of financial position are as follows:

                                                                                      Yen in millions
                                                                         Japanese plans               Foreign plans
                                                                            March 31                   March 31
                                                                       2022          2023          2022          2023

        Present value of defined benefit obligations                  614,763       573,143      277,903      124,702
        Fair value of plan assets                                    (474,933)     (447,747)    (198,791)     (56,987)
        The impact of minimum funding requirement and
          asset ceiling                                                 4,870         6,897        2,491         3,455
          Net amount                                                  144,700      132,293        81,603       71,170

        Amount recognized in the consolidated statements of
         financial position
         Net defined benefit asset                                    (21,057)     (28,334)       (6,544)      (1,775)
         Net defined benefit liability                                165,757      160,627        88,147       72,945
          Net amount                                                  144,700      132,293        81,603       71,170


   Present value of defined benefit obligations

        The changes in the defined benefit obligations for the fiscal years ended March 31, 2022 and 2023 are as
   follows:

                                                                                    Yen in millions
                                                                     Japanese plans                 Foreign plans
                                                              Fiscal year ended March 31     Fiscal year ended March 31
                                                                 2022            2023            2022           2023

        Beginning balance of the fiscal year                      640,061        614,763       371,239        277,903
             Current service cost                                  12,868         12,660         2,424           2,319
             Past service cost                                          4              5           (34)           (365)
             Interest cost                                          3,751          4,367         5,117           4,623
             Remeasurements:
                Change in demographic assumptions                    (536)         2,974           630           (458)
                Change in financial assumptions                    (8,594)       (27,314)      (16,789)       (60,179)
                Other                                                 (95)          (569)          (91)          (940)
             Translation adjustments                                   —              —         19,372         11,213
             Plan participants’ contributions                          —              —            333            516
             Benefits paid                                        (32,909)       (33,741)      (38,923)        (9,798)
             Curtailments and settlements *                            —              —        (65,375)      (100,132)
             Other                                                    213             (2)           —              —
        Ending balance of the fiscal year                         614,763        573,143       277,903        124,702

   *    Curtailments and settlements of the foreign plans for the fiscal year ended March 31, 2022 relate mainly to
        the termination of the defined benefit pension plan at certain U.S. subsidiaries. Curtailments and settlements
        of the foreign plans for the fiscal year ended March 31, 2023 relate mainly to the termination of the defined
        benefit pension plan at certain U.K. subsidiaries.




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       The weighted average duration of defined benefit obligations for the fiscal years ended March 31, 2022 and
   2023 is as follows:

                                                                     Japanese plans                   Foreign plans
                                                                       March 31                         March 31
                                                                  2022           2023              2022           2023

        Weighted average duration of defined benefit
         obligations                                         11.5 years      11.2 years       15.7 years        12.2 years

       The significant actuarial assumptions used to determine the present value of defined benefit obligations as
   of March 31, 2022 and 2023 are as follows:

                                                                            Japanese plans               Foreign plans
                                                                               March 31                    March 31
                                                                           2022        2023            2022         2023

        Discount rate                                                         0.7%          1.1%          2.5%           4.3%

       The sensitivities of the defined benefit obligations to changes in the significant weighted-average actuarial
   assumptions are as follows:

                                                                                        Yen in millions
                                                                            Japanese plans            Foreign plans
                                                                               March 31                 March 31
        Change in assumptions                                              2022        2023         2022         2023

        Discount rate
          0.25% decrease                                                   18,069        16,042       11,055        3,487
          0.25% increase                                                  (15,372)      (13,201)     (10,439)      (3,316)

        The sensitivity analyses are calculated using the same method used to determine the defined benefit liability
   recognized in the consolidated statements of financial position while holding all other assumptions consistent.

   Fair value of plan assets

         Sony’s pension investment policy recognizes the expected growth and the variability risk associated with
   the long-term nature of pension liabilities, the returns and risks of diversification across asset classes, and the
   correlation among assets. The asset allocations are designed to maximize returns consistent with levels of
   liquidity and investment risk that are considered prudent and reasonable. While the pension investment policy
   gives appropriate consideration to recent market performance and historical returns, the investment assumptions
   utilized by Sony are designed to achieve a long-term return consistent with the long-term nature of the
   corresponding pension liabilities.

         The investment objectives of Sony’s plan assets are designed to generate returns that will enable the plans to
   meet their future obligations. The precise amount for which these obligations will be settled depends on future
   events, including the retirement dates and life expectancy of the plans’ participants. The obligations are estimated
   using actuarial assumptions, based on current economic conditions and other pertinent factors. Sony’s investment
   strategy balances the requirement to generate returns, using potentially higher yielding assets such as equity
   securities, with the need to control risk in the portfolio with less volatile assets, such as fixed-income securities.
   Risks include, among others, inflation, volatility in equity values and changes in interest rates that could
   negatively impact the funding level of the plans, thereby increasing their dependence on contributions from
   Sony. To mitigate any potential concentration risk of plan assets, thorough consideration is given to balancing the
   portfolio among industry sectors and geographies, taking into account interest rate sensitivity, dependence on
   economic growth, currency and other factors that affect investment returns. The target allocations as of
   March 31, 2023, are, as a result of Sony’s asset liability management, 15% (2022: 16%) of equity securities, 53%
   (2022: 52%) of fixed income securities and 32% (2022: 32%) of other investments for the pension plans of Sony
   Group Corporation and most of its subsidiaries in Japan, and, on a weighted average basis, 1% (2022: 1%) of
   equity securities, 28% (2022: 22%) of fixed income securities and 71% (2022: 77%) of other investments for the
   pension plans of foreign subsidiaries.

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        The changes in the plan assets for the fiscal years ended March 31, 2022 and 2023 are as follows:

                                                                                       Yen in millions
                                                                        Japanese plans                Foreign plans
                                                                       Fiscal year ended            Fiscal year ended
                                                                           March 31                     March 31
                                                                      2022           2023          2022           2023

        Beginning balance of the fiscal year                        476,411      474,933        288,394        198,791
           Interest income                                            3,026         3,649         3,955           2,804
           Remeasurements:
              Return on plan assets excluding interest income        17,617       (13,378)      (10,121)       (43,173)
           Translation adjustments                                       —             —         13,880          5,760
           Employer contribution                                      2,476         5,650         4,573          3,444
           Plan participants’ contributions                              —             —            333            516
           Benefits paid                                            (24,597)      (23,107)      (37,545)        (8,240)
           Refunds from the plans                                        —             —         (5,005)            —
           Curtailments and settlements *                                —             —        (59,673)      (102,915)
        Ending balance of the fiscal year                           474,933      447,747        198,791         56,987

   *    Curtailments and settlements of the foreign plans for the fiscal year ended March 31, 2022 relate mainly to
        the termination of the defined benefit pension plan at certain U.S. subsidiaries. Curtailments and settlements
        of the foreign plans for the fiscal year ended March 31, 2023 relate mainly to the termination of the defined
        benefit pension plan at certain U.K. subsidiaries.

         Sony makes contributions to its defined benefit pension plans as deemed appropriate by management after
   considering the fair value of plan assets, expected return on plan assets and the present value of defined benefit
   obligations. Sony expects to contribute approximately 2 billion yen to the Japanese plans and approximately
   5 billion yen to the foreign plans during the fiscal year ending March 31, 2024.

        The fair values of the assets held by Japanese and foreign plans are as follows:

                                                                                            Yen in millions
                                                                                            Japanese plans
                                                                                                Market price in active
                                                                                                        market
                                                                               March 31
        Asset class                                                             2022           Quoted        Unquoted

        Cash and cash equivalents                                                13,843         13,843               —
        Equity securities*1                                                      31,660         28,175            3,485
        Fixed income:
          Government bonds*2                                                    10,005           1,122           8,883
          Corporate bonds*3                                                      4,222              31           4,191
        Commingled funds*4                                                     316,319              —          316,319
        Private equity                                                          49,777              —           49,777
        Hedge funds                                                             49,107              —           49,107
        Total                                                                  474,933          43,171         431,762




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                                                                                     Yen in millions
                                                                                     Japanese plans
                                                                                         Market price in active
                                                                                                 market
                                                                         March 31
       Asset class                                                        2023          Quoted        Unquoted

       Cash and cash equivalents                                            18,060       18,060             —
       Equity securities*1                                                  37,562       33,335          4,227
       Fixed income:
         Government bonds*2                                                10,369           975         9,394
         Corporate bonds*3                                                  4,587            25         4,562
       Commingled funds*4                                                 287,978            —        287,978
       Private equity                                                      40,612            —         40,612
       Hedge funds                                                         48,579            —         48,579
       Total                                                              447,747        52,395       395,352

       *1 Represents primarily Japanese equity securities.

       *2 Includes approximately 84% and 85% of debt securities issued by Japanese national and local
          governments, and 16% and 15% of debt securities issued by foreign national and local governments as
          of the fiscal years ended March 31, 2022 and 2023, respectively.

       *3 Includes debt securities issued by Japanese and foreign corporations and government related agencies.

       *4 Commingled funds represent pooled institutional investments, including primarily investment trusts.

                                                                                     Yen in millions
                                                                                     Foreign plans
                                                                                         Market price in active
                                                                                                 market
                                                                         March 31
       Asset class                                                        2022          Quoted        Unquoted

       Cash and cash equivalents                                             2,350        2,350              —
       Equity securities*1                                                      61           61              —
       Fixed income:
         Government bonds*2                                                19,141            —         19,141
         Corporate bonds*3                                                 23,546            —         23,546
         Asset-backed securities                                               63            —             63
       Insurance contracts*4                                              129,084           432       128,652
       Commingled funds*5                                                  22,316            —         22,316
       Real estate and other                                                2,230             8         2,222
       Total                                                              198,791         2,851       195,940




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                     SONY GROUP CORPORATION AND CONSOLIDATED SUBSIDIARIES

                                                                                           Yen in millions
                                                                                           Foreign plans
                                                                                               Market price in active
                                                                                                       market
                                                                               March 31
       Asset class                                                              2023          Quoted        Unquoted

       Cash and cash equivalents                                                   2,403         2,403               —
       Equity securities*1                                                            65            65               —
       Fixed income:
         Government bonds*2                                                       2,135             —           2,135
         Corporate bonds*3                                                       12,052             —          12,052
         Asset-backed securities                                                     61             —              61
       Insurance contracts*4                                                     19,401            341         19,060
       Commingled funds*5                                                        18,113             —          18,113
       Real estate and other                                                      2,757              8          2,749
       Total                                                                     56,987          2,817         54,170

        *1 Includes primarily foreign equity securities.

        *2 Includes primarily foreign government debt securities.

        *3 Includes primarily foreign corporate debt securities.

        *4 Represents annuity contracts with or without profit sharing and bulk insurance contracts.

        *5 Commingled funds represent pooled institutional investments, including primarily investment trusts.

   The impact of minimum funding requirement and asset ceiling

        The impact of minimum funding requirement and asset ceiling for the fiscal years ended March 31, 2022
   and 2023 is as follows:

                                                                                 Yen in millions
                                                                  Japanese plans                   Foreign plans
                                                           Fiscal year ended March 31       Fiscal year ended March 31
                                                              2022             2023            2022            2023

       Beginning balance of the fiscal year                       3,990         4,870         13,156            2,491
          Interest income                                           25             39            187                 65
          Remeasurements:
             Change in asset ceiling excluding
               interest income                                     855          1,988        (11,018)             811
          Translation adjustments                                   —              —             166               88
       Ending balance of the fiscal year                          4,870         6,897          2,491            3,455


   (2) Defined contribution plans

        Total defined contribution expenses for the fiscal years ended March 31, 2021, 2022 and 2023 are as
   follows:

                                                                                           Yen in millions
                                                                                    Fiscal year ended March 31
                                                                                2021            2022          2023

       Japanese plans                                                           10,992         11,137          11,461
       Foreign plans                                                             9,639         11,154          17,271



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   (3) Employee benefits expenses

        Employee benefits expenses included in cost of sales, selling, general and administrative, and financial
   services expenses in the consolidated statements of income for the fiscal years ended March 31, 2021, 2022 and
   2023 are as follows:

                                                                                        Yen in millions
                                                                                 Fiscal year ended March 31
                                                                             2021            2022          2023

       Total employee benefits expenses                                   1,187,119     1,253,148      1,539,965

        Employee benefits expenses include salaries, bonuses, stock-based compensation, social security, welfare
   and expenses relating to post-employment benefits.

   18. Participation and residual liabilities in the Pictures segment

       The changes in participation and residual liabilities for the fiscal year ended March 31, 2023 are as follows:

                                                                                                   Yen in millions
                                                                                                  Fiscal year ended
                                                                                                      March 31
                                                                                                         2023

       Balance at beginning of the fiscal year                                                           410,275
          Current portion                                                                                190,162
          Non-current portion                                                                            220,113
       Additional participation and residual liabilities                                                 210,226
       Amounts paid during the year                                                                     (220,415)
       Unpaid amounts reversed during the year                                                           (13,605)
       Translation adjustment                                                                             36,694
       Balance at end of the fiscal year                                                                 423,175
          Current portion                                                                                230,223
          Non-current portion                                                                            192,952

       There was no material change due to discounting during the fiscal year.

   19. Other assets and other liabilities

   (1) Other assets

       Components of other assets as of March 31, 2022 and 2023 are as follows:

                                                                                             Yen in millions
                                                                                                March 31
                                                                                           2022           2023

       Advance payments and prepaid expenses                                              384,299        481,080
       Income taxes receivable and other taxes receivable                                 169,580        243,569
       Other                                                                              208,241        207,627
          Total                                                                           762,120        932,276
          Current assets                                                                  473,070        610,330
          Non-current assets                                                              289,050        321,946




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   (2) Other liabilities
       Components of other liabilities as of March 31, 2022 and 2023 are as follows:
                                                                                             Yen in millions
                                                                                                March 31
                                                                                           2022           2023

       Contract liabilities                                                               366,227       508,454
       Accrued short-term employee benefits                                               347,023       395,110
       Refund liabilities                                                                 197,791       197,836
       Taxes payable other than income taxes                                              163,316       185,224
       Accrued expenses                                                                   177,404       177,789
       Future insurance policy benefits and other                                         153,006       162,091
       Other long-term employee benefit obligations                                        15,030        64,684
       Product warranties                                                                  28,606        26,167
       Other                                                                              146,566       130,573
         Total                                                                          1,594,969     1,847,928
          Current liabilities                                                           1,488,488     1,720,335
          Non-current liabilities                                                         106,481       127,593

   (Changes in presentation)
       Other long-term employee benefit obligations, which were included within Other as of March 31, 2022, are
   now reclassified and presented as part of a separate caption due to an increase in materiality. Other long-term
   employee benefit obligations of 15,030 million yen, which were included within Other as of March 31, 2022
   have been reclassified to conform to this change in presentation.
       The changes in product warranties for the fiscal year ended March 31, 2023 are as follows:
                                                                                                  Yen in millions
                                                                                                 Fiscal year ended
                                                                                                     March 31
                                                                                                        2023

       Balance at beginning of the fiscal year                                                            28,606
          Additional product warranties                                                                   22,963
          Amounts used during the year                                                                   (20,442)
          Unused amounts reversed during the year                                                         (6,359)
          Translation adjustment                                                                           1,399
       Balance at end of the fiscal year                                                                  26,167


   20. Stockholders’ equity
   (1) Common stock
        The number of shares of common stock authorized as of March 31, 2021, 2022 and 2023 was
   3,600,000,000.
        The following table shows the changes in the number of shares of common stock issued and outstanding
   during the fiscal years ended March 31, 2021, 2022 and 2023. All of the shares of common stock of Sony Group
   Corporation are issued with no par value, and the issued stock was fully paid.
                                                                              Number of shares
                                                                         Fiscal year ended March 31
                                                                2021                 2022              2023

       Balance at beginning of the fiscal year             1,261,058,781      1,261,058,781       1,261,081,781
       Issuance of new shares                                          —               23,000                    —
       Balance at end of the fiscal year                   1,261,058,781      1,261,081,781       1,261,081,781


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        As of March 31, 2021, 2022 and 2023, the number of shares of treasury stock, which was included in the
   balance of common stock shares issued above, were 21,831,206 shares, 24,078,136 shares and 26,584,221 shares,
   respectively.

        Sony Group Corporation may purchase its own shares at any time by a resolution of the Board of Directors
   up to the retained earnings available for dividends to shareholders, in accordance with the Companies Act of
   Japan.

         Although Sony Group Corporation approved on August 4, 2020 by resolution of the Board of Directors the
   setting of parameters for the repurchase of shares of its own common stock pursuant to the Companies Act of
   Japan and Sony Group Corporation’s Articles of Incorporation, no common stock was acquired based on these
   parameters.

        Sony Group Corporation’s Board of Directors resolved and approved the setting of parameters for the
   repurchase of shares of its own common stock pursuant to the Companies Act of Japan and Sony Group
   Corporation’s Articles of Incorporation at the meeting of the Board of Directors held on April 28, 2021. Under
   the above resolution, Sony Group Corporation repurchased 7,400,600 shares of its common stock for an amount
   of 88,281 million yen during the fiscal year ended March 31, 2022, and repurchased 806,300 shares of its
   common stock for an amount of 9,100 million yen during the fiscal year ended March 31, 2023.

        Sony Group Corporation’s Board of Directors resolved and approved the setting of parameters for the
   repurchase of shares of its own common stock pursuant to the Companies Act of Japan and Sony Group
   Corporation’s Articles of Incorporation at the meeting of the Board of Directors held on May 10, 2022. Under the
   above resolution, Sony Group Corporation repurchased 8,545,600 shares of its common stock for an amount of
   89,118 million yen during the fiscal year ended March 31, 2023.

   (2) Additional paid-in capital

        Additional paid-in capital consists of surplus that is derived from equity transactions and not recorded in
   common stock, and its primary component is capital reserves. The Companies Act of Japan provides that no less
   than 50% of the paid-in amount or proceeds of issuance of shares shall be incorporated in common stock, and
   that the remaining shall be incorporated in capital reserves. Capital reserves may be incorporated in common
   stock upon approval of the General Meeting of Shareholders.

   (3) Retained earnings

        Retained earnings consist of legal reserves and accumulated earnings. The Companies Act of Japan provides
   that earnings in an amount equal to 10% of cash dividends from retained earnings shall be appropriated as a
   capital reserve or a legal reserve on the date of distribution of retained earnings until an aggregated amount of
   capital reserve and legal reserve equals 25% of common stock. Legal reserves may be used upon approval of the
   General Meeting of Shareholders.

        Dividends whose record date falls in the fiscal years ended March 31, 2022 and 2023, and whose effective
   date falls in the subsequent period are as follows:
                                                Total amount of
                                   Type of         dividends           Source of          Dividends                         Effective
            (Resolution)           shares       (Yen in millions)      dividends        per share (Yen)    Record date        date
   Board of Directors’ meeting
     held on May 10, 2022        Common stock        43,295         Retained earnings       35.00         March 31, 2022   June 3, 2022
   Board of Directors’ meeting
     held on April 28, 2023      Common stock        49,380         Retained earnings       40.00         March 31, 2023   June 5, 2023




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   (4) Other comprehensive income

       Changes in accumulated other comprehensive income, net of tax, by component for the fiscal years ended
   March 31, 2021, 2022 and 2023 are as follows:

                                                                                  Yen in millions
                                                                       Other
                                                                  comprehensive                 Transactions
                                                                      income                         with
                                                                  attributable to              noncontrolling
                                                                   Sony Group Transfer to          interests
                                                     Balance at Corporation’s retained          shareholders   Balance at
                                                    April 1, 2020 stockholders     earnings       and other   March 31, 2021

   Changes in equity instruments measured at fair
     value through other comprehensive income            (8,882)      144,544        6,085          (2,125)        139,622
   Changes in debt instruments measured at fair
     value through other comprehensive income          985,234       (179,251)           —        458,754       1,264,737
   Cash flow hedges                                      1,248             51            —             —            1,299
   Remeasurement of defined benefit pension
     plans                                                   —          11,555     (11,555)              —               —
   Exchange differences on translating foreign
     operations                                              —        113,771            —             130         113,901
   Insurance contract valuation adjustments               1,973        (2,537)           —             476             (88)
   Share of other comprehensive income of
     investments accounted for using the equity
     method                                                 (97)           885           (2)             —             786
   Total                                               979,476          89,018      (5,472)       457,235       1,520,257

                                                                          Yen in millions
                                                                       Other
                                                                  comprehensive
                                                                      income
                                                                  attributable to
                                                                   Sony Group Transfer to
                                                     Balance at Corporation’s retained        Balance at
                                                    April 1, 2021 stockholders      earnings March 31, 2022

   Changes in equity instruments measured at fair
     value through other comprehensive income          139,622       (106,426)      (5,784)         27,412
   Changes in debt instruments measured at fair
     value through other comprehensive income        1,264,737       (416,904)           —        847,833
   Cash flow hedges                                      1,299          4,735            —          6,034
   Remeasurement of defined benefit pension
     plans                                                   —          33,641     (33,641)              —
   Exchange differences on translating foreign
     operations                                        113,901        223,777            —        337,678
   Insurance contract valuation adjustments                (88)           599            —            511
   Share of other comprehensive income of
     investments accounted for using the equity
     method                                                 786          2,078           —           2,864
   Total                                             1,520,257       (258,500) (39,425)         1,222,332




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                                                                          Yen in millions
                                                                       Other
                                                                  comprehensive
                                                                      income
                                                                  attributable to
                                                                   Sony Group Transfer to
                                                     Balance at Corporation’s retained        Balance at
                                                    April 1, 2022 stockholders      earnings March 31, 2023

   Changes in equity instruments measured at fair
     value through other comprehensive income              27,412     (36,862)         298         (9,152)
   Changes in debt instruments measured at fair
     value through other comprehensive income          847,833       (884,678)          —         (36,845)
   Cash flow hedges                                      6,034         12,379           —          18,413
   Remeasurement of defined benefit pension
     plans                                                    —        18,891     (18,891)              —
   Exchange differences on translating foreign
     operations                                        337,678        175,525           —         513,203
   Insurance contract valuation adjustments                511          1,714           —           2,225
   Share of other comprehensive income of
     investments accounted for using the equity
     method                                                 2,864        3,699          —           6,563
   Total                                             1,222,332       (709,332) (18,593)           494,407


         Each component of other comprehensive income and the related tax effect including noncontrolling interests
   for the fiscal years ended March 31, 2021, 2022 and 2023 are as follows:

                                                                                                Yen in millions
                                                                                         Fiscal year ended March 31
                         Comprehensive income components                              2021           2022         2023

   Items that will not be reclassified to profit or loss
       Changes in equity instruments measured at fair value through other
          comprehensive income
          Amount incurred during the year                                            191,122      (139,511)      (45,708)
           Total before tax                                                          191,122      (139,511)      (45,708)
           Tax expense or (benefit)                                                  (46,382)       33,085         8,846
         Net of tax                                                                  144,740      (106,426)      (36,862)
       Remeasurement of defined benefit pension plans
         Amount incurred during the year                                              17,856         43,134       27,136
           Total before tax                                                           17,856         43,134       27,136
           Tax expense or (benefit)                                                   (6,301)        (9,493)      (8,245)
         Net of tax                                                                   11,555         33,641       18,891
       Share of other comprehensive income of investments accounted for
         using the equity method
         Amount incurred during the year                                                     98         869          197
           Total before tax                                                                98           869          197
           Tax expense or (benefit)                                                       (11)         (292)         (52)
           Net of tax                                                                        87         577          145
     Total                                                                           156,382        (72,208)     (17,826)




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                                                                                          Yen in millions
                                                                                   Fiscal year ended March 31
                        Comprehensive income components                         2021           2022         2023

   Items that may be reclassified subsequently to profit or loss
       Changes in debt instruments measured at fair value through other
          comprehensive income
          Amount incurred during the year                                     (285,504)     (572,692) (1,223,450)
          Reclassification to profit or loss                                       (98)       (6,408)     (5,300)
          Total before tax                                                    (285,602)     (579,100) (1,228,750)
          Tax expense or (benefit)                                              80,053       162,196     344,072
         Net of tax                                                           (205,549)     (416,904)    (884,678)
       Cash flow hedges
         Amount incurred during the year                                         7,481        (7,703)      (12,975)
         Reclassification to profit or loss                                     (7,228)       14,529        30,813
          Total before tax                                                         253         6,826        17,838
          Tax expense or (benefit)                                                (202)       (2,091)       (5,459)
         Net of tax                                                                  51        4,735        12,379
       Insurance contract valuation adjustments
         Amount incurred during the year                                        (3,081)          807         2,463
         Reclassification to profit or loss                                        (39)          (10)          (83)
          Total before tax                                                      (3,120)          797         2,380
          Tax expense or (benefit)                                                  —           (198)         (666)
         Net of tax                                                             (3,120)          599         1,714
       Exchange differences on translating foreign operations
         Amount incurred during the year                                       115,304      227,017       177,645
         Reclassification to profit or loss                                         17         (742)          630
          Total before tax                                                     115,321      226,275       178,275
          Tax expense or (benefit)                                                  —            —             —
         Net of tax                                                            115,321      226,275       178,275
       Share of other comprehensive income of investments accounted for
         using the equity method
         Amount incurred during the year                                           798         1,501         3,554
         Reclassification to profit or loss                                         —             —             —
          Total before tax                                                         798         1,501         3,554
          Tax expense or (benefit)                                                  —             —             —
          Net of tax                                                               798         1,501         3,554
     Total                                                                     (92,499)     (183,794)    (688,756)
   Total other comprehensive income                                             63,883      (256,002)    (706,582)


   (5) Equity transactions with noncontrolling interests shareholders

        During the fiscal year ended March 31, 2021, Sony Group Corporation acquired all the common shares and
   the related stock acquisition rights not held by Sony Group Corporation of SFGI, a consolidated subsidiary of
   Sony Group Corporation, and SFGI became a wholly-owned subsidiary of Sony Group Corporation.
   Consideration for this acquisition was 396,698 million yen. The net difference between the consideration, the
   decrease in the carrying amount of the noncontrolling interests of 1,046,380 million yen and the increase in
   accumulated other comprehensive income of 457,072 million yen was recognized as an increase to additional
   paid-in capital of 192,610 million yen.




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   21. Stock-based compensation plans

        The stock-based compensation expense for the fiscal years ended March 31, 2021, 2022 and 2023 was
   8,892 million yen, 11,105 million yen and 15,781 million yen, respectively.

         Sony Group Corporation principally has a stock-based compensation incentive plan for the corporate
   executive officers and employees of Sony Group Corporation, and the directors, other officers and employees of
   its subsidiaries in the form of a stock option plan. The stock acquisition rights granted under the stock option plan
   generally have three-year vesting schedules and are exercisable up to 10 years from the date of grant. Sony
   Group Corporation either issues new shares of common stock or reissues existing treasury stock upon the
   exercise of these rights.

         The weighted-average fair value per share at the date of grant of stock acquisition rights granted during the
   fiscal years ended March 31, 2021, 2022 and 2023 was 2,207 yen, 2,994 yen and 3,123 yen, respectively. The
   fair value of stock acquisition rights granted on the date of grant and used to recognize compensation expense for
   the fiscal years ended March 31, 2021, 2022 and 2023 was estimated using the Black-Scholes option-pricing
   model with the following weighted-average assumptions:

                                                                                    Fiscal year ended March 31
                                                                                2021            2022          2023
        Weighted-average assumptions

        Share price at the grant date                                            9,202 yen 14,361 yen 11,389 yen
        Risk-free interest rate                                                   0.17%       0.60%      1.88%
        Expected lives                                                            5.41 years 5.33 years 5.46 years
        Expected volatility*                                                     26.97%      22.47%     26.55%
        Expected dividends                                                        0.34%       0.29%      0.47%

   * Expected volatility was based on the historical volatilities of Sony Group Corporation’s common stock over
     the expected life of the stock acquisition rights.

       A summary of the activities regarding the stock option plan during the fiscal years ended March 31, 2021,
   2022 and 2023 is as follows:

                                                                   Fiscal year ended March 31
                                                 2021                          2022                    2023
                                                     Weighted-                     Weighted-               Weighted-
                                        Number of average exercise Number of average exercise Number of average exercise
                                         shares        price         shares          price     shares        price
                                                       Yen                           Yen                     Yen

   Outstanding at beginning of the
     fiscal year                   12,876,700              4,982 14,022,400            6,653 16,544,300               9,397
   Granted                              4,534,600          9,221 4,876,400           14,188 4,744,300                10,979
   Exercised                            3,178,300          3,911 1,944,900            5,313 1,260,800                 5,565
   Forfeited or expired                   210,600          6,280   409,600            9,484   336,300                12,654
   Outstanding at end of the fiscal
     year                           14,022,400             6,653 16,544,300            9,397 19,691,500              10,312

   Exercisable at end of the fiscal
     year                               5,800,700          4,535 7,044,700             5,883 9,683,000                8,033

        The weighted-average stock price at the time when the stock acquisition rights were exercised during the
   fiscal years ended March 31, 2021, 2022 and 2023 was 9,311 yen, 12,627 yen and 11,404 yen, respectively.




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           A summary of unexercised stock acquisition rights as of March 31, 2021, 2022 and 2023 is as follows:

                                                                                      Outstanding at end of the
                                                                                             fiscal year
                                                                                               (shares)
                                                                     Exercise
   Series        Date of grant              Exercise term             price         2021             2022         2023

    22nd    November 22, 2011     November 22, 2012                 ¥ 1,523             24,700           —               —
                                  to November 21, 2021
    23rd November 22, 2011        November 22, 2012                 $ 19.44             77,500           —               —
                                  to November 21, 2021
    24th December 4, 2012         December 4, 2013                  ¥    932            24,000      14,700               —
                                  to December 3, 2022
    25th December 4, 2012         December 4, 2013                  $ 11.23            102,600      77,900               —
                                  to December 3, 2022
    26th November 20, 2013        November 20, 2014                 ¥ 2,007             88,500      47,000         14,400
                                  to November 19, 2023
    27th November 20, 2013        November 20, 2014                 $ 20.01            140,900     127,300        110,700
                                  to November 19, 2023
    28th November 20, 2014        November 20, 2015                 ¥2,410.5           243,700     190,900        132,500
                                  to November 19, 2024
    29th November 20, 2014        November 20, 2015                 $ 20.67            167,300     154,100        135,500
                                  to November 19, 2024
    30th November 19, 2015        November 19, 2016                 ¥ 3,404            323,900     252,600        186,900
                                  to November 18, 2025
    31st November 19, 2015        November 19, 2016                 $ 27.51            218,800     170,800        148,200
                                  to November 18, 2025
    32nd November 22, 2016        November 22, 2017                 ¥ 3,364            672,100     516,300        390,400
                                  to November 21, 2026
    33rd November 22, 2016        November 22, 2017                 $ 31.06            446,200     367,900        330,500
                                  to November 21, 2026
    34th November 21, 2017        November 21, 2018                 ¥ 5,231            872,800     572,500        434,200
                                  to November 20, 2027
    35th November 21, 2017        November 21, 2018                 $ 45.73            787,200     676,400        620,500
                                  to November 20, 2027
    36th February 28, 2018        February 28, 2019                 ¥ 5,442              5,800        4,500         3,900
                                  to February 27, 2028
    38th November 20, 2018        November 20, 2019                 ¥ 6,440          1,290,600     977,800        839,900
                                  to November 19, 2028
    39th November 20, 2018        November 20, 2019                 $ 56.22            987,300     826,800        760,500
                                  to November 19, 2028
    40th November 20, 2019        November 20, 2020                 ¥ 6,705          1,645,300 1,389,700 1,210,100
                                  to November 19, 2029
    41st November 20, 2019        November 20, 2020                 $ 60.99          1,393,400 1,190,800 1,076,300
                                  to November 19, 2029
    42nd April 17, 2020           April 17, 2021                    $ 63.75             20,000      13,300         13,300
                                  to April 16, 2030
    43rd November 18, 2020        November 18, 2021                 ¥ 9,237          2,252,000 2,193,000 2,060,400
                                  to November 17, 2030
    44th November 18, 2020        November 18, 2021                 $ 87.48          2,222,800 1,974,800 1,862,100
                                  to November 17, 2030
    45th November 18, 2021        November 18, 2022                 ¥ 14,350                 — 2,399,100 2,367,500
                                  to November 17, 2031
    46th November 18, 2021        November 18, 2022                 $ 124.90                 — 2,391,100 2,277,100
                                  to November 17, 2031
    47th November 16, 2022        November 16, 2023                 ¥ 11,390                 —           — 2,427,100
                                  to November 15, 2032
    48th November 16, 2022        November 16, 2023                 $ 77.89                  —           — 2,289,500
                                  to November 15, 2032


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   22. Revenue
   (1) Contract balances
        Receivables from contracts with customers, contract assets and contract liabilities are comprised of the
   following:
                                                                                              Yen in millions
                                                                                           April 1       March 31
                                                                                            2021           2022

        Receivables from contracts with customers*1                                      1,177,027     1,382,377
        Contract assets*2                                                                   12,204        16,785
        Contract liabilities*3                                                             294,911       366,227
                                                                                              Yen in millions
                                                                                           April 1       March 31
                                                                                            2022           2023

        Receivables from contracts with customers*1                                      1,382,377     1,679,106
        Contract assets*2                                                                   16,785        19,355
        Contract liabilities*3                                                             366,227       508,454
        *1 Receivables from contracts with customers are included in the consolidated statements of financial
           position as “Trade and other receivables, and contract assets” and “Other financial assets,” non-current.
        *2 Contract assets are included in the consolidated statements of financial position as “Trade and other
           receivables, and contract assets” and “Other non-current assets.”
        *3 Contract liabilities are included in the consolidated statements of financial position as “Other current
           liabilities” and “Other non-current liabilities.”

         Contract liabilities principally relate to customer advances received prior to performance. Revenues of
   216,931 million yen, 231,274 million yen and 303,779 million yen were recognized during the fiscal years ended
   March 31, 2021, 2022 and 2023, which were included in the balance of contract liabilities as of April 1, 2020,
   2021 and 2022. Revenues of 76,405 million yen, 78,149 million yen and 45,645 million yen were recognized
   during the fiscal years ended March 31, 2021, 2022 and 2023 respectively, from performance obligations
   satisfied prior to April 1, 2020, 2021 and 2022 respectively.

   (2) Performance obligations
         Remaining (unsatisfied or partially unsatisfied) performance obligations represent future revenues not yet
   recorded for firm orders that have not yet been performed. Sony applies practical expedients to exclude contracts
   with an expected original duration of one year or less. The following table shows the summary of the transaction
   prices allocated to remaining performance obligations that are unsatisfied as of March 31, 2022 and 2023,
   respectively, of which more than half are expected to be recognized within one year and substantially all within
   three years. The amount of the transaction price related to variable consideration is included only to the extent
   that it is highly probable that a significant reversal in the amount of cumulative revenue to be recognized will not
   occur.
                                                                                              Yen in millions
                                                                                                 March 31
                                                                                            2022           2023

        Pictures — Motion Pictures and Television Productions*1                            705,974       796,690
        Pictures — Media Networks                                                           17,568         8,120
        Music*2                                                                            127,530       140,842
        Others                                                                              57,948        68,708
        *1 For Motion Pictures and Television Productions in the Pictures segment, Sony has included all contracts
           regardless of duration.
        *2 The amount included in the Music segment primarily consists of minimum royalty guarantees or fixed
           fees in contracts related to license revenue for ongoing access to an evolving library of content.

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   (3) Contract costs
        Contract costs are comprised as follows:
                                                                                               Yen in millions
                                                                                                  March 31
                                                                                             2022           2023

        Incremental costs of obtaining a contract                                              7,336          6,110

        Sony applies practical expedients to recognize the incremental costs of obtaining a contract as an expense if
   the amortization period of the asset that otherwise would have been recognized is one year or less. The
   amortization of 7,271 million yen, 6,917 million yen and 4,686 million yen was recognized during the fiscal
   years ended March 31, 2021, 2022 and 2023, respectively. The incremental costs of obtaining a contract are
   primarily recognized in the ET&S segment for the internet-related service business and amortized to expense
   over the contract period.

   (4) Disaggregation of revenue
        For the breakdown of sales and financial services revenue by segments, product categories and geographies,
   refer to Note 4.

   23. Supplemental consolidated statements of income information
   (1) Other operating (income) expense, net
         Sony records transactions in other operating (income) expense, net due to either the nature of the transaction
   or in consideration of factors including the relationship to Sony’s core operations.

        Other operating (income) expense, net is comprised of the following:
                                                                                          Yen in millions
                                                                                   Fiscal year ended March 31
                                                                               2021            2022          2023

        Gain on transfer of GSN Games shares*1                                     —         (70,020)               —
        (Gain) loss on purchase/sale of interests in subsidiaries and
          associates, net                                                     (18,868)        (4,593)        (4,318)
        (Gain) loss on sale, disposal or impairment of assets, net*2           32,122          8,316           (417)
        Other                                                                     996            803         (7,286)
                                                                               14,250        (65,494)      (12,021)

        *1 Refer to Note 31.
        *2 Refer to Notes 9 and 11.

   (2) Research and development expenditures
       Research and development expenditures recognized as an expense for the fiscal years ended March 31,
   2021, 2022 and 2023 were 545,357 million yen, 618,368 million yen and 735,698 million yen, respectively.

   (3) Advertising costs
        Advertising costs included in selling, general and administrative expenses for the fiscal years ended
   March 31, 2021, 2022 and 2023 were 261,391 million yen, 347,709 million yen and 391,131 million yen,
   respectively.

   (4) Shipping and handling costs
        Shipping and handling costs for finished goods included in selling, general and administrative expenses for
   the fiscal years ended March 31, 2021, 2022 and 2023 were 82,708 million yen, 70,858 million yen and
   95,208 million yen, respectively, which included the internal transportation costs of finished goods.

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   24. Financial income and expense

       Financial income

                                                                                        Yen in millions
                                                                                 Fiscal year ended March 31
                                                                             2021            2022          2023

       Interest income
          Financial assets measured at AC                                      7,610         6,996        22,399
       Dividends
          Financial assets measured at FVOCI                                   1,566         2,792          3,488
       Gain on revaluation of equity instruments
          Financial assets measured at FVPL*2                                 61,259            —              —
       Other                                                                  13,357         9,516          5,171
       Total                                                                  83,792        19,304        31,058


       Financial expenses

                                                                                        Yen in millions
                                                                                 Fiscal year ended March 31
                                                                             2021            2022          2023

       Interest expense
          Financial liabilities measured at AC                                 5,916         6,377        16,016
          Other                                                                8,292         8,223        10,382
       Foreign exchange loss, net*1                                           16,191         1,612        14,489
       Loss on revaluation of equity instruments
          Financial assets measured at FVPL*2                                     —         66,177         4,623
       Other                                                                  10,683        21,751        13,441
       Total                                                                  41,082      104,140         58,951

        *1 Foreign exchange loss, net includes gains or losses from foreign exchange contracts.

        *2 Shares of Spotify Technology S.A. (“Spotify”) held by Sony are classified as equity securities required
           to be measured at fair value through profit or loss. The revaluation of the Spotify shares, net of costs to
           be paid to Sony’s artists and distributed labels, owned as of March 31, 2021, March 31, 2022 and
           March 31, 2023 resulted in an unrealized gain of 51,310 million yen (480 million U.S. dollars), an
           unrealized loss of 45,017 million yen (395 million U.S. dollars), and an unrealized loss of 7,787 million
           yen (58 million U.S. dollars), respectively.

   25. Income taxes

        Income (loss) before income taxes and the provision for current and deferred income taxes attributable to
   such income are as follows:

                                                                                        Yen in millions
                                                                                 Fiscal year ended March 31
                                                                             2021            2022          2023

       Income (loss) before income taxes:                                   997,965     1,117,503      1,180,313
       Income tax expenses
         Current                                                            156,592       238,602        302,379
         Deferred                                                          (202,523)       (9,505)       (65,688)
       Total income tax expense                                              (45,931)     229,097        236,691


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        A reconciliation of the differences between the Japanese statutory tax rate and the effective tax rate is as
   follows:

                                                                                 Fiscal year ended March 31
                                                                             2021            2022          2023

        Statutory tax rate                                                      31.5%         31.5%          31.5%
          Non-deductible expenses                                                0.2           0.2            0.2
          Income tax credits                                                    (1.4)         (1.9)          (3.2)
          Change in statutory tax rate                                          (0.1)         (0.2)          (0.1)
          Change in unrecognized tax assets (other than the reversal
             of a previous write-down of the deferred tax assets
             below)                                                             (5.5)          (3.7)         (1.1)
          Reversal of a previous write-down of the deferred tax assets
             of the consolidated tax filing group in the United States          (6.6)           —                 —
          Reversal of a previous write-down of the deferred tax assets
             relating to the national tax of Sony Group Corporation
             and its national tax filing group in Japan                        (21.5)           —                 —
          Change in deferred tax liabilities on undistributed earnings
             of foreign subsidiaries and corporate joint ventures                0.7            1.0           1.6
          Lower tax rate applied to life and non-life insurance
             business in Japan                                                  (0.5)          (0.4)         (0.6)
          Foreign income tax differential                                       (4.4)          (5.5)         (6.4)
          Recording or reversal of liabilities for uncertain tax
             positions                                                          (0.4)           0.8          (0.3)
          Controlled Foreign Company taxation in Japan                           3.0           (1.8)         (2.1)
          Other                                                                  0.4            0.5           0.6
        Effective income tax rate                                               -4.6%         20.5%          20.1%


         Sony recognizes deferred tax assets, which include temporary differences, net operating losses and tax
   credits, to the extent that it is probable that taxable profit will be available against which the assets can be
   utilized. The realization of deferred tax assets is dependent upon the generation of future taxable income in the
   relevant tax jurisdiction.

        During the fiscal year ended March 31, 2021, Sony assessed the recoverability of deferred tax assets, and
   reversed a previous write-down of the deferred tax assets for general business tax credits and foreign tax credits
   of the consolidated tax filing group in the United States. The impact of such reversal of a previous write-down of
   the deferred tax assets resulted in deferred tax benefits.

        Despite the spread of COVID-19, as a result of the acquisition of SFGI in the three months ended
   September 30, 2020, the taxable income of Sony Group Corporation and its national tax filing group in Japan has
   increased and is expected to be stable going forward. Based on an assessment of the available evidence, in
   particular recent profit history and forecasted profitability, in the three months ended September 30, 2020, Sony
   reversed a previous write-down of a significant portion of the deferred tax assets of the consolidated tax filing
   group in Japan, primarily for temporary differences and certain net operating losses. As a result, Sony recorded a
   tax benefit of 214,346 million yen in the three months ended September 30, 2020. Remaining deferred tax assets
   in Japan, primarily foreign tax credits, are continuously not recognized due to restrictions on the use of such
   assets and their relatively short remaining carryforward periods.




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        The schedules of deferred tax assets and liabilities by major cause of their occurrence are as follows:

                                                                              Yen in millions
                                                                    Fiscal year ended March 31, 2022
                                                                 Recognized in      Changes
                                                    Recognized       other       accompanying Recognized
                                       Beginning    in profit or comprehensive      business    directly in             Ending
                                        balance         loss        income        combination     equity      Other*    balance

   Deferred tax assets:
     Operating loss
       carryforwards for tax
       purposes                          86,170       (16,573)             —               —           —       1,490     71,087
     Defined benefit liabilities         62,426        20,721          (9,493)             —        1,640     (2,729)    72,565
     Amortization including
       content assets                    44,251       (20,323)              —              —            —      2,831     26,759
     Lease liabilities                   90,818         5,091               —           1,244           —     (1,053)    96,100
     Warranty reserves and
       accrued expenses                 129,649         8,389              —             134           —       3,172    141,344
     Inventories                         29,714          (547)             —              —            —         379     29,546
     Depreciation                        40,231         2,539              —             161           —         258     43,189
     Tax credit carryforwards            48,315       (12,007)             —              —            —       2,576     38,884
     Loss allowances                      7,165            98              —               2           —         483      7,748
     Impairment of investments            6,800         3,418              —              —            —        (402)     9,816
     Deferred revenue                    24,502         3,779              —              —            —       2,904     31,185
     Other                              152,242       (32,131)           (538)        13,304         (125)     7,842    140,594
   Total deferred tax assets            722,283       (37,546)        (10,031)        14,845        1,515 17,751        708,817
   Deferred tax liabilities:
     Insurance acquisition costs       (176,745) (13,182)              (1,261)             —            —       (286) (191,474)
     Insurance contract liabilities    (151,061) (10,796)              (5,480)             —            —         — (167,337)
     Non-current other
        receivables in the
        Pictures segment                  (7,894)       8,009               —              —            —       (115)         —
     Right-of-use assets                 (84,728)      25,955               —          (1,245)          —        452     (59,566)
     Equity securities measured
        at FVOCI                         (51,011)       1,841          33,085              —            —        116     (15,969)
     Equity securities measured
        at FVPL                          (87,718)      36,915               —              —            —     (2,336)    (53,139)
     Debt securities measured at
        FVOCI                          (505,914)        9,822         168,937              —            —       (204) (327,359)
     Intangible assets acquired
        through stock exchange
        offerings                        (23,949)           —               —              —            —         —      (23,949)
     Intangible assets derived
        from EMI Music
        Publishing acquisition           (93,481)      (1,209)              —              —            —     (6,904) (101,594)
     Undistributed earnings of
        foreign subsidiaries and
        corporate joint ventures         (39,166) (15,031)                 —              —            —      (1,834)    (56,031)
     Investment in M3                    (41,347) (1,345)                  —              —            —          —      (42,692)
     Other                               (60,187)   6,072                (292)       (15,230)         765      1,262     (67,610)
   Total deferred tax liabilities     (1,323,201)      47,051         194,989        (16,475)         765     (9,849) (1,106,720)

   * Other mainly consists of exchange differences on translating foreign operations.


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                                                                             Yen in millions
                                                                   Fiscal year ended March 31, 2023
                                                                Recognized in      Changes
                                                   Recognized       other       accompanying Recognized
                                      Beginning    in profit or comprehensive      business    directly in             Ending
                                       balance         loss        income        combination     equity      Other*    balance

   Deferred tax assets:
     Operating loss
       carryforwards for tax
       purposes                          71,087       (5,756)             —          10,157           — 5,600           81,088
     Defined benefit liabilities         72,565        5,826          (8,245)           (28)      (1,881) (1,102)       67,135
     Amortization including
       content assets                    26,759       (1,675)              —        (25,695)           —      2,828      2,217
     Lease liabilities                   96,100       12,628               —            221            —      4,378    113,327
     Warranty reserves and
       accrued expenses                 141,344        4,240               —           1,599           —      2,644    149,827
     Inventories                         29,546       15,479               —              —            —       (302)    44,723
     Depreciation                        43,189       (3,566)              —              —            —        429     40,052
     Debt securities measured at
       FVOCI                                 —            —           28,658             —            —          —      28,658
     Tax credit carryforwards            38,884      (12,297)             —           5,792           —       3,845     36,224
     Loss allowances                      7,748       (1,857)             —              —            —         259      6,150
     Impairment of investments            9,816       (3,709)             —              —            —         (55)     6,052
     Deferred revenue                    31,185       22,076              —          (2,299)          —       2,478     53,440
     Other                              140,594       45,871          (2,408)        21,427         (985)     6,099    210,598
   Total deferred tax assets            708,817       77,260          18,005         11,174       (2,866) 27,101       839,491
   Deferred tax liabilities:
     Insurance acquisition costs       (191,474) (8,914)              (5,769)             —            —       (487) (206,644)
     Insurance contract liabilities    (167,337) (12,317)             (1,398)             —            —      7,220 (173,832)
     Non-current other
        receivables in the
        Pictures segment                     —        —                    —              —            —         —           —
     Right-of-use assets                (59,566) (24,365)                  —            (208)          —     (6,328)    (90,467)
     Equity securities measured
        at FVOCI                        (15,969)         923           8,846              —            —      1,823      (4,377)
     Equity securities measured
        at FVPL                         (53,139)      31,952               —              —            —     (3,380)    (24,567)
     Debt securities measured at
        FVOCI                          (327,359)       5,024         322,581              —            —       (246)         —
     Intangible assets acquired
        through stock exchange
        offerings                       (23,949)           —               —              —            —         —      (23,949)
     Intangible assets derived
        from EMI Music
        Publishing acquisition         (101,594)       2,277               —              —            —     (6,639) (105,956)
     Undistributed earnings of
        foreign subsidiaries and
        corporate joint ventures        (56,031) (15,318)                  —              —           — 1,759           (69,590)
     Investment in M3                   (42,692) (4,646)                   —              —           —       —         (47,338)
     Other                              (67,610) 13,812                   (52)        (3,120)       (159) (7,127)       (64,256)
   Total deferred tax liabilities     (1,106,720) (11,572)           324,208          (3,328)       (159) (13,405) (810,976)

   * Other mainly consists of exchange differences on translating foreign operations.


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        As of March 31, 2022 and 2023, based on the assessment of recoverability of deferred tax assets, Sony
   continued not to recognize the deferred tax assets at some entities in Japan, Sony Mobile Communications AB in
   Sweden, Sony Europe B.V. in the United Kingdom, certain subsidiaries in Brazil, and certain subsidiaries in
   other tax jurisdictions.

        As of March 31, 2022 and 2023, the deductible temporary differences, operating loss carryforwards and tax
   credit carryforwards for which no deferred tax asset is recognized are as follows:

                                                                                           Yen in millions
                                                                                    Fiscal year ended March 31
                                                                                      2022               2023

       Deductible temporary differences                                               154,581          126,406
       Operating loss carryforwards                                                 1,437,551        1,384,658
       Tax credit carryforwards                                                        19,066           18,853

       As of March 31, 2022 and 2023, the expected expiration period of the operating loss carryforwards for
   which no deferred tax asset is recognized are as follows:

                                                                                           Yen in millions
                                                                                    Fiscal year ended March 31
                                                                                      2022               2023

       Within 5 years                                                                 599,333          602,799
       Over 5 years to 10 years                                                       277,418          250,587
       Over 10 years to 15 years                                                       23,974           25,786
       Over 15 years                                                                    2,930           13,245
       No expiration period                                                           533,896          492,241
       Total                                                                        1,437,551        1,384,658

        As of March 31, 2022 and 2023, the expected expiration period of the tax credit carryforwards for which no
   deferred tax asset is recognized is mostly within 5 years except for the amount with no expiration period. The
   amount of tax credit carryforwards with no expiration date as of March 31, 2022 and March 31, 2023 was
   1,803 million yen and 1,047 million yen, respectively.

         Deferred income taxes have not been provided on taxable temporary differences for undistributed earnings
   of certain foreign subsidiaries and corporate joint ventures which are not expected to be remitted in the
   foreseeable future. As of March 31, 2022 and March 31, 2023, such taxable temporary differences amounted to
   365,925 million yen and 560,888 million yen, respectively. The tax basis of these undistributed earnings was
   approximately 5,855 million yen and 8,974 million yen, respectively. In addition, deferred income taxes have not
   been provided on the taxable temporary differences in subsidiaries, including a gain of 61,544 million yen on a
   subsidiary’s sale of stock arising from the issuance of common stock of Sony Music Entertainment (Japan) Inc.
   in a public offering to third parties in November 1991 and the remeasurement gain on 116,939 million yen for the
   pre-owned equity interest in EMI Music Publishing acquired in November 2018. Sony does not anticipate any
   significant tax consequences on the possible future disposition of these investments based on its tax planning
   strategies.

        In addition, the deductible temporary differences arising from the translation adjustments for the foreign
   operations for which deferred tax assets are not recognized as of March 31, 2022 and March 31, 2023 amounted
   to 92,252 million yen and 181,037 million yen, respectively. The taxable temporary differences arising from the
   translation adjustments for the foreign operations for which deferred tax liabilities are not recognized as of
   March 31, 2022 and March 31, 2023 amounted to 429,930 million yen and 694,240 million yen, respectively.




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   26. Reconciliation of the differences between basic and diluted EPS

       Reconciliation of the differences between basic and diluted EPS for the fiscal years ended March 31, 2021,
   2022 and 2023 is as follows:

                                                                                      Yen in millions
                                                                               Fiscal year ended March 31
                                                                           2021            2022          2023

       Net income attributable to Sony Group Corporation’s
         stockholders                                                    1,029,610       882,178        937,126
       Adjustment amount to net income attributable to Sony Group
         Corporation’s stockholders for diluted EPS computation:
         Zero coupon convertible bonds                                          385           163               51
       Net income attributable to Sony Group Corporation’s
         stockholders for diluted EPS computation                        1,029,995       882,341        937,177

                                                                                   Thousands of shares
                                                                               Fiscal year ended March 31
                                                                           2021            2022          2023

       Weighted-average shares outstanding for basic EPS
         computation                                                     1,230,480     1,239,299      1,235,701
       Effect of dilutive securities:
         Stock acquisition rights and other                                  4,474          5,470          3,646
         Zero coupon convertible bonds                                      15,392          6,491          2,030
       Weighted-average shares for diluted EPS computation               1,250,346     1,251,260      1,241,377

                                                                                           Yen
                                                                               Fiscal year ended March 31
                                                                           2021            2022          2023

       Basic EPS                                                            836.75         711.84         758.38

       Diluted EPS                                                          823.77         705.16         754.95

        Potential shares of common stock which were excluded from the computation of diluted EPS for the fiscal
   years ended March 31, 2021, 2022 and 2023 were 4,475 thousand shares, 4,790 thousand shares and
   11,223 thousand shares, respectively, which primarily consisted of stock options.

   27. Supplemental cash flow information

   (1) Classification of cash flows in Financial Services segment

        Sony classifies the cash flows from changes in assets and liabilities associated with the insurance business
   and banking business, such as investments and advances, deposits from customers, policyholders’ account and
   borrowings/debt, as cash flows from operating activities in the consolidated statements of cash flows.

   (2) Classification of cash flows of content assets

        Sony classifies the cash flows from the additions and disposals of content assets as cash flows from
   operating activities in the consolidated statements of cash flows because the additions and disposals of content
   assets are derived from the principal revenue-producing activities of Sony.




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   (3) Interest and dividends

                                                                                       Yen in millions
                                                                                Fiscal year ended March 31
                                                                           2021             2022           2023

        Interest received
           Financial services revenue                                     198,310         208,170        224,137
           Financial income                                                 8,409           6,988         20,872
        Dividends received
           Financial services revenue                                       19,299         27,075          23,409
           Financial income                                                  1,559          2,800           3,488
        Interest paid
           Financial services expenses                                       9,659          6,607          27,352
           Financial expenses                                                8,172          8,843          11,663

        The above are items presented in the consolidated statements of income, which include cash flows for
   interest and dividends.

        Sony classifies the cash flows from interest and dividends of the above as cash flows from operating
   activities in the consolidated statements of cash flows.

   (4) Non-cash investing and financing activities

         There was an increase in ROU assets as a result of entering into lease contracts and the conversion of
   convertible bonds during the fiscal years ended March 31, 2021, 2022 and 2023. Refer to (5) Reconciliation of
   liabilities arising from financing activities for more details.

        In addition, during the fiscal year ended March 31, 2022, a portion of the consideration received as a result
   of the transfer of certain operations of Game Show Network, LLC was in the form of stock. Refer to Note 31 for
   more details.




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   (5) Reconciliation of liabilities arising from financing activities

                                                                                            Yen in millions
                                                                                      Short-term      Long-term
                                                                                      borrowings         debt

       Balance as of April 1, 2020                                                        66,631        817,919
          Net cash flows from financing activities                                       (18,334)       147,017
          Acquisitions through business combinations                                          —              59
          Non-cash items:
            Conversion of convertible bonds                                                   —          (78,342)
            Obtaining assets by entering into lease contracts                                 —           56,247
            Translation adjustment                                                           106          15,514
            Other                                                                          4,134          10,630
          Total changes                                                                  (14,094)       151,125
       Balance as of March 31, 2021                                                       52,537        969,044
          Net cash flows from financing activities                                           408       (163,104)
          Acquisitions through business combinations                                          —           8,346
          Non-cash items:
            Conversion of convertible bonds                                                   —         (14,597)
            Obtaining assets by entering into lease contracts                                 —         121,937
            Translation adjustment                                                         1,659         35,652
            Other                                                                          1,487         (6,045)
          Total changes                                                                    3,554         (17,811)
       Balance as of March 31, 2022                                                       56,091        951,233
          Net cash flows from financing activities                                        32,391        229,578
          Acquisitions through business combinations                                          —          32,009
          Non-cash items:
            Conversion of convertible bonds                                                   —         (26,563)
            Obtaining assets by entering into lease contracts                                 —         127,322
            Translation adjustment                                                         4,533         22,684
            Other                                                                           (369)       (13,936)
          Total changes                                                                   36,555        371,094
       Balance as of March 31, 2023                                                       92,646       1,322,327

        The amount of short-term borrowings and long-term debt associated with the insurance business and
   banking business operations, which are classified as cash flows from operating activities in the consolidated
   statements of cash flows, is excluded from the amount above.

   (6) Components of cash and cash equivalents

                                                                                     Yen in millions
                                                                                       March 31
                                                                           2021           2022           2023

       Cash and demand deposits                                           902,036     1,824,912        1,227,541
       Time deposits with original maturities of three months or less     635,848        72,270           76,452
       Money market funds                                                 249,098        71,554          116,607
       Call loans                                                              —         80,900           60,300
       Total                                                             1,786,982    2,049,636        1,480,900


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        Cash and demand deposits, time deposits with original maturities of three months or less and call loans are
   classified as financial assets required to be measured at amortized cost, whose carrying amounts approximate
   their fair values mainly due to their short-term nature. Money market funds are short-term and highly liquid
   investments with insignificant risk of changes in value. Money market funds are classified as financial assets
   required to be measured at fair value through profit or loss and classified within Level 1 of the fair value
   hierarchy.

   28. Structured entities

        Sony has, from time to time, entered into various arrangements with structured entities.

   (1) Consolidated structured entities

         Sony consolidates investment funds as structured entities in the Financial Services segment. The investment
   funds are designed so that voting or similar rights are not the dominant factor in deciding who controls these
   entities, but it is determined that Sony has control over these structured entities. Sony has not provided and does
   not intend to provide any significant financial or other support to any of the consolidated structured entities
   without contractual obligations to the investment funds. The assets and liabilities of structured entities that are
   consolidated in the Financial Services segment are limited in their intended use by contractual arrangements. As
   of March 31, 2022 and 2023, the total assets of these structured entities are 628,297 million yen and
   2,486,836 million yen, respectively. The increase in the fiscal year ended March 31, 2023 is primarily due to the
   transfer of equity securities which were previously directly held into investment funds.

        Sony also consolidates several structured entities in the Music and Pictures segment. Sony has not provided
   and does not intend to provide any significant financial or other support to these structured entities without
   contractual obligation. The total assets and liabilities for these structured entities were insignificant to Sony’s
   financial position.

   (2) Unconsolidated structured entities

        Certain trade receivable sales programs also involve structured entities. These structured entities are all
   special purpose entities associated with the sponsor banks. Based on a qualitative assessment, Sony does not
   consolidate these entities as Sony does not have the power to direct the activities, an obligation to absorb losses,
   or the right to receive the residual returns of these structured entities. Sony’s maximum exposure to losses from
   these structured entities is considered insignificant.

        In the Financial Services segment, Sony enters into securitization transactions for certain housing loans,
   involving unconsolidated structured entities. Sony derecognizes a financial asset when the contractual right to
   receive the cash flows from the financial asset is transferred, or when Sony retains the contractual right to receive
   the cash flows from the financial asset, but assumes a contractual obligation to pay the cash flows without
   reinvestment or material delay to other recipients in an arrangement, and substantially all the risks and rewards of
   ownership of the financial asset are transferred to another entity. Since the above securitization transactions do
   not meet the requirements for derecognition of financial assets, such transferred assets are not derecognized.
   Sony recorded 182,417 million yen and 168,173 million yen of transferred assets that do not meet the
   requirement for derecognition of financial assets included in investments and advances in the Financial Services
   segment as of March 31, 2022 and 2023, respectively. As of March 31, 2022 and 2023, the liabilities recorded
   from these securitization transactions were 183,886 million yen and 169,500 million yen, respectively, which are
   included in the current portion of long-term debt and long-term debt. The liabilities will be settled when the
   payment for the transferred assets is executed and until this time, Sony is unable to utilize the transferred assets.
   The transferee of the transferred assets has recourse only to the transferred asset, and as of March 31, 2022 and
   2023, the fair value of the transferred assets are 187,555 million yen and 170,695 million yen, respectively and
   the associated liabilities are 186,702 million yen and 169,931 million yen, respectively.




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         In addition to the above, in the Financial Services segment, Sony makes investments in structured entities.
   Sony’s investments in such structured entities include securitized products, foreign corporate bonds and other
   investments. The following tables present the carrying amount of the investments of unconsolidated structured
   entities, the presentation in the consolidated statements of financial position, and the maximum exposure to loss
   associated with these investments as of March 31, 2022 and 2023. Maximum exposure to loss does not reflect
   Sony’s estimate of the actual losses that could result from adverse changes, nor does it reflect the economic
   hedges Sony enters into to reduce its exposure. The risks associated with structured entities in which Sony is
   involved are limited to the amount recorded in the consolidated statements of financial position and the amount
   of commitments.

                                                                             Yen in millions
                                                                             March 31, 2022
                                         Presentation in the consolidated statements of financial position
                                         Investments and       Investments and
                                          advances in the       advances in the
                                        Financial Services    Financial Services
                                             segment               segment          Other financial assets   Maximum exposure
                                         (Current assets)    (Non-current assets)      (Current assets)           to loss

   Securitized products                               —                356,862                       —               356,862
   Foreign corporate bonds*1                      28,412               168,167                       —               196,579
   Other investments*2                                 2               247,394                   24,697              286,662
   Total                                          28,414               772,423                   24,697              840,103

                                                                             Yen in millions
                                                                             March 31, 2023
                                         Presentation in the consolidated statements of financial position
                                         Investments and       Investments and
                                          advances in the       advances in the
                                        Financial Services    Financial Services
                                             segment               segment          Other financial assets   Maximum exposure
                                         (Current assets)    (Non-current assets)      (Current assets)           to loss

   Securitized products                               —                401,642                       —               401,642
   Foreign corporate bonds*1                      20,806               186,878                       —               207,684
   Other investments*2                                —                286,066                   25,464              332,076
   Total                                          20,806               874,586                   25,464              941,402

   *1   Foreign corporate bonds primarily include repackaged bonds.

   *2   Other investments primarily include investment funds.




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   29. Subsidiaries

       The following table sets forth the major consolidated subsidiaries owned, directly or indirectly, by Sony
   Group Corporation.

                                                                                  Country of
                                                                                incorporation   (As of March 31, 2023)
   Name of company                                                                /residence      Percentage owned

   Sony Interactive Entertainment Inc.                                             Japan               100.0
   Sony Music Entertainment (Japan) Inc.                                           Japan               100.0
   Sony Corporation                                                                Japan               100.0
   Sony Global Manufacturing & Operations Corporation                              Japan               100.0
   Sony Semiconductor Solutions Corporation                                        Japan               100.0
   Sony Semiconductor Manufacturing Corporation                                    Japan               100.0
   Sony Network Communications Inc.                                                Japan               100.0
   Sony Marketing Inc.                                                             Japan               100.0
   Sony Storage Media Solutions Corporation                                        Japan               100.0
   Sony Financial Group Inc.                                                       Japan               100.0
   Sony Life Insurance Co., Ltd.                                                   Japan               100.0
   Sony Bank Inc.                                                                  Japan               100.0
   Sony Assurance Inc.                                                             Japan               100.0
   Sony Corporation of America                                                    U.S.A.               100.0
   Sony Interactive Entertainment LLC                                             U.S.A.               100.0
   Sony Music Entertainment                                                       U.S.A.               100.0
   Sony Music Publishing LLC                                                      U.S.A.               100.0
   Sony Pictures Entertainment Inc.                                               U.S.A.               100.0
   Sony Electronics Inc.                                                          U.S.A.               100.0
   Sony Europe B.V.                                                                U.K.                100.0
   Sony Interactive Entertainment Europe Ltd.                                      U.K.                100.0
   Sony Global Treasury Services Plc                                               U.K.                100.0
   Sony Overseas Holding B.V.                                                   Netherlands            100.0
   Sony (China) Limited                                                            China               100.0
   Sony EMCS (Malaysia) Sdn. Bhd.                                                Malaysia              100.0
   Sony Electronics (Singapore) Pte. Ltd.                                        Singapore             100.0

   30. Acquisitions

   (1) Fiscal year ended March 31, 2022

   Acquisition of Ellation Holdings, Inc.

         On August 9, 2021, Sony Pictures Entertainment Inc. (“SPE”), a wholly-owned subsidiary of Sony, through
   Funimation Global Group, LLC (“Funimation”), acquired 100% of the equity interest in Ellation Holdings, Inc.
   (“Ellation”), a subsidiary of AT&T Inc., which operates the anime business “Crunchyroll.” Funimation is a joint
   venture between SPE and Aniplex Inc., a subsidiary of Sony Music Entertainment (Japan) Inc. The consideration
   for the acquisition of 135,938 million yen (1,237 million U.S. dollars) was paid in cash. As a result of the
   acquisition, Ellation has become a wholly-owned subsidiary of Sony. On February 24, 2022, Funimation changed
   its company name to Crunchyroll, LLC.
         Crunchyroll is a DTC service, connecting anime and manga fans across more than 200 countries and
   territories. Crunchyroll provides services including subscription video-on-demand, advertising-based
   video-on-demand, mobile games, manga, events, merchandise and distribution. The acquisition has brought
   together two animation distribution brands, Funimation and Crunchyroll, allowing Sony to expand fan-centric
   offerings. The global unification and integration of the two brands and services under the Crunchyroll brand
   started in March 2022.


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        As a result of the acquisition, Sony consolidated Ellation by using the acquisition method of accounting and
   recorded the fair value of the identifiable assets acquired, liabilities assumed and residual goodwill of Ellation.
   The following table summarizes the final fair values assigned to the assets and liabilities of Ellation that were
   recorded in the Pictures segment.
                                                                                    Yen in millions

                       Cash and cash equivalents                                            8,379
                       Trade and other receivables, and contract assets                     3,714
                       Inventories                                                          3,295
                       Right-of-use assets                                                  4,962
                       Goodwill                                                            81,250
                       Content assets                                                      36,266
                       Other intangible assets                                             35,697
                       Other                                                                2,512
                            Total assets                                                  176,075
                       Trade and other payables                                            17,365
                       Other current liabilities                                            7,723
                       Long-term debt                                                       4,386
                       Deferred tax liabilities                                             9,408
                       Other                                                                  659
                            Total liabilities                                              39,541

        Content assets and other intangible assets mainly consist of license agreements and customer relationships.
   Goodwill represents unidentifiable intangible assets, such as future growth from new revenue streams and
   synergies with existing Sony assets and businesses, and is calculated as the excess of the purchase price over the
   estimated fair value of the tangible and intangible assets acquired and is not deductible for tax purposes. The
   goodwill recorded in connection with the acquisition is included in the Pictures segment.
       Revenue and net income attributable to Ellation since the date of acquisition included in Sony’s
   consolidated statements of income for the fiscal year ended March 31, 2022 and pro forma results of operations
   have not been presented because the effect of the acquisition was not material.

   (2) Fiscal year ended March 31, 2023
   Acquisition of Bungie, Inc.
       On July 15, 2022, Sony Interactive Entertainment LLC (“SIE”), a wholly-owned subsidiary of Sony,
   completed the acquisition of 100% of the shares of Bungie, Inc. (“Bungie”), an independent videogame
   developer in the United States. As a result of this acquisition, Bungie has become a wholly-owned subsidiary of
   Sony. This acquisition gives SIE access to Bungie’s approach to live game services and technology expertise.
        The total consideration of this acquisition, which was determined after customary working capital and other
   adjustments, was 510,459 million yen (3,701 million U.S. dollars), inclusive of the purchase price and committed
   employee incentives. Of the total consideration, 347,768 million yen (2,522 million U.S. dollars) was allocated to
   the purchase consideration of this acquisition, and the remaining 162,691 million yen (1,179 million U.S. dollars)
   was mainly allocated to deferred payments to employee shareholders that are conditional upon their continuous
   employment, and other retention incentives. The deferred payments and other retention incentives will be
   expensed over the required post-acquisition service periods.
        The fair value of the purchase consideration of this acquisition as of the acquisition date was
   333,859 million yen (2,421 million U.S. dollars) which consisted of upfront cash consideration of
   207,511 million yen (1,505 million U.S. dollars), deferred consideration of 84,410 million yen (612 million
   U.S. dollars), and contingent consideration of 41,938 million yen (304 million U.S. dollars) that is subject to
   employee shareholders’ continuous employment and represents the vested portion of the total vesting term of
   replacement awards that existed as of the acquisition date. Deferred consideration and contingent consideration
   are included in other financial liabilities (current and non-current) in the consolidated statements of financial
   position.

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         Sony’s consolidated statements of income for the fiscal year ended March 31, 2023 include net loss after
   income taxes of 47,420 million yen (338 million U.S. dollars), attributable to Bungie since the acquisition date,
   including the deferred payments and other retention incentives arising out of this acquisition and amortization of
   intangible assets recognized as of the acquisition date. Revenue after elimination of intercompany transactions
   attributable to Bungie since the acquisition date for the fiscal year ended March 31, 2023 has not been presented
   because the revenue was not material.
         Sony consolidated Bungie by using the acquisition method of accounting and recorded the fair value of the
   identifiable assets acquired, liabilities assumed and residual goodwill of Bungie. The following table summarizes
   the final fair values assigned to the assets and liabilities of Bungie that were recorded in the G&NS segment. The
   measurement period adjustments were not material.
                                                                                     Yen in millions

                       Cash and cash equivalents                                            37,800
                       Trade and other receivables, and contract assets                      5,093
                       Other current assets                                                  3,412
                       Property, plant and equipment                                         7,481
                       Right-of-use assets                                                  15,540
                       Goodwill                                                            193,801
                       Content assets                                                       45,512
                       Other intangible assets                                              66,257
                       Deferred tax assets                                                   7,297
                       Other                                                                 3,564
                            Total assets                                                   385,757
                       Trade and other payables                                              3,060
                       Other current liabilities                                            12,195
                       Long-term debt                                                       30,944
                       Other                                                                 5,699
                            Total liabilities                                               51,898

        Content assets and other intangible assets mainly consist of license agreements and software. Goodwill
   mainly represents future growth from new revenue streams and synergies with existing Sony businesses and is
   not deductible for tax purposes. Goodwill recorded in connection with the acquisition is included in the G&NS
   segment.
        Pro forma results of operations have not been presented because the effect of the acquisition is not material.

   (3) Other acquisitions
        During the fiscal year ended March 31, 2021, Sony completed other acquisitions for a total consideration of
   18,258 million yen which was paid for primarily in cash and there was no material contingent consideration
   subject to future change. As a result of these acquisitions, Sony recorded 15,679 million yen of goodwill and
   6,061 million yen of intangible assets.
        During the fiscal year ended March 31, 2022, Sony completed other acquisitions for a total consideration of
   175,878 million yen which was paid for primarily in cash and there was no material contingent consideration
   subject to future change. As a result of these acquisitions, Sony recorded 116,394 million yen of goodwill and
   64,348 million yen of intangible assets.
        During the fiscal year ended March 31, 2023, Sony completed other acquisitions for a total consideration of
   92,743 million yen which was paid for primarily in cash and there was no material contingent consideration
   subject to future change. As a result of these acquisitions, Sony recorded 80,698 million yen of goodwill and
   29,154 million yen of intangible assets.
        No significant amounts were allocated to in-process research and development and all of the entities
   described above have been consolidated into Sony’s results of operations since their respective acquisition dates.
   Other information including pro forma results of operations has not been presented because the effects of other
   acquisitions, individually and in aggregate, were not material.

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   31. Divestiture
   Fiscal year ended March 31, 2022
   Transfer of certain operations of Game Show Network, LLC
        On December 6, 2021, Sony completed the transfer of GSN Games, a division of Game Show Network,
   LLC, a wholly-owned subsidiary in the Pictures segment, to Scopely, Inc. (“Scopely”). The consideration for the
   transaction was 115,054 million yen (1,011 million U.S. dollars), of which Sony received 58,131 million yen
   (511 million U.S. dollars) in cash and 56,923 million yen (500 million U.S. dollars) in preferred stock of
   Scopely.
        This preferred stock is measured at fair value as an equity instrument and subsequent changes in the fair
   value will be recognized in other comprehensive income. As a result of the completion of this transfer, Sony
   recognized a gain of 70,020 million yen (615 million U.S. dollars) within other operating (income) expense, net
   in the consolidated statements of income for the fiscal year ended March 31, 2022.

   32. Related party transactions
   (1) Account balances and transactions with associates and joint ventures accounted for under the equity
       method
       Primary account balances and transactions with associates and joint ventures accounted for under the equity
   method are as follows:
                                                                                          Yen in millions
                                                                                             March 31
                                                                                        2022           2023

       Trade and other accounts receivable
         Associates                                                                       9,587         7,779
         Joint ventures                                                                   5,143         6,326
            Total                                                                        14,730       14,105

       Other current assets
         Associates                                                                       7,042         7,747
         Joint ventures                                                                      —             —
            Total                                                                         7,042         7,747

       Accounts payable, trade
         Associates                                                                       1,219         1,425
         Joint ventures                                                                     157           228
            Total                                                                         1,376         1,653

       Short-term borrowings
         Associates                                                                       2,131        3,124
         Joint ventures                                                                  20,132       25,218
            Total                                                                        22,263       28,342

       Lease liabilities and other
         Associates                                                                      64,552       74,955
         Joint ventures                                                                      —            —
            Total                                                                        64,552       74,955

       Accounts payable for property, plant and equipment
         Associates                                                                       7,189       12,050
         Joint ventures                                                                      —            —
            Total                                                                         7,189       12,050


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                                                                                       Yen in millions
                                                                                Fiscal year ended March 31
                                                                            2021            2022          2023

       Sales
         Associates                                                         15,087        20,385         15,040
         Joint ventures                                                     17,985        27,374         30,220
            Total                                                           33,072        47,759         45,260

       Purchases
         Associates                                                          3,083          3,271          4,450
         Joint ventures                                                          1            785            649
            Total                                                            3,084          4,056          5,099

       Lease payments and other
         Associates                                                          8,028        11,180         13,720
         Joint ventures                                                         —             —              —
            Total                                                            8,028        11,180         13,720

       Payments for property, plant and equipment
         Associates                                                          1,272        12,052         20,553
         Joint ventures                                                         —             —              —
            Total                                                            1,272        12,052         20,553

        Sony has agreements with shareholders of associates to make cash investments in the associates in the
   future. The investment commitments as of March 31, 2022 and 2023, amounted to 39,231 million yen and
   39,047 million yen, respectively.

   (2) Compensation for key management personnel
        Compensation for key management personnel for the fiscal years ended March 31, 2021, 2022 and 2023 is
   presented as follows:
                                                                                       Yen in millions
                                                                                Fiscal year ended March 31
                                                                            2021            2022          2023

       Short-term employee benefits                                          1,202          1,480          1,831
       Stock-based compensation                                              2,329          1,597          1,928
       Total                                                                 3,531          3,077          3,759

        Compensation for key management personnel is the remuneration for Directors (including outside
   Directors) and Corporate executive officers of Sony Group Corporation.

   33. Purchase commitments, contingent liabilities and other
   (1) Loan commitments
        Subsidiaries in the Financial Services segment have lines of credit in accordance with loan agreements with
   their customers. As of March 31, 2022 and 2023, the total unused portion of the lines of credit extended under
   these contracts was 33,587 million yen and 35,831 million yen, respectively.

   (2) Purchase commitments
        Purchase commitments as of March 31, 2022 and 2023 amounted to 1,000,833 million yen and
   1,084,774 million yen, respectively. The amount of these purchase commitments covers the purchase
   consideration for property, plant and equipment, intangible assets, other goods and other services. The major
   components of these commitments are as follows:

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        Certain subsidiaries in the Pictures segment have entered into agreements with creative talent for the
   development and production of motion pictures and television programming as well as agreements with third
   parties to acquire completed motion pictures, or certain rights therein, and to acquire the rights to broadcast
   certain live action sporting events. These agreements cover various periods, mainly within four years from the
   end of each period. As of March 31, 2022 and 2023, these subsidiaries were committed to make payments under
   such contracts of 101,284 million yen and 125,098 million yen, respectively.

        Certain subsidiaries in the Music segment have entered into contracts with recording artists, songwriters and
   companies for the future production, distribution and/or licensing of music products. These contracts cover
   various periods, mainly within five years from the end of each period. As of March 31, 2022 and 2023, these
   subsidiaries were committed to make payments of 153,920 million yen and 193,576 million yen, respectively,
   under such contracts.
         Certain subsidiaries in the G&NS segment have entered into long-term contracts for the development,
   distribution and publishing of game software. These contracts cover various periods, mainly within six years
   from the end of each period. As of March 31, 2022 and 2023, these subsidiaries were committed to make
   payments of 34,842 million yen and 31,298 million yen, respectively, under such contracts.

        In addition to the above, Sony has entered into purchase contracts for property, plant and equipment and
   intangible assets. As of March 31, 2022 and 2023, Sony has committed to make payments of 246,263 million yen
   and 292,608 million yen, respectively, under such contracts.

        Sony has entered into purchase contracts for materials. As of March 31, 2022 and 2023, Sony has
   committed to make payments of 265,518 million yen and 288,260 million yen, respectively, under such
   contracts.

   (3) Litigation

        Sony Group Corporation and certain of its subsidiaries are defendants or otherwise involved in pending
   legal and regulatory proceedings. However, based upon the information currently available, Sony believes that
   the outcome from such legal and regulatory proceedings would not have a material impact on Sony’s results of
   operations and financial position.

   (4) Guarantees

       Sony has issued guarantees that contingently require payments to guaranteed parties if certain specified
   events or conditions occur. The maximum potential amount of future payments under these guarantees as of
   March 31, 2022 and 2023 amounted to 501 million yen and 458 million yen, respectively.

   34. Subsequent event

   Setting of parameters for repurchase of shares of its own common stock

        Sony Group Corporation approved the setting of the following parameters for repurchase of its own
   common stock pursuant to the Companies Act of Japan and Sony Group Corporation’s Articles of Incorporation
   by the resolution of its Board of Directors as of May 17, 2023:

        1.   Total number of shares for repurchase: 25 million shares (maximum)

        2.   Total purchase price for repurchase of shares: 200 billion yen (maximum)

        3.   Period of repurchase: May 18, 2023 to May 17, 2024




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